     Case: 24-1942     Document: 16         Filed: 07/10/2024   Pages: 306



                            APPEAL NO. 24-1942
              UNITED STATES COURT OF APPEALS
                 FOR THE SEVENTH CIRCUIT

                               John M. Kluge,
                             Plaintiff-Appellant,

                                       v.

             Brownsburg Community School Corporation,
                            Defendant-Appellee.


                On Appeal from the United States District Court
           for the Southern District of Indiana, Indianapolis Division
                        Honorable Jane Magnus-Stinson
                       Case No. 1:19-cv-02462-JMS-KMB


              APPELLANT’S SEPARATE APPENDIX


TYSON LANGHOFER                         JOHN J. BURSCH
ALLIANCE DEFENDING FREEDOM              ALLIANCE DEFENDING FREEDOM
44180 Riverside Pkwy                    440 First Street, NW, Suite 600
Lansdowne, VA 20176                     Washington, DC 20001
(571) 707–4655                          (616) 450-4235
tlanghofer@ADFlegal.org                 jbursch@ADFlegal.org

MICHAEL J. CORK                         DAVID A. CORTMAN
5754 N. Delaware Street                 RORY T. GRAY
Indianapolis, IN 46220                  TRAVIS C. BARHAM
(317) 517-4217                          ALLIANCE DEFENDING FREEDOM
cork0@icloud.com                        1000 Hurricane Shoals Rd. NE
                                        Suite D-1100
                                        Lawrenceville, GA 30043
                                        (770) 339-0774
                                        dcortman@ADFlegal.org
                                        rgray@ADFlegal.org
                                        tbarham@ADFlegal.org

                             Counsel for Appellant
          Case: 24-1942             Document: 16                   Filed: 07/10/2024             Pages: 306


                                          TABLE OF CONTENTS

Seventh Circuit Order Vacating Prior Rulings, Doc. 83,
   dated July 28, 2023 ....................................................................................... SA-001

Seventh Circuit Order Holding Proceedings, Doc. 72,
   dated April 25, 2023 ...................................................................................... SA-002

Seventh Circuit Opinion Affirming District Court, Doc. 66,
   dated April 7, 2023 ........................................................................................ SA-003

District Court Final Judgment, Doc. 160,
    entered July 12, 2021 .................................................................................... SA-137

District Court Summary Judgment Order, Doc. 159,
    dated July 12, 2021 ....................................................................................... SA-138

District Court Order on Motion to Dismiss, Doc. 70,
    dated January 8, 2020 ................................................................................... SA-190

Exhibit A to First Amended Complaint – Accommodation Agreement
   dated July 28, 2017, Doc. 15-1 ...................................................................... SA-241

Exhibit C to First Amended Complaint – Withdrawal of Intention to
   Resign and Request for Continuation of Accommodation, Doc. 15-3 .......... SA-242

Exhibit D to First Amended Complaint – Transgender Questions,
   Doc. 15-4 ........................................................................................................ SA-249

Exhibit 3 to Defendant’s Cross-Motion for Summary Judgment –
   Deposition Excerpts of John Kluge, Doc 120-3 ............................................ SA-260

Exhibit 16 to Defendant’s Cross-Motion for Summary Judgment –
   Email from Plaintiff to Dr. Jim Snapp and Dr. Brett Daghe, Doc. 120-16,
   dated February 4, 2018 ................................................................................. SA-296

Exhibit 17 to Defendant’s Cross-Motion for Summary Judgment –
   Emails between Plaintiff and Jodi Gordon, Doc. 120-17,
   dated April 30, 2018 ...................................................................................... SA-298

Defendant’s Responses to Plaintiff’s Second Set of Interrogatories,
   Doc. 182-1 ...................................................................................................... SA-300




                                                             i
         Case:
          Case:24-1942
                21-2475         Document:
                                 Document:16
                                           83               Filed:
                                                             Filed:07/10/2024
                                                                    07/28/2023          Pages:
                                                                                         Pages:306
                                                                                                1




                    United States Court of Appeals
                                        For the Seventh Circuit
                                        Chicago, Illinois 60604

                                               July 28, 2023

                           ILANA DIAMOND ROVNER, Circuit Judge

                           MICHAEL B. BRENNAN, Circuit Judge

                           AMY J. ST. EVE, Circuit Judge

No. 21-2475

JOHN M. KLUGE,                                       Appeal from the United States District Court
     Plaintiff-Appellant,                            for the Southern District of Indiana,
                                                     Indianapolis Division.
        v.
                                                     No. 1:19-CV-02462
BROWNSBURG COMMUNITY
SCHOOL CORP.,                                        Jane Magnus-Stinson, Judge.
    Defendant-Appellee.


                                                ORDER
       In light of the Supreme Court’s clarification in Groff v. DeJoy, 143 S. Ct. 2279
(2023), of the standard to be applied in Title VII cases for religious accommodation, our
opinion and judgment in this case are vacated and this case is remanded for the district
court to apply the clarified standard to the religious accommodation claim in the first
instance. We leave to the district court’s discretion whether to reopen discovery on
remand.
       No judge of the court1 having called for a vote on the Petition for Rehearing and
Rehearing En Banc, filed by Plaintiff-Appellant on April 21, 2023, and all of the judges
on the original panel having voted to deny the same,
       IT IS HEREBY ORDERED that the Petition for Rehearing and Rehearing En
Banc is DENIED.


1 Circuit Judge Doris L. Pryor did not participate in consideration of this petition.




                                                                                             SA-001
        Case:
         Case:24-1942
               21-2475      Document:
                             Document:16
                                       72        Filed:
                                                  Filed:07/10/2024
                                                         04/25/2023   Pages:
                                                                       Pages:306
                                                                              1




                United States Court of Appeals
                                For the Seventh Circuit
                                Chicago, Illinois 60604

                                     April 25, 2023



By the Court:

No. 21-2475

JOHN M. KLUGE,                              Appeal from the United States District Court
     Plaintiff-Appellant,                   for the Southern District of Indiana,
                                            Indianapolis Division.
       v.
                                            No. 1:19-CV-02462
BROWNSBURG COMMUNITY
SCHOOL CORP.,                               Jane Magnus-Stinson,
    Defendant-Appellee.                           Judge.


                                      ORDER

        Any action on the plaintiff’s Petition for Rehearing En Banc, filed on
April 21, 2023, will be delayed pending the Supreme Court’s resolution of the appeal in
Groff v. DeJoy, No. 22-174.




                                                                            SA-002
Case: 24-1942
      21-2475      Document: 16
                             66              Filed: 07/10/2024
                                                    04/07/2023       Pages: 306
                                                                            134




                                    In the

         United States Court of Appeals
                      For the Seventh Circuit
                            ____________________
     No. 21-2475
     JOHN M. KLUGE,
                                                       Plaintiff-Appellant,

                                       v.

     BROWNSBURG COMMUNITY
     SCHOOL CORP.,
                                                      Defendant-Appellee.
                          ____________________

              Appeal from the United States District Court for the
              Southern District of Indiana, Indianapolis Division.
              No. 1:19-CV-02462 — Jane Magnus-Stinson, Judge.
                            ____________________

          ARGUED JANUARY 20, 2022 — DECIDED APRIL 7, 2023
                     ____________________

     Before ROVNER, BRENNAN, and ST. EVE, Circuit Judges.
         ROVNER, Circuit Judge. John M. Kluge brought a Title VII
     religious discrimination and retaliation suit against Browns-
     burg Community School Corporation (“Brownsburg”) after
     he was terminated from his employment as a teacher for re-
     fusing to follow the school’s guidelines for addressing stu-
     dents. Brownsburg requires its high school teachers to call all
     students by the names registered in the school’s official




                                                                              SA-003
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     2                                                   No. 21-2475

     student database, and Kluge objected on religious grounds to
     using the first names of transgender students to the extent
     that he deemed those names not consistent with their sex rec-
     orded at birth. After Brownsburg initially accommodated
     Kluge’s request to call all students by their last names only,
     the school withdrew the accommodation when it became ap-
     parent that the practice was harming students and negatively
     impacting the learning environment for transgender stu-
     dents, other students both in Kluge’s classes and in the school
     generally, as well as the faculty. The district court granted
     summary judgment in favor of the school after concluding
     that the undisputed evidence showed that the school was un-
     able to accommodate Kluge’s religious beliefs and practices
     without imposing an undue hardship on the school’s conduct
     of its business of educating all students that entered its doors.
     The district court also granted summary judgment in favor of
     Brownsburg on Kluge’s retaliation claim. We agree that the
     undisputed evidence demonstrates that Kluge’s accommoda-
     tion harmed students and disrupted the learning environ-
     ment. Because no reasonable jury could conclude that harm
     to students and disruption to the learning environment are de
     minimis harms to a school’s conduct of its business, we affirm.
     Our dissenting colleague asserts that there are genuine issues
     of material fact regarding undue hardship but he mischarac-
     terizes the harms claimed by the school and focuses on fact
     questions that are not legally relevant to the outcome of the
     discrimination claim, in particular suggesting that a jury
     should reweigh the harms using information not known to
     the school at the time of the occurrences in issue, and not rel-
     evant to the ultimate question.




                                                                         SA-004
Case: 24-1942
      21-2475      Document: 16
                             66             Filed: 07/10/2024
                                                   04/07/2023    Pages: 306
                                                                        134




     No. 21-2475                                                      3

                                       I.
         On summary judgment, we must construe the facts in fa-
     vor of the nonmovant, and may not make credibility determi-
     nations or weigh the evidence. Anderson v. Liberty Lobby, Inc.,
     477 U.S. 242, 255 (1986); McCottrell v. White, 933 F.3d 651, 655
     (7th Cir. 2019); Payne v. Pauley, 337 F.3d 767, 770 (7th Cir.
     2003). We therefore construe the facts in favor of Kluge.
     Brownsburg is a public school corporation in Brownsburg, In-
     diana. The Indiana Constitution requires the State’s General
     Assembly “to provide, by law, for a general and uniform sys-
     tem of Common Schools, wherein tuition shall be without
     charge, and equally open to all.” Ind. Const. art. VIII, § 1.
     School attendance is compulsory in the State by statute. Ind.
     Code § 20-33-2-4. Brownsburg is governed by an elected
     Board of Trustees. R. 120-1, at 2. At the relevant time, the cor-
     poration and school leadership included the Board President,
     Phil Utterback; the Superintendent, Dr. Jim Snapp; the Assis-
     tant Superintendent, Dr. Kathryn Jessup; the Human Re-
     sources Director, Jodi Gordon; and the principal, Dr. Bret
     Daghe. R. 120-1, at 2–3; R. 120-2, at 3; R. 113-3, at 5; R. 113-4,
     at 5. Brownsburg High School was the sole public high school
     in the district. R. 120-2, at 2.
         Brownsburg hired Kluge in August 2014 to serve as the
     sole music and orchestra teacher at the high school. R. 113-2,
     at 2; R. 120-2, at 3. In that capacity, he taught beginning, inter-
     mediate, and advanced orchestra; beginning music theory;
     and advanced placement music theory. He also assisted the
     middle school orchestra teacher in teaching classes at the mid-
     dle school. R. 120-3, at 19–20. Kluge remained employed in




                                                                           SA-005
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023         Pages: 306
                                                                                134




     4                                                           No. 21-2475

     that capacity until the end of the 2017–2018 academic year.
     R. 120-2, at 3.
         Prior to the start of that school year, officials at Browns-
     burg became aware that several transgender students were
     enrolled as freshmen. R. 120-1, at 3. This awareness led to dis-
     cussions among the Brownsburg leadership to address the
     needs of these students. Gordon and Drs. Snapp, Jessup, and
     Daghe reached a “firm consensus” that transgender students
     “face significant challenges in the high school environment,
     including diminished self-esteem and heightened exposure to
     bullying.” R. 120-1, at 3. According to Dr. Jessup, the Browns-
     burg leaders concluded that “these challenges threaten
     transgender students’ classroom experience, academic perfor-
     mance, and overall well-being.” R. 120-1, at 3. The group be-
     gan to discuss and consider practices and policies that could
     address these challenges. 1 R. 120-1, at 3–4.
        The staff of the school first became aware of these discus-
     sions in January 2017, when administrators invited Craig Lee,
     a Brownsburg teacher and faculty advisor for the high
     school’s Equality Alliance Club, to speak about transgender-
     ism at a faculty meeting. 2 R. 15-3, at 2; R. 58-2, at 1–2. At

     1       The policies and practices eventually adopted by Brownsburg to
     address concerns about transgender students were not formally ratified
     by the Board, but they did operate as directives that teachers were re-
     quired to follow. We refer to them as policies for convenience.

     2       The Equality Alliance Club is a student club at the school that
     meets weekly to discuss social and emotional issues affecting all students,
     including LGBTQ students. R. 58-2, at 2; R. 112-5, at 9. Attendance varied
     from twelve to forty students at any given meeting, and often included
                                                                     (continued)




                                                                                   SA-006
Case: 24-1942
      21-2475       Document: 16
                              66              Filed: 07/10/2024
                                                     04/07/2023         Pages: 306
                                                                               134




     No. 21-2475                                                             5

     another faculty meeting in February 2017, Lee and guidance
     counselor Laurie Mehrtens gave a presentation on what it
     means to be transgender and how teachers can encourage and
     support transgender students. R. 15-3, at 2.
         After these faculty meetings, Kluge and three other teach-
     ers approached Dr. Daghe on May 15, 2017, to speak about
     issues related to transgender students. R. 15-3, at 2; R. 113-5,
     at 6; R. 120-3, at 11. The four teachers presented Dr. Daghe
     with a seven-page letter expressing religious objections to
     transgenderism, taking the position that the school should not
     treat gender dysphoria as a protected status, and urging the
     school not to require teachers to refer to transgender students
     by names or pronouns that the teachers deemed inconsistent
     with the students’ sex recorded at birth. R. 113-1, at 26–32.
     Kluge identifies as Christian and is a member of Clearnote
     Church. R. 113-1, at 4. Kluge believes that gender dysphoria
     “is a type/manifestation of effeminacy, which is sinful.”
     R. 113-1, at 5. Kluge describes “effeminacy” as “for a man to
     play the part of a woman or a woman to play the part of a
     man and so that would include acting like/dressing like the
     opposite sex.” R. 120-3, at 6. In addition to believing that gen-
     der dysphoria itself is sinful, Kluge believes that it is sinful to
     “promote gender dysphoria.” R. 120-3, at 7. Because the
     transgender students changed their first names in order to
     “present[] themselves as the opposite sex,” Kluge believes



     transgender students. R. 120-14, at 6. Dr. Daghe described it more broadly
     as a club trying to make the culture and climate of the school the best it
     could be. R. 112-5, at 9.




                                                                                  SA-007
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     6                                                     No. 21-2475

     that calling those students by their preferred names would be
     “encouraging them in sin.” R. 120-3, at 10.
         The American Psychiatric Association has a very different
     view of gender dysphoria for adolescents and adults, which
     it defines as a “marked incongruence between one’s experi-
     enced/expressed gender and assigned gender, of at least six
     months duration,” and manifested by at least two of the six
     listed criteria. Diagnostic and Statistical Manual of Mental
     Disorders, Fifth Edition, 2013 (“DSM-5”), at 452. “The condi-
     tion is associated with clinically significant distress or impair-
     ment in social, occupational, or other important areas of func-
     tioning.” DSM-5, at 453. See also Campbell v. Kallas, 936 F.3d
     536, 538 (7th Cir. 2019) (describing gender dysphoria as “an
     acute form of mental distress stemming from strong feelings
     of incongruity between one’s anatomy and one’s gender iden-
     tity”). Kluge does not agree with the DSM-5 definition of gen-
     der dysphoria. R. 120-3, at 5–6.
         At the May 15, 2017 meeting, Dr. Daghe discussed what
     he considered to be an accommodation to these teachers,
     namely, a policy that all teachers would use the names and
     pronouns recorded in the school’s official student database,
     “PowerSchool.” R. 112-5, at 5–6. The PowerSchool database
     contained names, gender markers, preferred pronouns and
     other data for all students at the school. R. 113-3, at 6; R. 113-5,
     at 4. According to Kluge, Dr. Daghe indicated that he had re-
     sisted the pressure to change the students’ names in Power-
     School but would make this change if it would resolve the
     teachers’ concerns regarding how to address transgender stu-
     dents. R. 120-3, at 12.




                                                                            SA-008
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                   7

         The three teachers who had signed onto Kluge’s letter ac-
     cepted Dr. Daghe’s suggested practice that they would use
     the PowerSchool names and pronouns, and indicated to Dr.
     Daghe that they would comply with it going forward.
     R. 120-3, at 12. Kluge was shocked that the three other teach-
     ers “did an about-face” but he said nothing at that time.
     R. 120-3, at 12. According to Kluge, after the meeting with all
     four teachers concluded, he went back into Dr. Daghe’s office
     and told him to “keep up the good work” of resisting the pres-
     sure of changing the names in PowerSchool. R. 120-3, at 12.
     Dr. Daghe left these meetings believing that all four teachers
     had agreed to this practice. R. 112-5, at 5–6. Kluge, however,
     believed that he and Dr. Daghe were “on the same page,” that
     he could continue to use the students’ “legal names,” and that
     “we would not be promoting transgenderism in our school.”
     R. 120-3, at 12.
         The Brownsburg leadership settled on the practice of re-
     quiring teachers to use the PowerSchool names and pronouns
     (“Name Policy”) as part of the larger plan to address the
     needs of transgender students. R. 120-1, at 3–4; R. 112-5, at 5.
     In addition to the Name Policy, transgender students were
     permitted to use the restrooms of their choice and dress ac-
     cording to the gender with which they identified, wearing
     school-related uniforms consistent with that gender. R. 112-5,
     at 5. Transgender students wishing to change their names,
     gender markers or pronouns in PowerSchool were permitted
     to do so only if they first presented two letters, one from a
     parent and one from a healthcare professional regarding the
     need for the changes. R. 120-1, at 4. Dr. Jessup explained that
     the Name Policy furthered two primary goals:




                                                                        SA-009
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     8                                                 No. 21-2475

            First, the practice provided the high school fac-
            ulty a straightforward rule when addressing
            students; that is, the faculty need and should
            only call students by the name listed in Pow-
            erSchool. Second, it afforded dignity and
            showed empathy toward transgender students
            who were considering or in the process of gen-
            der transition. Stated differently, the admin-
            istration    considered    it   important     for
            transgender students to receive, like any other
            student, respect and affirmation of their pre-
            ferred identi[t]y, provided they go through the
            required and reasonable channels of receiving
            and providing proof of parental permission and
            a healthcare professional’s approval.
     R. 120-1, at 4.
        A little more than a week before the start of the 2017–2018
     school year, Mehrtens (the guidance counselor) sent emails to
     several teachers, including Kluge, informing them that they
     would have a transgender student in their classrooms in the
     upcoming year. R. 120-3, at 13; R. 15-3, at 3. According to one
     email that Kluge received, the student was transitioning from
     female to male, and had changed his name and pronouns in
     the PowerSchool database. Mehrtens said:
            Parents are supportive and aware—Feel free to
            use “he” and “[student’s preferred name]”
            when communicating.
     R. 120-11, at 2 (student’s name redacted in the record). Kluge
     received two such emails, one for each of the transgender




                                                                       SA-010
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                                9

     students he would have in his classes that year. R. 120-3, at 13.
     At first he was shocked that the school was moving in this
     direction, but because the email contained the language “feel
     free to use,” he read the emails as “permissive, not manda-
     tory,” and planned to use the students’ “legal names.” 3
     R. 120-3, at 13–14; R. 15-3, at 3.
         On July 27, 2017, the first day of classes at Brownsburg,
     Kluge met briefly with Dr. Daghe and informed him that he
     would not call the transgender students by their PowerSchool
     names and pronouns. He reiterated that he had a religious ob-
     jection to this practice. Dr. Daghe directed him to stay in his
     office and consulted the Superintendent, Dr. Jim Snapp.
     R. 120-3, at 14; R. 15-3, at 3. Later that morning, Drs. Daghe
     and Snapp met with Kluge to discuss the issue. Dr. Snapp told
     Kluge that he was required to use the names recorded in the
     PowerSchool database. Kluge explained again that it was
     against his sincerely held religious beliefs to use anything
     other than the names recorded on the students’ original birth
     certificates. Dr. Snapp then presented him with three options:


     3        As was the case with the district court, we find Kluge’s use of the
     terms “transgender names” and “legal names” imprecise. Many transgen-
     der people change their legal names and both of the transgender students
     in Kluge’s classes did so, albeit after the school year in question. There is
     no evidence in the record regarding what name Kluge planned to use if
     transgender students changed their legal names, although much of his tes-
     timony suggests that his religious objections would remain. Although a
     person may be transgender, a name may not be, and so we will refer to the
     students’ new names as their “preferred names” or “PowerSchool names.”
     This is not to imply that this was a casual preference of the students alone;
     as we noted, the students’ parents and healthcare providers signed off on
     any changes to the names in PowerSchool.




                                                                                     SA-011
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     10                                                No. 21-2475

     comply with the Name Policy; resign; or be suspended pend-
     ing termination. When Kluge refused to comply or resign, Dr.
     Snapp suspended him pending termination and told him to
     go home. R. 120-3, at 14–16; R. 15-3, at 3.
         In the course of that July 27 meeting, Kluge told Dr. Snapp
     the name of his pastor, Dave Abu-Sara. R. 120-3, at 15–16.
     Kluge did not know who initiated the contact, but soon after
     the July 27 meeting, Kluge believed that Dr. Snapp and Abu-
     Sara spoke on the phone. According to Kluge, Abu-Sara told
     Kluge that he had asked Dr. Snapp to give Kluge the weekend
     to think about his options, and Dr. Snapp had agreed.
     R. 120-3, at 15–16. On Monday, July 31, Kluge returned to the
     school and met with Dr. Snapp and Human Resources Direc-
     tor Jodi Gordon. Dr. Snapp and Gordon reiterated that Kluge
     had to choose between complying with the Name Policy or
     termination. R. 120-3, at 17. They presented him with a memo
     and draft agreement from Dr. Daghe stating:
           You are directed to recognize and treat students
           in a manner using the identity indicated in Pow-
           erSchool. This directive is based on the status of
           a current court decision applicable to Indiana.
           You are also directed to not attempt to counsel
           or advise students on his/her lifestyle choices.
           Please indicate below if you will comply with
           this directive. This document must be returned
           to me by noon on Monday, July 31, 2017.
           _____ Yes, I will comply with this directive.
           _____ No, I will not comply with this directive.




                                                                       SA-012
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023           Pages: 306
                                                                                    134




     No. 21-2475                                                                 11

             ___________________                   ________________
             John Kluge, teacher                   Date
             cc: Personnel file
     R. 15-1. 4
         Kluge then presented Dr. Snapp and Gordon with two re-
     quested accommodations: first, that he be allowed to refer to
     all students by their last names only, “like a gym coach;” and
     second, that he not be responsible for handing out gender-
     specific orchestra uniforms to students. He would treat the
     class like an “orchestra team,” he proposed. He agreed that, if

     4        Kluge has never objected to the directive that he “not attempt to
     counsel or advise students on his/her lifestyle choices.” Neither party ad-
     dressed this term of the agreement in the briefing, but Dr. Snapp testified
     that Kluge requested “the ability to talk directly to students about their
     eternal destination,” which Dr. Snapp told him was not allowed. R. 112-6,
     at 6. This directive is consistent with that conversation. See also R. 120-5, at
     8 (Dr. Daghe testifying that he included that statement because Kluge’s
     “job was to teach the students, not to make sure he was letting them know
     his opinion one way or the other,” and because he “did not want one of
     my teachers counseling or advising students on their choices.”). The “cur-
     rent court decision applicable to Indiana” was likely our decision in Whit-
     aker ex rel. Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d
     1034 (7th Cir. 2017), abrogated on other grounds by Illinois Republican
     Party v. Pritzker, 973 F.3d 760 (7th Cir. 2020), which had been issued two
     months prior to this meeting. We held there that a transgender student
     had a reasonable likelihood of succeeding on the merits of a Title IX sex
     discrimination claim based on a theory of sex-stereotyping. 858 F.3d at
     1048–50. Although the dissent asserts that nothing in the record indicates
     that Whitaker was the decision to which the school referred, Kluge never
     contested the point and instead simply argued that any suit brought by a
     student on these facts under Whitaker would be frivolous. Because we de-
     cline to address the Title IX issue, we need not address this matter further.




                                                                                        SA-013
Case: 24-1942
      21-2475      Document: 16
                             66             Filed: 07/10/2024
                                                   04/07/2023        Pages: 306
                                                                            134




     12                                                       No. 21-2475

     a student asked him why he was using last names only, he
     would not mention his religious objections to using transgen-
     der students’ first names and would explain, “I’m using last
     names only because we’re a team, we’re an orchestra team,
     just like a sports coach says, hey, Smith, hey, Jones. We are
     one orchestra team working towards a common goal.”
     R. 120-3, at 17. Dr. Snapp and Gordon agreed that this was an
     acceptable arrangement. They also agreed to assign the task
     of handing out orchestra uniforms to another person so that
     Kluge would not be required to hand students clothing that
     he believed was inconsistent with their sex recorded at birth.
     R. 120-3, at 17. To memorialize this new understanding, Gor-
     don altered the document presented to Kluge: after the first
     paragraph, she wrote, “We agree that John may use last name
     only to address students.” At the bottom of the page, she
     wrote, “In addition, Angie Boyer will be responsible for dis-
     tributing uniforms to students.” She initialed both changes.
     Kluge checked the “I will comply” line, and signed and dated
     the form. R. 15-1.
         Kluge then began to teach his regularly assigned classes
     which included two transgender students, Aidyn Sucec and
     Sam Willis. 5 R. 120-3, at 20. Within a month, Dr. Daghe began
     to hear complaints about Kluge from Lee, the faculty advisor
     of the Equality Alliance Club. R. 120-2, at 4; R. 58-2, at 2–3;
     R. 120-14, at 7–8. Lee was also a member of the school’s three-



     5      As we note below, Sam Willis did not change his name and gen-
     der marker in PowerSchool until the end of September 2017. R. 120-3, at
     20.




                                                                               SA-014
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                     13

     teacher Faculty Advisory Committee. R. 120-2, at 4. In an Au-
     gust 29, 2017 email to Dr. Daghe, Lee reported:
            I wanted to follow up regarding the pow-
            erschool/students changed name discussion at
            the Faulty Advisory as some issue[s] have
            arisen in the last few days that need to be ad-
            dressed. … There is a student who has had their
            name changed in powerschool. They are a fresh-
            man who this teacher knew from 8th grade. The
            teacher refuses to call the student by their new
            name. I see this is a serious issue and the stu-
            dent/parents are not exactly happy about it. …
            As the student said, “what more are we sup-
            posed to do?”
     R. 120-15, at 2. See also R. 120-12 (September 1, 2017 letter to
     the school from parent of student noting child’s transgender
     status and reporting problems with a teacher who uses incor-
     rect gendered language against the wishes of the parents and
     medical providers of the child, leading to confusion for other
     students on how to address the child); R. 120-13 (August 30
     through September 21, 2017 email chain between parent and
     school counselor regarding student’s transgender status, up-
     dates to PowerSchool database, and repeated problems with
     Kluge using incorrect gendered language that the parent
     characterizes as “very disrespectful and hurtful,” and which
     causes the child “a lot of distress.”). Lee also described the sit-
     uation of a student in the process of a PowerSchool name
     change, whose supportive parent asked the teacher to start
     using the new name, and the teacher refused, citing the Name




                                                                           SA-015
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     14                                                   No. 21-2475

     Policy. R. 120-15, at 2. Lee closed his email by turning the
     problem over to Dr. Daghe:
            I know that this is something that must be hard
            to deal with from your perspective. You are try-
            ing to do the right thing for your employees and
            students alike. I absolutely do not envy your po-
            sition and thus far you have been incredibly
            supportive and it means a lot. However, there is
            confusion amongst some teachers and students
            that I think needs clarification and perhaps a
            teacher or two that needs to know that it is not
            ok to disobey the powerschool rule.
            I hope this makes sense mate. Maybe me, you
            and Kat need to sit down and talk about this. I
            am not totally sure and of course I am very bi-
            ased. However, I have always admired your
            leadership and now look to you for the next
            step.
     R. 120-15, at 2–3.
         Lee also began to report to Dr. Daghe on comments he was
     hearing from students who attended the Equality Alliance
     meetings, where Kluge’s behavior became a frequent topic of
     conversation. R. 58-2, at 2–4; R. 120-14, at 7–14; R. 120-2, at 4.
     According to Lee, both Aidyn and Sam discussed during
     those meetings how Kluge was referring to them by their last
     names only, a practice they found insulting and disrespectful.
     R. 58-2, at 2; R. 120-14, at 7. Lee confirmed that Aidyn and Sam
     attributed Kluge’s last names practice to their presence in the
     classroom, and this made them feel isolated and targeted.




                                                                          SA-016
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                               15

     R. 58-2, at 2–3; R. 120-14, at 7–8. “It was clearly visible the
     emotional distress and the harm that was being caused to-
     wards them. It was very, very clear, and, so, that was clear for
     everyone to see but that is also what they described as well,”
     Lee testified. R. 120-14, at 7–8. When asked if it was his inter-
     pretation that Sam and Aidyn “felt as if they were being dis-
     criminated against by Mr. Kluge,” Lee replied, “I wouldn’t
     describe it so much as an interpretation. It was just very, very
     clear at the meetings to see how much emotional harm was
     being caused towards Sam and Aidyn. It was clear for every-
     one at the meetings just to see how much of an impact it was
     having on them. … [I]t was so clearly visible that I don’t feel
     like there was anything necessarily to interpret.” R. 120-14, at
     8. Lee passed these concerns onto Dr. Jessup as well.
     R. 120-14, at 8. Although Kluge asserted that he was perfectly
     compliant in the use of last names only, Lee also reported that
     students complained that Kluge would occasionally slip up
     and use first names or gendered honorifics rather than last
     names only. 6 R. 58-2, at 3; R. 120-14, at 8–9.

     6         In his deposition, Kluge testified, “From Day 1 I was consistent in
     using last names only and using it for all students. I didn’t target stu-
     dents.” R. 120-3, at 36. Because we must construe the record in favor of
     Kluge on summary judgment, we credit his testimony that he was per-
     fectly compliant with the Name Policy and never slipped up. However, in
     a letter to the Equal Employment Opportunity Commission, Kluge’s law-
     yer stated, “Kluge made a good faith effort to address all students by last
     names and to never ‘misgender’ students. He admits that he may have
     made occasional mistakes in referring to students he formerly called by
     their first names.” R. 120-19, at 7. In any case, we may also credit Lee’s
     statement that he conveyed to administrators that students complained
     that Kluge did slip up, not for the truth of the matter but to show the state
                                                                       (continued)




                                                                                     SA-017
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     16                                                            No. 21-2475

         In addition to the complaints of the transgender students,
     Lee reported that he had been approached by a student who
     was not in the Equality Alliance but was in Kluge’s orchestra
     class. R. 58-2, at 3; R. 120-14, at 9. That student, who did not
     identify as LGBTQ, told Lee that Kluge’s use of last names
     made him feel incredibly uncomfortable. The student de-
     scribed Kluge’s practice as very awkward because the student
     was fairly certain that all the students knew why Kluge had
     switched to using last names, and that it made the
     transgender students in the orchestra class stand out. The stu-
     dent felt bad for the transgender students, and shared with
     Lee that other students felt this way as well. R. 58-2, at 3;
     R. 120-14, at 9. Some students believed that Kluge avoided ac-
     knowledging transgender students who raised their hands in
     class. R. 58-2, at 3; R. 120-14, at 8–9. Kluge denied doing so,
     but the evidence is undisputed that these sorts of complaints
     were reported to school administrators.


     of mind of the school administrators receiving these reports. In addition
     to Lee’s testimony, as we discuss below, two transgender students in
     Kluge’s classes averred that Kluge sometimes used gendered honorifics or
     first names for non-transgender students. Because Kluge denies this, we
     assume Kluge’s perfect compliance for the purpose of the summary judg-
     ment motion. Kluge does not, however, contest that the students con-
     veyed such complaints to teachers and administrators, and this is relevant
     to the administrators’ state of mind. See Khunger v. Access Cmty. Health Net-
     work, 985 F.3d 565, 575 (7th Cir. 2021) (out-of-court complaints about an
     employee are admissible when offered not for their truth but to show the
     employer’s state of mind when making a termination recommendation).
     Moreover, Kluge submitted no evidence that the teachers and administra-
     tors did not honestly believe the reports that Kluge was not fully compli-
     ant.




                                                                                     SA-018
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                               17

         The record also contains sworn statements from Sam Wil-
     lis and Aidyn Sucec memorializing their experiences in
     Kluge’s class. R. 58-1 (Willis Affidavit); R. 22-3 (Sucec Affida-
     vit). Sam averred that he knew Kluge from his participation
     in music programs in middle school. After deciding to pub-
     licly transition at the start of his sophomore year (2017–2018),
     Sam emailed the school counselor that he would be using the
     name “Samuel” and masculine pronouns going forward. His
     mother emailed Kluge directly about the change because
     Kluge had known Sam by a different name in middle school.
     Kluge did not respond to the email and Sam reported that
     Kluge referred to him as “Miss Willis” on several occasions. 7
     This led to other students questioning Sam’s sex, which was
     upsetting to him. In early fall, Sam’s mother requested that he
     be allowed to wear a tuxedo for a fall concert. At that point,
     the school informed Sam’s mother about the new Pow-
     erSchool Name Policy. Sam’s parents then submitted the re-
     quired letters from themselves and Sam’s healthcare pro-
     vider, and his name and gender markers were amended in
     PowerSchool in time to get the tuxedo. According to Sam,
     Kluge then stopped calling him “Miss Willis,” but sometimes
     used gendered honorifics such as “Miss” or “Mr.” and gen-


     7         Although Sam did not change his name and gender markers in
     PowerSchool until late September 2017, Kluge’s use of the term “Miss Wil-
     lis” would have violated the Name Policy because of the use of the gen-
     dered honorific “Miss.” Kluge understood that his accommodation re-
     quired him to use last names only and refrain from using gendered hon-
     orifics in all of his classes, whether or not there were transgender students
     in the class. R. 120-3, at 18. Nevertheless, Kluge denies ever slipping up,
     and we credit that testimony as we discuss above.




                                                                                     SA-019
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     18                                                No. 21-2475

     dered pronouns when referring to students who were not
     transgender. Sam reported that Kluge’s last names practice
     was awkward because most students knew why Kluge had
     made the switch, contributing to Sam’s sense that he was be-
     ing targeted because of his transgender identity. Sam ex-
     plained that he felt hurt by Kluge’s treatment, and that his
     family was hurt and angry that Kluge thought he knew better
     than they did. He averred that Kluge’s actions exposed him
     to widespread public scrutiny in high school. R. 58-1.
         Aidyn Sucec, who began high school the same year that
     the Name Policy went into effect, averred that, after years of
     struggling with depression and anxiety, he was diagnosed
     with gender dysphoria in the spring of 2017. While receiving
     treatment from medical providers for that condition, Aidyn
     began to take steps to socially transition, including changing
     his name and asking others to use male pronouns to refer to
     him. He explained, “Being addressed and recognized as Ai-
     dyn was critical to helping alleviate my gender dysphoria. My
     emotional and mental health significantly improved once my
     family and friends began to recognize me as who I am.”
     R. 22-3, at 3. Prior to beginning high school, Aidyn’s mother
     spoke to a guidance counselor to discuss steps the school
     could take to ensure his safety and well-being as a
     transgender student. Aidyn’s mother and therapist subse-
     quently submitted letters to the school requesting changes to
     Aidyn’s name and gender marker in PowerSchool, and the
     change was in place at the beginning of the academic year. All
     of Aidyn’s teachers except Kluge complied with the Name
     Policy. On the first day of class, Aidyn received a folder from
     the substitute teacher covering for Kluge with his former first




                                                                       SA-020
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     No. 21-2475                                                              19

     name on it. The substitute also referred to him by his former
     first name in front of other students, which he experienced as
     “intensely humiliating and traumatizing.” Throughout the
     fall semester, Kluge refused to call him “Aidyn,” instead re-
     ferring to him as “Sucec” or avoiding using any name and
     simply nodding or waving in his direction. Aidyn averred
     that Kluge sometimes used gendered honorifics with other
     students in the class, and less frequently called those students
     by their first names. Kluge’s behavior left Aidyn feeling “al-
     ienated, upset, and dehumanized.” He dreaded going to class
     each day and was uncomfortable each time he had to speak
     with Kluge one-on-one. Kluge’s behavior was noticeable to
     others in the class, and at one point Aidyn’s stand partner
     asked him why Kluge would not just say his name; Aidyn felt
     forced to tell him that it was because he was transgender. Ai-
     dyn discussed Kluge’s behavior with his therapist as part of
     his ongoing treatment for gender dysphoria. He noted that
     Kluge’s practice was also discussed multiple times at Equality
     Alliance meetings. By the end of the first semester, Aidyn told
     his mother that he did not want to continue with orchestra in
     his sophomore year. He did not in fact continue with orches-
     tra the next year, and due to harassment he faced after Kluge
     left the school, Aidyn left Brownsburg at the end of his soph-
     omore year. 8 R. 22-3.

     8       Kluge characterizes the affidavits of Sam and Aidyn as “after-cre-
     ated evidence,” which contained information about events that occurred
     after Kluge’s termination. But both affidavits largely describe events that
     occurred before the school made the decision to terminate Kluge, and both
     affirm the information that Lee passed on to Dr. Daghe from Equality Al-
     liance Meetings. The only exception is that the school was not aware that,
                                                                      (continued)




                                                                                    SA-021
Case: 24-1942
      21-2475       Document: 16
                              66             Filed: 07/10/2024
                                                    04/07/2023         Pages: 306
                                                                              134




     20                                                        No. 21-2475

         Students were not the only source of concern about
     Kluge’s practice. Lee reported that he had been approached
     by three teachers—Jason Gill, Melinda Lawrie, and Justin
     Bretz—during that academic year with concerns that Kluge’s
     practice was causing harm to students. R. 120-14, at 16–17
     (“they felt very strongly that this was harming students, not
     just Sam and Aidyn but just students in general who would
     potentially be in Mr. Kluge’s class.”). Dr. Daghe was ap-
     proached by two additional teachers who were also depart-
     ment heads in Fine Arts (the department in which Kluge
     taught), Tracy Runyon and Melissa Stainbrook. They too con-
     veyed complaints about Kluge’s use of last names only. Dr.
     Daghe explained that teachers within the department who
     had a complaint about another teacher would convey con-
     cerns to the department heads and he was therefore most in
     contact with those two teachers in Kluge’s department.
     R. 113-5, at 8–9.
        After hearing about concerns from counselors that stu-
     dents were uncomfortable in some of their classes with re-
     gards to transgender issues, Dr. Jessup attended an Equality
     Alliance Club meeting to hear from students herself. R. 120-1,


     midway through the school year, Aidyn told his mother that he did not
     wish to continue with orchestra the next academic year, and in fact ended
     up leaving Brownsburg at the end of the following year due to harassment
     he received from other students. Although Brownsburg did not know that
     Aidyn would withdraw from orchestra or leave the school, at most the
     affidavit confirms that the school accurately predicted the fallout from
     Kluge’s failure to follow the Name Policy that was designed to avoid this
     very harm to the school’s mission. We do not rely on any information from
     the affidavits that post-dates Kluge’s termination.




                                                                                 SA-022
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023         Pages: 306
                                                                                134




     No. 21-2475                                                             21

     at 4; R. 120-6, at 7. Approximately forty students attended the
     meeting. Four or five students at the meeting complained
     about a teacher using last names only to address students. 9
     The other students in attendance appeared to agree with the
     complaints. R. 120-1, at 4. Dr. Jessup also heard from students
     that they felt singled out by the use of their last names and
     that “not all students were called by their last name by Mr.
     Kluge.” R. 120-6, at 7. See also R. 113-4, at 9 (Gordon testifying
     that she was “made aware that there had been complaints
     made to Dr. Daghe from students and staff that Mr. Kluge
     wasn’t following those guidelines that he had agreed to at the
     start of the year.”).
         Dr. Daghe continued to hear complaints about Kluge’s
     last-names-only practice throughout the fall semester, but
     hoped that the issue would resolve itself. R. 120-2, at 4. He
     therefore did not raise the matter with Kluge until he met with
     Kluge on December 13, 2017, after it became apparent that the
     accommodation was not working in practice because students
     were being harmed, and the learning environment was being
     disrupted. R. 120-2, at 4; R. 112-5, at 7. Dr. Daghe testified that
     the purpose of the meeting was to tell Kluge that the last-
     names-only policy was not working in practice:



     9       The Equality Alliance Club had a policy of not using teachers’
     names at meetings. R. 120-14, at 11. Nevertheless, because of references to
     orchestra class and because Kluge was the only teacher at the school who
     had been permitted the last-names-only accommodation, both Lee and Dr.
     Jessup understood the students to be referring to Kluge. R. 120-14, at 7;
     R. 120-1, at 4.




                                                                                   SA-023
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     22                                                No. 21-2475

             And the purpose of that meeting was to tell him
             that that’s not going well. I’m getting reports
             from students, I’m getting reports from parents,
             I’m getting reports from our teams which are
             done by grade level, I’m getting reports by
             teachers in his own department that students
             are uncomfortable in his class and that they are
             bringing the conversations that occur in his
             class to other classrooms and having discus-
             sions about the uncomfortableness, whether it
             was dealing with a transgender student and last
             names only or whether it was times when last
             names weren’t used or it was times when, you
             know, kids just want it all to go away and act
             like everything is normal. So I called John down
             and told him that’s what’s been given to me.
             And so, to me, as the high school principal try-
             ing to accommodate people and also trying to
             make sure that education can move forward, I
             just told him that.
     R. 112-5, at 7.
          According to Kluge’s own description of the meeting:
             Daghe scheduled a meeting with me to ask me
             how the year was going and to tell me that my
             last-name-only Accommodation was creating
             tension in the students and faculty. He said the
             transgender students reported feeling “dehu-
             manized” by my calling all students last-name-
             only. He said that the transgender students’




                                                                     SA-024
Case: 24-1942
      21-2475      Document: 16
                             66        Filed: 07/10/2024
                                              04/07/2023        Pages: 306
                                                                       134




     No. 21-2475                                                  23

           friends feel bad for the transgender students
           when I call transgender students, along with
           everyone else, by their last-name-only. He said
           that I am a topic of much discussion in the
           Equality Alliance Club meetings. He said that a
           number of faculty avoid me and don’t hang out
           with me as much because of my stance on the
           issue.
           Daghe said that parents complain about me. He
           stated that a transgender student’s mother com-
           plained to the principals about my orchestra
           [hair color] policy, that it was an unfair and un-
           warranted policy and should be removed. The
           building principal asked if the other teachers
           had this same policy. I told him “yes” and sent
           him their policies and mine. He responded to
           the parent and the parent backed down. This
           was a policy by my entire performing arts de-
           partment that students must have natural-col-
           ored hair for performances so they don’t dis-
           tract from the music being played.
           Daghe referred to this parent complaint in this
           meeting as being evidence of me being singled
           out while other teachers with the same policies
           did not receive any complaints.
           I explained to Daghe that this persecution and
           unfair treatment I was undergoing was a sign
           that my faith as witnessed by my using last-
           names-only to remain neutral was not coming




                                                                       SA-025
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023        Pages: 306
                                                                         134




     24                                                  No. 21-2475

            back void, but was being effective. He didn’t
            seem to understand why I was encouraged. He
            told me he didn’t like things being tense and
            didn’t think things were working out. He said
            he thought it might be good for me to resign at
            the end of the year. I told Daghe I was now en-
            couraged all the more to stay.
     R. 15-3, at 4–5. See also R. 120-3, at 21–25. Kluge had not “wit-
     ness[ed]” tension, and also had not “witness[ed]” that anyone
     was avoiding him. R. 120-3, at 23; R. 112-5, at 7. Although
     Kluge believed that he was singled out for complaints about
     the department-wide hair color policy because of his religion,
     Dr. Daghe concluded that “it was because of the way he was
     handling this accommodation.” R. 112-5, at 7. Because Dr.
     Daghe would not name the students or faculty who com-
     plained, Kluge suspected that Dr. Daghe was lying. R. 120-3,
     at 23. Kluge left this meeting believing that his use of last
     names only was working and that there was no evidence of
     “undue hardship” arising from his practice. R. 120-3, at 23–25.
        On January 17, 2018, Dr. Daghe held another meeting with
     Kluge. According to Kluge’s own account of the meeting:
            Daghe scheduled a meeting with me because he
            said he didn’t think he was direct enough in our
            December 13 meeting. He told me in this meet-
            ing plainly that he really wanted to see me re-
            sign at the end of the school year. I told him that
            it was simply because he didn’t like the tension
            and conflict. But I used examples in scripture to
            point to why this is a sign that I should stay. I




                                                                         SA-026
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                 25

           referenced Acts 19:11-41 with Paul’s conflict in
           Ephesus and 1 Corinthians 16:8-9 when Paul
           was encouraged by the opportunity, saying, “a
           wide door for effective service has opened to
           me, and there are many adversaries.”
     R. 15-3 at 5. Kluge also reported that Dr. Daghe asked him if
     he was going to resign and offered to write him letters of rec-
     ommendation. Kluge deferred the decision, saying he wanted
     to wait until a January 22, 2018 faculty meeting when new
     transgender policies would be announced. R. 15-3, at 5.
         On January 22, 2018, Dr. Jessup presented the faculty with
     a document titled “Transgender Questions.” R. 15-4. The doc-
     ument provided policies and guidance for faculty in a ques-
     tion/answer format regarding issues relevant to transgender
     students. Among the questions posed and answers given
     were the following:
           Are we allowed to use the student’s last name
           only? We have agreed to this for the 2017–2018
           school year, but moving forward it is our expec-
           tation the student will be called by the first
           name listed in PowerSchool.
           How do teachers break from their personal bi-
           ases and beliefs so that we can best serve our
           students? We know this is a difficult topic for
           some staff members, however, when you work
           in a public school, you sign up to follow the law
           and the policies/practices of that organization
           and that might mean following practices that
           are different than your beliefs.




                                                                       SA-027
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     26                                                  No. 21-2475

            What feedback and information has been re-
            ceived from transgender students? They ap-
            preciate teachers who are accepting and sup-
            porting of them. They feel dehumanized by
            teachers they perceive as not being accepting or
            who continue to use the wrong pronouns or
            names. Non-transgender students in class-
            rooms with transgender students have stated
            they feel uncomfortable in classrooms where
            teachers are not accepting. For example, teach-
            ers that call students by their last name, don’t
            use correct pronouns, don’t speak to the student
            or acknowledge them, etc.
     R. 15-4, at 9–10.
         After this faculty meeting, on February 4, 2018, Kluge sent
     an email to Drs. Snapp and Daghe quoting the language in the
     Transgender Questions document regarding the prohibition
     on the use of last names only. R. 120-16; R. 15-3, at 5. He noted
     that his agreement with the school was not limited to the
     2017–2018 academic year, and asked if he would be allowed
     to use last names only going forward. R. 120-16. In response,
     Gordon and Dr. Daghe scheduled a meeting with Kluge for
     February 6, 2018. R. 15-3, at 6. Kluge secretly recorded the
     meeting, and the transcript appears in the record. R. 112-4, at
     20–55; R. 120-3, at 25. Gordon and Dr. Daghe informed Kluge
     that, after the 2017–2018 school year, all teachers would be re-
     quired to address students by the first name recorded in Pow-
     erSchool. R. 15-3, at 6; R. 112-4, at 24. Kluge again explained
     that his objection to using the PowerSchool names for
     transgender students was religious and that he felt this was a




                                                                         SA-028
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                   27

     reasonable accommodation. R. 112-4, at 25–32. Gordon and
     Dr. Daghe disagreed with him, explaining that he worked in
     a public school and that the last-names-only practice was not
     reasonable because it was “detrimental to kids.” R. 112-4, at
     25–28. Kluge said he felt that using the names in PowerSchool
     forced him to “encourage” students “in a path that’s going to
     lead to destruction, to hell, I can’t as a Christian be encourag-
     ing students to hell.” R. 112-4, at 28. He cited a study from a
     doctor at Johns Hopkins that likened transgenderism to ano-
     rexia. R. 112-4, at 30. Dr. Daghe and Gordon explained to him
     that there were doctors on the other side of the issue and that
     the administrators had conducted their own extensive re-
     search in how to address the issue. R. 112-4, at 30. They held
     firm on the school’s Name Policy, and the conversation
     turned to Kluge’s resignation/termination. R. 112-4, at 32.
     Gordon explained that some teachers were sensitive about let-
     ting colleagues and students know that they were leaving,
     and she therefore honored requests to not communicate or
     process retirements or resignations until the school year con-
     cluded. R. 112-4, at 35–37. She discussed the timing of his de-
     parture from the school, explaining that because his position
     was difficult to fill, the school would need to begin the search
     as soon as possible. R. 112-4, at 35–37. Kluge interpreted this
     offer as allowing him to submit a conditional resignation that
     he could withdraw before some agreed date. R. 15-3, at 6;
     R. 120-3, at 26. Gordon believed she was offering only to delay
     notifying anyone of the resignation, not that the resignation
     could be withdrawn. R. 120-17, at 2; R. 112-4, at 11–12. In fact,
     Indiana law and the school’s bylaws do not permit the with-
     drawal of a resignation once it has been properly submitted




                                                                         SA-029
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     28                                                 No. 21-2475

     to the Superintendent, and Gordon was the Superintendent’s
     agent for this purpose. R. 112-4, at 11–12; R. 120-8; R. 120-9.
         Gordon met with Kluge again in March 2018 to set a date
     for his decision. She reiterated that Kluge had three options:
     comply with the Name Policy; resign; or be terminated. She
     explained that if he would not comply and did not resign by
     May 1, 2018, the termination process would begin on that
     date. R. 15-3, at 6; R. 113-2, at 6.
         On April 30, 2018, Kluge submitted his resignation by
     email. R. 120-17, at 2. In the email, he said he would resign as
     of early August 2018 when his contract for the academic year
     finished. He explained that he was resigning because the
     school required teachers to call transgender students by a
     name that “encourages the destructive lifestyle and psycho-
     logical disorder known as gender dysphoria.” R. 120-17, at 2.
     He noted that the school was withdrawing the last-names-
     only accommodation that allowed him to remain “neutral” on
     the issue. He was resigning because his Christian conscience
     “does not allow [him] to call transgender students by their
     ‘preferred’ name and pronoun,” and the school had directed
     him to either resign by May 1, or he would be terminated. He
     concluded:
            Please do not process this letter nor notify any-
            one, including any administration, about its
            contents before May 29, 2018. Please email me
            to acknowledge that you have received this
            message and that you will grant this request.
     R. 120-17, at 2. Gordon replied the same day, telling Kluge, “I
     will honor your request and not process this letter or share




                                                                        SA-030
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                   29

     with BHC administration until May 29.” R. 15-2; R. 120-17, at
     2.
         In May 2018, as part of the curriculum, Kluge participated
     in an orchestra awards ceremony. R. 120-3, at 32–33. At the
     ceremony, he addressed the students, including the transgen-
     der students, by their first and last names as they appeared in
     PowerSchool. R. 120-3, at 33; R. 58-1, at 4. Kluge explained that
     he did this because “it would have been unreasonable and
     conspicuous to address students in such an informal manner
     at such a formal event as opposed to the classroom setting
     where teachers refer to students by last names as a normal
     form of address.” R. 120-3, at 33. In his deposition, Kluge also
     affirmed the account that his lawyer gave to the EEOC in ex-
     plaining the exception he made at this event, asserting that he
     did not wish to “bring into doubt my stated rationale for us-
     age of last names only.” R. 120-3, at 32–33; R. 120-19, at 7.
     Kluge confirmed that his lawyer’s statement was an accurate
     account of what transpired at the orchestra award ceremony,
     and he adopted some of his lawyer’s language as his own
     statement. R. 120-3, at 32–33. His attorney’s statement to the
     EEOC explained:
            During classes, Kluge addressed students by
            last names, as a reasonable accommodation for
            his sincerely held Christian beliefs. But during
            the orchestra awards ceremony, because of its
            formal nature, he used the full names for stu-
            dents listed in PowerSchool to address all stu-
            dents as they were receiving their awards—in-
            cluding transgender students—because he was
            trying to work with the school in only




                                                                         SA-031
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     30                                                           No. 21-2475

             requesting what was reasonable. Kluge thought
             it unreasonable and conspicuous to address stu-
             dents in such an informal manner at such a for-
             mal event, as opposed to the classroom setting
             where teachers refer to students by last names
             as a normal form of address. Kluge’s Christian
             faith required that he do no harm to his stu-
             dents, and this acquiescence to the administra-
             tion’s position was done solely out of sincerely-
             held beliefs, and not in agreement with the pol-
             icy.
     R. 120-19, at 7 (Letter of Michael J. Cork, Esq. to David A. Tite,
     EEOC Investigator). Thus Kluge acknowledged that using
     last names only in some settings would be unreasonable, con-
     spicuous, and potentially cause harm to his students contrary
     to the requirements of his Christian faith.10 He therefore de-
     cided to use first and last names, and in keeping with the ac-
     commodation, he used the first names from PowerSchool ra-
     ther than the students’ former first names.11 Kluge conceded
     that a school has an interest in being concerned with the men-
     tal health of its students. R. 120-3, at 35.


     10       The dissent contends that we are “constru[ing] this statement as
     a legal concession” that Kluge’s practice would potentially harm his stu-
     dents. No construing is necessary; the statement speaks for itself.
     11       Brownsburg contends that Kluge’s use of the PowerSchool names
     at this ceremony calls into question the sincerity of his asserted religious
     beliefs. Because we resolve the case in favor of Brownsburg, we need not
     address the sincerity of Kluge’s beliefs, and we assume his sincerity for
     summary judgment purposes.




                                                                                    SA-032
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                  31

         Kluge scheduled a meeting with Dr. Daghe and Gordon
     on May 25, 2018, at the Brownsburg Central Office. R. 15-3, at
     1. When Kluge arrived for the meeting, Gordon was not pre-
     sent, and Dr. Daghe told Kluge, “We have everything we
     need. We don’t need to meet. Go back to the high school.” Dr.
     Daghe also told Kluge not to meet with Gordon that day.
     R. 15-3, at 1. Kluge instead delivered a letter to Gordon’s of-
     fice, explaining that he had wanted to meet in order to present
     a written “Withdrawal of Intention to Resign and Request for
     Continuation of Accom[m]odation.” R. 15-3. A few hours
     later, Brownsburg locked Kluge out of school buildings and
     online services, and posted his job as vacant. R. 113-2, at 7;
     R. 120-3, at 29.
         At the June 11, 2018 school board meeting where resigna-
     tions were considered, Kluge was denied a request to speak
     during the regular part of the meeting, but gave a brief state-
     ment during the public-comment section of the meeting.
     R. 120-3, at 29; R. 120-18, at 10. He explained what had hap-
     pened, and asked the board to allow him to withdraw his res-
     ignation and to reinstate him. R. 120-3, at 29–30; R. 120-18, at
     10. The board instead accepted his resignation without com-
     ment. R. 113-2, at 7; R. 120-3, at 30; R. 120-18, at 2.
         Kluge sued the school, bringing claims under Title VII for
     religious discrimination/failure to accommodate; retaliation;
     and hostile work environment. He also brought claims under
     the First and Fourteenth Amendments and Indiana law. The
     district court dismissed the claims under the First and Four-
     teenth Amendments as well as the state law claims, and the
     Title VII claim for hostile work environment. Kluge does not
     appeal those dismissals. Kluge’s claim for religious




                                                                        SA-033
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     32                                                   No. 21-2475

     discrimination/failure to accommodate (for the sake of sim-
     plicity, we will call this the discrimination claim) and his re-
     taliation claim proceeded to discovery. Ultimately, Kluge
     filed a motion for partial summary judgment on his discrimi-
     nation claim, and the school countered with a cross-motion
     for summary judgment on both of the remaining claims.
         The district court denied Kluge’s motion, and granted
     Brownsburg’s cross-motion. On the discrimination claim, the
     court framed the ultimate issue as “whether, assuming perfect
     compliance with the last names only accommodation, that ac-
     commodation resulted in undue hardship to” Brownsburg.
     Kluge v. Brownsburg Cmty. Sch. Corp., 548 F. Supp. 3d 814, 839
     (S.D. Ind. 2021). For summary judgment purposes, the court
     treated Kluge’s forced resignation as an adverse employment
     action. The court also accepted that his religious beliefs and
     objections to using the PowerSchool names and pronouns of
     transgender students were sincerely held. After finding that
     there was an objective conflict between Kluge’s sincerely held
     religious beliefs and Brownsburg’s policies for transgender
     students, the court concluded that Kluge’s refusal to follow
     those policies created an undue hardship on Brownsburg’s
     mission of educating all of its students. In particular, the court
     found that the last-names-only accommodation burdened
     Brownsburg’s ability to provide an education for all students
     and conflicted with the school’s philosophy of creating a safe
     and supportive environment for all students. In finding that
     the accommodation created an undue burden, the court relied
     on the reports of Aidyn and Sam as well as those of other stu-
     dents and teachers. Aidyn and Sam reported feeling targeted
     and uncomfortable, and Aidyn grew to dread going to




                                                                          SA-034
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                  33

     Kluge’s orchestra class, ultimately quitting orchestra entirely.
     Other students and teachers complained that Kluge’s practice
     was offensive or insulting and made his classroom environ-
     ment unwelcome and uncomfortable. The court found that
     Brownsburg was not required to allow an accommodation
     that unduly burdened its business of educating all students in
     a supportive manner. The court found an additional undue
     burden in that the accommodation opened the school up to
     the threat of Title IX discrimination lawsuits that could be
     brought by transgender students who felt targeted and dehu-
     manized by Kluge’s practice. The court concluded that
     Brownsburg had demonstrated as a matter of law that it could
     not accommodate Kluge’s “religious belief against referring
     to transgender students using their preferred names and pro-
     nouns without incurring undue hardship.” Kluge, 548
     F. Supp. 3d at 846.
         As for Kluge’s retaliation claim, the court found that
     Kluge’s briefing on the matter had been meager, and that he
     had simply recited his version of the facts without discussing
     how those facts meet the requirements of a retaliation claim.
     The court also noted that Kluge failed to address Browns-
     burg’s argument that there is no evidence in the record from
     which a reasonable fact finder could infer that its non-dis-
     criminatory explanation for its action was a pretext for reli-
     gious discrimination. Without any explanation of his theory
     of retaliation and without any evidence demonstrating pre-
     text, the court found that Kluge had waived his claim for re-
     taliation. As an alternate basis for granting judgment in favor
     of the defendant, the court also noted that Kluge failed to pre-
     sent any evidence from which a reasonable fact finder could




                                                                        SA-035
Case: 24-1942
      21-2475       Document: 16
                              66                  Filed: 07/10/2024
                                                         04/07/2023        Pages: 306
                                                                                  134




     34                                                            No. 21-2475

     conclude that a causal connection exists between Kluge’s pro-
     tected activity and his resignation, any evidence of pretext, or
     any evidence that Brownsburg’s action was motivated by dis-
     criminatory animus. The court therefore granted summary
     judgment in favor of the school on the retaliation claim as
     well. Kluge appeals.
                                            II.
         On appeal, Kluge asks the court to reverse the grant of
     summary judgment in favor of Brownsburg on both of his
     claims. For the discrimination claim, he asks that we remand
     to the district court in order to enter summary judgment in
     his favor because Brownsburg withdrew a reasonable accom-
     modation and forced him to resign without demonstrating
     that the accommodation caused undue hardship.12 Kluge also

     12       Kluge appeals both the grant of summary judgment in favor of
     Brownsburg and the denial of summary judgment in his favor. Specifi-
     cally, he asks that we reverse and remand for judgment to be entered in
     his favor as a matter of law. When the district court considers cross-mo-
     tions for summary judgment, granting one and denying the other, the de-
     nial of summary judgment “has merged into the final judgment and is
     therefore appealable” as part of the appeal from the final judgment grant-
     ing the opposing party’s motion. Santaella v. Metro. Life Ins. Co., 123 F.3d
     456, 461 (7th Cir. 1997). In order to consider Kluge’s request that we re-
     verse the denial of summary judgment in his favor, we would be required
     to review the facts in the light most favorable to the defendant, Browns-
     burg, and draw all reasonable inferences in favor of the school. See Hess v.
     Reg-Ellen Machine Tool Corp., 423 F.3d 653, 658 (7th Cir. 2005) (“With cross-
     motions, our review of the record requires that we construe all inferences
     in favor of the party against whom the motion under consideration is
     made.”). As is apparent from our recitation of the undisputed facts, such
     a review would demonstrate that Kluge is not entitled to judgment as a
                                                                       (continued)




                                                                                     SA-036
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     No. 21-2475                                                              35

     urges this court to find that he preserved his retaliation claim
     and presented sufficient evidence in support of that claim to
     merit summary judgment in his favor; in the alternative, he
     seeks a trial on the retaliation claim. Brownsburg asks the
     court to affirm the district court’s judgment in all respects. We
     review the district court’s grant of summary judgment de
     novo, and we examine the record in the light most favorable
     to the party opposing judgment, in this case Kluge, constru-
     ing all reasonable inferences from the evidence in his favor.
     Anderson, 477 U.S. at 255; Horne v. Electric Eel Mfg. Co., 987 F.3d
     704, 713 (7th Cir. 2021). Summary judgment is appropriate
     when there are no genuine disputes of material fact and the
     movant is entitled to judgment as a matter of law. Fed. R. Civ.
     P. 56(a); Anderson, 477 U.S. at 247–48; Horne, 987 F.3d at 713.
     “[S]ince the review of summary judgment is plenary, errors
     of analysis by the district court are immaterial; we ask
     whether we would have granted summary judgment on this
     record.” Thorn v. Sundstrand Aerospace Corp., 207 F.3d 383, 386
     (7th Cir. 2000). See also Tobey v. Extel/JWP, Inc., 985 F.2d 330,
     332 (7th Cir. 1993) (“The question whether a movant is enti-
     tled to summary judgment is one of law—one therefore that
     we review de novo, which is to say without deference for the

     matter of law: the school asserts with copious evidence from students, fac-
     ulty and administrators that Kluge sometimes failed to follow the accom-
     modation (a failure which he conceded through his lawyer during pro-
     ceedings before the EEOC), treated transgender students differently than
     non-transgender students, and created what can be described at best as a
     difficult learning environment for the students in his class. He also alien-
     ated his colleagues in the Arts Department and offended parents. Con-
     struing the record in favor of Brownsburg, Kluge is not entitled to judg-
     ment. In considering Kluge’s appeal of the grant of summary judgment in
     favor of Brownsburg, we must construe the record in Kluge’s favor.




                                                                                    SA-037
Case: 24-1942
      21-2475     Document: 16
                            66              Filed: 07/10/2024
                                                   04/07/2023    Pages: 306
                                                                        134




     36                                                    No. 21-2475

     view of the district judge and hence almost as if the motion
     had been made to us directly.”).
                                       A.
        Title VII provides, in relevant part, that “It shall be an un-
     lawful employment practice for an employer—(1) to fail or re-
     fuse to hire or to discharge any individual, or otherwise to
     discriminate against any individual with respect to his com-
     pensation, terms, conditions, or privileges of employment, be-
     cause of such individual’s race, color, religion, sex, or national
     origin[.]” 42 U.S.C. § 2000e-2(a)(1). After that provision was
     enacted, the EEOC issued a guideline that required “that an
     employer, short of ‘undue hardship,’ make ‘reasonable ac-
     commodations’ to the religious needs of its employees.” Trans
     World Airlines, Inc. v. Hardison, 432 U.S. 63, 66 (1977); 29 C.F.R.
     § 1605.1(b) (1968). Congress later codified that “reasonable ac-
     commodation” regulation in its definition of the term “reli-
     gion”:
            The term “religion” includes all aspects of reli-
            gious observance and practice, as well as belief,
            unless an employer demonstrates that he is un-
            able to reasonably accommodate to an em-
            ployee’s or prospective employee’s religious
            observance or practice without undue hardship
            on the conduct of the employer’s business.
     42 U.S.C. § 2000e(j). The Supreme Court said that “[t]he intent
     and effect of this definition was to make it an unlawful em-
     ployment practice under [sec. 2000e-2(a)(1)] for an employer
     not to make reasonable accommodations, short of undue




                                                                           SA-038
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     No. 21-2475                                                 37

     hardship, for the religious practices of his employees and pro-
     spective employees.” Hardison, 432 U.S. at 74.
         The statute did not, however, provide guidance for deter-
     mining the degree of accommodation required of an em-
     ployer, and legislative history was not illuminating. Hardison,
     432 U.S. at 74–75. In Hardison, the Supreme Court set out to
     determine the reach of the employer’s statutory obligation to
     make reasonable accommodation for the religious obser-
     vances of its employees, which had not previously been
     spelled out by Congress or by EEOC guidelines. 432 U.S. at
     75. The plaintiff, Hardison, worked at Trans World Airlines
     (“TWA”) in an airplane maintenance department that oper-
     ated twenty-four hours a day, every day of the year. All em-
     ployees of the department were subject to the terms of a col-
     lective bargaining agreement that had a system of bidding for
     shift assignments based on seniority. Early in his employment
     at TWA, Hardison began following a religion that required its
     members to refrain from work from sunset on Friday until
     sunset on Saturday. But Hardison lacked the seniority to bid
     for a schedule that accommodated his religious beliefs and the
     union was unwilling to allow him to bypass the seniority sys-
     tem. TWA considered other possible solutions, but each had
     a cost to the employer such as breaching the seniority system,
     paying premium wages to hire someone to cover the Saturday
     shift, or leaving the shift uncovered. The company met sev-
     eral times with Hardison in attempts to find a solution, au-
     thorized the union steward to search for someone who would
     voluntarily swap shifts, and attempted without success to
     find Hardison another job within the company. TWA




                                                                       SA-039
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     38                                                  No. 21-2475

     eventually discharged Hardison on grounds of insubordina-
     tion for refusing to work his assigned shift.
         In a bench trial, the district court entered judgment in fa-
     vor of TWA after concluding that the proposed accommoda-
     tions presented an undue hardship for the company. The
     court of appeals reversed and found in favor of Hardison,
     concluding that TWA could have: (1) given Hardison a four-
     day work-week and used a supervisor or other worker to
     cover the fifth day; (2) filled Hardison’s shift with another em-
     ployee; or (3) arranged a swap between Hardison and another
     employee for shifts in the sundown Friday to sundown Satur-
     day period. The Supreme Court rejected all of these options
     because each would have created “undue hardship” under
     the statute. In particular, the first option would have caused
     other shop functions to suffer; the second would have re-
     quired the company to offer premium overtime pay to the
     substitute employee; and the third would have violated the
     seniority system. Hardison, 432 U.S. at 77–84.
         In considering the “undue hardship” language of the stat-
     ute, the Court decided that the duty to accommodate did not
     require a company to take steps inconsistent with a valid col-
     lective bargaining agreement or seniority system, noting:
            Title VII does not contemplate such unequal
            treatment. The repeated, unequivocal emphasis
            of both the language and the legislative history
            of Title VII is on eliminating discrimination in
            employment, and such discrimination is pro-
            scribed when it is directed against majorities as
            well as minorities. … Indeed, the foundation of




                                                                         SA-040
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     No. 21-2475                                                  39

            Hardison’s claim is that TWA and IAM engaged
            in religious discrimination in violation of [sec.
            2000e-2(a)(1)] when they failed to arrange for
            him to have Saturdays off. It would be anoma-
            lous to conclude that by “reasonable accommo-
            dation” Congress meant that an employer must
            deny the shift and job preference of some em-
            ployees, as well as deprive them of their con-
            tractual rights, in order to accommodate or pre-
            fer the religious needs of others, and we con-
            clude that Title VII does not require an em-
            ployer to go that far.
     Hardison, 432 U.S. at 81. The Court relied in part on the statu-
     tory preference given to bona fide seniority systems, noting
     that, under section 2000e-2(h), “absent a discriminatory pur-
     pose, the operation of a seniority system cannot be an unlaw-
     ful employment practice even if the system has some discrim-
     inatory consequences.” 432 U.S. at 82.
         The Court then considered the other options open to TWA
     to accommodate Hardison’s religious practice, such as replac-
     ing Hardison on those shifts with supervisory personnel or
     personnel from other departments, or replacing him with
     other available workers by paying premium overtime wages.
     Both alternatives, the Court noted, involved costs to the com-
     pany, “either in the form of lost efficiency in other jobs or
     higher wages.” 432 U.S. at 84. The Court found that the em-
     ployer was not required by the statute to incur either cost, in-
     stead holding that, “To require TWA to bear more than a de
     minimis cost in order to give Hardison Saturdays off is an un-
     due hardship.” 432 U.S. at 84.




                                                                        SA-041
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023        Pages: 306
                                                                        134




     40                                                 No. 21-2475

            Like abandonment of the seniority system, to re-
            quire TWA to bear additional costs when no
            such costs are incurred to give other employees
            the days off that they want would involve une-
            qual treatment of employees on the basis of
            their religion. By suggesting that TWA should
            incur certain costs in order to give Hardison Sat-
            urdays off the Court of Appeals would in effect
            require TWA to finance an additional Saturday
            off and then to choose the employee who will
            enjoy it on the basis of his religious beliefs.
            While incurring extra costs to secure a replace-
            ment for Hardison might remove the necessity
            of compelling another employee to work invol-
            untarily in Hardison’s place, it would not
            change the fact that the privilege of having Sat-
            urdays off would be allocated according to reli-
            gious beliefs.
            As we have seen, the paramount concern of
            Congress in enacting Title VII was the elimina-
            tion of discrimination in employment. In the ab-
            sence of clear statutory language or legislative
            history to the contrary, we will not readily con-
            strue the statute to require an employer to dis-
            criminate against some employees in order to
            enable others to observe their Sabbath.
     Hardison, 432 U.S. at 84–85.
        The Supreme Court subsequently spoke on reasonable ac-
     commodations for religious practice in the employment




                                                                      SA-042
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     No. 21-2475                                                 41

     context only two other times. In Ansonia Bd. of Educ. v. Phil-
     brook, 479 U.S. 60, 68 (1986), the Court clarified that “where
     the employer has already reasonably accommodated the em-
     ployee’s religious needs, the statutory inquiry is at an end.
     The employer need not further show that each of the em-
     ployee’s alternative accommodations would result in undue
     hardship.” The Court thus rejected the claim that the accom-
     modation obligation includes a duty to accept the proposal
     the employee prefers unless that accommodation causes un-
     due hardship on the employer’s conduct of his business. 479
     U.S. at 68. Instead, in situations where multiple accommoda-
     tions are possible, the Court held that an employer has met its
     statutory obligation “when it demonstrates that it has offered
     a reasonable accommodation to the employee.” 479 U.S. at 69.
         In the Court’s last and most recent foray into the reasona-
     ble accommodation provision of Title VII, the Court consid-
     ered a case where an employer declined to hire a woman for
     a sales position in a clothing store because she wore a head
     scarf, which would violate the store’s “Look Policy” that gov-
     erned employees’ dress. E.E.O.C. v. Abercrombie & Fitch Stores,
     Inc., 575 U.S. 768 (2015). At the time the store made the deci-
     sion, the assistant manager who interviewed the woman
     found her otherwise qualified to be hired but was concerned
     that the scarf violated the Look Policy’s prohibition on caps.
     The assistant manager sought guidance from a district man-
     ager, informing him that she believed that the prospective
     employee wore the scarf for religious reasons. The district
     manager directed the assistant manager not to hire the
     woman because the scarf would violate the Look Policy as
     would all other headwear, whether religious or otherwise.




                                                                       SA-043
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023       Pages: 306
                                                                       134




     42                                                No. 21-2475

     The prospective employee prevailed on a Title VII reasonable
     accommodation claim in the district court, but the court of ap-
     peals reversed, finding that an employer cannot be liable for
     failing to accommodate a religious practice until the applicant
     or employee provides the employer with actual knowledge of
     the need for an accommodation.
         The Supreme Court noted that the statute prohibits em-
     ployers from failing to hire an applicant “because of” her re-
     ligious practice. The term “because of” imports at a minimum
     the “but-for” standard of causation. Abercrombie, 575 U.S. at
     772. Title VII relaxes that standard by providing that “an un-
     lawful employment practice is established when the com-
     plaining party demonstrates that race, color, religion, sex, or
     national origin was a motivating factor for any employment
     practice, even though other factors also motivated the prac-
     tice.” 42 U.S.C. § 2000e-2(m) (emphasis added); Abercrombie,
     575 U.S. at 773. The statute also does not impose a knowledge
     requirement, but instead “prohibits certain motives, regardless
     of the state of the actor’s knowledge.” Abercrombie 575 U.S. at
     773. Thus:
           An employer who has actual knowledge of the
           need for an accommodation does not violate Ti-
           tle VII by refusing to hire an applicant if avoid-
           ing that accommodation is not his motive. Con-
           versely, an employer who acts with the motive
           of avoiding accommodation may violate Title
           VII even if he has no more than an unsubstanti-
           ated suspicion that accommodation would be
           needed. … An employer may not make an




                                                                       SA-044
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023        Pages: 306
                                                                        134




     No. 21-2475                                                   43

            applicant’s religious practice, confirmed or oth-
            erwise, a factor in employment decisions.
     Abercrombie, 575 U.S. at 773. Finally, the Court rejected the
     premise that a neutral employment policy cannot constitute
     intentional discrimination, finding:
            Title VII does not demand mere neutrality with
            regard to religious practices—that they be
            treated no worse than other practices. Rather, it
            gives them favored treatment, affirmatively ob-
            ligating employers not “to fail or refuse to hire
            or discharge any individual ... because of such
            individual’s” “religious observance and prac-
            tice.” An employer is surely entitled to have, for
            example, a no-headwear policy as an ordinary
            matter. But when an applicant requires an ac-
            commodation as an “aspec[t] of religious ...
            practice,” it is no response that the subsequent
            “fail[ure] ... to hire” was due to an otherwise-
            neutral policy. Title VII requires otherwise-neu-
            tral policies to give way to the need for an ac-
            commodation.
     Abercrombie, 575 U.S. at 775.
        The Supreme Court did not address the undue hardship
     standard in Philbrook or Abercrombie, leaving in place the
     standard it set in Hardison, namely, that the employer need
     not “bear more than a de minimis cost” in making an accom-
     modation. See also E.E.O.C. v. Walmart Stores East, L.P., 992
     F.3d 656, 658 (7th Cir. 2021) (describing Hardison’s de minimis
     cost as a “slight burden” to avoid the Latin). Our court




                                                                        SA-045
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     44                                                   No. 21-2475

     established a burden-shifting framework for proof of a Title
     VII claim for failure to accommodate religion in E.E.O.C. v.
     Ilona of Hungary, Inc., 108 F.3d 1569 (7th Cir. 1997), which must
     be modified slightly to account for the Supreme Court’s opin-
     ion in Abercrombie. To make out a prima facie case, an employee
     must demonstrate that: (1) an observance or practice that is
     religious in nature, and (2) that is based on a sincerely held
     religious belief, (3) conflicted with an employment require-
     ment, and (4) the religious observance or practice was the ba-
     sis or a motivating factor for the employee’s discharge or
     other discriminatory treatment. Abercrombie, 575 U.S. at
     772-73; Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d 444, 449
     (7th Cir. 2013); Porter v. City of Chicago, 700 F.3d 944, 951 (7th
     Cir. 2012); Ilona of Hungary, 108 F.3d at 1575. “If the employee
     shows these elements, the burden then shifts to the employer
     to show that it could not accommodate the employee’s reli-
     gious belief or practice without causing the employer undue
     hardship.” Adeyeye, 721 F.3d at 449; Baz v. Walters, 782 F.2d
     701, 706 (7th Cir. 1986).
         The district court determined that Kluge established a
     prima facie case of failure to accommodate a religious practice.
     The court noted that there were issues of fact as to whether
     Kluge’s religious beliefs were sincerely held, but taking the
     record in the light most favorable to Kluge for the purposes
     of summary judgment, there was enough evidence that his re-
     fusal to use the preferred names and pronouns of the
     transgender students was a religious practice based on a




                                                                          SA-046
Case: 24-1942
      21-2475       Document: 16
                              66                 Filed: 07/10/2024
                                                        04/07/2023         Pages: 306
                                                                                  134




     No. 21-2475                                                               45

     sincerely held belief.13 Kluge also presented adequate evi-
     dence that his practice conflicted with an employment re-
     quirement, in particular, the PowerSchool Name Policy.
     Brownsburg does not dispute that forcing Kluge to either
     comply with the Name Policy, resign, or be terminated was
     an adverse employment action, and the school generally con-
     cedes that, for the purposes of this appeal, Kluge has estab-
     lished a prima facie case of failure to accommodate.
                                            B.
         The burden then shifts to Brownsburg to demonstrate that
     it could not reasonably accommodate Kluge “without undue
     hardship on the conduct of the employer’s business.” 42
     U.S.C. § 2000e(j). “Reasonableness is assessed in context, of
     course, and this evaluation will turn in part on whether or not
     the employer can in fact continue to function absent undue
     hardship if the employee is permitted” the requested accom-
     modation. Adeyeye, 721 F.3d at 455. Accordingly, “[t]he issue
     of undue hardship will depend on close attention to the spe-
     cific circumstances of the job[.]” Id. As a public school,
     Brownsburg’s “business” is its constitutional and statutory
     charge to educate all students who enter its doors. We have
     noted that, “pupils are a captive audience. Education is


     13       In his response opposing a motion for leave to file an amicus brief
     in the district court, Kluge described his sincerely held religious belief as
     “what is best for the eternal spiritual well-being of [the transgender stu-
     dents] is to avoid affirming them in a moral error.” R. 145, at 7. As we
     mentioned earlier, Kluge also believed that it would be sinful for him to
     “promote gender dysphoria” by using the transgender student’s Pow-
     erSchool names and pronouns. R. 120-3, at 6–10.




                                                                                     SA-047
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     46                                                            No. 21-2475

     compulsory, and children must attend public schools unless
     their parents are willing to incur the cost of private education
     or the considerable time commitment of home schooling.”
     Mayer v. Monroe Cty. Cmty. Sch. Corp., 474 F.3d 477, 479 (7th
     Cir. 2007). Because of the compulsory nature of education, we
     have noted in the First Amendment context:
             Children who attend school because they must
             ought not be subject to teachers’ idiosyncratic
             perspectives. Majority rule about what subjects
             and viewpoints will be expressed in the class-
             room has the potential to turn into indoctrina-
             tion; elected school boards are tempted to sup-
             port majority positions about religious or patri-
             otic subjects especially. But if indoctrination is
             likely, the power should be reposed in someone
             the people can vote out of office, rather than ten-
             ured teachers. At least the board’s views can be
             debated openly, and the people may choose to
             elect persons committed to neutrality on con-
             tentious issues. … The Constitution does not en-
             title teachers to present personal views to cap-
             tive audiences against the instructions of elected
             officials.
     474 F.3d at 479–80.14

     14       The dissent asserts that under the Indiana Constitution, schools
     need only admit all children, and that the Constitution does not require or
     prescribe any specific standard of educational quality. The dissent also
     cites Indiana case law interpreting the State’s education statutes as not re-
     quiring “that Indiana school corporations affirm transgender identity.”
                                                                      (continued)




                                                                                     SA-048
Case: 24-1942
      21-2475       Document: 16
                              66                 Filed: 07/10/2024
                                                        04/07/2023        Pages: 306
                                                                                 134




     No. 21-2475                                                              47

          Brownsburg claims two undue hardships with Kluge’s
     use of students’ last names only: first, the school asserts that
     Kluge’s last-names-only practice frustrated its efforts to edu-
     cate all students because the accommodation negatively im-
     pacted students and the learning environment for
     transgender students and other students as well. Second,
     Kluge’s practice exposed Brownsburg to the risk of Title IX
     litigation brought by transgender students who claim sex-
     based discrimination based upon a theory of sex-stereotyp-
     ing. See Whitaker, 858 F.3d at 1047–48.
                                            1.
         We begin with Brownsburg’s claim that the last-names-
     only practice frustrated the school’s effort to educate all stu-
     dents by harming students and negatively affecting student
     learning. As we discuss below, the only relevant question at
     this point is whether the school could accommodate Kluge
     without working an undue hardship on the conduct of its
     business. We conclude that the undisputed evidence demon-
     strates that Brownsburg met its burden of establishing undue



     But Brownsburg never made any claims that the State’s Constitution or
     statutes required it to affirm transgender identity. The school instead con-
     sistently relied on its own policy choices about how to run its high school,
     and how to address the specific challenges faced by a particular group of
     students. We have cited to the State’s Constitution and educational stat-
     utes only to provide context and to explain the differences between run-
     ning schools and managing other kinds of businesses. In addition to the
     compulsory nature of education, the school stands in for parents and deals
     with the needs not of adult customers or coworkers (the categories into
     which the dissent attempts to shoehorn the analysis) but of children.




                                                                                    SA-049
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     48                                                No. 21-2475

     hardship as a matter of law, and none of the additional evi-
     dence cited by the dissent calls that conclusion into question.
        It is undisputed that, prior to the start of the 2017–2018
     school year, Brownsburg recognized an increase in enroll-
     ment of transgender students, and concluded that these stu-
     dents faced “significant challenges in the high school environ-
     ment, including diminished self-esteem and heightened ex-
     posure to bullying.” R. 120-1, at 3. It is also undisputed that
     Brownsburg administrators determined that “these chal-
     lenges threaten transgender students’ classroom experience,
     academic performance, and overall well-being.” R. 120-1, at 3.
     They therefore began to develop policies and practices for ad-
     dressing these challenges.
         As Dr. Jessup averred, a “very practical but critical ques-
     tion that arose … is what names staff should use to address
     transgender students in class.“ R. 120-1, at 3. Obviously, “a
     high school classroom cannot function without teachers ad-
     dressing students directly.” R. 120-1, at 3. Brownsburg ulti-
     mately adopted the PowerSchool Name Policy as part of its
     larger plan to address the special needs of these students. The
     goal of the Name Policy was two-fold: to provide the faculty
     with a straightforward rule when addressing students; and to
     afford dignity and empathy towards transgender students be-
     cause the administration considered it important “for
     transgender students to receive, like any other student, re-
     spect and affirmation of their preferred identity[.]” R. 120-1,
     at 4. The requirement that students could change their names
     and pronouns in PowerSchool only with the consent of a par-
     ent and the approval of a healthcare professional allayed the
     religious objections and concerns of three of the four teachers




                                                                       SA-050
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                  49

     who signed the seven-page letter and accompanied Kluge to
     the May 15, 2017 meeting with Dr. Daghe. Kluge alone con-
     tinued to object. In response to Kluge’s continued concerns,
     the school agreed to allow Kluge two accommodations: first,
     he would address all students by their last names only; and
     second, another adult would hand out gendered orchestra
     uniforms, relieving Kluge of that duty.
         The school produced copious evidence that, once these ac-
     commodations were in place, Dr. Daghe, teacher Craig Lee,
     and Dr. Jessup soon began to receive reports and complaints
     about the harms caused by Kluge’s last-names-only practice.
     In particular, Dr. Daghe received reports that transgender stu-
     dents in Kluge’s class felt insulted and disrespected by
     Kluge’s use of last names only. They also felt isolated and tar-
     geted. A non-transgender student in Kluge’s class reported to
     Lee that the practice was “incredibly awkward.” That student
     reported that the practice made the transgender students
     stand out, and that he and others in the school felt bad for the
     transgender students. Dr. Daghe also received reports that
     transgender students in Kluge’s class felt dehumanized by the
     last-names-only practice, and Dr. Daghe concluded that the
     practice was “detrimental to kids.”
         Dr. Jessup personally attended an Equality Alliance meet-
     ing and heard complaints about Kluge’s practice from four or
     five students at the meeting, complaints with which the other
     thirty-five students in attendance appeared to agree. Dr.
     Jessup heard from students and faculty that students felt sin-
     gled out by the use of their last names, and that “not all stu-
     dents were called by their last name by Mr. Kluge.” R. 120-6,
     at 7; R. 120-1, at 4.




                                                                        SA-051
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     50                                                   No. 21-2475

         Dr. Daghe also received reports that Kluge sometimes
     slipped up and used first names or gendered honorifics for
     non-transgender students. Although we credit Kluge’s denial
     that he ever made such mistakes, Kluge has no evidence con-
     tradicting assertions by Drs. Daghe and Jessup that they re-
     ceived such reports and needed to address them. As Dr.
     Daghe testified, Kluge’s practice also disrupted the learning
     environment more broadly because students who were un-
     comfortable in Kluge’s classes brought their “discussions
     about the uncomfortableness, whether it was dealing with a
     transgender student and last names only or whether it was
     times when last names weren’t used,” to other classrooms.
        Lee heard complaints about Kluge’s practice from stu-
     dents regularly at Equality Alliance meetings, and personally
     witnessed the emotional pain suffered by the transgender stu-
     dents when they discussed the environment in Kluge’s class.
     Other faculty in Kluge’s own department reported tension
     among students and faculty created by Kluge’s last-names-
     only practice.
         All of this was reported to Kluge, mainly by Dr. Daghe, as
     Kluge himself acknowledged. See R. 15-3, at 3–6; R. 112-2, at
     4; R. 112-5, at 7. See also R. 120-5, at 9 (where Dr. Daghe testi-
     fied that he talked to Kluge about the transgender students
     but also about the entire class of students, “about the uncom-
     fortableness of adults in my building around him with similar
     students in theater, in band, in choir, and orchestra that those
     teachers share and it was a concern that kids didn’t know how
     to behave, didn’t know how to address. And that was the tem-
     perament or the way I was addressing the meetings ahead of
     time and saying can you follow this second accommodation




                                                                          SA-052
Case: 24-1942
      21-2475       Document: 16
                              66              Filed: 07/10/2024
                                                     04/07/2023         Pages: 306
                                                                               134




     No. 21-2475                                                            51

     because we’re going to be changing that, as he heard in Janu-
     ary, for the following year and I needed this to move forward
     as a high school principal in a way that he would follow the
     accommodations and that my conversation with him was not
     happening the way it was written.”). In describing the Janu-
     ary 17, 2018 meeting where Dr. Daghe told Kluge that he
     should resign at the end of the school year, Kluge told Dr.
     Daghe that “it was simply because he [Dr. Daghe] didn’t like
     the tension and the conflict.” R. 15-3, at 5. Kluge interpreted
     the tension and conflict that he had caused as a scriptural sign
     that he should stay at the school. R. 15-3, at 5.
        Kluge has produced no evidence to the contrary. That is,
     he has produced no evidence tending to show that the
     transgender students were not emotionally harmed by his
     practice or that the learning environment was not disrupted.
     A practice that indisputably caused emotional harm to stu-
     dents and disruptions to the learning environment is an un-
     due hardship to a school as a matter of law. As Kluge himself
     conceded, schools have a legitimate interest in the mental
     health of their students. R. 120-3, at 35. And as Dr. Daghe ex-
     plained, his job as principal was to “make sure that education
     can move forward.” R. 112-5, at 7. Education is, indeed, the
     business of every school. Thus, emotional harm to students
     and disruptions to the learning environment are objectively
     more than de minimis or slight burdens to schools.
         Nor did Kluge produce any evidence that Dr. Daghe, Dr.
     Jessup, and Lee15 all lied about receiving these reports and

     15     The dissent points out that Lee described himself as “very biased”
     on the subject of how the school should handle issues related to
                                                                    (continued)




                                                                                  SA-053
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     52                                                            No. 21-2475

     lied about feeling a need to act on them in order to address
     the needs of transgender students and the tense educational
     environment. At most Kluge claims that he did not believe Dr.
     Daghe on occasion because Dr. Daghe did not give him the
     names of the students who reported that they were harmed
     by Kluge’s use of last names only. But Kluge’s metaphysical
     doubt about Dr. Daghe’s credibility does not create a genuine
     issue of material fact. “[N]othing requires the district court to
     disbelieve defendants’ proffered evidence simply because
     [the plaintiff]—without proof—asserts it is false.” Carroll v.
     Lynch, 698 F.3d 561, 565 (7th Cir. 2012). See also Matsushita Elec.
     Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)
     (“When the moving party has carried its burden under Rule
     56(c), its opponent must do more than simply show that there
     is some metaphysical doubt as to the material facts.”); Barnes
     v. City of Centralia, IL, 943 F.3d 826, 832 (7th Cir. 2019) (same).
     Instead, “the nonmoving party must come forward with ‘spe-
     cific facts showing that there is a genuine issue for trial.’”
     Matsushita, 475 U.S. at 587; Fed. R. Civ. P. 56(e). See also Car-
     roll, 698 F.3d at 565 (plaintiff cannot rest on “metaphysical
     doubt” that defendant lied but must produce evidence so
     showing).


     transgender students. To his credit, Lee candidly admitted that bias when
     he made his reports of harm and disruption to school administrators. Dr.
     Daghe and other administrators were thus aware of that bias when they
     were assessing the scope and severity of the problem. Although the dis-
     sent would have a jury reweigh whether the employer should have credited
     Lee’s reports, that is not the relevant question, as we discuss below. Infra,
     at 53-55 (discussing undisputed evidence known to the school at the time
     of the decision).




                                                                                     SA-054
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                     53

         Similarly, Kluge testified that he felt no tension from other
     teachers, was unaware of any problems in his classroom, and
     felt that his students were not adversely affected by his prac-
     tice. Kluge believed that his students were performing well
     and not experiencing any problems. But summary judgment
     is not defeated by Kluge’s perception that all was well. A fail-
     ure to notice that anything problematic was happening is not
     evidence that it did not happen; nor is it evidence that
     Brownsburg did not receive reports from students, teachers,
     and others that it was happening. Moreover, in employment
     discrimination cases, the employee’s “own opinion about his
     work performance is irrelevant.” Sklyarsky v. Means-Knaus
     Partners, L.P., 777 F.3d 892, 897 (7th Cir. 2015). See also Sublett
     v. John Wiley & Sons, Inc., 463 F.3d 731, 740 (7th Cir. 2006) (a
     plaintiff’s conclusory statements do not create an issue of fact,
     and an employee’s self-serving statements about his ability
     are insufficient to contradict an employer’s negative assess-
     ment of that ability). Indeed, Kluge himself acknowledged
     that using last names only in some settings would be unrea-
     sonable, conspicuous, and potentially cause harm to his stu-
     dents, which is why he used the PowerSchool Names at the
     orchestra award ceremony. Kluge also acknowledged creat-
     ing tension and conflict at the school. To the extent that Kluge
     draws a theological distinction between regular use of the
     first names in a classroom setting versus using them on a one-
     time basis at a more formal award ceremony, Brownsburg
     was within its rights to consider the daily harm of the last
     names practice in the classroom paramount.
        Moreover, the evidence that the dissent cites from three
     students and a contract teacher is not relevant to the question




                                                                           SA-055
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     54                                                  No. 21-2475

     presented here. First, that these three children and a contract
     teacher did not experience or notice harm or disruption does
     not rebut the truth of the reports of harm and disruption ex-
     perienced by others. It was not necessary for the school to find
     that Kluge’s practice harmed all of the students before the
     school was justified in addressing the situation.
         Second, none of the information from these four affiants is
     relevant to the question of whether the decision-makers re-
     ceived reports of emotional harm and disruption to the learn-
     ing environment from other students, teachers and parents.
     We cannot emphasize strongly enough that Kluge has pro-
     duced no evidence suggesting that the reported emotional
     harms to students and disruptions to the learning environ-
     ment did not occur or that the reports were not made.
         Third, to the extent that the dissent relies on this evidence
     to demonstrate that Kluge complied perfectly with the accom-
     modation, we have already credited his claim of perfect com-
     pliance. The reports of emotional harm and disruption came
     in nevertheless.
         Fourth, none of the information from these three students
     and the contract teacher was known to school administrators
     at the time they were making the decision to withdraw the
     accommodation. The dissent contends that evidence from
     these students and the contract teacher is relevant “whether
     or not this information was known by the School District at
     the time of the adverse employment decision.” It is axiomatic
     that an employer can make decisions based only on the infor-
     mation known to it at the time of the decision. The dissent
     nevertheless poses the puzzling question, “If, by contextual




                                                                         SA-056
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                    55

     evidence obtained after discharge, an employee plaintiff is not
     able to undermine the alleged presence of undue hardship,
     when, if ever, can the employee prevail?” The answer is sim-
     ple: by uncovering evidence that was before the employer at
     the time of the decision, evidence that would contradict the
     employer’s claims that students were emotionally harmed
     and the learning environment was disrupted. If no one was
     harmed and there was no disruption, then the burden of al-
     lowing the accommodation would be de minimis. But in the
     absence of any evidence known to the employer contradicting
     the existence of the harms, there is nothing for a jury to decide.
     The evidence, of course, may be obtained after the discharge,
     but it must be evidence that the employer knew at the time of
     the decision to withdraw the accommodation. To suggest that
     the employer may be held liable for a decision to withdraw
     an accommodation based on information that did not exist at
     the time of the decision holds employers to an impossible
     “crystal ball” standard. The dissent asserts that applying a
     test that depends on the employer’s knowledge would create
     a perverse incentive for employers to avoid investigating
     whether hardship would arise from an accommodation. But
     there is no claim of a faulty investigation here, and the em-
     ployer actually granted the accommodation and then saw in
     real time the harms that resulted. If an employer conducted
     an inadequate investigation, that could be evidence that the
     withdrawal of the accommodation was based on some dis-
     criminatory reason rather than on the undue hardship, but
     that is simply not the case here.
        The dissent would have a jury second guess whether the
     reported harms occurred and whether the employer received




                                                                          SA-057
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     56                                                   No. 21-2475

     those reports even in the absence of evidence to the contrary.
     In particular, the dissent would have a jury decide the credi-
     bility of the students who were emotionally harmed and the
     teachers who saw and reported disruptions to the learning
     environment when there is no evidence contradicting the re-
     ports of harm and educational disruption. Those assessments
     were for the school to make based on the information availa-
     ble to it at the time. The dissent would also have a jury second
     guess whether emotional harm to students (in this case, par-
     ticularly vulnerable students) and disruptions to the learning
     environment were sufficient to overcome the de minimis un-
     due hardship standard when Kluge himself conceded that the
     school had a legitimate interest in the mental health of its stu-
     dents, and even though learning is the primary purpose for
     the existence of the school. These harms were far more than a
     slight burden as a matter of law.
         The dissent also contends that the transgender students
     were offended not because of any discomfort with the last-
     names practice itself but because of the students’ “assump-
     tions and intuitions about why Kluge was using only last
     names.” The dissent maintains that “[t]he alleged offense
     arose from students’ presumptions and guesses as to Kluge’s
     motives for using last names only.” There are two problems
     with this analysis. First, there is no dispute that the school re-
     ceived reports describing emotional harm to students and dis-
     ruption to the learning environment, not mere offense. These
     were the very harms that the school sought to avoid when it
     developed the Name Policy.
         Second, Kluge’s motives for his practice are irrelevant to
     the Title VII analysis. The uncontested evidence demonstrates




                                                                          SA-058
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     No. 21-2475                                                 57

     that Kluge’s practice caused the harms whether the students
     correctly understood his subjective motives or not. As we have
     discussed, the school was aware of the issues faced by this
     group of students and had identified the use of their Pow-
     erSchool names and pronouns as an important means of
     providing dignity, empathy, respect and affirmation for this
     group of children who faced significant challenges in the high
     school environment, including diminished self-esteem and
     heightened exposure to bullying. Although some of the stu-
     dents appear to have inferred that Kluge’s practice was due
     to the presence of transgender students at the school, the stu-
     dents had no information regarding why Kluge would not
     use the students’ PowerSchool names and pronouns. Whether
     his motive was religious, ideological, grammatical or other-
     wise was irrelevant because it was the practice, not the un-
     known motive that caused the reported harms. The school
     stretched to accommodate Kluge with a facially neutral ac-
     commodation of using last names only; nonetheless, the un-
     disputed evidence showed that the practice resulted in genu-
     ine harm to students and real disruption to the learning envi-
     ronment.
         Moreover, Kluge’s practice was contrary to the preference
     of not only the school and the students, but also the students’
     parents and healthcare providers, who had decided that it
     was in the best interest of these children to be addressed in a
     particular manner, with their PowerSchool names and pro-
     nouns. Brownsburg’s “business” for the purpose of analyzing
     undue hardship was to provide public education. Unlike a
     for-profit corporation, Brownsburg’s mission of education for
     all students was mandated by the State’s constitution and




                                                                       SA-059
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     58                                                  No. 21-2475

     legislature. In Indiana, public schools play a custodial and
     protective role in the compulsory education system, and pub-
     lic schools stand in the relation of parents and guardians to
     the students regarding all matters of discipline and conduct
     of students. Linke v. Nw. Sch. Corp., 763 N.E.2d 972, 979 (Ind.
     2002). After conducting its own research, the school reasona-
     bly deferred to the judgment of parents and healthcare pro-
     viders regarding how to meet the specific needs of
     transgender students.
         Although with corporate defendants, our cases analyze
     undue hardship by considering financial costs and business
     interests, the school’s “business” here is more analogous to
     that of the Veterans Administration (“V.A.”) in Baz. In that
     case, the V.A. hired a chaplain in a hospital where approxi-
     mately two thirds of the patients were psychiatric patients.
     The V.A. saw the position of chaplain as a secular one where
     proselytizing was prohibited and chaplains were expected to
     serve as a “quiescent, passive listener and cautious counse-
     lor,” as part of the hospital’s philosophy of total patient care.
     Baz instead “saw himself as an active, evangelistic, charis-
     matic preacher,” and acted accordingly. 782 F.2d at 703–04.
     When he refused to change his approach, the hospital termi-
     nated his employment. After a bench trial, the district court
     ruled in favor of the hospital.
        On appeal, Baz argued that the hospital had failed to
     prove that the health and welfare of the patients were harmed
     by his evangelism. We noted that he was confusing “the busi-
     ness necessity defense to a disparate impact cause of action
     with the ‘undue hardship’ standard used to measure an em-
     ployer’s duty to accommodate to an employee’s religious




                                                                         SA-060
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023         Pages: 306
                                                                           134




     No. 21-2475                                                      59

     observances in a disparate treatment claim of religious dis-
     crimination.” 782 F.2d at 706. The latter type of case, the same
     one that Kluge brings here, requires the defendant to provide
     “evidence to show that accommodation would create a hard-
     ship on his business. This hardship has been construed as an-
     ything more than a de minimis cost to the employer.” Id. (citing
     Hardison, 432 U.S. at 84).
            The defendants are not required to show that
            their philosophy of total patient care is objec-
            tively better than that espoused by Reverend
            Baz; they need only show that it would be a
            hardship to accommodate his theology in view
            of their established theory and practice.
            The defendants here have met this burden. They
            have produced evidence tending to show that
            Reverend Baz’s philosophy of the care of psy-
            chiatric patients is antithetical to that of the V.A.
            To accommodate Reverend Baz’s religious prac-
            tices, they would have to either adopt his phi-
            losophy of patient care, expend resources on
            continually checking up on what Reverend Baz
            was doing or stand by while he practices his (in
            their view, damaging) ministry in their facility.
            None of these is an accommodation required by
            Title VII.
     Baz, 782 F.2d at 706–07.
        Kluge makes a similar mistake of law here. Brownsburg
     need not show that its philosophy of treating transgender stu-
     dents “like any other student, [with] respect and affirmation




                                                                           SA-061
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     60                                                  No. 21-2475

     of their preferred identity” was better than that espoused by
     Kluge. They needed only to show “that it would be a hardship
     to accommodate his theology in view of their established the-
     ory and practice.” Baz, 782 F.2d at 706. Brownsburg met this
     burden by producing evidence tending to show that Kluge’s
     last-names-only practice was “antithetical to that of the”
     school. 782 F.2d at 706–07. It is no answer that Kluge called all
     students by their last names and was trying to be neutral on
     the issue of transgenderism. The last-names-only practice
     conflicted with the school’s philosophy of affirming and re-
     specting all students because the undisputed evidence
     showed that the accommodation resulted in students feeling
     disrespected, targeted, and dehumanized, and in disruptions
     to the learning environment. Title VII does not require the
     school to adopt an accommodation that, although facially
     neutral, does not work that way in practice. Brownsburg al-
     lowed Kluge to employ the practice for an entire school year,
     counseling him along the way about the problems he was cre-
     ating and encouraging him to either follow the practice that
     every other teacher in the school followed or leave his job be-
     cause he was harming students and the educational environ-
     ment by failing to follow the school’s philosophy of respect
     and affirmation for all students. Title VII does not require an
     employer to retain an employee who harms the employer’s
     mission. Baz, 782 F.2d at 706–07.
        Nor was any other reasonable accommodation available.
     Kluge was the school’s only music teacher, and so students
     could not, for example, be transferred to another classroom (if
     we assume that transfer to another classroom would not be
     equally stigmatizing). There was no other teacher to take




                                                                         SA-062
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023         Pages: 306
                                                                                 134




     No. 21-2475                                                               61

     Kluge’s place in the orchestra class. Kluge himself has never
     suggested any other viable accommodation. See Ryan v. U.S.
     Dep’t of Justice, 950 F.2d 458, 461 (7th Cir. 1991) (employers are
     not required to negotiate with employees about a religious ac-
     commodation but only to act on any accommodation that
     does not work an undue hardship; an employee who neglects
     multiple opportunities during a lengthy disciplinary process
     to propose a concrete accommodation makes his own choice).
     Because no reasonable jury could conclude that a practice that
     emotionally harms students and disrupts the learning envi-
     ronment is only a slight burden to a school, and because no
     other accommodations were available, under Baz, Browns-
     burg has proved undue hardship as a matter of law.16 See also
     Walmart Stores East, L.P., 992 F.3d at 658–60 (affirming sum-
     mary judgment where the accommodation of the plaintiff’s
     religious practice created more than a slight burden on the
     employer because it would have increased the burden on
     other workers, or resulted in a staffing shortage, or forced the
     employer to change its preferred rotation system designed to
     train all assistant managers in all departments); Adams v.

     16       Kluge asserts that Baz is inapplicable because his religious beliefs
     did not preclude him from doing his job, as he claims was the case in Baz.
     But the issue in Baz was analogous: Baz was performing his job in a man-
     ner that conflicted with the hospital’s requirement that the chaplain serve
     as a “quiescent, passive listener and cautious counselor,” as part of the
     hospital’s philosophy of total patient care. Kluge was performing his job
     in a manner that conflicted with the school’s mission of educating all stu-
     dents, and its philosophy of treating all students with respect and affirma-
     tion for their identity in the service of that goal. Kluge’s attempt to char-
     acterize the school’s goal as somehow “illegitimate” lacks support in Title
     VII case law.




                                                                                     SA-063
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     62                                                           No. 21-2475

     Retail Ventures, Inc., 325 Fed. App’x 440, 443 (7th Cir. 2009) (af-
     firming summary judgment in favor of employer on religious
     accommodation claim where accommodation would have in-
     creased cost, decreased efficiency, or created a scheduling
     strain); Noesen v. Medical Staffing Network, Inc., 232 Fed. App’x
     581, 584–85 (7th Cir. 2007) (affirming summary judgment in
     favor of employer when Catholic pharmacist’s requested reli-
     gious accommodation of relief from telephone and counter
     duties in order to avoid customers requesting birth control
     would have required other employees to assume a dispropor-
     tionate share of work, or would have left data input work un-
     done).
         Kluge’s attempt to characterize the emotional harm ex-
     pressed by the transgender students as “third party grum-
     blings” or a “heckler’s veto” has no basis in the record and no
     support in Title VII law.17 The dissent echoes this

     17       The dissent also suggests that the question of whether the accom-
     modation constituted an undue hardship “by way of the School District’s
     clients—the students—should be an open question for the factfinder” be-
     cause an adverse employment action based on the discriminatory prefer-
     ences of others, including coworkers and customers, is unlawful. But there
     is no fact question for a jury here because Kluge presented no evidence
     that the students, teachers or parents harbored a discriminatory bias
     against Kluge or that Brownsburg terminated Kluge based on the discrim-
     inatory preferences of others. In fact, one of the parents reporting harm to
     her child from Kluge’s practice told the school, “I really don’t care what
     he thinks about transgender issues on a personal level. My child deserves
     to be treated with respect. His refusal to use [the child’s] preferred name
     and pronouns is very disrespectful and hurtful.” R. 120-13, at 2. Acting on
     such a report cannot reasonably be construed as giving effect to a discrim-
     inatory preference.




                                                                                    SA-064
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     No. 21-2475                                                      63

     mischaracterization, reducing the harms claimed to “taking
     offense,” “disgruntlement,” “grumblings,” and “mere of-
     fense,” rather than the harms that the school actually claimed
     to students, the learning environment, and to the school’s
     mission to treat all students respectfully. Kluge’s complaint of
     a “heckler’s veto” sounds in the First Amendment. But the
     district court dismissed Kluge’s First Amendment claims, and
     he has not appealed that dismissal. R. 70. The district court
     correctly held that when Kluge was addressing students in
     the classroom, his speech was not protected by the First
     Amendment. R. 70, at 13 (noting that Kluge conceded that his
     address of students in his classroom was part of his official
     duties as a teacher); Garcetti v. Ceballos, 547 U.S. 410, 421 (2006)
     (“when public employees make statements pursuant to their
     official duties, the employees are not speaking as citizens for
     First Amendment purposes, and the Constitution does not in-
     sulate their communications from employer discipline.”);
     Mayer, 474 F.3d at 479 (citing our well-settled precedent that
     “public-school teachers must hew to the approach prescribed
     by principals (and others higher up in the chain of author-
     ity)”). Title VII provides more protection for an employee’s
     religious speech than the First Amendment but its protection
     is limited to accommodations that do not work an undue
     hardship on the employer. Ryan, 950 F.2d at 461. Cf. Mayer,
     474 F.3d at 480 (noting that “the first amendment does not en-
     title primary and secondary teachers, when conducting the
     education of captive audiences, to cover topics, or advocate
     viewpoints, that depart from the curriculum adopted by the
     school system”). As we have just held, Kluge’s practice re-
     sulted in an undue hardship on his employer as a matter of
     law.




                                                                            SA-065
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     64                                                   No. 21-2475

         As for “third party grumblings,” the case law does not
     support Kluge in what is essentially a repackaged First
     Amendment claim of a heckler’s veto. For example, in Ander-
     son v. U.S.F. Logistics (IMC), Inc., 274 F.3d 470 (7th Cir. 2001),
     we considered a claim by Elizabeth Anderson, an employee
     of a shipping company, U.S.F. Logistics, who wished to use
     the phrase, “Have a Blessed Day,” in correspondence with her
     co-workers and the company’s customers. Although her co-
     workers did not object, an employee of Microsoft, U.S.F. Lo-
     gistics’ largest customer, received this religious greeting and
     complained that it was unacceptable and must stop. Her em-
     ployer directed her to stop using the phrase with customers,
     and in particular with Microsoft. After her employer declined
     to identify the particular Microsoft contact who had com-
     plained, she continued to use the phrase with Microsoft em-
     ployees and moved for a preliminary and permanent injunc-
     tion allowing her to use the phrase in her work. 274 F.3d at
     473–74.
         The district court denied her motion for a preliminary in-
     junction, finding that she did not have a likelihood of success
     on the merits because her employer reasonably accommo-
     dated her by allowing her to use the phrase with persons who
     were not offended by it. We affirmed, noting first that Title
     VII requires only reasonable accommodation, not the satisfac-
     tion of an employee’s every desire. Anderson, 274 F.3d at 475.
     U.S.F. Logistics was legitimately concerned about its relation-
     ship with its customers. The company required only that she
     cease using the phrase with the objecting customer, and we
     concluded that her employer reasonably accommodated her.
     274 F.3d at 476. Because a Microsoft representative had




                                                                          SA-066
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                               65

     complained that the use of the phrase was inappropriate, per-
     mitting Anderson to continue to use the phrase would impose
     her religious views on that customer. We concluded that the
     evidence therefore suggested that Anderson’s religious prac-
     tice could damage her employer’s relationship with Mi-
     crosoft. 274 F.3d at 477. But even if her practice had not im-
     posed her religious beliefs upon others, the employer was still
     entitled to restrict it if it impaired the employer’s legitimate
     interests, so long as her belief was reasonably accommodated.
     274 F.3d at 477.
         The same applies here, albeit in the non-profit business
     setting of a public school engaged in providing compulsory
     education to high school students. Brownsburg was entitled
     to require Kluge to use a form of address that did not offend
     or injure its students or harm the classroom environment. The
     school had a legitimate interest in its relationship with its stu-
     dents, who together with their parents, are effectively the
     school’s customers. See Smiley v. Columbia College Chicago, 714
     F.3d 998, 1002 (7th Cir. 2013) (“It is not unreasonable for [a
     college] to expect that its instructors will teach classes in a
     professional manner that does not distress students.”). Be-
     cause Kluge’s practice harmed that relationship, and because
     there was no other way to accommodate Kluge’s beliefs with-
     out harming the school’s mission and philosophy for educat-
     ing all students, his “third party grumblings” claim fails.18


     18       In making his “third-party grumblings” argument, Kluge relied
     on cases that have either been reversed or are factually distinguishable.
     See Cummins v. Parker Seal Co., 516 F.2d 544 (6th Cir. 1975), vacated by Par-
     ker Seal Co. v. Cummins, 433 U.S. 903 (1977). The district court’s judgment
                                                                       (continued)




                                                                                     SA-067
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023          Pages: 306
                                                                                   134




     66                                                             No. 21-2475


     in favor of the employer was eventually summarily affirmed by the Sixth
     Circuit on remand from the Supreme Court. Cummins v. Parker Seal Co.,
     561 F.2d 658 (6th Cir. 1977). Kluge’s lawyers failed to acknowledge that
     they were relying on a case that had been overturned, and even failed to
     acknowledge the error in his reply brief after opposing counsel pointed it
     out in the response brief. Appellee’s Response Brief, at 36 n.4. “Lawyers
     are not entitled to ignore controlling, adverse precedent. We expect (and
     are entitled to) better performance by members of the bar.” Jackson v. City
     of Peoria, Illinois, 825 F.3d 328, 331 (7th Cir. 2016). See also Practitioner’s
     Handbook for Appeals, at 159 (available at www.ca7.uscourts.gov). Nor
     are the Ninth Circuit cases that Kluge cited applicable here. Anderson v.
     Gen. Dynamics Convair Aerospace Div., 589 F.2d 397, 402 (9th Cir. 1978),
     merely found that the defendant’s asserted basis for undue hardship had
     no factual basis in the record. The court also noted that, “Even proof that
     employees would grumble about a particular accommodation is not
     enough to establish undue hardship.” But this is not a case of grumbling
     by co-workers; Brownsburg’s undue burden is to its mission of educating
     all students and its philosophy of treating all students with respect and
     affirmation. The Ninth Circuit repeated this formulation the same day in
     another case, Burns v. S. Pac. Transp. Co., 589 F.2d 403, 407 (9th Cir. 1978),
     stating that, “undue hardship requires more than proof of some fellow-
     worker’s grumbling or unhappiness with a particular accommodation to
     a religious belief. … An employer or union would have to show, as in Har-
     dison, actual imposition on co-workers or disruption of the work routine.”
     In the context of a school, where the requested accommodation primarily
     affects students, disruption to the learning environment meets the Hardi-
     son standard. The teachers here were not “grumbling” but, as Dr. Daghe
     testified, were reporting disruptions to the learning environment because
     “students are uncomfortable in [Kluge’s] class and that they are bringing
     the conversations that occur in his class to other classrooms and having
     discussions about the uncomfortableness, whether it was dealing with a
     transgender student and last names only or whether it was times when
     last names weren’t used or it was times when, you know, kids just want it
     all to go away and act like everything is normal.” R. 112-5, at 7. The teach-
     ers similarly reported that children did not know how to address each
                                                                         (continued)




                                                                                       SA-068
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     No. 21-2475                                                              67

         In sum, the school produced uncontradicted evidence that
     Kluge’s last-names-only practice stigmatized the transgender
     students and caused them demonstrable emotional harm as
     reported to the administration by Lee, who personally wit-
     nessed it. Kluge was told that students reported feeling disre-
     spected, targeted, isolated, and dehumanized. As Kluge con-
     ceded, the school has a legitimate interest in the mental health
     of its students, and an accommodation is not reasonable, as
     Dr. Daghe told Kluge, “when it’s detrimental to kids.”
     R. 113-4, at 28. Kluge’s practice also adversely affected the
     classroom environment which both transgender and non-
     transgender students considered tense, awkward and uncom-
     fortable. Dr. Daghe told Kluge, based on reports from stu-
     dents and faculty, that his practice resulted in students being
     uncertain about how to behave and how to address their
     transgender classmates. Kluge’s practice also disrupted other
     classrooms when students brought their concerns and discus-
     sions about the practice to other teachers in other classrooms.
     It conflicted with the school’s carefully constructed Name
     Policy that sought to address the special challenges that
     transgender students face in school, and balanced those con-
     cerns with the preferences of the students’ parents and
     healthcare providers. Allowing Kluge to continue in the prac-
     tice thus placed an undue hardship on Brownsburg’s mission
     to educate all of its students, and its desire to treat all students


     other or how to behave around transgender students and similar students
     because of Kluge’s practice. R. 120-5, at 9. The teachers reports of harm to
     students as well as classroom and school disruption are a far cry from
     “third-party grumblings.”




                                                                                    SA-069
Case: 24-1942
      21-2475     Document: 16
                            66             Filed: 07/10/2024
                                                  04/07/2023    Pages: 306
                                                                       134




     68                                                  No. 21-2475

     with respect and affirmation for their identity in the service of
     that mission.
                                      2.
         Brownsburg claimed a second undue hardship, namely,
     that Kluge’s practice unreasonably exposed the school to lia-
     bility under Title IX. Close in time to Brownsburg’s adoption
     of the Name Policy, our court issued its decision in Whitaker.
     In Whitaker, we recognized that transgender students may
     bring a sex discrimination claim under Title IX based on a the-
     ory of sex-stereotyping. 858 F.3d at 1047–50. We have already
     concluded that the district court correctly ordered summary
     judgment in favor of Brownsburg because the uncontested
     evidence demonstrated that Kluge’s last-names-only practice
     harmed students and disrupted the educational environment,
     which constituted an undue hardship on Brownsburg’s con-
     duct of its business. Thus, we decline to reach the issue of
     whether Kluge’s accommodation created an additional un-
     due hardship by exposing the school to liability under Title
     IX. Our decision to decline to address liability under Title IX
     should not be interpreted as agreement with the dissent’s
     analysis of this issue. It is simply unnecessary to reach this
     issue in this case.
                                      C.
         Kluge also brought a claim for retaliation against Browns-
     burg, alleging that Brownsburg “retaliated against Mr. Kluge
     for engaging in protected conduct, when it agreed in writing
     to the accommodation Mr. Kluge requested for his religious
     beliefs, then removed the accommodation—without any
     showing of undue hardship—and told Mr. Kluge he could




                                                                         SA-070
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                   69

     use transgender names and pronouns, resign, or be termi-
     nated.” R. 15, at 17–18. Kluge sought to prove his retaliation
     claim using the burden-shifting method outlined by the Su-
     preme Court in McDonnell Douglas Corp. v. Green, 411 U.S. 792
     (1973). In order make out a prima face case for retaliation under
     the burden-shifting method, Kluge must demonstrate that:
     (1) he engaged in statutorily protected activity; (2) he suffered
     a materially adverse action; and (3) there is a but-for causal
     connection between the two events. Robertson v. Dep’t of Health
     Servs., 949 F.3d 371, 378 (7th Cir. 2020); Contreras v. Suncast
     Corp., 237 F.3d 756, 765 (7th Cir. 2001). The causation standard
     in retaliation claims is more stringent than the standard in dis-
     crimination claims. Carlson v. CSX Transp., Inc., 758 F.3d 819,
     828 n.1 (7th Cir. 2014). Following University of Texas Southwest-
     ern Medical Center v. Nassar, 570 U.S. 338, 362 (2013), “the pro-
     tected activity of an employee making a retaliation claim must
     have been ‘a but-for cause of the alleged adverse action by the
     employer.’” In contrast, a “lessened causation standard” ap-
     plies in Title VII discrimination cases. Nassar, 570 U.S. at 348.
     “The requirement of but-for causation in retaliation claims
     does not mean that the protected activity must have been the
     only cause of the adverse action. Rather, it means that the ad-
     verse action would not have happened without the activity.”
     Nassar, 570 U.S. at 346–47. See also Robertson, 949 F.3d at 378
     (describing the causation requirement as producing adequate
     evidence to establish that “there existed a but-for causal con-
     nection” between the protected activity and the adverse ac-
     tion). Once the prima facie case of retaliation is established:
            an employer may produce evidence which, if
            taken as true, would permit the conclusion that




                                                                         SA-071
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     70                                                   No. 21-2475

            it had a legitimate non-discriminatory reason
            for taking the adverse employment action. … If
            the employer meets this burden, the plaintiff, to
            avoid summary judgment, then must produce
            evidence that would permit a trier of fact to es-
            tablish, by a preponderance of the evidence,
            that the legitimate reasons offered by the em-
            ployer were not its true reasons but were a pre-
            text for discrimination.
     Robertson 949 F.3d at 378. See also Lord v. High Voltage Software,
     Inc., 839 F.3d 556, 564 (7th Cir. 2016) (where the employer
     demonstrates that the employee would have been fired absent
     his protected activity, then the alleged retaliatory motive,
     even if unchallenged, was not a but-for cause of the em-
     ployee’s harm).
         In the district court, Brownsburg sought summary judg-
     ment on this claim, contending that: (1) Kluge could not make
     out a prima facie case of retaliation because no reasonable jury
     could conclude on this record that there was a causal connec-
     tion between the protected activity of seeking a religious ac-
     commodation at the start of the school year, and the adverse
     employment action which occurred at the end of the school
     year after it became apparent that the accommodation was
     not working; and (2) even if Kluge was able to establish a
     prima facie case, Brownsburg had articulated legitimate, non-
     discriminatory reasons for its actions, and Kluge presented no
     evidence from which a reasonable jury could infer pretext.
        Kluge responded to Brownsburg’s motion by asserting
     that he had engaged in statutorily protected activity by




                                                                          SA-072
Case: 24-1942
      21-2475       Document: 16
                              66             Filed: 07/10/2024
                                                    04/07/2023         Pages: 306
                                                                              134




     No. 21-2475                                                           71

     identifying a sincerely held religious belief that he should
     identify students by their “birth names, instead of their ‘new’
     transgender names,” by asking for an accommodation in July
     2017, and by asking in February 2018 for the school to confirm
     that his accommodation was still valid. R. 153, at 27. For an
     adverse employment action, he asserted that the school with-
     drew the accommodation, demanded his compliance with the
     Name Policy or his resignation, and then coerced him into
     submitting a conditional resignation.19 In his district court
     briefing, Kluge then flatly stated, “there is a causal connection
     between the protected conduct and the adverse employment
     action.” R. 153, at 27. The remainder of his argument on retal-
     iation was simply a recitation of the same facts that he alleged
     in support of his discrimination claim. Namely, he asserted
     that the accommodation was implemented in July 2017, the
     school indicated its intent to withdraw it in the January 2018
     “Transgender Questions” document, he then asked in Febru-
     ary for the school to confirm that his accommodation agree-
     ment had no end date, and the school indicated that it did in-
     tend to require compliance with the Name Policy from all fac-
     ulty beginning in the next academic year as explained in the
     “Transgender Questions” document. Kluge then asserted that
     Gordon told him that he could submit a conditional resigna-
     tion, that he did so in reliance of her promise that it would be
     conditional, that he attempted to rescind the resignation on
     May 28, 2018, but the school would not allow him to rescind

     19      In the district court, Brownsburg did not contest for summary
     judgment purposes that Kluge could produce evidence in support of pro-
     tected activity and an adverse action, focusing instead on the causation
     element of the prima facie case, and the lack of any evidence of pretext.




                                                                                 SA-073
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     72                                                           No. 21-2475

     and instead terminated his employment.20 Kluge did not ad-
     dress Brownsburg’s stated nondiscriminatory reason for his
     termination, that his refusal to comply with the Name Policy
     was detrimental to students and to the learning environment.
     He made no attempt to show that this reason was a pretext to
     cover religious discrimination.
         As we noted above, the district court found that Kluge
     waived his retaliation argument at summary judgment with
     meager briefing, simply reciting his version of the facts with-
     out discussing how those facts meet the legal requirements of
     a retaliation claim. The court also noted that Kluge failed to
     address Brownsburg’s argument that there is no evidence in
     the record from which a reasonable fact finder could infer that
     its nondiscriminatory explanation for its action was a pretext.
     The court thus found that Kluge had waived his retaliation

     20       The district court found that the record contained no factual basis
     for Kluge’s claim that Gordon led him to believe that he could submit a
     conditional resignation that could later be withdrawn. Nor was there any
     factual basis supporting his contention that he did in fact submit a condi-
     tional resignation, according to the district court. On appeal, Kluge cites
     no evidence contradicting those findings. As the district court pointed out,
     Gordon told Kluge only that she would respect an employee’s wish not to
     disclose his resignation to colleagues until the end of the school year. She
     never told him that he could withdraw a properly submitted resignation,
     and in fact it was not possible to withdraw a resignation made to the Su-
     perintendent or his agent (Gordon, in this instance). R. 112-4, at 11–12;
     R. 120-8; R. 120-9. Kluge himself recorded the meeting where he asserts
     that Gordon made the offer of a conditional resignation, and the transcript
     of that meeting does not support his claim. R. 112-4, at 20–55. Nor is there
     any language in his actual resignation suggesting that it was conditional.
     The issue of the purported breach of a promise to allow a conditional res-
     ignation has no merit and we will not give it further consideration.




                                                                                    SA-074
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023          Pages: 306
                                                                                   134




     No. 21-2475                                                                73

     claim. As an alternate basis for granting judgment in favor of
     the defendant, the court also addressed the merits, noting that
     Kluge failed to present any evidence from which a reasonable
     fact finder could conclude that a causal connection exists be-
     tween Kluge’s protected activity and his resignation, any evi-
     dence of pretext, or any evidence that Brownsburg’s action
     was motivated by discriminatory animus. The court therefore
     granted summary judgment in favor of the school on the re-
     taliation claim as well.
         Although Kluge’s briefing on retaliation in the district
     court was thin, we find that the argument was not waived and
     proceed to the merits. Kluge’s claim fails on the causation el-
     ement. That is, he failed to produce evidence that established
     a but-for causal link between protected activity and the ad-
     verse action, and so failed to make out a prima facie case of
     retaliation.21 Indeed, on appeal, Kluge relies on outdated prec-
     edent to assert that, to establish a causal link, he must show

     21       In his reply brief on appeal, Kluge suggests for the first time that
     he meets the causation element with evidence that, in the July 27, 2017
     meeting, Dr. Snapp became “very angry” with him the first time that
     Kluge mentioned his religious objection to using the transgender students’
     PowerSchool first names. Appellant’s Reply Brief, at 20; R. 120-3, at 19. He
     also asserts that Dr. Snapp engaged in a theological debate with him, and
     told him that his beliefs were wrong. Id. Kluge waived this argument by
     not raising it in the district court, and by not raising it on appeal until his
     reply brief. Accident Fund Ins. Co. of America v. Custom Mech. Constr., Inc.,
     49 F.4th 1100, 1108 (7th Cir. 2022) (arguments raised for the first time in a
     reply brief are waived); White v. United States, 8 F.4th 547, 552 (7th Cir.
     2021) (same); DM Trans, LLC v. Scott, 38 F.4th 608, 619 (7th Cir. 2022) (is-
     sues and arguments raised for the first time on appeal are forfeited, as are
     arguments that are not sufficiently developed).




                                                                                       SA-075
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     74                                                 No. 21-2475

     only “that the protected activity and the adverse action were
     not wholly unrelated.” Hunt-Golliday v. Metropolitan Water
     Reclamation Dist. of Greater Chicago, 104 F.3d 1004, 1014 (7th
     Cir. 1997). But as we explained above, after the Supreme
     Court’s decision in Nassar, he must demonstrate that the pro-
     tected activity of an employee making a retaliation claim was
     a but-for cause of the alleged adverse action by the employer.
     Kluge’s evidence falls short of meeting this standard. He says
     only that he engaged in protected activity and that when he
     refused to either comply with the policy or resign, “his super-
     visors subjected him to a [sic] ‘a pattern of criticism and ani-
     mosity’ and finally constructively discharged him.” Appel-
     lant’s Opening Brief, at 42 (quoting Hunt-Golliday, 104 F.3d at
     1014). He cited no record evidence in the district court in sup-
     port of this conclusory claim that anyone subjected him to a
     “pattern of criticism and animosity,” failed to cite any such
     evidence on appeal until his reply brief, and makes no at-
     tempt to connect his protected activity to his resignation. Al-
     though he cites evidence of protected activity and an adverse
     action (both of which Brownsburg conceded for the purposes
     of summary judgment), he cites nothing supporting but-for
     causation.
         Instead, the undisputed evidence demonstrates that
     Brownsburg worked with Kluge to create a workable accom-
     modation during the 2017-2018 school year. Only after the
     last-names-only practice proved harmful to students and the
     learning environment did the school withdraw it, and even
     then Brownsburg allowed Kluge to continue the practice
     through the end of the school year. Further, Brownsburg did
     not disturb the additional accommodation relieving Kluge of




                                                                        SA-076
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023        Pages: 306
                                                                         134




     No. 21-2475                                                    75

     the task of handing out gender-specific uniforms. The length
     of time between the protected activity (of Kluge requesting a
     religious accommodation) and the adverse employment ac-
     tion, together with the school’s attempt to find a workable so-
     lution defeat any inference that Brownsburg asked Kluge to
     resign in retaliation for his protected activity.
         Even if we assume that Kluge cleared the hurdle of the
     prima facie case, he makes no effort to demonstrate any mate-
     rial issue of fact on the question of pretext:
            “Pretext involves more than just faulty reason-
            ing or mistaken judgment on the part of the em-
            ployer; it is [a] ‘lie, specifically a phony reason
            for some action.’” Argyropoulos, 539 F.3d at 736
            (quoting Sublett v. John Wiley & Sons, Inc., 463
            F.3d 731, 737 (7th Cir. 2006)). We have repeat-
            edly emphasized that when “assessing a plain-
            tiff’s claim that an employer’s explanation is
            pretextual, we do not ... second-guess[ ] an em-
            ployer’s facially legitimate business decisions.”
            Id. (internal quotation marks omitted). An em-
            ployer’s reasons for firing an employee can be
            “foolish or trivial or even baseless,’’ as long as
            they are “honestly believed.” Culver, 416 F.3d at
            547 (quoting Hartley v. Wis. Bell, Inc., 124 F.3d
            887, 890 (7th Cir. 1997)).
     Lord, 839 F.3d at 564. Instead of producing evidence of pretext,
     Kluge simply ties the legitimacy of his retaliation claim to the
     validity of his discrimination claim. That is, he asserts that he
     need not present evidence of pretext because Brownsburg




                                                                         SA-077
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     76                                                    No. 21-2475

     never presented a legitimate, nondiscriminatory basis for ter-
     minating his employment, and that his “whole argument was
     that the district had no legitimate basis for revoking his accom-
     modation and forcing him to resign.” Appellant’s Opening
     Brief, at 40. In so arguing, Kluge is essentially conceding that
     he has never provided evidence of pretext, apparently resting
     entirely on his claim that Brownsburg never produced a legit-
     imate, nondiscriminatory reason for his termination. That
     was a risky strategy.
         As we have just concluded, Brownsburg did in fact
     demonstrate legitimate reasons for withdrawing the accom-
     modation. Brownsburg was within its rights as an employer
     facing an undue hardship to withdraw the requested accom-
     modation when it became apparent that it was not working in
     practice and was causing harm to students and to the educa-
     tional environment. That was a legitimate, nondiscriminatory
     reason for the termination. In the absence of any evidence that
     it was a pretext for religious discrimination—i.e., that it was a
     lie or a phony reason—we will not second-guess Browns-
     burg’s business decision. Lord, 839 F.3d at 564. See also Boss v.
     Castro, 816 F.3d 910, 917 (7th Cir. 2016) (“[W]hen an employer
     articulates a plausible, legal reason for its action, it is not our
     province to decide whether that reason was wise, fair, or even
     correct, ultimately, so long as it truly was the reason for its
     action;” the “federal courts are not a super-personnel depart-
     ment that second-guesses facially legitimate employer poli-
     cies.”). “We have said time and again (in more than one hun-
     dred reported opinions, by our count) that we are not a super-
     personnel department that will substitute our criteria for an
     employer’s for hiring, promoting, or disciplining employees.”




                                                                           SA-078
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     No. 21-2475                                                      77

     Joll v. Valparaiso Cmty. Sch., 953 F.3d 923, 933 (7th Cir. 2020).
     See also Kariotis v. Navistar Int’l Transp. Corp., 131 F.3d 672, 677
     (7th Cir. 1997) (“To successfully challenge the honesty of the
     company’s reasons [the plaintiff] must specifically rebut those
     reasons. But an opportunity for rebuttal is not an invitation to
     criticize the employer’s evaluation process or simply to ques-
     tion its conclusion about the quality of an employee’s perfor-
     mance. Rather, rebuttal must include facts tending to show
     that the employer’s reasons for some negative job action are
     false, thereby implying (if not actually showing) that the real
     reason is illegal discrimination. In other words, arguing about
     the accuracy of the employer’s assessment is a distraction …
     because the question is not whether the employer’s reasons
     for a decision are ‘right but whether the employer’s descrip-
     tion of its reasons is honest.’”). Here, the employer conclu-
     sively demonstrated that it withdrew the accommodation
     solely because it worked an undue hardship on the school’s
     business of educating all students. There is no hint in this rec-
     ord that this explanation was false and that the real reason for
     the termination was discrimination.
         Interestingly, the dissent acknowledges that Kluge’s fail-
     ure to demonstrate that Brownsburg’s legitimate, nondis-
     criminatory reason for his termination was a pretext dooms
     his retaliation claim. Yet even though Kluge himself tied the
     success of his two claims together, the dissent does not
     acknowledge that Kluge’s failure to rebut the school’s uncon-
     tested, nondiscriminatory explanation for withdrawing the
     accommodation is also fatal to his discrimination claim.
        Brownsburg began developing the Name Policy before it
     ever knew that Kluge would have a religious objection to the




                                                                            SA-079
Case: 24-1942
      21-2475     Document: 16
                            66              Filed: 07/10/2024
                                                   04/07/2023   Pages: 306
                                                                       134




     78                                                   No. 21-2475

     directive. In the face of his objection, the school made several
     efforts to accommodate his beliefs, meeting with him multiple
     times, agreeing to allow his use of last names only, and offer-
     ing to have another person hand out gender-specific orchestra
     uniforms (an accommodation that Brownsburg never with-
     drew). The school’s decision to allow students to change their
     names and gender markers in the PowerSchool database only
     with the approval of a parent and a healthcare provider as-
     suaged the religious concerns of three of the four teachers
     lodging a religious objection. That the school decided to with-
     draw the last-names-only accommodation only when it was
     apparent that it was harming students and disrupting the
     learning environment was to the school’s credit. See Toledo v.
     Nobel-Sysco, Inc., 892 F.2d 1481, 1490 (10th Cir. 1989) (“The em-
     ployer is on stronger ground when he has attempted various
     methods of accommodation and can point to hardships that
     actually resulted.”); Draper v. United States Pipe & Foundry Co.,
     527 F.2d 515, 520 (6th Cir. 1975) (same). For all of these rea-
     sons, we affirm the grant of summary judgment in favor of
     Brownsburg on the retaliation claim.
                                     III.
         In sum, we affirm summary judgment against Kluge on
     his discrimination claim. Brownsburg has demonstrated as a
     matter of law that the requested accommodation worked an
     undue burden on the school’s educational mission by harm-
     ing transgender students and negatively impacting the learn-
     ing environment for transgender students, for other students
     in Kluge’s classes and in the school generally, and for faculty.
     Title VII does not require that employers accommodate reli-
     gious practices that work an undue hardship on the conduct




                                                                         SA-080
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                  79

     of the employer’s business; that sometimes means that a reli-
     gious employee’s practice cannot be accommodated. Moreo-
     ver, Kluge’s retaliation claim fails as a matter of law because
     he failed to produce any evidence supporting the causation
     element of the prima facie case, or any evidence that the
     school’s explanation for its actions was a pretext for religious
     discrimination.
                                                        AFFIRMED.




                                                                        SA-081
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     80                                                  No. 21-2475

         BRENNAN, Circuit Judge, concurring in part and dissenting
     in part.
         Brownsburg Community School Corporation required
     music teacher John Kluge to use the chosen ęȱȱȱ
     pronouns of transgender students. Kluge objected on reli-
     gious grounds, and a gender-neutral accommodation was ar-
     rived at: He would address his students by their last names
     only. The School District received some complaints about this
     practice, so it revoked the accommodation and told Kluge he
     could comply, resign, or be terminated. He tendered his res-
     ignation.
         Kluge sued the School District under Title VII for failure
     to reasonably accommodate his religious beliefs and for retal-
     iation against his accommodation request. The majority opin-
     ȱĜȱ¢ȱȱfor the School District on both
     claims. On Kluge’s retaliation claim, I disagree with my col-
     leagues’ conclusion as to causation but concur in the judg-
     ment for the School District. I respectfully dissent on the reli-
     gious accommodation claim.
         This case tests the limits of the Supreme Court’s atextual
     but controlling interpretation of “undue hardship” in Title
     VII’s religious accommodation provision as “more than a de
     minimis cost.” Trans World Airlines, Inc. v. Hardison, 432 U.S.
     63, 84 (1977); 42 U.S.C. § 2000e(j). Do ȱ ȱ ěȱ
     constitute more than a de minimis ǵȱę¢ǰȱȱbeing
     ěded by an employee’s religious practice enough to dis-
     charge the employer’s duty to reasonably accommodate the
     employee’s religious practice? The majority opinion answers
     ȱȱĜ. Under its reasoning, Title VII provides no
     protections for religious conscientious objectors who in good
     faith try to accommodate their employers’ dictates. This court




                                                                         SA-082
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023      Pages: 306
                                                                      134




     No. 21-2475                                                  81

     has not ruled on whether taking ěȱȱȱȱ
     than a de minimis cost, so we should tread carefully.
         I would reverse the district court in part and grant partial
     summary judgment for Kluge that his religious beliefs are sin-
     cerely held and that he has established a prima facie case for
     religious discrimination. Then Kluge’s religious accommoda-
     tion claim comes down to a fact-intensive inquiry: Did the
     School District demonstrate that Kluge’s gender-neutral ac-
     commodation of calling all students by only their last names
     causes undue hardship—that is, more than a de minimis cost?
     The majority opinion says “yes,” but it sidesteps Kluge’s
     countervailing evidence, fails to construe the record in his fa-
     vor, and overlooks credibility issues on both sides, which are
     reserved for resolution by the factfinder.
         Courts uniformly review context-specific evidence to eval-
     uate whether a religious accommodation in fact imposes an
     undue hardship. But without supporting authority, my col-
     leagues hold that the undue hardship inquiry looks only to
     evidence within the employer’s knowledge at the time of the
     adverse employment decision. The majority opinion thus re-
     solves this case based on the School District’s receipt of some
     allegations that the accommodation did not work and caused
     tension and discomfort. It deems irrelevant the testimony of
     Kluge, three students, and another teacher. Considering the
     entire record, there is a genuine issue of material fact on un-
     due hardship, which we should remand for trial.
                         I. Factual Background
        The majority opinion downplays certain record evidence
     that in my view creates a genuine issue of material fact on un-
     due hardship. This includes evidence about the School




                                                                        SA-083
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     82                                                    No. 21-2475

     District’s Name Policy and Kluge’s last-names-only accom-
     modation; complaints about that accommodation; counter-
     vailing evidence about Kluge’s accommodation as practiced
     in his classroom; the School District’s revocation of the accom-
     modation; and Kluge tendering his resignation.
          A. Name Policy & Accommodation
        John Kluge is a Christian and a leader in his church. From
     2014 to 2018, he taught orchestra at Brownsburg High School,
     part of the Brownsburg Community School Corporation
     (School District), west of Indianapolis. But he was not just any
     orchestra teacher; many students and former students said he
     was a great one. R. 52-5, at 2; R. 52-4, at 2; R. 120-18, at 11, 13.
         In May 2017, discussions surrounding the needs of
     transgender students led the School District to adopt the
     Name Policy. R. 120-1, at 3–4. Kluge believes that based upon
     his religion, ȱȱĜȱȱȱ¢ȱȱȱ
     students by calling them by their chosen names. R. 113-1, at
     6–9. On July 27, 2017, Kluge objected to the Name Policy
     based on his religious convictions, and Principal Daghe and
     Superintendent Snapp gave Kluge three choices: comply, re-
     sign, or be suspended pending termination. R. 15-3, at 3; R.
     120-3, at 14. At this meeting, Kluge says Snapp got “very an-
     gry,” explained why Kluge’s beliefs were “wrong,” and ar-
     gued that his “beliefs aren’t what’s in the Bible.” R. 120-3, at
     19. Kluge responded with scripture that supported his beliefs.
     To the contrary, Snapp recalled that he had a “cordial conver-
     sation” on their respective religious beliefs. R. 113-6, at 6. In




                                                                            SA-084
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                   83

     the end, Kluge refused to comply, and Superintendent Snapp
     gave him the weekend to consider his options. R. 120-3, at 15.
        On Monday July 31, 2017, Kluge met with Snapp and Hu-
     man Resources Director Gordon. Id. at 17. Gordon presented
     Kluge with a form to indicate whether he would comply with
     the Name Policy. R. 15-1, at 1. Kluge proposed a compromise
     that he be allowed to refer to students by their last names
     only, “like a sports coach,” and the school administrators
     agreed. R. 120-3, at 17.
        B. Complaints
         During the 2017–2018 school year—the relevant time
     frame for evaluating undue hardship—ȱȱȃęȱ
     learned of concerns with Mr. Kluge and how he was address-
     ing students in class via an email from Craig Lee … on August
     29, 2017.” R. 120-2, at 4. Lee served as the faculty advisor and
     host for the Equality Alliance, a student club that met weekly
     “to discuss issues that impact the LGBTQ community.” R.
     120-14, at 6.
         ěǯȱIn his email, Lee referenced a teacher who refused to
     call a transgender student by their new name, but he did not
     mention Kluge. R. 120-15. Still, ȱ ȱ Ĵȱ ȱ
     ȱ ȱ ęȱ ȱ ȱ ȱ ȱ ȱ ǯȱ R.
     120-2, at 4. Among other things, Lee stated, “[T]here is confu-
     sion amongst some teachers and students that I think needs
     ęȱȱȱȱȱȱ ȱȱȱȱ ȱ
     that it is not ok to disobey the powerschool [sic] rule.” R. 120-
     15. Lee said he was “not totally sure” of the best next step and
     that he was “very biased” on the topic. Id. Lee ęȱsepa-
     rately that several students in Equality Alliance meetings




                                                                          SA-085
Case: 24-1942
      21-2475        Document: 16
                               66              Filed: 07/10/2024
                                                      04/07/2023         Pages: 306
                                                                                134




     84                                                          No. 21-2475

     found Kluge’s last-names-only practice insulting and disre-
     spectful. R. 58-2, at 2.
         Assistant Superintendent Jessup also recounted visiting
     an Equality Alliance meeting where she heard ȱȱęȱstu-
     dents complain about a teacher using last names only. R. 120-
     1, at 4. In her view, the other 35 or so ȱȱĴȱ
     appeared to agree with the complaints. 1 Id. Again, while the
     students did not identify Kluge by name, “it was certainly im-
     plied that he was the teacher in question.” Id. She had no
     doubt the teacher was Kluge because he was the only ě
     member ȱȱȱĴȱȱ-names-only accom-
     modation. Id. Deposition testimony also revealed that some
     teachers had complained about Kluge’s accommodation. R.
     120-14, at 16–17; R. 113-5, at 8–9; see also R. 113-4, at 9.
         Students. Two transgender students in Kluge’s orchestra
     class during the 2017–2018 school year, Aidyn Sucec and Sam
     Willisǰȱ Ĵȱ . The majority opinion ad-
     dresses them at length, so I highlight only a few points. Aidyn
     said “Kluge’s behavior was noticeable to other students in the
     class.” R. 22-3, at 4. Aidyn recalled, “At one point, my stand
     partner asked me why Mr. Kluge wouldn’t just say my name.


          1 The record does not reflect the total number of transgender students

     at Brownsburg High School in school year 2017–2018. The evidence shows
     three transgender students in Kluge’s classes: Aidyn Sucec, Sam Willis,
     and an unnamed third student. R. 22-3; R. 58-1; R. 52-3 at 3. A student in
     Kluge’s orchestra class, Lauren Bohrer, said the class averaged about 40
     students. R. 52-3 at 2. According to the Indiana Department of Education
     Data Reports Archive, Attendance & Enrollment, in the 2017–2018 school
     year, Brownsburg High School had 2,646 students. IND. DEP’T OF EDUC.,
     School     Enrollment      by    Grade      Level,    https://www.in.gov/
     doe/it/data-center-and-reports/data-reports-archive/.




                                                                                   SA-086
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     No. 21-2475                                                 85

     I felt forced to tell him that it was because I’m transgender.”
     Id. Similarly, Sam opined that “Kluge’s use of last names in
     class made the classroom environment very awkward.” R. 58-
     1, at 3. Sam said “[m]ost of the students knew why Mr. Kluge
     had switched to using last names, which contributed to the
     awkwardness and [his] sense that [he] was being targeted be-
     cause of [his] transgender identity.” Id. at 3–4.
         Parents. In fall 2017, the high school received two com-
     plaints about Klugeǯȱȱęȱ ȱin a Ĵ from the parents
     of a transgender student, and the second in an email exchange
     between a Brownsburg school counselor and a transgender
     student’s parent. R. 120-12; R. 120-13. In the email exchange,
     the counselor advised that the administration “require[d] that
     students role play” at home “to practice situations in which”
     they are called by a name other than the one they prefer. R.
     120-13, at 6. The counselor continued, “As a school, we will
     certainly do our best to get the name/pronouns right, but we
     are all human and there may [be] instances where we don’t
     get it quite right. In those moments, we do not want [the stu-
     ǾȱȱȱěǰȱȱǰȱȱȱǯȄȱ
     Id. at 6–7.
        C. Countervailing Evidence
         These complaints are just one side of the story, however.
     Three of Kluge’s students and a fellow teacher, all of whom
     observed his classes in the 2017–2018 school year, Ĵ that
     the last-names-only practice did not adversely ě the class-
     room environment. This evidence, along with Kluge’s




                                                                       SA-087
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     86                                                 No. 21-2475

     testimony, create a genuine issue of material fact on undue
     hardship.
         Lauren Bohrer Declaration. Lauren Bohrer and Aidyn were
     students in Kluge’s orchestra class. R. 52-3, at 2. Bohrer at-
     tested that she “did not hear Mr. Kluge ever call students by
     ȱę¡ǯȄȱId. She explained that orchestra is a larger
     class, so individual interactions were few. “It was rare that
     Mr. Kluge had occasion to call on any individual student di-
     rectly unless they raised their hand to ask a question.” Id. Boh-
     rer ȱȱȱȱęȱ ȱ ȱȱǰȱKluge
     ȱȱȱȱȱȱȱĴȱȱȱ
     ȱĴȱ¢ȱȱȱȱ ȱǯ
         According to Bohrer, “Mr. Kluge never once brought up
     the use of only last names or made known to our class his rea-
     ȱȱȱ¢ȱȱǯȱ ȱȱȱęȱȱȱȱǯȱ
     Kluge did not seem uncomfortable addressing us in this fash-
     ion. I never suspected that it was anything other than the eas-
     ȱ ¢ȱȱȱȱȱȱȱȱȱȱȱȱęȱ
     in PowerSchool.” Id. at 3. Bohrer also said she had a
     transgender stand partner—not Aidyn—and that she “never
     saw Mr. Kluge treat [her] stand-ȱ¢ȱě¢ȱȱis-
     gender students.” Id. “[She] never saw or heard about any an-
     imosity between them.” Id. “[Her] stand mate never told [her]
     that they disliked Mr. Kluge’s behavior or that Mr. Kluge had
     been unfair to them.” Id.
         Bohrer did not know Aidyn personally, but she was hesi-
     tant to engage or interact with him “due to [his] reputation for
     confrontational and aggressive behavior toward people who
     did not strictly conform to [his] mindset.” Id. In fall semester
     2018—after Kluge’s termination—Bohrer alleges that she was
     called to the principal’ȱ Ĝȱ based on Aidyn’s false




                                                                         SA-088
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                    87

     accusations of her calling him a “f----t.” Id. at 4. Per Bohrer,
     the principal conceded that it was unlikely that Aidyn’s accu-
     sations were true. Id. at 5.
         Kennedy Roberts Declaration. Kennedy Roberts, another or-
     chestra student, said Kluge was a “favorite teacher[].” R. 52-
     4, at 1. Roberts recalled that “the energy [Kluge] put into
     conducting [their] orchestra and creating a fun classroom en-
     vironment is incomparable to any teacher [he’d] had.” Id. at 1.
     Roberts said, “During the school year, [Kluge] always called
     everyone by their last names, which I never knew the reason
     as to why, but I never really thought anything of it. It’s just
     what he did.” Id. at 2. Roberts corroborated Bohrer’s testi-
     mon¢ȱȱ ȱȱȱȱȱȱĴȱȃȱ
     ęǰȱ¢ȱś-8 times over the year.” Id. From what Roberts
     could tell, Kluge “treated everyone this way, no one was sin-
     gled out in front of the class or intentionally treated disre-
     spectfully.” Id.
         Mary Jacobson Declaration. A third student, Mary Jacobson,
     was in both Kluge’s Music Theory and Advanced Orchestra
     classes. R. 52-5, at 2. ȱĴȱǰȱetween these two
     classes, “[she] never heard Mr. Kluge refer to students by their
     ęȱǰȱȱ¢ȱ¢ȱȱę¡ȱȱǯȄȱId. at 2.
     She “never heard Mr. Kluge discuss his use of last names with
     any student or give any explanation for it. His use of last
     names was not unnatural sounding. I never heard any stu-
     dents question him about it, and I never brought up the topic
     to him myself.” Id. at 2. And she “did not see or hear Mr.
       ȱȱĚȱ ȱny students nor did [she] witness any
     ȱ ȱ ěȱ ȱ ȱ ȱ ȱ ȱ ȱ
     class received.” Id. She also added that Kluge was a




                                                                           SA-089
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     88                                                 No. 21-2475

     “wonderful teacher” whose “kindness and fairness” made for
     an “open and honest classroom demeanor.” Id. at 2–3.
         Natalie Gain Declaration. In addition to these student dec-
     larations, Natalie Gain, a teacher who led private music les-
     sons at the school ȱ ȱ ¢ǰȱ Ĵȱ ȱ ȱ
     stating that she “never heard [Kluge] use gendered language
     in the classroom.” R. 52-2, at 3. “[She] only heard him use last
     names with the students” and “never heard any of the stu-
     dents discussing the [sic] Mr. Kluge’s use of last names, or any
     references to his agreement with the administration.” Id.
     “[A]s far as [she] could tell, Mr. Kluge’s accommodation was
     not common knowledge … .” Id. She also said Kluge “had
     mostly used last names … the previous school year anyway,
     with ‘Mr./Ms.’ for students to encourage a respectful teaching
     environment, like college classes.” Id. at 2.
         Kluge’s Testimony. Kluge also aĴȱthere were no issues
     with the last-names-only accommodation. He said that in the
     2017 fall semester leading up to a meeting with Principal
     Daghe on December 13, 2017, “there were no student protests,
     ȱ ȱȱ ĴȱȱȱǽǾȱȱȱȱȱ
     for all students, there were no classroom disturbances, and
     there were no cancelled classes.” R. 113-2, at 4. Kluge said he
     did not witness tension in the students and faculty. R. 120-3,
     at 23. He did not see animosity from the students toward him.
     Id. Instead, Kluge averred that “the accommodation worked
     as intended and [his] students excelled,” some winning
     awards for their performances during the 2017–2018 school
     year. R. 113-2, at 4. ȱǰȱȃȱȱĴȱȱ
     ever in our orchestra competitions. Students’ grades on their
     AP [Music Theory] exam were great. There was a lot of par-
     ticipation in the extracurricular programs, a lot of students




                                                                        SA-090
Case: 24-1942
      21-2475      Document: 16
                             66         Filed: 07/10/2024
                                               04/07/2023        Pages: 306
                                                                        134




     No. 21-2475                                                   89

     ȱȱȱ¢ȱ¡ȱěȱȱ¢ȱȱȱȱȬ
     chestra.” R. 120-3, at 23–24.
        D. Revocation of Kluge’s Accommodation
         On January 22, 2018, Assistant Superintendent Jessup pre-
     sented faculty with a document entitled “Transgender Ques-
     tions” accompanied by a presentation titled “Transgender
     Considerations.” Both stated that the last-names-only accom-
     ȱ ȱȱȱĴȱȱ ȱȱ¢ǯ
     R. 15-4; R. 120-20. The majority opinion refers to excerpts from
     only the Transgender Questions document. Other portions of
     that document include:
            Where is the line drawn on “pleasing” stu-
            dents and their beliefs? It is our job to make all
            students feel welcome and accepted in the pub-
            lic school environment.
            …
            How do we deal with a student exploding in
            anger with being called the wrong name or
            gender? If it’ȱȱęȱȱȱ ȱȱěȱ
            member has messed up the pronoun, then the
            ěȱȱȱȱȱȱǯȱ  ǰȱ
            if the student explodes on one small mistake, we




                                                                        SA-091
Case: 24-1942
      21-2475    Document: 16
                           66          Filed: 07/10/2024
                                              04/07/2023       Pages: 306
                                                                      134




     90                                               No. 21-2475

            would address the student behavior as we nor-
            mally would.
     R. 15-4, at 9–10.
         The Transgender Considerations presentation stated in
     relevant part:
            Considerations
            …
         x ȱȱęȱȱ ȱȱ
            alternatives—instead of “ladies and gentleman”
            [sic] or “boys and girls” try using “everyone,”
            “people” or “folks”
         x If you are creating a form for students, consider
            whether you really need to have a question
            about sex or gender; if so, provide gender op-
            tions
         x Try not to make assumptions about the genders
            of students … .
            …
         x Avoid using boy/girl methods to divide stu-
            dents—seating charts, lining up, groups, etc.
         x If possible, provide gender neutral uniforms
            …
            Other Guidance
         x Creating a safe and supportive environment for
            all students is important
                x Be respectful and nonjudgmental; do not
                    show skepticism and/or disapproval
     R. 120-20, at 5–7.
         On February 6, 2018, Kluge, Principal Daghe, and Human
     Resources Director Gordon met, and the school administra-
     tors ęȱ ȱ ȱ ȱ not be allowed his




                                                                    SA-092
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                    91

     accommodation in the next school year. R. 113-2, at 6. In this
     meeting, the three discussed how Kluge might announce his
     departure if he resigned. ȱȱȱěȱȱȱȱ
     not told anybody—without “any fanfare.” R. 113-4, at 39. She
     suggested that Kluge did not have to talk about his retirement
       ȱěȱȱǯȱȱGordon ęǰȱȃ’s kind of
     up to you.” Id.
        E. Kluge Tenders Resignation
          ȱ Ĵȱ ȱ  Ĵ on April 30, 2018,
     and continued to teach for the rest of the school year. In May,
     he presided over the school’s orchestra awards ceremony,
     where he referred to all students by their  ȱęȱ
     and last name. R. 120-3, at 32. On May 25, 2018, the School
     ȱȱ ȱȱȱȱǰȱěȱȱȬ
     ignation. R. 15-3, at 1; R. 113-2, at 7. Two weeks later at a
     School District Board meeting, Kluge asked the Board of Trus-
     tees not to accept his resignation and requested that he be re-
     instated. R. 113-2, at 7; R. 120-3, at 29–30; R. 120-18, at 10. The
     Board heard comments from Kluge and the community—
     some in support of termination and others against—and ulti-
     mately accepted Kluge’s resignation, ending his employment.
     R. 113-2, at 7; R. 120-18, at 9–13. ȱ¢ȱȱȱěȱ
     comments at the Board meeting. R. 120-18, at 11.
         ȱȱǰȱ ěȱ ¢ǰȱȱȱȱȱȱȱ
     student, recalled that Kluge addressed the Board with passion
     and wept when he found out that he would not retain his po-
     sition. R. 52-6, at 3. Gracey opined that Aidyn’s comments
     were “confrontational,” and that he “seemed well coached”
     and “enthused about the prospect of Mr. Kluge losing his
     job.” Id. Gracey said that Aidyn’s comments before the Board




                                                                           SA-093
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     92                                                 No. 21-2475

     ȃȱȱȱȱĴȱȱȱȱȱȱȱȱ
     use their voices to reinforce their ideology.” Id. at 4.
                          II. Legal Framework
         Kluge’s religious accommodation and retaliation claims
     and the record evidence are considered under the familiar law
     of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e,
     et seq. Still, close review of the law on failure-to-accommodate
     claims is critical in this case because some ȱȱȱȱĚ¡ȱȱ
     the law that is unclear bears directly upon the claims we de-
     cide.
          A. Title VII
         Title VII makes it unlawful for an employer “to fail or re-
     fuse to hire or to discharge any individual, or otherwise to
     discriminate against any individual with respect to his com-
     pensation, terms, conditions, or privileges of employment, be-
     cause of such individual’s … religion.” 42 U.S.C. § 2000e-
     2(a)(1). The statute ęȱȃȄȱȱȱȃȱȱ
     of religious observance and practice, as well as belief, unless
     an employer demonstrates that he is unable to reasonably ac-
     commodate to an employee’s or prospective employee’s reli-
     gious observance or practice without undue hardship on the
     conduct of the employer’s business.” 42 U.S.C. § 2000e(j).
         To make a prima facie case based on an employer’s failure
     to provide a religious ǰȱȱěȱȱ Ǳȱ
     (1) an observance or practice that is religious in nature;
     (2) ȱ Ěȱ ȱ ȱ ¢ȱ ǲȱ ȱ
     (3) that the need for a religious accommodation was a moti-
     vating factor in the adverse employment decision or other dis-
     criminatory treatment. EEOC v. Ilona of Hungary, Inc., 108 F.3d
     1569, 1575 (7th Cir. 1997) ǻȱ ĴǼ; EEOC v.




                                                                         SA-094
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     No. 21-2475                                                   93

     Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 772–73 (2015)
     (modifying the former third factor—the employer’s actual no-
     tice of the employee’s need for a religious accommodation).
     In addition, the employee must show his religious belief is
     sincerely held. Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d
     444, 448 (7th Cir. 2013) (citing Redmond v. GAF Corp., 574 F.2d
     897, 901 n.12 (7th Cir. 1978)).
         Whether an accommodation is reasonable is necessarily
     linked to the question of ȱǱȱȃȱȱěȱ
     has established a prima facie case of discrimination, the bur-
     den shifts to the employer to make a reasonable accommoda-
     tion of the religious practice or to show that any reasonable
     accommodation would result in undue hardship.” Porter v.
     City of Chicago, 700 F.3d 944, 951 (7th Cir. 2012) (citing Ilona,
     108 F.3d at 1575–76). “Reasonableness is assessed in context,
     of course, and this evaluation will turn in part on whether or
     not the employer can in fact continue to function absent undue
     hardship” with the accommodation in place. Adeyeye, 721 F.3d
     at 455 (emphasis added). Undue hardship is an objective in-
     quiry that “ ȱȱȱȱĴȱȱȱęȱȬ
     cumstances of the job” and the nature of the accommodation.
     Id.
        B. Hardison’s De Minimis Cost Test
         The Supreme Court interpreted “undue hardship” to
     mean “more than a de minimis cost” in Trans World Airlines,
     Inc. v. Hardison, 432 U.S. 63, 84 (1977). Hardison involved a
     Sabbatarian employee who refused to work on Saturdays on
     religious grounds. Id. at 66. In holding that accommodating
     Hardison’s schedule would impose more than a de minimis
     cost, the Court observed that replacing him with other em-
     ployees “would involve costs to TWA, either in the form of




                                                                         SA-095
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     94                                                   No. 21-2475

     ȱ Ĝ¢ȱ ȱ ȱ ȱ ȱ ȱ ,” and require
     TWA to “carve out a special exception to its seniority system”
     of giving senior employees priority in choosing their sched-
     ule. Id. at 83–84. Accordingly, this court has observed that
     Hardison is most instructive when there is an existing system
     ȱĴȱȱȱȱreligious and non-religious
     preferences of employes—such as by a seniority system or
     collective bargaining agreement. Adeyeye, 721 F.3d at 456; see
     also EEOC v. Firestone Fibers & Textiles Co., 515 F.3d 307, 315
     (4th Cir. 2008) (discussing pre-existing company policies to
     accommodate employees’ work scheduling preferences). Har-
     dison’s core is that “Title VII does not require an employer to
     ěȱȱ‘accommodation’ that comes at the expense of other
     workers.” EEOC v. Walmart Stores E., L.P., 992 F.3d 656, 659
     (7th Cir. 2021).
         Since Hardison, the Supreme Court has reĜȱe de
     minimis cost test in Ansonia Bd. of Educ. v. Philbrook, 479 U.S.
     ŜŖǰȱŜŝȱǻŗşŞŜǼǯȱ ȱȱǰȱȱȱȱęȱȱȱȬ
     ployer’s duty to accommodate under § 2000e(j) ends “where
     the employer has already reasonably accommodated the em-
     ployee’s religious needs.” Id. at 68. The Court, in its only other
     Title VII religious accommodation case post-Hardison, did not
     mention the de minimis cost test because the Court remanded
     for further proceedings under its holding that the need for a
     religious accommodation need only be a motivating factor for
     the employer’s adverse employment decision. EEOC v. Aber-
     crombie & Fitch Stores, Inc., 575 U.S. 768, 772–73, 775 (2015).
     ȱȱ¢ȱĴȱȱǯ
         So the de minimis cost test remains controlling law absent
     a contrary indication from the Supreme Court. See Bosse v. Ok-
     lahoma, 580 U.S. 1, 3 (2016). But remember, Hardison’s test is




                                                                          SA-096
Case: 24-1942
      21-2475        Document: 16
                               66               Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                               95

     “more than a de minimis cost,” ȱȱȱȱȱęȱ
     how much more. 432 U.S. at 84 (emphasis added). The Court
     Ĝȱ ȱ Abercrombie that “Title VII does not demand
     mere neutrality with regard to religious practices—that they
     be treated no worse than other practices.” 575 U.S at 775. “Ra-
     ǰȱȱȱȱȱǰȱĜtively obligating
     employers not ‘to fail or refuse to hire or discharge any indi-
     vidual ... because of such individual’s’ ‘religious observance
     and practice.’” Id. (citing §§ 2000e-2(a)(1), 2000e(j)). “Title VII
     requires otherwise-neutral policies to give way to the need for
     an accommodation.” Id. So the Court apparently reads the de
     minimis cost test to have some substance.
         Since Hardison, the de minimis cost test has come under crit-
     icism. 2 Most importantly, the Supreme Court has recently


         2 E.g., Ĵȱǯȱȱǯ, 140 S. Ct. 685 (2020) (Alito, Thomas,

     and Gorsuch, Js., concurring) (“Hardison’s reading does not represent the
     most likely interpretation of the statutory term ‘undue hardship.’”); Small
     v. Memphis Light, Gas & Water, 141 S. Ct. 1227, 1229 (2021) (Gorsuch and
     Alito, JJ., dissenting) (referring to Hardison as a “mistake … of the Court’s
     own making” and observing “it is past time for the Court to correct it”);
     Small v. Memphis Light, Gas & Water, 952 F.3d 821, 826–29 (6th Cir. 2020)
     (Thapar, J., concurring) (discussing how the Hardison test is contrary to
     ordinary, contemporary meaning and incongruent with the treatment of
     “undue hardship” in other federal statutory contexts); Debbie N. Kaminer,
     Religious Accommodation in the Workplace: Why Federal Courts Fail to Provide
     Meaningful Protection of Religious Employees, 20 Tex. Rev. L. & Pol. 107, 122
     (2015) (“In relying on the de minimis standard, the Court essentially held
     ȱĴȱȱȱȱȱȱȱȱ¢ȱ ȱ
     ǯȄǼǲȱĴ ȱǯȱ¢ǰȱBetween a Stone and a Hard Place: How the
     Hajj Can Restore the Spirit of Reasonable Accommodation to Title VII, Note, 62
     ȱǯ ǯȱŗŖŘşǰȱŗŖŚŖȱǻŘŖŗřǼȱǻȃǰȱȱȱ ȱȱȱęȱȱȱǰȱ
     which it did by severely limiting employers’ duty to accommodate their
     employees.”).




                                                                                      SA-097
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     96                                                    No. 21-2475

     granted certiorari in ěȱ ǯȱ  ¢, 143 S. Ct. 646 (2023)
     (mem.). That case presents a classic Sabbatarian scenario, as
     in Hardison. The Third Circuit held that the employee’s re-
     quested accommodation to be exempted from work on Sun-
     day caused more than a de minimis cost to the employer. See
       ěȱǯȱ ¢, 35 F.4th 162, 175 (3d Cir. 2022), cert. granted, 143
     S. Ct. 646 (2023). The questions presented in ě on which
     the Court has granted certiorari are squarely relevant here:
     “1. Whether this Court should disapprove the more-than-de-
     minimis-cost test for refusing Title VII religious accommoda-
     tions stated in Trans World Airlines, Inc. v. Hardison, 432 U.S.
     63 (1977)[;] 2. Whether an employer may demonstrate ‘undue
     hardship on the conduct of the employer’s business’ under Ti-
     tle VII merely by showing that the requested accommodation
     burdens the employee’s co-workers rather than the business
     itself.” Petition for Writ of Certiorari, ě, No. 22-174, at i;
     Questions Presented Report, ě, No. 22-174.
          ǯȱȃȱ Ȅȱǭȱě
            1. Statutory Text
         The statutory text of 42 U.S.C. § 2000e(j) ȱ Ĵȱ
     help in answering ȱ ěȱ ȱ ȱ Ȭ
     ship. At enactment, “hardship” generally meant “‘adversity,’
     ‘ě’ or ‘a thing hard to bear.’” Small, 952 F.3d at 826–
     827 (quoting THE AMERICAN HERITAGE DICTIONARY OF THE
     ENGLISH LANGUAGE 601 (1969); BLACK’S LAW DICTIONARY 646
     (5th ed. 1979); WEBSTER’S NEW TWENTIETH CENTURY DICTION-
     ARY OF THE ENGLISH LANGUAGE 826 (2d ed. 1975)). The ordi-
     nary meaning of “hardship” does not exclude non-economic




                                                                            SA-098
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                   97

     Ĝ such as hurt feelings, albeit connoting a degree of
     severity given the adjective “undue.”
         Hardison’s controlling test uses the word “cost,” 432 U.S.
     at 84, which ȱȱȱȱȱȱęȱȱ
     to the employer. As mentioned above, Hardison was focused
     on “costs to [the employer]” by scheduling around the Sabba-
     tarian employee’s schedule—“ȱ ȱ ȱ ȱ ȱ ȱ ĜȬ
     ciency in other jobs or higher wages.” Id. at 84. So, from the
     outset, the Supreme Court appears to have set an operational
     or economic gloss on “hardship.”
            2. EEOC Regulation
         While neither the statute’s text nor Hardison provide an-
      ȱȱ ȱěȱȱǰȱȱȱ¢ȱ
     Opportunity Commission has issued informative regulations
     and guidance. For Title VII, the EEOC may issue procedural
     but not substantive regulations to carry out the statutory pro-
     visions. 42 U.S.C. § 2000e-12(a); Edelman v. Lynchburg Coll.,
     535 U.S. 106, 113 (2002) ǻȱĴǼ. Nonetheless, the
     regulations are persuasive (albeit nonbinding) guidance, mer-
     iting lesser deference under Skidmore in light of the “special-
     ized experience and broader investigations and information”
     available to the agency. United States v. Mead Corp., 533 U.S.
     218, 234 (2001) (quoting Skidmore v. Swift & Co., 323 U.S. 134,
     139 (1944)); Univ. of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338,
     360–61 (2013); Fed. Exp. Corp. v. Holowecki, 552 U.S. 389, 399
     (2008) (explaining that the EEOC’s interpretive statements are
     entitled to a “measure of respect” (quoting Alaska Dept. of
     Env’t Conservation v. EPA, 540 U.S. 461, 487–88 (2004))).
        In 29 C.F.R. § 1605.2(e), the EEOC states that it will deter-
     mine “undue hardship” as “more than a de minimis cost” in




                                                                          SA-099
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     98                                                 No. 21-2475

     accordance with Hardison. In making the “undue hardship”
     determination, the EEOC gives “due regard [] ȱȱęȬ
     able cost in relation to the size and operating cost of the em-
     ployer, and the number of individuals who will in fact need a
     particular accommodation.” Id. “In general, the Commission
     interprets this phrase as it was used in the Hardison decision
     to mean that costs similar to the regular payment of premium
     wages of substitutes, which was at issue in Hardison, would
     constitute undue hardship.” Id. But administrative costs for
     providing a religious accommodation, such as “costs in-
     volved in rearranging schedules and recording substitutions
     for payroll purposes” “will not constitute more than a de min-
     imis cost.” Id. Coworker or customer feelings, preferences, and
     complaints are not mentioned in § 1605.2.
            3. EEOC Guidance
        An EEOC Guidance addresses coworker complaints and
     customer preferences. U.S. EQUAL EMPLOYMENT OPPORTUNITY
     COMM’N, Section 12: Religious Discrimination (2021),
     ĴǱȦȦ      ǯǯȦ /guidance/section-12-religious-
     discrimination#h_2550067453639161074986%207844 (EEOC
     Guidance).
         As to coworker complaints, the Guidance states, “Alt-
     hough infringing on coworkers’ abilities to perform their du-
     ties or subjecting coworkers to a hostile work environment
     will generally constitute undue hardship, the general dis-
     gruntlement, resentment, or jealousy of coworkers will not.”
     Id. ǻȱĴǼ. “Undue hardship requires more than
     ȱȱȱ ȱȱȱȱěȱ¢ȱȱ
     unpopular religious belief or by alleged ‘special treatment’ af-
     forded to the employee requesting religious accommodation;
     a showing of undue hardship based on coworker interests




                                                                        SA-100
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023        Pages: 306
                                                                         134




     No. 21-2475                                                    99

     generally requires evidence that the accommodation would
     actually infringe on the rights of coworkers or cause disrup-
     tion of work.” Id. ǻȱĴǼǯ “Applying this standard,
     it would be an undue hardship for an employer to accommo-
     date religious expression that is unwelcome potential harass-
     ment based on race, color, sex, national origin, religion, age,
     disability, or genetic information, or based on its own internal
     anti-harassment policy.” Id. So in general, the EEOC requires
     more thaȱ ȱȱȱěȱ¢ȱȱ¢’s
     religious observance or practice to constitute an undue
     hardship. The religious accommodation must cause some op-
     erational disruption, or rise to such a level that it can be con-
     sidered harassment or to cause a hostile work environment.
     Id.
        As to customer preference, the Guidance states, “An em-
     ployer’s action based on the discriminatory preferences of
     others, including coworkers or customers, is unlawful.” Id. It
     provides an illustrative example:
            Employment Decision Based on Customer
            Preference
            Harinder, who wears a turban as part of his Sikh
            religion, is hired to work at the counter in a cof-
            fee shop. A few weeks after Harinder begins
            working, the manager notices that the work
            crew from the construction site near the shop no
            ȱ ȱ ȱ ȱ ěȱ ȱ ȱ ǯȱ
            When he inquires, the crew complains that Ha-
            rinder, whom they mistakenly believe is Mus-
            lim, makes them uncomfortable in light of the
            ȱŗŗȱĴǯȱȱȱȱ Ȭ
            rinder that he has to let him go because the




                                                                         SA-101
Case: 24-1942
      21-2475    Document: 16
                           66          Filed: 07/10/2024
                                              04/07/2023     Pages: 306
                                                                    134




     100                                               No. 21-2475

           customers’ discomfort is understandable. The
           manager has subjected Harinder to unlawful re-
           ligious discrimination by taking an adverse ac-
           tion based on customers’ preference not to have
           a cashier of Harinder’s perceived religion. Ha-
           rinder’s termination based on customer prefer-
           ence would violate Title VII regardless of
           whether he was – or was misperceived to be --
           Muslim, Sikh, or any other religion.
     Id.
         This example shows that the EEOC does not tolerate reli-
     gious discrimination based on the preferences, opinions, and
     feelings of customers about an employee’s religious ob-
     servance or practice.
         It can be debated whether a public-school student is more
     like a coworker or a customer. A customer gives voluntary
     patronage to a business, while a public school requires stu-
     ȱĴȱ(unless alternative schooling is available). So
     a public-school student may be more akin to a coworker than
     a customer. If a student is seen as a coworker, the Guidance
     suggests that the student’s disgruntlement at employee con-
     duct is not enough for undue hardship. But if the employee
     conduct constitutes harassment of the student or causes a hos-
     tile educational environment, then it would be enough. If a
     public-school student is closer to a customer of a school, the
     Guidance suggests that the student’s disgruntlement is not
     enough for undue hardship. The majority opinion situates the
     ȱ ěȱ ȱ ser to customer preference, which




                                                                      SA-102
Case: 24-1942
      21-2475      Document: 16
                             66            Filed: 07/10/2024
                                                  04/07/2023      Pages: 306
                                                                         134




     No. 21-2475                                                     101

     categorically would not provide a basis for undue hardship
     under the EEOC Guidance.
            4. Caselaw
         The post-Hardison caselaw is sparse on whether coworker
     ȱȱěȱȱȱȱȱȱȱde minimis cost
     to the employer. This court has not addressed the question,
     ȱȱȱȱȱ¢ȱęȱȱȱȱ
     ȱěȱȱȱȱȱ to constitute undue hard-
     ship.
         Customer Sentiments. The majority opinion cites Anderson
     v. U.S.F. Logistics (IMC), Inc., 274 F.3d 470 (7th Cir. 2001), for
     the proposition that customer complaints—and thus student
     complaints—¢ȱ Ĝȱ ȱ ȱ ȱ ȱ ȱ
     upon the employer. Anderson involved a Christian employee
     who sought to use the phrase “Have a Blessed Day” in signing
     ěȱn ĴȱȱȱȱȱȬ
     tions. Id. at 473. The employer became concerned when one of
     its clients complained that the employee’s use of the phrase
     was “unacceptable” and “must stop.” Id. The ¢ȱęȱ
     suit for a preliminary injunction that allowed her to use the
     phrase in communications with the employer’s customers,
     which the district court denied. Id. at 474.
          ȱ Ĝȱ ȱ ȱ ǰȱ this court observed that
     “Anderson’s religious practice did not require her to use the
     ‘Blessed Day’ phrase with everyone” and that the employer
     was “concerned about its relationship with its customers.” Id.
     at 476. We also recognized that the employer had a “legitimate
     interest[]” in protecting its relationship with clients. Id. at 477.
     Ultimately, we concluded that the employer had reasonably
     accommodated its employee by allowing Anderson to use the




                                                                            SA-103
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     102                                               No. 21-2475

     phrase with co-workers but not clients. Id. at 474–76. Recall
     that the employer’s Title VII duty to accommodate “is at an
     end” when “where the employer has already reasonably ac-
     commodated the employee’s religious needs.” Ansonia, 479
     U.S. at 68. Therefore, in Anderson this court did not consider
     whether customer objections to an employee’s religious belief
     or practice were enough to constitute more than a de minimis
     cost to the employer.
         More importantly, Anderson is distinguishable from the
     facts in this case. Anderson sought to use a religious phrase,
     which the district court had found to impose her religious be-
     liefs on the employer’s clients or vendors. Anderson, 274 F.3d
     at 477–78. As the majority opinion recognizes, Anderson held
     that the employer could restrict the employee’s religious
     speech with clients in providing the reasonable accommoda-
     tion. Id. But here, an employer seeks to force an employee to
     engage in transgender-Ĝȱ ȱ ¢ȱ ȱ ȱ Ȭ
     gious beliefs. Whether Kluge’s gender-neutral accommoda-
     tion constitutes an undue hardship by way of the School Dis-
     trict’s clients—the students—should be an open question for
     the ęǯ Recall that the EEOC opines that employers’
     adverse employment “action based on the discriminatory
     preferences of others, including coworkers or customers, is
     unlawful.” EEOC Guidance.
         Coworker Sentiments. Other courts have addressed whether
      ȱěȱȱȱto constitute undue hardship. In
     Anderson v. Gen. Dynamics Convair Aerospace Div., 589 F.2d 397
     (9th Cir. 1978), the Ninth Circuit held that coworkers’ “gen-
     eral sentiment against” a “free rider[]” employee who refused
     to join an employer-mandated union on religious grounds
     was not an undue hardship. Id. at 402. The court stated,




                                                                       SA-104
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                   103

     “Undue hardship means something greater than hardship.
     Undue hardship cannot be proved by assumptions nor by
     opinions based on hypothetical facts. Even proof that employ-
     ees would grumble about a particular accommodation is not
     enough to establish undue hardship.” Id. And in a factually
     similar case, the Ninth Circuit reiterated that “undue hard-
     ship requires more than proof of some fellow-worker’s grum-
     bling or unhappiness with a particular accommodation to a
     religious belief.” Burns v. S. Pac. Transp. Co., 589 F.2d 403, 407
     (9th Cir. 1978) (citing General Dynamics, 589 F.2d at 402).
     Though General Dynamics did not discuss Hardison’s de mini-
     mis cost test, the Ninth Circuit cited the case and operated un-
     der its regime. Id. at 400–01 (citing Hardison, 432 U.S. 63).
     Burns ĜȱGeneral Dynamics’s core principle that grum-
     blings ȱȱĜȱin an explicit analysis under Hardison.
     Burns, 589 F.2d at 406–07. Whether students are closer to
     coworkers or customers, General Dynamics, Burns, and the
     EEOC Guidance provide that grumblings are not enough for
     undue hardship.
         In ȱǯȱ  Ĵ-Packard Co., 358 F.3d 599, 607–08 (9th
     Cir. 2004), the Ninth Circuit explained that an employer
     “need not accept the burdens that would result from allowing
     actions that demean or degrade, or are designed to demean or
     degrade, members of its workforce.” The relevant employee
     had publicly posted in the workplace Bible scriptures con-
     demning sodomy in response to his employer’s poster pro-
     moting inclusion of gay workers. Id. at 601–02. So the Ninth
     Circuit’s law generally accords with the EEOC Guidance’s




                                                                          SA-105
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023           Pages: 306
                                                                                    134




     104                                                             No. 21-2475

     suggestion that, while coworker grumblings are not Ĝ
     to establish undue hardship, coworker harassment is. 3
         How much more than de minimis? In Burns and General Dy-
     namics, the courts entered a judgment in favor of the em-
     ployee, reversing bench trial decisions and concluding that
     the employer had failed to demonstrate that no reasonable ac-
     commodation could be provided without undue hardship.
     Burns, 589 F.2d at 407–08; General Dynamics, 589 F.2d at 402–
     03. That these cases and numerous other court decisions on
     the de minimis cost issue have been resolved by trial—some in
     favor of the employer, others for the employee—shows that
     the test, even if more than a de minimis cost, has some teeth. 4

         3 Kluge also cited a decision that was later vacated, Cummins v. Parker

     Seal Co., 516 F.2d 544 (6th Cir. 1975), aff’d, Parker Seal Co. v. Cummins, 429
     U.S. 65 (1976), vacated on reh’g, 433 U.S. 903 (1977). Another Sixth Circuit
     decision, Draper v. U.S. Pipe & Foundry Co., 527 F.2d 515, 520–21 (6th Cir.
     1975), stands for the principle for which Kluge cited it: that coworker
     grumblings are not enough for undue hardship. Whether Draper’s holding
     on coworker grumblings remains good law in the Sixth Circuit after Har-
     dison is an open question.
         4 See, e.g., Beadle v. City of Tampa, 42 F.3d 633 (11th Cir. 1995) (judgment

     for employer); Mann v. Frank, 7 F.3d 1365 (8th Cir. 1993) (same); Cook v.
     Chrysler Corp., 981 F.2d 336 (8th Cir. 1992); Ryan v. U.S. Dep’t of Just., 950
     F.2d 458 (7th Cir. 1991) (same); United States v. Bd. of Educ. for Sch. Dist. of
     Phila., 911 F.2d 882 (3d Cir. 1990) (same); Baz v. Walters, 782 F.2d 701 (7th
     Cir. 1986) (same); Turpen v. Missouri-Kansas-Texas R. Co., 736 F.2d 1022 (5th
     Cir. 1984) (same); Wren v. T.I.M.E.-D.C., Inc., 595 F.2d 441 (8th Cir. 1979).
     But see, e.g., Opuku-Boateng v. California., 95 F.3d 1461, 1469 (9th Cir. 1996)
     (Sabbatarian case in which the Ninth Circuit concluded that the district
     court clearly erred in finding undue hardship and granted judgment for
     employee); Brown v. Polk County, 61 F.3d 650, 656–57 (8th Cir. 1995) (partial
     reversal and remand for judgment and relief for employee because em-
     ployer had not demonstrated that “occasional spontaneous prayers and




                                                                                        SA-106
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023          Pages: 306
                                                                                   134




     No. 21-2475                                                               105

     At least one circuit court has remanded for a new jury trial on
     the de minimis cost issue. Heller v. EBB Auto Co., 8 F.3d 1433,
     1439–41 (9th Cir. 1993). So, it follows that this fact-laden issue
     is often decided by trial.
         Even when the de minimis cost issue is decided at summary
     judgment, our fellow circuits vary greatly in construing the
     test. 5 But religious accommodation caselaw ęȱȱthe

     isolated references to Christian belief” caused undue hardship); Protos v.
     Volkswagen of Am., Inc., 797 F.2d 129, 134–35 (3d Cir. 1986) (upholding on
     clear error review the district court’s finding of no undue hardship based
     on the lower court’s familiarity with the evidence and witness credibility
     findings); Nottelson v. Smith Steel Workers D.A.L.U. 19806, AFL-CIO, 643
     F.2d 445, 452 (7th Cir. 1981) (affirming judgment for plaintiff because the
     employer failed to present evidence of undue hardship).
         5 See, e.g., Groff v. DeJoy, 35 F.4th 162, 175 (3d Cir. 2022) (judgment for

     employer), cert. granted, 143 S. Ct. 646 (2023); EEOC v. Walmart Stores E.,
     L.P., 992 F.3d 656 (7th Cir. 2021) (judgment for employer); EEOC v. GEO
     Grp., Inc., 616 F.3d 265 (3d Cir. 2010) (same); Webb v. City of Philadelphia,
     562 F.3d 256 (3d Cir. 2009) (same); Peterson v. Hewlett-Packard Co., 358 F.3d
     599 (9th Cir. 2004) (judgment for employer where there was harassment
     of coworkers); Virts v. Consol. Freightways Corp. of Del., 285 F.3d 508 (6th
     Cir. 2002) (judgment for employer); Bruff v. N. Miss. Health Servs., Inc., 244
     F.3d 495 (5th Cir. 2001) (same); Daniels v. City of Arlington, 246 F.3d 500
     (5th Cir. 2001) (same); Seaworth v. Pearson, 203 F.3d 1056 (8th Cir. 2000)
     (same); Weber v. Roadway Exp., Inc., 199 F.3d 270 (5th Cir. 2000) (same); Lee
     v. ABF Freight Sys., Inc., 22 F.3d 1019 (10th Cir. 1994) (same); Cooper v. Oak
     Rubber Co., 15 F.3d 1375 (6th Cir. 1994) (same); Eversley v. MBank Dallas,
     843 F.2d 172 (5th Cir. 1988) (same). But see, e.g., Tabura v. Kellogg USA, 880
     F.3d 544, 557–58 (10th Cir. 2018) (remanded for trial because defendant
     did not move for summary judgment on undue hardship issue); Davis v.
     Fort Bend County, 765 F.3d 480 (5th Cir. 2014) (genuine issue of material
     fact on undue hardship issue); Antoine v. First Student, Inc., 713 F.3d 824
     (5th Cir. 2013) (same); Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d 444,
     455–56 (7th Cir. 2013) (same); Balint v. Carson City, 180 F.3d 1047 (9th Cir.




                                                                                       SA-107
Case: 24-1942
      21-2475       Document: 16
                              66               Filed: 07/10/2024
                                                      04/07/2023          Pages: 306
                                                                                 134




     106                                                          No. 21-2475

     de minimis cost test has some weight. Application of that test
     to an accommodation is necessarily fact-intensive, and many
     cases are resolved ¢ȱ ȱ ę. The majority opinion’s
     reading of the de minimis cost test ě¢ȱ ȱ ȱ
     duty of the employer to provide reasonable religious accom-
     ȱ ȱȱȱȱȱěǯ
                   III. Religious Accommodation Claim
          At the heart of this appeal is the district court’s grant of
     summary judgment to the School District on Kluge’s religious
     accommodation claim. We review that decision de novo. Mar-
     kel Ins. Co. v. Rau, 954 F.3d 1012, 1016 (7th Cir. 2020). When
     reviewing cross-motions for summary judgment, as here, we
     view the facts “in favor of the party against whom the motion
     under consideration is made,” drawing all reasonable infer-
     ences in its favor. Id. ǻȱĴǼǲȱHess v. Bd. of Trs. of S.
     Ill. Univ., 839 F.3d 668, 673 (7th Cir. 2016) ǻȱĴǼ.
         I conclude ęȱthat Kluge has demonstrated his religious
     beliefs are sincerely held and he has established a prima facie
     case for religious discrimination. In reaching this partial sum-
     mary judgment for Kluge, I construe all facts in favor of the
     School District. Then the burden shifts to the School District
     to show that any reasonable accommodation would in fact re-
     sult in undue hardship. Porter, 700 F.3d at 951; Adeyeye, 721
     F.3d at 455. We do not have to postulate a reasonable accom-
     modation as one is provided: Kluge’s last-names-only accom-
     modation as used in the 2017–2018 school year. The question
     then is whether, construing the evidence and reasonable in-
     ferences in favor of Kluge, the School District has carried its

     1999) (same); EEOC v. Ilona of Hungary, Inc., 108 F.3d 1569, 1577, 1583 (7th
     Cir. 1997) (affirming summary judgment for employee).




                                                                                    SA-108
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                   107

     burden to prove that the accommodation caused more than a
     de minimis cost to it. In performing this analysis, “[c]redibility
     determinations, the weighing of the evidence, and the draw-
     ing of legitimate inferences from the facts” are reserved for
     ȱęǯȱAnderson v. Liberty Lobby, Inc., 477 U.S. 242, 255
     (1986); Ĵȱǯȱ, 933 F.3d 651, 655 (7th Cir. 2019). To
     me, the School District has not ęȱȱȱȱa gen-
     uine issue of material fact remains for trial.
        A. Sincerity
         The School District concedes for purposes of appeal that
     Kluge made his prima facie case, but it challenges the sincer-
     ity of Kluge’s religious beliefs in the alternative.
         To show sincerity, Kluge “must present evidence that
       ȱ ȱȱȱ¢ȱȱęȱȱǻŗǼ ’the belief for
     which protection is sought [is] religious in [the] person’s own
     scheme of things’ and (2) that it is ‘sincerely held.’” Adeyeye,
     721 F.3d at 451 (quoting Redmond, 574 F.2d at 901 n.12). When
      ȱȱě’s sincerity, courts do not review an indi-
     vidual’s “motives or reasons for holding the belief.” Id. at 452.
     Nor do courts “dissect religious beliefs because the believer
     admits that he is ‘struggling’ with his position or because his
     beliefs are not articulated with the clarity and precision that a
     more sophisticated person might employ.” Id. at 452–53
     (quoting Thomas v. Rev. Bd. of Ind. Emp. Sec. Div., 450 U.S. 707,
     715 (1981)). “In such an intensely personal area, … the claim
     of the [practitioner] that his belief is an essential part of a re-
     ligious faith must be given great weight.” United States v. See-
     ger, 380 U.S. 163, 184 (1965). Title VII does not “require perfect
     consistency in observance, practice and interpretation when
     ȱ ȱ ȱ ȱ ¢ȱ ęȱ ȱ ȱ ȱ ȱ
     whether a person’s belief is sincere.” Adeyeye, 721 F.3d at 453.




                                                                           SA-109
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     108                                                 No. 21-2475

     “[A] sincere religious believer doesn’t forfeit his religious
     rights merely because he is not scrupulous in his observance.”
     Grayson v. Schuler, 666 F.3d 450, 454 (7th Cir. 2012) (“[F]or
     where would religion be without its backsliders, penitents,
     and prodigal sons?”) (citing Reed v. Faulkner, 842 F.2d 960, 963
     (7th Cir. 1988)). It is not within the court’s “province to eval-
     uate whether particular religious practices or observances are
     necessarily orthodox or even mandated by an organized reli-
     gious hierarchy.” Adeyeye, 721 F.3d at 452.
         Kluge has proved the sincerity of his beliefs. He is an ac-
     tive leader at his local church and believes in the absolute
     truth of the Bible, a fact he repeatedly told the School District
     when voicing concerns over its new policies. R. 120-3, at 4–5,
     7, 19; R. 113-1, at 6–9; R. 113-2, at 2. He believes that, per his
     religion, ȱȱĜ transgender identity by calling his
     ȱȱ¢ȱȱęȱ ȱǯȱ
     R. 120-3, at 14; R. 120-19, at 6. All of this is uncontested, and
     “[t]he validity of what he believes cannot be questioned.” See-
     ger, 380 U.S. at 184; see also Adeyeye, 721 F.3d at 452.
         Kluge and Superintendent Snapp recount discussing their
     contrasting Christian beliefs on July 27, 2017, and I credit
     Snapp’s testimony that it was a “cordial” chat. R. 113-6, at 6–
     7; R. 120-3, at 19. During that conversation, Kluge said he ex-
     plained his beliefs with scripture. R. 120-3, at 19. Nothing in
     Snapp’s recollection of the discussion suggests this is untrue.
     R. 113-6, at 6–7. In that meeting, Kluge ultimately refused to
     comply with the School District’s Name Policy because his re-
     ligious beliefs would not permit it. R. 120-3, at 14; R. 120-19,




                                                                          SA-110
Case: 24-1942
      21-2475      Document: 16
                             66              Filed: 07/10/2024
                                                    04/07/2023        Pages: 306
                                                                             134




     No. 21-2475                                                        109

     at 6. So when opposed, Kluge defended his religious beliefs
     and practices.
         The School District’s sole rejoinder to these undisputed
     facts is Kluge’s deviation from the last-names-only accommo-
     dation during the May 2018 orchestra awards ceremony.
     Kluge ęȱȱcomplied with the Name Policy on that oc-
     casion because he believed “it would have been unreasonable
     and conspicuous” to refer to his students by only their last
     names at the ceremony. 6 R. 120-3, at 33. Kluge said he was
     ȃȱȱȱěȱȱ ȱ ȱthe bounds of [his] ac-
     commodation,” and believed an exception for this “special”
     and “formal” event complied with his religious beliefs be-
     cause it was not “ordinary” or regular behavior. Id. at 33–34.
     On this point, hȱ Ĵ¢’s EEOC submission states,
     “Kluge’s Christian faith required that he do no harm to his
     students, and this acquiescence to the administration’s posi-
     tion was done solely out of sincerely-held beliefs.” R. 120-19,
     at 7.
         No evidence is presented to the contrary. The School Dis-
     trict notes ȱ ȱęȱȱȱȱ ȱȱȱ
     appropriate and consistent with his religious beliefs to ad-
     dress a transgender student by the student’ȱęȱǰȱȱ
     ȱȱęȱȱěȱȱȱ’s biological sex. R.
     120-3, at 8–9. This is consistent with Kluge balancing his
     Christian beliefs ȱ ȱ Ĝȱ ȱ ¢ȱ ȱ
     doing no harm. The School District also cites evidence that
     Kluge’s religious denomination does not take a hardline


        6 The majority opinion construes this statement as a legal concession

     that using last names only would potentially cause harm to his students,
     but Kluge did not concede this point in his briefs or at oral argument.




                                                                                SA-111
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     110                                                 No. 21-2475

     stance in requiring a transgender child to use the bathroom of
     her birth sex. R. 120-4, at 12. But even construing the record in
     the light most favorable to the School District, I do not see
     how this evidence impugns Kluge’s otherwise regular reli-
     gious belief and practice of not using the PowerSchool names.
         The evidence shows Kluge balancing his Christian values
     of not “regularly calling students by transgender names” with
     his duty to “do no harm.” R. 120-3, at 33; R. 120-19, at 7. In
     evaluating sincerity, we are not to criticize Kluge’s balancing
     or take issue with a one-time exception. Adeyeye, 721 F.3d at
     453–54 (rejecting employer’s contention that the court should
     probe and disapprove of employee’s religious beliefs);
     Grayson, 666 F.3d at 454 (overlooking that Nazirite believer
     followed certain biblical proscriptions but not others). At the
     ceremony, Kluge chose a path in accord with his balancing of
     his Christian values. This does not detract from his sincerity
     or create a genuine issue of material fact on the issue. Con-
     struing all facts in the School District’s favor, I conclude that
     Kluge has established the sincerity of his religious beliefs and
     practices.
        B. Prima Facie Case
         The majority opinion proceeds under the School District’s
     concession on appeal that Kluge established a prima facie case
     for the religious accommodation claim. I conclude that Kluge
     is entitled to partial summary judgment on the prima facie
     case for his religious accommodation claim.
        Recall that to make a prima facie case based on an em-
     ployer’s failure to provide a religious accommodation, a
     ěȱȱ ǱȱǻŗǼ an observance or practice that is reli-
     gious in nature; (2) ȱ Ěȱ ȱ ȱ ¢ȱ




                                                                         SA-112
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                  111

     requirement; and (3) that the need for a religious accommo-
     dation was a motivating factor in the adverse employment de-
     cision or other discriminatory treatment. Ilona, 108 F.3d at
     1575; Abercrombie, 575 U.S. at 772–73. There is no question that
     Kluge’s refusal to adhere to the Name Policy is a religiously
     motivated practice. TȱȱĚȱ ȱȱȱȬ
     trict’s Name Policy. Further, the School District does not dis-
     pute that requiring Kluge to choose between Name Policy
     compliance, resignation, or termination was an adverse em-
     ployment action. So, the prima facie case turns on whether
     Kluge’s need for a religious accommodation was a motivating
     factor for his forced resignation.
         There is no doubt that it was, viewing the record in the
     School District’s favor. Its asserted reason for forcing Kluge to
     resign was the “[c]omplaints from the high school commu-
     nity” regarding the very last-names-only accommodation that
     Kluge had requested in July 2017. R. 121, at 45. The School
     District said it had “received complaints that the accommoda-
     tion was not conducive to a well-run classroom and nega-
     tively impacted students.” Id. Thus, the reason for the adverse
     employment action is the accommodation that Kluge re-
     quested and received for the 2017–2018 school year. Kluge
     had three choices at the end of that school year: comply with
     the Name Policy, resign, or be terminated. R. 113-2, at 6; R. 15-
     3, at 6.
        If Kluge did not need a religious accommodation for the
     Name Policy and complied with its terms, he could stay. So,
     there is no genuine issue of material fact that Kluge’s need for
     a religious accommodation was a motivating factor behind
     the School District’s adverse employment decision. The Su-
     ȱȱęȱȱAbercrombie that Title VII supplies a




                                                                         SA-113
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     112                                                   No. 21-2475

     “motivating factor” standard even lower than “the traditional
     standard of but-for causation.” 575 U.S. at 773 (citing 42 U.S.C.
     § 2000e-2(m)). Under this lenient standard Kluge proved the
     motivating factor element and thus a prima facie case for his
     religious accommodation claim.
         Having established the prima facie case, the burden shifts
     to the School District to show that any reasonable accommo-
     dation would result in undue hardship—that is, more than a
     de minimis cost. Porter, 700 F.3d at 951; Hardison, 432 U.S. at 84.
     Viewing the evidence and reasonable inferences in Kluge’s fa-
     vor, there is a genuine issue of material fact on the question of
     undue hardship. The School District points to two sources of
     hardship: fear of Title IX liability and interference with its
     ability to educate students. I consider these two grounds in
     the next two sections.
        C. Fear of Title IX Liability
        The evidence is lacking that the School District considered
     and was concerned about Title IX liability. Under current
     caselaw, the alleged fear amounted to speculation.
        Only a single piece of evidence might indicate that the
     School District contemplated Title IX liability: one sentence in
     the form presented to Kluge on July 31, 2017, which stated,
     “This directive is based on the status of a current court deci-
     sion applicable to Indiana.” R. 15-1, at 1. Nothing suggests
     what the School District meant by this sentence. Yet the
     majority opinion states, without record support, that “[t]he
     ‘current court decision applicable to Indiana’ was likely our
     decision in Whitaker ex ǯȱȱǯȱ ȱęȱǯȱǯȱ
     No. 1 Bd. of Educ., 858 F.3d 1034 (7th Cir. 2017), abrogated on
     other grounds by ȱȱ¢ȱǯȱĵ, 973 F.3d




                                                                           SA-114
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     No. 21-2475                                                 113

     760 (7th Cir. 2020), which had been issued two months prior
     to” the July 31 compromise meeting. Presumably the majority
     opinion juxtaposes the timing of the School District’s form
     and Whitaker to conclude that the District was likely referring
     to that case. But without record evidence, that inference
     stretches too far. In addition, this speculation runs counter to
     the requirement at this stage that facts and inferences be con-
     strued in favor of Kluge. Properly viewed, the sentence on the
     School District’s form is an unclear statement of concern
     about ȱȱȱȱęȱȱǯ
         Even if we were to accept that the School District consid-
     ered Whitaker, at best that case creates only a speculative risk
     of Title IX liability based on Kluge’s actions. First, Whitaker
     concerned a district court’s grant of preliminary injunction
     based on a Title IX theory of transgender sex-stereotyping by
     a school district. 858 F.3d at 1038–39. In that case this court
     concluded only that the transgender students in question
       ȱĜ¢ȱ¢ȱȱȱȱȱȱȱȱȱ
     IX sex discrimination claim against the school district to war-
     rant a preliminary injunction. Id. at 1046–50. That said, the Su-
     preme Court has held that, under Title VII, an employer who
     discriminates against an employee for being transgender dis-
     criminates on the basis of sex. Bostock v. Clayton County, 140 S.
     Ct. 1731, 1743 (2020). But the Court has not held that the same
     construction of sex discrimination applies to Title IX.
        Second, Whitaker concerned a transgender student who re-
     quested preliminary injunctive relief to allow him to use the
     boys’ bathroom in violation of the school district’s bathroom
     policy. Whitaker, 858 F.3d at 1038–39. So, assuming that “on
     the basis of sex” is interpreted in accordance with Bostock, the
     school district’s policy of excluding transgender students




                                                                         SA-115
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     114                                                  No. 21-2475

     from non-birth-sex restrooms only arguably violated Title
     IX’s provision that no person “shall, on the basis of sex, be
     exclȱȱȱǰȱȱȱȱęȱǰȱȱ
     be subjected to discrimination under any educational pro-
     ȱ ȱ ¢ȱ ȱ ȱ ęȱ ǯȄȱ ŘŖȱ
     U.S.C. § 1681(a); see also 34 C.F.R. § 106.31(a). Such legal as-
     sumptions, without ȱęȱȱȱȱȱȱ
     Circuit authorities establishing Title IX liability for
     transgender discrimination, present merely speculative risk
     of Title IX liability for the School District.
         Even more, it is unlikely that Kluge conforming with the
     Name Policy constitutes ȱęȱȱȱ¢ȱȱȬ
     cational program. Further, Kluge’s last-names-only practice is
     gender-neutral and generally applicable, so it is doubtful that
     the practice constitutes discrimination on the basis of sex.
     Even if we assume that the School District considered the im-
     plications of Whitaker and Title IX liability, any risk it faced
     was speculative. Construing the record in Kluge’s favor, I con-
     clude that the School District may not rely on fear of Title IX
     liability in the undue hardship equation.
        D. Interference with Educational Mission
         This leaves the School District with its other alleged basis
     for undue hardship—interference with its educational
     mission. The majority opinion agrees with the district court’s
     conclusion that “Kluge’s use of the last names only accommo-
     dation burdened [the School District’s] ability to provide an
     ȱȱȱȱȱĚȱ ȱȱ¢ȱȱ
     creating a safe and supportive environment for all students.”
     I evaluate this ground by examining: (1) the School District’s
     educational mission; (2) the complaints of ěȱ ȱ to
     Kluge’s last-names-only accommodation and whether they




                                                                           SA-116
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                   115

     constitute more than a de minimis cost; and (3) other consider-
     ations, including caselaw and the practical impact of the ma-
     jority opinion.
            1. The School District’s Educational Mission
        Before assessing the evidence, it is important to under-
     stand what the School District’s educational mission is for its
     students and its grounds for claiming this mission.
          Indiana Constitution. The School District relies ęȱȱȱ
     Education Clause (Article 8, Section 1) of the Indiana Consti-
     ȱȱęȱits educational mission. That provision states
     in relevant part that it “shall be the duty of the General As-
     sembly … to provide, by law, for a general and uniform sys-
     tem of Common Schools, wherein tuition shall be without
     charge, and equally open to all.” IND. CONST. art. VIII, § 1. The
     district court suggests that this charge to provide public edu-
     cation “equally open to all” meant the School District has a
     ȱȱȱĜȱȱȱin pub-
     lic schools.
         But the text and history of the Education Clause ęȱ
     that the phrase “equally open to all” refers only to the equal
     admission of students. The text of the Indiana Constitution
     expresses “a duty to provide for a general and uniform system
     of open common schools without tuition.” Bonner ex rel. Bon-
     ner v. Daniels, 907 N.E.2d 516, 520 (Ind. 2009). The Education
     ȱ ȃȱ ȱ ȱ ȱ Ĵȱ ȱ ¢ȱ ȱ ȱ
     resulting educational quality.” Id. at 521. “The phrases ‘gen-
     eral and uniform,’ ‘tuition … without charge,’ and ‘equally
     open to all’ do not require or prescribe any standard of edu-
     ȱȱȱȱȱĴȱ¢ȱȱ¢ȱȱ
     common schools.” Id. Contemporary dictionaries ę this




                                                                           SA-117
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     116                                                No. 21-2475

     ǯȱȱ¡ǰȱȃȄȱ ȱęȱȱȃǽǾĴȱȱ
     persons without restraint; free to all comers.” Open, AN AMER-
     ICAN DICTIONARY OF THE ENGLISH LANGUAGE 571 (1841). On its
     face, the text of the Education Clause “says nothing whatso-
     ever about educational quality.” Bonner, 907 N.E.2d at 521.
          The historical context of the Education Clause supports
     this plain meaning interpretation. In the years preceding the
     Education Clause’ȱ ęǰȱ ȱ ȱ ȱȬ
     bly had engaged in a series of constitutional and legislative
     ěȱȱȱȱȱȃȱȄȱǯȱNagy ex
     rel. Nagy v. Evansville-Vanderburgh Sch. Corp., 844 N.E.2d 481,
     484–89 (Ind. 2006); 2 DONALD F. CARMONY, THE HISTORY OF IN-
     DIANA 381 (1998); DONALD F. CARMONY, THE INDIANA CONSTI-
     TUTIONAL CONVENTION OF 1850–1851 103–04 (1931). The
     phrase “common school” referenced schools that were “open
     to the children of all the inhabitants of a town or district.”
     Nagy ex rel. Nagy, 844 N.E.2d at 489 (quoting AN AMERICAN
     DICTIONARY OF THE ENGLISH LANGUAGE 988 (1856))
         By the 1850–1851 Indiana Constitutional Convention—in
     which the Education Clause was drafted—the common
     ȱȱȱȱȃȱĴȄȱȱ
     support for the idea that the state should be responsible for
     providing every child the opportunity for elementary educa-
     tion. Embry v. O’Bannon, 798 N.E.2d 157, 162–63 (Ind. 2003).
     The convention debates centered on the need to provide for
     the “education of every child in the State.” 2 REPORT OF THE
     DEBATES AND PROCEEDINGS OF THE CONVENTION FOR THE REVI-
     SION OF THE CONSTITUTION OF THE STATE OF INDIANA 1858–61
     (1851). The Convention also adopted a resolution to describe
     the relevant changes in the Indiana Constitution it had
     drafted, which stated: “It is also provided, that the Legislature




                                                                         SA-118
Case: 24-1942
      21-2475      Document: 16
                             66             Filed: 07/10/2024
                                                   04/07/2023       Pages: 306
                                                                           134




     No. 21-2475                                                       117

     shall establish a uniform system of common schools, wherein
     tuition shall be free.” INDIANA HISTORICAL COMMISSION, CON-
     STITUTION MAKING IN INDIANA 410 (1916) (quoting An Address
     to the Electors of the State (Feb. 8, 1851)). The Education Clause
       ȱȱęȱȱȱȱȱȱȱŗŞśŗǯȱIND.
     CONST. art. VIII, § 1; WILLIAM P. MCLAUCHLAN, THE INDIANA
     STATE CONSTITUTION 16 (2011).  ȱęǰȱȱȬ
     cember 1851, Governor Joseph A. Wright addressed the Gen-
     eral Assembly, stating that it was their “duty to husband this
     fund … to provide for the education of the youth of every
     county, township, and district.” Horner v. Curry, 125 N.E.3d
     584, 599 (Ind. 2019) (quoting Indiana House Journal at 20 (Dec.
     2, 1852)).
          ȱ ȱ ȱ ęȱ ȱ ȱ ¡ȱ ȱ ȱ ȱ
     Constitution’s Education Clause only charges the School Dis-
     trict with Ĵing all children into its schools. It does not
     ȱȱȱ¢ȱęȱȱȱȱȬ
     ity.
         Statutory Directive. In identifying the School District’s ed-
     ucational mission, the district court also relied on the fact that
     “[t]he Indiana Supreme Court has recognized that public
     schools play a ‘custodial and protective role,’ which has been
     ęȱ¢ȱȱȱȱȱ¢ȱȱ
     laws that mandate the availability of public education. Linke
     v. Nw. Sch. Corp., 763 N.E.2d 972, 979 (Ind. 2002).” The major-
     ity opinion also relies on Linke. But the Indiana Supreme
     Court in Linke ¢ȱęȱȱȱ ȱȱ
     ȱ ęȱ ¢ȱ ȱ Ĵȱ ȱ ȱ
     school corporations’ supervision over all pupils in accordance
     with the Education Clause. Linke, 763 N.E.2d at 979, 983 (cit-
     ing IND. CONST. art. VIII, § 1 and the then-ěȱIND. CODE




                                                                               SA-119
Case: 24-1942
      21-2475     Document: 16
                            66          Filed: 07/10/2024
                                               04/07/2023     Pages: 306
                                                                     134




     118                                                No. 21-2475

     § 20–8.1–5.1–3). That court did not read into the Education
     ȱȱȱȱ ȱȱȱĜȱ
     transgender identity.
         The School District’s Policy. Without a purported constitu-
     ȱȱ¢ȱȱȱĜȱȱ¢ǰȱ
     the School District is left with its own recent policy to inform
     its educational mission. The principles and mission underly-
     ing the Name Policy were outlined in the January 22, 2018
     Transgender Questions document and accompanying
     Transgender Considerations presentation in the middle of the
     2017–2018 school year. R. 15-4; R. 120-20. While styled as
     “Questions” and “Considerations” and couched in precatory
     language on gender-neutral practices, as applied to Kluge and
     in practice, they were more than suggestions.
         For example, the Queȱ ȱ ȱ ȱ ěȱ
     should “make all students feel welcome and accepted in the
     public school environment.” R. 15-4, at 9. And the Considera-
     tions presentation said, “Creating a safe and supportive envi-
     ronment for all students is important.” R. 120-20, at 7. The
     Considerations presentation also had several gender-neutral
     best practices such as providing “gender neutral uniforms”;
     avoiding using “boy/girl methods to divide students”; and
     using gender-ȱ ęȱ Ȧȱ ȱ ȱ
     “everyone” or “people” instead of “ladies and gentlemen.” Id.
     at 5. ȱĜȱȱ¢ȱȱȱȱȱȱȱȬ
     cational mission to create a safe and supportive learning en-
     ȱȱȱȱǰȱȱę¢ǰȱȱ
     students.




                                                                        SA-120
Case: 24-1942
      21-2475      Document: 16
                             66             Filed: 07/10/2024
                                                   04/07/2023       Pages: 306
                                                                           134




     No. 21-2475                                                       119

            2. ȱȱě
         The question then becomes whether the complaints of of-
     fense taken by ȱěȱȱs to Kluge’s use of last
     names are enough to constitute more than a de minimis cost to
     the School District’s mission of creating a transgender-sup-
     portive learning environment. Considering Kluge’s gender-
     neutral accommodation, teacher and student complaints
     about that accommodation, evidence in Kluge’s favor, and
     various credibility questions, I conclude that there is a genu-
     ine issue of material fact on this evidentiary record.
                i. Gender-neutral Accommodation
         The last-names-only accommodation was, obviously, gen-
     der-neutral. Kluge called students by their last names in the
     2017–2018 school year. The evidence Ěȱȱȱwhether
     he was perfectly consistent in this practice. See R. 58-2, at 3; R.
     120-19, at 7; R. 120-3, at 36; R. 52-3, at 2; R. 52-4, at 2; R. 52-5,
     at 2. But Kluge, another teacher, and three of his students dur-
     ing the 2017–ŘŖŗŞȱȱ¢ȱĴȱȱhe was consistent.
     R. 120-3, at 36; R. 52-2, at 3; R. 52-3, at 2; R. 52-4, at 2; R. 52-5,
     at 2. Construing the record in Kluge’s favor and crediting his
     testimony leads to the conclusion that he adhered to the ac-
     commodation.
        Even if Kluge’s testimony is not credited, the school ad-
     ministration acknowledged that mistakes could happen. A
     Brownsburg High School counselor acknowledged that there
     may be instances where schoȱěȱȃ’t get” a transgender
     student’s name or pronoun “quite right.” R. 120-13, at 5. And
     the Considerations presentation stated, “Try not to make as-
     sumptions about the genders of students.” R. 120-20, at 5 (em-
     phasis added). The Questions document even addressed how




                                                                              SA-121
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     120                                                 No. 21-2475

     to handle a “student exploding in anger with being called the
     wrong name or gender.” R. 15-4, at 10. For the most part,
     Kluge consistently referred to all students in a gender-neutral
     manner by their last names only, so undue hardship either
     did not arise or the record presents a factual dispute.
                ii. Teacher Complaints
         ȱȱȱȱǰȱȱ ȱęȱȱȬ
     partment heads, complained about how Kluge was address-
     ing students to the school administration. R. 120-2; R. 120-14,
     at 16–17; R. 113-5, at 8–9. Lee averred the complaints of three
     teachers arose out of concerns that Kluge’s practice “was
     harming students.” R. 120-14, at 17. Lee did not mention any
     harm or harassment of the teachers themselves. But he added
     that none of the three teachers told him that they had visited
       Ȃȱȱȱ ȱȱȱęǯȱId. And Princi-
     ȱȱĴȱȱȱȱȱȱȱ
     mostly arose from “continued issues” relayed from students
     “that were in [Kluge’s] classes.” R. 113-5, at 8. Unlike in Peter-
     son, where the employee posted scriptures demeaning or de-
     grading gay coworkers, 358 F.3d at 601–02, 607, nothing in the
     record shows Kluge harassing his coworkers by adhering to
     the last-names-only accommodation.
         Uȱȱȱȱȱ ȱěȱ¢ȱ
     a religious belief or practice. It requires actual infringement
     on the rights of coworkers—such as by harassment—or the
     disruption of work. See EEOC Guidance; General Dynamics, 589
     F.2d at 402; Burns, 589 F.2d at 407. Viewing the record in favor
     of Kluge, the evidence does not show that his coworkers’
     ȱ ȱ ȱ ȱ ȱ ȱ ȱ ěǯȱ ȱ
     fact, the teacher complaints relay student complaints, which




                                                                          SA-122
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                    121

     form the real core of the School District’s case for undue hard-
     ship.
                iii. Student Complaints
         Two transgender students ȱȱęȱȱȱ
     other students complained that Kluge’s use of last names only
     oěȱǯ Teacher Craig Lee relayed that at Equality Al-
     liance meetings, Aidyn and Sam said they found the practice
     “insulting and disrespectful.” R. 120-14, at 7. He could not
     “recall any other students … who are transgendered [sic]”
     talking about the subject. Id. at 6–7. Lee’s declaration said stu-
     dents in Kluge’s class felt likewise. R. 58-2, at 2. Assistant Su-
     perintendent Jessup’s recollection of an Equality Alliance
     meeting accords with this report. R. 120-1, at 4.
         Aidyn and Sam also spoke on their own behalf. Aidyn said
     Kluge’s practice “made [Aidyn] feel alienated, upset, and de-
     humanized.” R. 22-3, at 4. Sam Ĵȱ“Mr. Kluge’s use of
     last names in class made the classroom environment very
     awkward” and that, even now, Kluge’s actions hurt him and
     cause him anxiety. R. 58-1, at 3–4. Their complaints were con-
     sistent with one Ĵȱ ȱ one email chain from parents of
     ȱ ǰȱ ȱ ȱ Ĵed to the school
     administration in fall 2017. R. 120-12; R. 120-13. The parents
     of one transgender student, in reference to a teacher that “rou-
     tinely refers to [our child] by his last name only,” said the
     practice was “ok, but we do wonder if the teacher does this
     with other students or if it is only [our child].” R. 120-12. So at
     least one transgender student’s parents thought Kluge’s prac-
     ȱ ȱęȱif consistently applied.
       The majority opinion repeatedly states that Kluge’s last-
     names-only practice caused classroom “disruption,” citing




                                                                           SA-123
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     122                                                 No. 21-2475

     portions of Principal Daghe’s affidavit and deposition. R. 120-
     2, at 4; R. 112-5, at 7. Daghe does not mention disruption. In-
     stead, he notes “tension,” “uncomfortableness,” and that the
     accommodation was “not going well.” R. 120-2, at 4; R. 112-5,
     at 7–8. He asserts such “tension … was affecting the overall
     functioning of the performing arts department.” R. 120-2, at
     4. But neither Daghe nor the record reveals how Kluge’s last-
     names-only practice hampered the department’s operations,
     and there is much countervailing evidence. Besides, we are to
     draw all reasonable inferences in Kluge’s favor.
         My colleagues also infer that Kluge acknowledged creat-
     ing tension and conflict at the school when he said Principal
     Daghe wanted him to resign “simply because [Daghe] didn’t
     like the tension and conflict.” R. 15-3, at 5. But the context of
     this quote demonstrates that Kluge was referring to Daghe’s
     perception of tension and conflict—not his own. In the para-
     graph directly before this quote, Kluge recounted that Daghe
     said “he didn’t like things being tense and didn’t think things
     were working out.” The majority opinion again fails to view
     the record in Kluge’s favor.
         There is a crucial distinction here: No evidence shows that
     Kluge revealed to students his motivations for calling them
     by their last names in the 2017–2018 school year. Lee’s retell-
     ing of a student’s complaint said that the student “was fairly
     certain that all the students knew why Mr. Kluge had
     switched to using last names.” R. 58-2, at 3. Aidyn alleged that
     “Kluge’s behavior was noticeable to other students in the
     class.” R. 22-3, at 4. But Aidyn also recalled, “At one point, my
     stand partner asked me why Mr. Kluge wouldn’t just say my
     name. I felt forced to tell him that it was because I’m
     transgender.” Id. The record says nothing about Aidyn telling




                                                                         SA-124
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                  123

     the stand-mate about his intuitions of Kluge’s motive. And
     importantly, Aidyn’s recollection of his stand partner asking
     him about Kluge’s last-names-only practice corroborates
     other testimony that students did not know Kluge’s motives.
     Similarly, Sam said “[m]ost of the students knew why Mr.
     Kluge had switched to using last names.” R. 58-1, at 3–4. But
     Sam did not explain how the students knew Kluge’s motives
     for using last names only.
         In contrast, the record is replete with evidence that Kluge
     never revealed his religious motives and that students did not
     know the reason why Kluge used last names only. Three stu-
     dents—Lauren Bohrer, Kennedy Roberts, and Mary Jacob-
     son—Ĵȱ ȱ ȱ ¢ȱ ȱ ȱ ȱ ¢ȱ
     their last names and did not explain his motives for doing so.
     R. 52-3, at 3; R. 52-4, at 2; R. 52-5, at 2. Roberts “never really
     thought anything of it. It’s just what he did.” R. 52-4, at 2. And
     fellow music teacher Natalie Gain averred that she “never
     heard [Kluge] use gendered language in the classroom”;
     “only heard him use last names with the students”; and
     “never heard any of the students discussing the [sic] Mr.
     Kluge’s use of last names, or any references to his agreement
     with the administration.” R. 52-2, at 3. “[A]s far as [she] could
     tell, Mr. Kluge’s accommodation was not common knowledge
     … .” Id.
         The evidence shows ȱȱȱȱěȱat
     Kluge’s last-names-only practice came not from any discom-
     fort with the practice itself but from students’ assumptions
     and intuitions about why Kluge was using only last names.
     Neither this nor any other court has ȱȱȱěȱat
     an employee’s religious observance or practice is enough for
     undue hardship. And the facts here are a step removed: The




                                                                          SA-125
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     124                                                No. 21-2475

     alleged ěȱ ȱ ȱ ’ presumptions and
     guesses as to Kluge’s motives for using last names only. The
     majority opinion breaks new ground here. This distinction, as
     well as the evidence in Kluge’s favor, presents a genuine issue
     of material fact on undue hardship.
                iv. Evidence for Kluge
         The record also contains the testimony of Kluge, three stu-
     dents, and a teacher, who contradict the complaints about
     Kluge’s last-names-only accommodation. The district court
     failed to give due weight to this evidence. But the majority
     opinion goes further, stating that Kluge’s evidence is not
     relevant to undue hardship. To my colleagues, the undue
     hardship inquiry ended once the School District received
     some reports that the accommodation did not work and
     caused tension and discomfort.
         Every court to consider undue hardship has framed the
     inquiry as an objective one, dependent on the factual context
     of the case. See, e.g., ě, 35 F.4th at 174 (“The undue hard-
     ship analysis is case-ęǰȱȱȱȱȱȱȱ‘both
     the fact as well as the magnitude of the alleged undue hard-
     ship’ … .” (quoting GEO Group, 616 F.3d at 273)); Tabura, 880
     F.3d at śśŞȱǻȱȱȱȱĴǼȱǻȃȱȱ
     employer will incur an undue hardship is a fact question that
     turns on the particular factual context of each case.”); Adeyeye,
     721 F.3d at 455. In a similar vein, cases evaluating undue hard-
     ship—including Hardison—address factors such as the need
     to rearrange schedules or the additional work burden on
     coworkers. See, e.g., Hardison, 432 U.S. at 83–84; Adeyeye, 721
     F.3d at 455; Ilona, 108 F.3d at 1576–77. Because undue hard-
     ship depends on the factual context, the reports of three stu-
     dents and a teacher that contradict the alleged harms caused




                                                                         SA-126
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                   125

     by Kluge’s last-names-only practice are relevant, whether or
     not this information was known by the School District at the
     time of the adverse employment decision.
         The majority opinion holds that the undue hardship in-
     quiry considers only evidence within the employer’s
     knowledge when the adverse employment decision is made.
     But no authority is cited for this proposition. Under this rea-
     soning, an employer’s sole focus on allegations of Ĝȱ
     arising from a religious accommodation would defeat any
     employee’s failure-to-accommodate claim. Such an outcome
     creates a perverse incentive for employers to avoid investigat-
     ing undue hardship. If, by contextual evidence obtained after
     ǰȱȱ¢ȱě is not able to undermine the
     alleged presence of undue hardship, when, if ever, can the
     employee prevail? Before his termination, the employee
       ȱȱȱȱȱȱ¢ȂȱĴ evidence con-
     trary to the reports of undue hardship.
         Consider the evidence for Kluge. Three students and a
     ȱĴȱȱȱ ’s practice did not
     diminish the classroom environment. Bohrer ĴȱȱȬ
     cause the orchestra class was large, Kluge rarely had occasion
     to call on any individual student directly. R. 52-3, at 2. Roberts
     corroborated that Kluge called last names ȱĴendance “at
     ęǰȱ¢ȱś-8 times over the year.” R. 52-4, at 2. This evi-
     dence tends to show that Kluge’s last-names-only practice did
     not have more than a de minimis impact on classroom opera-
     tions.
        A number of students said Kluge’s practice did not cause
     ęȱ ȱ ȱ ȱ ȱ ǯ
     Bohrer, Roberts, and Jacobson ȱ ęȱ ¢ȱ ȱ
     Kluge’s use of only last names was not unnatural, odd, or




                                                                          SA-127
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     126                                                  No. 21-2475

     uncomfortable. R. 52-3, at 3; R. 52-4, at 2; R. 52-5, at 2. Bohrer
     said she never saw Kluge treat her transgender stand partner
     ě¢ȱȱȱthe stand-mate “never told [her] that they
     disliked Mr. Kluge’s behavior or that Mr. Kluge had been un-
     fair to them.” R. 52-3, at 3. Fellow teacher Natalie Gain added
     that Kluge “had mostly used last names … the previous
     school year anyway, with ‘Mr./Ms.’ for students to encourage
     a respectful teaching environment, like college classes.” R. 52-
     2, at 2. As such, she “saw no reason as to why there would be
     issues with Mr. Kluge’s compromise.” Id.
         Kluge also alleged that there were no issues with his use
     of last names—no protests, classroom disturbances, cancelled
     classes, student animosity, or tensions. R. 113-2, at 4; R. 120-3,
     at 23. Instead, Kluge says the accommodation worked with-
     out undue hardship. His students excelled, winning awards,
     scoring high on their AP Music Theory exams, and participat-
     ing in extracurricular music activities. R. 113-2, at 4; R. 120-3,
     at 23–24. The School District contests none of these objective
     measures of pedagogical success.
                v. Credibility Issues
         The record also revealed potential biases and credibility
     issues with many of the witnesses. A few notable examples
     underscore the fact-intensive nature of the undue hardship
     decision. Weighing the evidence on undue hardship and mak-
     ing credibility determinations are ȱȱȱęǯ
     Liberty Lobby, 477 U.S. at 255; Ĵ, 933 F.3d at 655. Only
     ȱęȱȃȱȱ ȱȱȱvariations in demeanor and
     tone of voice that bear so heavily on the listener’s understand-
     ing of and belief in what is said.” Anderson v. Bessemer City,




                                                                          SA-128
Case: 24-1942
      21-2475      Document: 16
                             66           Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     No. 21-2475                                                    127

     470 U.S. 564, 575 (1985); see also Kadia v. Gonzales, 501 F.3d 817,
     819–20 (7th Cir. 2007).
         Kluge is biased to give testimony in his favor. His student
     Bohrer is a professed Christian, so her testimony may have
     ȱěȱȱfavor Kluge. R. 52-3, at 3. Aidyn also has cred-
     ibility issues. Bohrer alleged that Aidyn falsely accused her of
     calling him a “f----t.” Id. at 4. A parent, ěȱ ¢, also opined
     that Aidyn seemed motivated to put Kluge out of a job. R. 52-
     6, at 3–4. And Craig Lee, the teacher who relayed student
     complaints about Kluge to the school administration, admit-
     ted he was “very biased.” R. 120-15.
                       *              *             *
         The evidence on undue hardship cuts for and against
     Kluge. Three students, a teacher, and Kluge all Ĵ that the
     last-names-only accommodation worked without issue. But
     Aidyn and Sam, some students in secondhand accounts, and
     some teachers complained the accommodation did not work.
     Both sides have credibility issues. The witnesses Ěȱas to
     whether and to what degree Kluge’s accommodation was of-
     fensive. Even more, the evidence shows that any alleged of-
     fense came from students’ assumptions about Kluge’s mo-
     tives for the last-names-only practice—not from the practice
     itself. The record also shows that Kluge’s practice was infre-
     quent and not critical to how his music classes operated. Of
     course, at this posture, we must draw inferences from the
     facts in favor of Kluge, and reserve credibility issues and
     weighing of ȱ ȱ ȱ ȱ ęǯ This record
     demonstrates a genuine issue of material fact as to whether




                                                                           SA-129
Case: 24-1942
      21-2475     Document: 16
                            66            Filed: 07/10/2024
                                                 04/07/2023      Pages: 306
                                                                        134




     128                                                  No. 21-2475

     the accommodation caused more than a de minimis cost to the
     School District’s educational mission.
            3. Caselaw and Practical Impact
        In examining the School District’s alleged basis for undue
     hardship—interference with its educational mission—there
     are also other considerations, including consistency with
     caselaw and the practical impact of the majority opinion’s
     analysis.
         Caselaw. Concluding that a fact issue exists on this record
     accords with this court’s caselaw on the employer’s duty to
     provide reasonable religious accommodations under Title
     VII. In Walmart, this court stated Hardison’s core is “that Title
     VII does not require an ¢ȱȱěȱȱ‘accommodation’
     that comes at the expense of other workers.” Walmart, 992 F.3d
     at 659 (citing Hardison, 432 U.S. at 78–79). As mentioned ear-
     lier, there was no evidence that Kluge’s accommodation bur-
     ȱȱȱěǯ
         The majority opinion cites Smiley v. Columbia College Chi-
     cago, 714 F.3d 998, 1002 (7th Cir. 2013), for the proposition that
     a school has a legitimate interest in ensuring that its “instruc-
     tors will teach classes in a professional manner that does not
     distress students.” While correct, Smiley involved a teacher
     who singled out and harassed a student for being Jewish. Id.
     at 1000. The teacher was terminated for unprofessional con-
     duct that “distress[ed] students.” Id. at 1002. Kluge’s last-
     names-¢ȱȱȱěnt in kind, not just degree.
         The majority opinion also analogizes the facts here to
     those in Baz, in which a V.A. hospital chaplain actively prose-
     lytized and held “Christian evangelical service[s]” in contra-
     vention of the hospital’s purpose for his role that he serve as




                                                                          SA-130
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     No. 21-2475                                                  129

     a “quiescent, passive listener and cautious counselor.” 782
     F.2d at 703–04, 709. The V.A. had “instituted … an ecumenical
     ȱȱȱ¢ȱ ȱȱĴȱȱȱȬ
     tive needs of its patient population.” Id. at 709. Reverend Baz’s
     self-ascribed “active, evangelistic, charismatic” preaching and
     proselytization went against the hospital’s mission and pur-
     pose for his role. Id. at 709. This court held that the V.A. had
     met its burden of producing evidence “tending to show that
     Reverend Baz’s philosophy of the care of psychiatric patients
     is antithetical to that of the V.A.” Id. at 706–07. “To accommo-
     date Reverend Baz’s religious practices, they would have to
     either adopt his philosophy of patient care, expend resources
     on continually checking up on what Reverend Baz was doing
     or stand by while he practices his (in their view, damaging)
     ministry in their facility.” Id.
         Here, of course, Kluge did not proselytize. He did not re-
     veal to his students why he used only last names, and he
     never shared his religious beliefs with them. He used last
     names only with all his students, and Bohrer and Roberts sug-
     gested that even this last name usage was relatively infre-
     quent. R. 53-3, at 2; R. 52-4, at 2. The question is whether this
     infrequent use of last names only when referring to students
     caused more than a de minimis cost as to render the practice
     unreasonable.
         This court stated in Adeyeye that “[r]easonableness is as-
     sessed in context … and this evaluation will turn in part on
     whether or not the employer can in fact continue to function
     absent undue hardship” under the accommodation. 721 F.3d
     at 455. Adeyeye involved an employee who sought several
     weeks of unpaid leave to lead his father’s religious burial
     rites. Id. at 447. This court held that the employer was not




                                                                         SA-131
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023      Pages: 306
                                                                       134




     130                                                 No. 21-2475

     entitled to summary judgment “that any reasonable jury
        ȱ ȱ ȱ ęȱ ȱ Ĵȱ ¢¢ȱ ȱ ȱ ȱ
     weeks of unpaid leave in conjunction with his week of vaca-
     tion would have created an undue hardship.” Id. at 455. Sim-
     ilarly in Ilona, this court upheld the district court’s factual
     ęȱȱȱ¢ȱȱȱemonstrated that allow-
     ȱ ȱ¢ȱȱȱěȱȱ¢ȱȱȱ ȱresulted
     in more than a de minimis cost to the employer. 108 F.3d at
     1572, 1576–77. ȱȱȱěȱȱ ȱdoes not establish
     more than a de minimis cost, perhaps neither does allowing a
     teacher to use last names only.
         In the district court, the School District argued that using
     a student’ȱȱęȱȱȱȱȃ¢ȱȄȱȱ
     or duty. R. 145, at 9-10; R. 121, at 24, 28. So it should come as
     no surprise that Kluge’s accommodation required no adjust-
     ment to the School District’s operation, scheduling, or curric-
     ulum. Our and other circuits’ caselaw shows that the de mini-
     mis cost test has substance.
         Practical Impact. Under the reasoning of the majority opin-
     ion, once an employer receives ȱȱěȱabout an
     employee’s religious observance or practice, undue hardship
     has been established ȱȱȱȱěȱȱȱ¢ǯ
     But reviewing those complaints and the credibility of those
     complainants—including assessing any biases and motiva-
     tions—are context-ęȱquestions for ȱę, which
     our caselaw requires. See Adeyeye, 721 F.3d at 455; Kadia, 501
     F.3d at 819–20.
        Consider a variation of the facts here. What if a teacher
     does not take issue with a transgender student’s chosen ęȱ
     names, but that teacher does take issue—on religious
     grounds—with the use of chosen pronouns (they / them /




                                                                          SA-132
Case: 24-1942
      21-2475      Document: 16
                             66          Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     No. 21-2475                                                 131

     their). So, the teacher insists on calling students by their cho-
     sen ęȱǯȱSay a transgender student feels uncomfortable
     with the teacher’ȱěȱȱȱȱall students ¢ȱȱęȱ
     name where a pronoun ȱ Ĝǯ Would the students’
     ȱȱȱȱĜȱȱȱȱȱȱ
     use the chosen pronouns where appropriate or be termi-
     nated? Under the majority opinion’s reasoning, the answer is
     “yes.” The facts here are close to this hypothetical.
         Recall the EEOC Guidance’ȱ ¡ȱ ȱ ȱ ȱ ěȱ
     shop employee, Harinder, who sought to wear his religiously
     mandated turban at work. Is Harinder out of luck if the café
     ȱȱȱ¢ȱȱȱȱěȱ
     ¢ȱ ȱ ȱ ȱ ȱ Ĝȱ ¢ǵ The EEOC is con-
     cerned that the already lenient de minimis cost test may be
     read out of existence by customer preferences or opinions.
     The majority opinion realizes these fears.
         Properly interpreted and applied, Title VII should provide
     protection for conscientious religious objectors who in good
     faith try to accommodate their employers’ dictates. The un-
     due hardship provision should not become “an exemption
     from the accommodation requirement altogether,” whenever
     an employer receives some complaints of emotional hurt aris-
     ing from protected religious activity. Ilona, 108 F.3d at 1577.
     More broadly, the purpose of Title VII is to protect minorities
     against those who disagree with their beliefs. See 42 U.S.C
     § 2000e–2. Under the majority opinion, if some people—on
     this record, at most a few transgender students in Kluge’s
     classes—¢ȱ¢ȱȱěǰȱȱȱȱȬ
     ent has no right to a reasonable accommodation.
        On Kluge’s religious accommodation claim, I conclude
     that a genuine issue of material fact exists about whether the




                                                                         SA-133
Case: 24-1942
      21-2475        Document: 16
                               66                Filed: 07/10/2024
                                                        04/07/2023           Pages: 306
                                                                                    134




     132                                                             No. 21-2475

     last-names-only accommodation would result in more than a
     de minimis cost. So I would reverse the district court’s grant of
     summary judgment to the School District on this claim and
     remand the undue hardship issue for trial.
                              IV. Retaliation Claim
         Although at least a genuine issue of material fact exists as
     to whether Kluge’s protected activity was a but-for cause of
     his forced resignation by the School District, I concur with my
     ȱȱĜȱthe judgment for the School District on
     his retaliation claim. The record does not contain Ĝȱev-
     idence from which a reasonable jury could infer that the
     School District’s nondiscriminatory explanation for its ad-
     verse employment action was pretext for religious discrimi-
     nation. 7
        Kluge’s claimed protected activity was his July 2017 re-
     quest for the last-names-only religious accommodation. R. 15,


         7 Kluge’s failure to show that the School District’s nondiscriminatory

     explanation was pretext does not also doom his religious accommodation
     claim. A different version of the McDonnell Douglas Corp. v. Green, 411 U.S.
     792 (1973), burden-shifting framework applies to failure-to-accommodate
     cases, as opposed to retaliation or disparate treatment cases. See Tabura,
     880 F.3d at 549–50; Porter, 700 F.3d at 951; Firestone Fibers & Textiles Co.,
     515 F.3d at 312. Neither discriminatory intent nor pretext are elements of
     a failure-to-accommodate claim. See Walmart Stores East, 992 F.3d 656;
     Adeyeye, 721 F.3d at 449; Porter, 700 F.3d at 951; Anderson, 274 F.3d at 475;
     Rodriguez v. City of Chicago, 156 F.3d 771, 775 (7th Cir. 1998); Ilona, 108 F.3d
     at 1574–75; Ryan, 950 F.2d 458; Redmond, 574 F.2d at 901. After Kluge es-
     tablished a prima facie case, the burden was on the School District “to
     show that any reasonable accommodation would result in undue hard-
     ship.” Porter, 700 F.3d at 951 (citing Ilona, 108 F.3d at 1575–76). Because a
     genuine issue of material fact exists on undue hardship, that issue should




                                                                                        SA-134
Case: 24-1942
      21-2475       Document: 16
                              66                Filed: 07/10/2024
                                                       04/07/2023          Pages: 306
                                                                                  134




     No. 21-2475                                                             133

     at 17–18; R. 121, at 44–45. The School District does not contest
     that forcing Kluge to comply with the Name Policy, resign, or
     be terminated is an adverse employment action. The nondis-
     criminatory reason for forcing Kluge to comply or resign was
     the “[c]omplaints from the high school community” about the
     accommodation that Kluge had requested in July 2017. R. 121,
     at 45.
         Recognizing the obvious tie between the School District’s
     claimed reason for terminating Kluge and the religious ac-
     commodation requested, in my view Kluge has established
     but-for causation. (The prima facie causation standard for Ti-
     tle VII retaliation claims is but-for—not proximate—causa-
     tion. Robertson v. Dep’t of Health Servs., 949 F.3d 371, 378 (7th
     Cir. 2020).) At a minimum, construing all the facts in his favor,
     there is a genuine issue of material fact on this question. This
     is not a case where the employer has a separate nondiscrimi-
     natory reason—such as poor work performance—unrelated
     to the protected accommodation activity. See, e.g., Logan v.
     City of Chicago, 4 F.4th 529, 537 (7th Cir. 2021); Igasaki v. Ill.
     Dep’t of Fin. & Pro. Regul., 988 F.3d 948, 954 (7th Cir. 2021). The
     employer’s asserted nondiscriminatory reason is the alleged
     harm caused by the protected accommodation requested and
     granted. So this case presents enough facts to establish but-for
     cause. Ultimately though, I agree with my colleagues that


     proceed to trial. A retaliation claim, however, is governed by the standard
     McDonnell Douglas framework. See Rozumalski v. W.F. Baird & Assocs., Ltd.,
     937 F.3d 919, 926 (7th Cir. 2019); Miller v. Am. Fam. Mut. Ins. Co., 203 F.3d
     997, 1007 (7th Cir. 2000). So once the School District supplied a nondis-
     criminatory reason for forcing Kluge to resign, he had to come up with
     enough evidence of pretext to raise a genuine issue of material fact, which
     he did not.




                                                                                     SA-135
Case: 24-1942
      21-2475     Document: 16
                            66           Filed: 07/10/2024
                                                04/07/2023     Pages: 306
                                                                      134




     134                                                No. 21-2475

     Kluge has faȱȱȱĴȱȱȱto show pretext, so I con-
     cur that the judgment for the School District on Kluge’s retal-
     ȱȱȱȱĜǯ
                             V. Conclusion
          Title VII’s religious accommodation provisions do not ap-
     ply only in a community accepting of the tenets of an em-
     ployee’s religion. “If relief under Title VII can be denied
     merely because the majority group … will be unhappy about
     ǰȱȱ ȱȱĴȱȱȱȱȱ ȱȱ ȱ
     the Act is directed.” Franks v. Bowman Transp. Co., 424 U.S. 747,
     775 (1976) (quoting United States v. Bethlehem Steel Corp., 446
     F.2d 652, 663 (2d Cir. 1971)).
         For the reasons explained above, I respectfully DISSENT on
     the religious accommodation claim, and I conclude that a gen-
     uine issue of material fact exists on undue hardship and
     would remand that issue for trial. I respectfully CONCUR in
     the judgment for the School District on Kluge’s retaliation
     claim.




                                                                         SA-136
Case 1:19-cv-02462-JMS-KMB Document 160 Filed 07/12/21 Page 1 of 1 PageID #: 1844
         Case: 24-1942   Document: 16    Filed: 07/10/2024  Pages: 306


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

    JOHN M. KLUGE,                              )
                                                )
                               Plaintiff,       )
                                                )
                       vs.                      )      No. 1:19-cv-2462-JMS-DLP
                                                )
    BROWNSBURG COMMUNITY SCHOOL                 )
    CORPORATION,                                )
                                                )
                               Defendant.       )

                  FINAL JUDGMENT PURSUANT TO FED. R. CIV. P. 58

         For the reasons set forth in the Court's Order entered this day, the Court now enters

  FINAL JUDGMENT against Plaintiff and in favor of Defendant, such that Plaintiff shall take

  nothing by way of his Complaint.




           Date: 7/12/2021




  Distribution via ECF only to all counsel of record




                                                                                SA-137
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 1 of 52 PageID #: 1792
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

      JOHN M. KLUGE,                                   )
                                                       )
                                  Plaintiff,           )
                                                       )
                          vs.                          )    No. 1:19-cv-2462-JMS-DLP
                                                       )
      BROWNSBURG COMMUNITY SCHOOL                      )
      CORPORATION,                                     )
                                                       )
                                  Defendant.           )

                                               ORDER

         What's in a name? William Shakespeare suggested maybe not much, for "that which we

  call a rose, by any other name would smell as sweet." 1 But a transgender individual may answer

  that question very differently, as being referred to by a name matching one's identity can provide

  a great deal of support and affirmation. This case involves the legal ramifications of a public-

  school corporation's practical response to that philosophical question.

         Plaintiff John Kluge was formerly employed as a teacher by Brownsburg Community

  School Corporation ("BCSC"), but was eventually forced to resign after refusing to refer to

  transgender students by the names selected by the students, their parents, and their healthcare

  providers due to his religious objections to affirming transgenderism. Pursuant to Title VII of the

  Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq., Mr. Kluge asserts two claims

  against BCSC related to the end of his employment: (1) discrimination based on failure to

  accommodate his religious beliefs; and (2) retaliation. Mr. Kluge has filed a Motion for Partial

  Summary Judgment, seeking judgment in his favor on his failure to accommodate claim. [Filing



  1
      WILLIAM SHAKESPEARE, ROMEO AND JULIET act                        2,   sc.   2,   available   at
  http://shakespeare.mit.edu/romeo_juliet/romeo_juliet.2.2.html.
                                                   1

                                                                                       SA-138
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 2 of 52 PageID #: 1793
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  No. 112.] BCSC has filed a Cross-Motion for Summary Judgment, seeking judgment in its favor

  on both claims. [Filing No. 120.] In addition, a group of medical, mental health, and transgender

  youth support organizations have filed a Motion for Leave to File Brief of Amici Curiae in support

  of BCSC's summary judgment motion. [Filing No. 131.] All three of these motions are ripe for

  the Court's consideration.

                                              I.
                                  SUMMARY JUDGMENT STANDARD

         A motion for summary judgment asks the Court to find that a trial is unnecessary because

  there is no genuine dispute as to any material fact and, instead, the movant is entitled to judgment

  as a matter of law. See Fed. R. Civ. P. 56(a). As the current version of Rule 56 makes clear,

  whether a party asserts that a fact is undisputed or genuinely disputed, the party must support the

  asserted fact by citing to particular parts of the record, including depositions, documents, or

  affidavits. Fed. R. Civ. P. 56(c)(1)(A). A party can also support a fact by showing that the

  materials cited do not establish the absence or presence of a genuine dispute or that the adverse

  party cannot produce admissible evidence to support the fact. Fed. R. Civ. P. 56(c)(1)(B).

  Affidavits or declarations must be made on personal knowledge, set out facts that would be

  admissible in evidence, and show that the affiant is competent to testify on matters stated. Fed. R.

  Civ. P. 56(c)(4). Failure to properly support a fact in opposition to a movant's factual assertion

  can result in the movant's fact being considered undisputed, and potentially in the grant of

  summary judgment. Fed. R. Civ. P. 56(e).

         In deciding a motion for summary judgment, the Court need only consider disputed facts

  that are material to the decision. A disputed fact is material if it might affect the outcome of the

  suit under the governing law. Hampton v. Ford Motor Co., 561 F.3d 709, 713 (7th Cir. 2009). In

  other words, while there may be facts that are in dispute, summary judgment is appropriate if those

                                                   2

                                                                                       SA-139
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 3 of 52 PageID #: 1794
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  facts are not outcome determinative. Harper v. Vigilant Ins. Co., 433 F.3d 521, 525 (7th Cir.

  2005). Fact disputes that are irrelevant to the legal question will not be considered. Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

         On summary judgment, a party must show the Court what evidence it has that would

  convince a trier of fact to accept its version of the events. Johnson v. Cambridge Indus., 325 F.3d

  892, 901 (7th Cir. 2003). The moving party is entitled to summary judgment if no reasonable fact-

  finder could return a verdict for the non-moving party. Nelson v. Miller, 570 F.3d 868, 875 (7th

  Cir. 2009). The court views the record in the light most favorable to the non-moving party and

  draws all reasonable inferences in that party's favor. Darst v. Interstate Brands Corp., 512 F.3d

  903, 907 (7th Cir. 2008). It cannot weigh evidence or make credibility determinations on summary

  judgment because those tasks are left to the fact-finder. O'Leary v. Accretive Health, Inc., 657

  F.3d 625, 630 (7th Cir. 2011). The Court need only consider the cited materials, Fed. R. Civ. P.

  56(c)(3), and the Seventh Circuit Court of Appeals has "repeatedly assured the district courts that

  they are not required to scour every inch of the record for evidence that is potentially relevant to

  the summary judgment motion before them." Johnson, 325 F.3d at 898. Any doubt as to the

  existence of a genuine issue for trial is resolved against the moving party. Ponsetti v. GE Pension

  Plan, 614 F.3d 684, 691 (7th Cir. 2010).

         "The existence of cross-motions for summary judgment does not, however, imply that there

  are no genuine issues of material fact." R.J. Corman Derailment Servs., LLC v. Int'l Union of

  Operating Engineers, 335 F.3d 643, 647 (7th Cir. 2003). Specifically, "[p]arties have different

  burdens of proof with respect to particular facts; different legal theories will have an effect on

  which facts are material; and the process of taking the facts in light most favorable to the non-




                                                   3

                                                                                       SA-140
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 4 of 52 PageID #: 1795
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  movant, first for one side and then for the other, may highlight the point that neither side has

  enough to prevail" on summary judgment. Id. at 648.

                                                  II.
                                           BACKGROUND

         A. The Parties

         BCSC is a public-school corporation in Brownsburg, Indiana, and is governed by an elected

  Board of Trustees ("the Board"). [Filing No. 120-1 at 2.] At all relevant times, Dr. Jim Snapp was

  the Superintendent, [Filing No. 120-1 at 3]; Dr. Kathryn Jessup was the Assistant Superintendent,

  [Filing No. 120-1 at 2]; Jodi Gordon was the Human Resources Director, [Filing No. 113-4 at 5];

  and Phil Utterback was the President of the Board, [Filing No. 113-3 at 5]. Brownsburg High

  School ("BHS") is the sole high school within BCSC. [Filing No. 120-2 at 2.] At all relevant

  times, Dr. Bret Daghe was the principal of BHS. [Filing No. 120-5 at 4.]

         Mr. Kluge was hired by BCSC in August 2014 to serve as a Music and Orchestra Teacher

  at BHS. [Filing No. 113-2 at 2; Filing No. 120-2 at 3.] He was employed in that capacity until

  the end of the 2017-2018 academic year. [Filing No. 120-2 at 3.] Mr. Kluge taught beginning,

  intermediate, and advanced orchestra, beginning music theory, and advanced placement music

  theory, and was the only teacher who taught any sections of those classes during his time at BHS.

  [Filing No. 120-2 at 3; Filing No. 120-3 at 19-20.] Mr. Kluge also assisted the middle school

  orchestra teacher in teaching classes at the middle school. [Filing No. 120-3 at 19-20.]

         B. Mr. Kluge's Religious Beliefs

         Mr. Kluge identifies as a Christian and is a member of Clearnote Church, which is part of

  the Evangel Presbytery. [Filing No. 113-1 at 4.] He serves as a church elder, meaning he is a

  member of the board of elders, which "exercise[s] spiritual oversight over the church" and is "part

  of the government of [the] church." [Filing No. 120-3 at 3-4.] In addition, Mr. Kluge serves as

                                                  4

                                                                                      SA-141
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 5 of 52 PageID #: 1796
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  head of the youth group ministries, head of the Owana Program (a discipleship program for

  children), and a worship group leader. [Filing No. 120-3 at 5.]

         Mr. Kluge's religious beliefs "are drawn from the Bible," and his "Christian faith governs

  the way he thinks about human nature, marriage, gender, sexuality, morality, politics, and social

  issues." [Filing No. 15 at 6.] "Mr. Kluge believes that God created mankind as either male or

  female, that this gender is fixed in each person from the moment of conception, and that it cannot

  be changed, regardless of an individual's feelings or desires." [Filing No. 15 at 6.] He also believes

  that "he cannot affirm as true ideas and concepts that he deems untrue and sinful." [Filing No. 15

  at 7.] As a result of these principles, Mr. Kluge believes that "it is sinful to promote gender

  dysphoria." 2 [Filing No. 15 at 5; Filing No. 120-3 at 5.] In addition, according to Mr. Kluge,

  transgenderism "is a boringly old sin that has been repented for thousands of years," and because

  being transgender is a sin, it is sinful for him to "encourage[] students in transgenderism." [Filing

  No. 113-1 at 8-9; see also Filing No. 120-3 at 10.]

         C. BCSC's Policies and Practices Regarding Transgender Students

         According to Dr. Jessup, BCSC's Assistant Superintendent, prior to the start of the 2017-

  2018 academic year, "the high school community at BCSC began to become more and more aware

  of the needs of transgender students," and "[s]everal discussions were held by and between school

  leadership at both the high school level and the corporation level about addressing these needs."

  [Filing No. 120-1 at 3.] Mr. Kluge and other BCSC staff first became aware of these discussions



  2
    According to the American Psychiatric Association, "gender dysphoria" is "an acute form of
  mental distress stemming from strong feelings of incongruity between one's anatomy and one's
  gender identity." Campbell v. Kallas, 936 F.3d 536, 538 (7th Cir. 2019) (citing Am. Psychiatric
  Ass’n, Diagnostic & Statistical Manual of Mental Disorders 451 (5th ed. 2013)). Mr. Kluge
  disagrees with this definition, and instead defines gender dysphoria to be "what scripture refers to
  as effeminacy which is for a man to play the part of a woman or a woman to play the part of a man
  and so that would include acting/dressing like the opposite sex." [Filing No. 120-3 at 5-6.]
                                                    5

                                                                                         SA-142
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 6 of 52 PageID #: 1797
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  in January 2017, when administrators invited Craig Lee, a BHS teacher and faculty advisor of the

  Equality Alliance Club, to speak about transgenderism at a faculty meeting. [Filing No. 15-3 at 2;

  Filing No. 58-2 at 1-2.] At another faculty meeting in February 2017, Mr. Lee and a BHS guidance

  counselor, Lori Mehrtens, gave a presentation on what it means to be transgender and how teachers

  can encourage and support transgender students. [Filing No. 15-3 at 2.]

         BHS Principal Dr. Daghe testified that during the second semester of the 2016-2017

  academic year, BHS faculty and staff members approached him seeking direction about how to

  address transgender students. [Filing No. 113-5 at 4.] In May 2017, Mr. Kluge and three other

  teachers called a meeting with Dr. Daghe, during which they presented a signed letter expressing

  their religious objections to transgenderism and other information supporting their position that

  BHS should not "promote transgenderism." [Filing No. 113-1 at 19-32; Filing No. 113-5 at 6;

  Filing No. 120-3 at 11.] The letter specifically asked that BCSC faculty and staff not be required

  to refer to transgender students using their preferred pronouns and that transgender students not be

  permitted to use the restrooms and locker rooms of their choice. [Filing No. 113-1 at 30-31.]

         In response to these various competing concerns, BCSC implemented a policy ("the Name

  Policy"), 3 which took effect in May 2017 and required all staff to address students by the name



  3
    Mr. Kluge repeatedly emphasizes that the Name Policy was not a formal BCSC policy in that it
  was not formally reviewed or adopted by the Board. [E.g., Filing No. 153 at 17]. That appears to
  be true. [See Filing No. 113-4 at 6 (Ms. Gordon testifying that "It actually wasn't really a policy.
  It was a direction. It was guidelines that we had given to the staff."); Filing No. 113-4 at 6 (Ms.
  Gordon acknowledging that, in order to become a policy, an issue must be presented to the Board
  for discussion, review, and approval at a formal Board meeting); [Filing No. 113-3 at 8 (Mr.
  Utterback testifying that the subject of transgender students changing their names was never
  formally addressed by the Board).] However, that distinction is irrelevant given that it is
  undisputed that the Name Policy and BCSC's other practices, such as those concerning uniforms
  and restrooms—whether formally adopted by the Board or not—were directives that BCSC staff
  members were required to follow. The Court uses the term "policy" to refer to the Name Policy
  and the other practices colloquially and as a matter of convenience, not to imply that the any of
  these matters were formally ratified by the Board.
                                                   6

                                                                                       SA-143
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 7 of 52 PageID #: 1798
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  that appears in PowerSchool, a database that BCSC uses to record and store student information,

  including grades, attendance, and discipline. [Filing No. 113-3 at 6; Filing No. 113-5 at 4; Filing

  No. 113-6 at 7.] Transgender students could change their first names in PowerSchool if they

  presented a letter from a parent and a letter from a healthcare professional regarding the need for

  a name change. [Filing No. 113-5 at 4-5; Filing No. 120-1 at 4-5.] Through the same process,

  students could also change their gender marker and the pronouns used to refer to them. [Filing

  No. 113-5 at 5.] In addition to the Name Policy, transgender students were permitted to use the

  restrooms of their choice and dress according to the gender with which they identified, including

  wearing school-related uniforms associated with the gender with which they identified. [Filing

  No. 113-5 at 5.] The three other teachers who initially expressed objections to "promot[ing]

  transgenderism" accepted the Name Policy, while Mr. Kluge did not. [Filing No. 120-3 at 12.]

         BCSC's practices regarding transgender students were based on BCSC's administrators'

  ultimate conclusion that "transgender students face significant challenges in the high school

  environment, including diminished self-esteem and heightened exposure to bullying" and that

  "these challenges threaten transgender students' classroom experience, academic performance, and

  overall well-being." [Filing No. 120-1 at 3.] Regarding the Name Policy specifically, Dr. Jessup

  explained:

         The high school and BCSC leadership thought that this practice furthered two
         primary goals. First, the practice provided the high school faculty a straightforward
         rule when addressing students; that is, faculty need and should only call students
         by the name listed in PowerSchool. Second, it afforded dignity and showed
         empathy toward transgender students who were considering or in the process of
         gender transition. Stated differently, the administration considered it important for
         transgender students to receive, like any other student, respect and affirmation of
         their preferred identity, provided they go through the required and reasonable
         channels of receiving and providing proof of parental permission and a healthcare
         professional's approval.




                                                  7

                                                                                       SA-144
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 8 of 52 PageID #: 1799
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  [Filing No. 120-1 at 4.] Dr. Jessup further opined that the BCSC and BHS leaders gave

  "heightened attention to these issues prior to the start of the 2017-2018 school year because several

  transgender students were enrolled as high school freshman for that school year." [Filing No. 120-

  1 at 3.]

             D. Mr. Kluge's Religious Objections to BCSC Policies and His Initial
                Accommodations

             In July 2017, Mr. Kluge informed Dr. Daghe that he could not follow the Name Policy

  because he had a religious objection to referring to students using names and pronouns

  corresponding to the gender with which they identify, rather than the biological sex that they were

  assigned at birth. 4 [Filing No. 113-2 at 3; Filing No. 113-5 at 5-6.] Dr. Daghe called a meeting

  with Mr. Kluge and Dr. Snapp to discuss the situation. [Filing No. 120-3 at 14-17; Filing No. 120-

  5 at 6.] At the meeting, Dr. Daghe gave Mr. Kluge three options: (1) comply with the Name

  Policy; (2) resign; or (3) be suspended pending termination. [Filing No. 120-3 at 14.] Mr. Kluge

  refused to either follow the Name Policy or resign, so he was suspended. [Filing No. 120-3 at 14-

  17.]




  4
    Mr. Kluge and his counsel often use the terms "transgender names" and "transgender pronouns"
  to refer to the first names and pronouns chosen by transgender students and affirmed by their
  parents to reflect the gender with which they identify. [See Filing No. 120-3 at 15 (Mr. Kluge
  testifying that he uses "transgender names" to mean "[t]he opposite sex first name that [the
  transgender students] had switched to that was not their legal name").] They use terms like "legal
  names" to refer to the names and gender that the students were assigned at birth. [See Filing No.
  120-3 (stating that "legal names" refers to "[t]he name that's on their birth certificate, the one that
  was stored on their birth records").] The Court finds this terminology imprecise and often
  confusing. People can be transgender, but names and pronouns cannot. Relatedly, transgender
  individuals can and often do change their "legal" names and gender markers to reflect the gender
  with which they identify. Accordingly, the Court will refer to the names and pronouns chosen by
  transgender students to reflect the gender with which they identify as "preferred" names and
  pronouns.
                                                    8

                                                                                          SA-145
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 9 of 52 PageID #: 1800
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


           The following week, on July 31, 2017, another meeting was held between Dr. Snapp, Ms.

  Gordon, and Mr. Kluge. [Filing No. 120-3 at 17.] At the July 31 meeting, Mr. Kluge proposed

  that he be permitted to address all students by their last names only, similar to a sports coach ("the

  last names only accommodation"), and the administrators agreed. [Filing No. 113-2 at 3-4; Filing

  No. 113-6 at 7; Filing No. 120-3 at 17.] Mr. Kluge signed a document that stated the following,

  including a handwritten notation initialed by Ms. Gordon:

           You are directed to recognize and treat students in a manner using the identity
           indicated in PowerSchool. This directive is based on the status of a current court
           decision applicable to Indiana.
           We agree that John may use last name only to address students.
           You are also directed not to attempt to counsel or advise students on his/her lifestyle
           choices.

  [Filing No. 15-1 at 1.] Another handwritten note, also initialed by Ms. Gordon, further stated: "In

  addition, Angie Boyer will be responsible for distributing uniforms to students." [Filing No. 15-1

  at 1.]

           Mr. Kluge understood the last names only accommodation to mean that he would refer to

  all students—not just transgender students—by their last names only, not use any honorifics such

  as "Mr." or "Ms." to refer to any student, and if any student were to directly ask why he used last

  names only, he would respond that he views the orchestra class like a sports team and was trying

  to foster a sense of community. [Filing No. 120-3 at 18.] He also understood that he would not

  be required to distribute gender-specific orchestra uniforms to students. [Filing No. 120-3 at 17-

  18.]

           E. BCSC Receives Complaints About Mr. Kluge's Use of Last Names Only

           Dr. Daghe "first learned of concerns with Mr. Kluge and how he was addressing students

  in class" in an August 29, 2017 email from another teacher, Craig Lee. [Filing No. 120-2 at 4.] In

  addition to teaching classes at BHS, Mr. Lee was one of three teachers on the BHS Faculty

                                                     9

                                                                                           SA-146
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 10 of 52 PageID #: 1801
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Advisory Committee and the faculty advisor of the Equality Alliance, a student club that meets on

   a weekly basis to discuss issues that impact the LGBTQ community and provides a safe space for

   students who identify as LGBTQ. [Filing No. 120-2 at 4; Filing No. 120-14 at 6.] In relevant part,

   the email stated:

          I wanted to follow up regarding the powerschool/students changed name discussion
          at the Faculty Advisory [meeting] as some issue have arisen in the last few days
          that need to be addressed. . . . There is a student who has had their name changed
          in powerschool. They are a freshman who this teacher knew from 8th grade. The
          teacher refuses to call the student by their new name. I see this is a serious issue
          and the student/parents are not exactly happy about it.

   [Filing No. 120-15 at 2.] Although the email did not mention Mr. Kluge by name, Dr. Daghe

   believed and was later able to confirm that the teacher discussed in the email was Mr. Kluge.

   [Filing No. 12-2 at 4.]

          Regarding the Equality Alliance, between 12 and 40 students generally attend each

   meeting, and in 2019 there were at least four transgender students who regularly attended

   meetings. [Filing No. 120-14 at 6-7; see also Filing No. 58-1 at 2 (estimating that there are

   "approximately five to ten transgender students currently in the Equality Alliance").] Aidyn Sucec

   and Sam Willis were two transgender students who regularly attended Equality Alliance meetings

   during the relevant time. [Filing No. 120-14 at 7.] According to Mr. Lee, both Aidyn and Sam

   discussed during Equality Alliance meetings how Mr. Kluge was referring to them by their last

   names only, and they found that practice to be insulting and disrespectful. [Filing No. 120-14 at

   7.] Mr. Lee testified that: "It was clearly visible the emotional distress and the harm that was being

   caused towards them. It was very, very clear, and, so, that was clear for everyone to see but that

   is also what they described as well." [Filing No. 120-14 at 7-8; see also Filing No. 120-14 at 8

   ("Q: Was it your interpretation that Aidyn and Sam . . . felt as if they were being discriminated

   against by Mr. Kluge? A: I wouldn't describe it so much as an interpretation. It was just very, very

                                                    10

                                                                                          SA-147
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 11 of 52 PageID #: 1802
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   clear at the meetings to see how much emotional harm was being caused towards Sam and Aidyn.

   It was clear for everyone at the meetings just to see how much of an impact it was having on them.

   So, when I say like I wouldn't call it an interpretation, I mean, it was so clearly visible that I don't

   feel like there was anything to necessarily interpret.").]

          In his declaration, Mr. Lee stated the following:

                   During Equality Alliance meetings, we have a policy of not using names
          when discussing offensive or insensitive behavior of other students and faculty.
          During the 2017-2018 school year, I heard students discuss how they were being
          treated "in orchestra class," or "by the orchestra teacher." I understood these to be
          references to John Kluge, the orchestra teacher at [BHS].
                   Mr. Kluge's behavior was a frequent topic of conversation during Equality
          Alliance meetings. Students in Mr. Kluge's class said that they found not being
          called by their first names to be insulting and disrespectful. Transgender students
          felt strongly that they wanted others to acknowledge their corrected names, and Mr.
          Kluge's refusal to do so hurt them. These students also felt like it was their presence
          that caused Mr. Kluge's behavior, which made them feel isolated and targeted. I
          relayed the students' concerns to the principal of [BHS] and the assistant
          superintendent of [BCSC].
                   Multiple times, Equality Alliance members mentioned that Mr. Kluge
          would occasionally "slip-up," and use first names or gendered honorifics (e.g.,
          "Mr." or "Miss") rather than last names. Some students also expressed that they felt
          that Mr. Kluge avoided acknowledging transgender students who raised their hands
          in class.
                   Mr. Kluge's behavior was also the subject of discussion outside of the
          Equality Alliance. One student who was not a member of the Equality Alliance, but
          was in Mr. Kluge's orchestra class, approached me to tell me that Mr. Kluge's use
          of last names made him feel incredibly uncomfortable, even though he did not
          identify as LGBTQ. The student said that he found Mr. Kluge's use of last names
          very awkward because he was fairly certain that all the students knew why Mr.
          Kluge had switched to using last names, and that it made the transgender students
          in Mr. Kluge's orchestra class stand out. This student told me that he felt bad for
          his transgender classmates. He also mentioned that there were other students who
          felt this way as well.

   [Filing No. 58-2 at 2-3.]



                                                     11

                                                                                            SA-148
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 12 of 52 PageID #: 1803
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          Dr. Jessup confirmed that Mr. Kluge's use of last names only was a topic of discussion at

   Equality Alliance meetings, stating:

          I attended a meeting of the [BHS] Equality Alliance Club in Fall 2017. The purpose
          for my attending that meeting was concerns that had been shared from counselors
          of students feeling uncomfortable. Approximately 40 students attended this
          meeting. During the meeting, approximately four or five students complained
          specifically about a teacher using last names only to address students and, in my
          view, the other students in attendance appeared to agree with these complaints.
          While the students did not identify John Kluge by name in making these
          complaints, it was certainly implied that he was the teacher in question, and I had
          no doubt that it was him they were speaking of since he was the only teacher
          employed by BCSC who had been permitted the accommodation of using last
          names only instead of using the names stated in PowerSchool.

   [Filing No. 120-1 at 4.]

          Mr. Lee also testified that three other teachers—Jason Gill, Melinda Lawrie, and Justin

   Bretz—approached him during the 2017-2018 school year with concerns that Mr. Kluge's use of

   last names only was causing harm to students. [Filing No. 120-14 at 16-17.] In addition, the

   Faculty Advisory Committee met with Dr. Daghe approximately twice per month, and during those

   meetings, "Mr. Lee continued to relate to [Dr. Daghe] the complaints and concerns he was hearing,

   primarily in Equality Alliance Club meetings, . . . about Mr. Kluge's use of last-names-only with

   students." [Filing No. 120-2 at 4.] Dr. Daghe testified that in addition to receiving information

   from Mr. Lee, he received complaints from students and teachers, including teachers Tracy

   Runyon and Melissa Stainbrook, regarding Mr. Kluge referring to his students by last name only.

   [Filing No. 113-5 at 8-9; see also Filing No. 113-4 at 9 (Ms. Gordon testifying that she "was made

   aware that there had been complaints made to Dr. Daghe from students and staff that Mr. Kluge

   wasn't following th[e] guidelines that he had agreed to at the start of the year").]

          Aidyn Sucec was a transgender student in Mr. Kluge's orchestra class during the 2017-

   2018 academic year. [Filing No. 22-3 at 1.] Aidyn submitted a declaration in which he stated that


                                                    12

                                                                                          SA-149
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 13 of 52 PageID #: 1804
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   after coming out as transgender, "[b]eing addressed and recognized as Aidyn was critical to helping

   alleviate [his] gender dysphoria," and his "emotional and mental health significantly improved

   once his family and friends began to recognize [him] as who [he is]." [Filing No. 22-3 at 3.]

   Pursuant to the Name Policy, Aidyn's mother and his therapist submitted letters requesting that his

   name and gender be updated in PowerSchool. [Filing No. 22-3 at 3.] According to Aidyn, Mr.

   Kluge referred to him by last name only or avoided referring to him by any name, instead simply

   nodding or waving in Aidyn's direction. [Filing No. 22-3 at 4.] However, Aidyn states that Mr.

   Kluge would sometimes refer to other students using the honorifics "Mr." or "Ms.," or by their

   first names. [Filing No. 22-3 at 4.] Aidyn believes that Mr. Kluge "avoided" him and other

   transgender students, and states:

          Mr. Kluge's behavior made me feel alienated, upset, and dehumanized. It made me
          dread going to orchestra class each day, and I felt uncomfortable every time I had
          to talk to him one-on-one. In addition, Mr. Kluge's behavior was noticeable to other
          students in the class. At one point, my stand partner asked me why Mr. Kluge
          wouldn't just say my name. I felt forced to tell him that it was because I'm
          transgender. . . . By the end of the first semester, in December of 2017, I told my
          mother that I did not want to continue taking orchestra during my sophomore year.

   [Filing No. 22-3 at 4.] Aidyn explains that "[t]he controversy around Mr. Kluge's resignation

   during the summer of 2018 is why [he] no longer attend[s] Brownsburg High School." [Filing No.

   22-3 at 4.] Several students made negative and derogatory remarks to Aidyn, suggesting that he

   had been responsible for Mr. Kluge leaving the school, and "[t]hese incidents, in combination with

   [his] ongoing health struggles, made [him] feel that [he] could not return to school" after August

   2018. [Filing No. 22-3 at 4-5.]

          Sam Willis was another transgender student in one of Mr. Kluge's orchestra classes during

   the 2017-2018 academic year. [Filing No. 58-1 at 2.] Prior to the start of that year, he decided to

   publicly transition and use the name "Samuel" or "Sam" and masculine pronouns going forward.


                                                   13

                                                                                       SA-150
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 14 of 52 PageID #: 1805
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   [Filing No. 58-1 at 2.] Although Sam's parents emailed the school counselor and Mr. Kluge

   directly to notify them of this change, Sam did not initially change his information in PowerSchool,

   because he was not aware of the Name Policy permitting him to do so. [Filing No. 58-1 at 2-3.]

   According to Sam, before he changed his information in PowerSchool, Mr. Kluge referred to him

   on several occasions as "Miss Willis," which led to confusion among other students and was "very

   upsetting" to Sam. [Filing No. 58-1 at 2-3.] Once Sam changed his first name and gender marker

   in PowerSchool, however, Mr. Kluge stopped referring to him as "Miss Willis," and Sam was

   permitted to wear the boys' tuxedo uniform for the fall orchestra concert. [Filing No. 58-1 at 3.]

   Sam states that Mr. Kluge generally used last names only to refer to students, but would

   occasionally use gendered honorifics or gendered pronouns with non-transgender students. [Filing

   No. 58-1 at 3.] Sam opines that "Mr. Kluge's use of last names in class made the classroom

   environment very awkward," and "[m]ost of the students knew why Mr. Kluge had switched to

   using last names, which contributed to the awkwardness and [Sam's] sense that [he] was being

   targeted because of [his] transgender identity." [Filing No. 58-1 at 3-4.] Sam states that Mr.

   Kluge's actions upset him and his family, and exposed him and other transgender students to

   "widespread public scrutiny." [Filing No. 58-1 at 5.] His declaration ends with the following

   statement: "I truly believe that if everyone in my life had refused, like Mr. Kluge, to use my

   corrected name, I would not be here today." [Filing No. 58-1 at 5.]

          Mr. Kluge expressly disputes the allegations in Aidyn's declaration and the other

   allegations that he did not strictly comply with the last names only accommodation. [See Filing

   No. 52-1.] Natalie Gain, a teacher who led private music lessons for students during the school

   day, submitted a declaration stating that she never heard Mr. Kluge use gendered language in the

   classroom and "only heard him use last names with the students." [Filing No. 52-2 at 3.] She



                                                   14

                                                                                        SA-151
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 15 of 52 PageID #: 1806
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   further stated that she "never heard any of the students discussing the . . . use of last names" and

   "as far as [she] could tell, Mr. Kluge's accommodation was not common knowledge" among

   students. [Filing No. 52-2 at 3.] Three students who were in Mr. Kluge's orchestra class during

   the 2017-2018 school year also submitted declarations stating that they never heard Mr. Kluge

   used gendered language, that they observed him using last names only to refer to all students, and

   that they did not witness him treating transgender students differently than other students. [Filing

   No. 52-3; Filing No. 52-4; Filing No. 52-5.]

          Dr. Daghe continued to hear complaints about Mr. Kluge throughout the fall 2017

   semester, but was hopeful that the issue would resolve itself. [Filing No. 120-1 at 4.] It was not

   until December 2017 that Dr. Daghe determined it was appropriate to address these issues with

   Mr. Kluge directly. [Filing No. 120-2 at 4.] Mr. Kluge testified that he was not aware of any

   complaints until December 2017, and when Mr. Daghe informed him that complaints had been

   made, Dr. Daghe did not provide any specific information or disclose the names of people who

   had allegedly complained. [Filing No. 120-3 at 21-23.] Mr. Kluge further testified that he did not

   personally witness or experience any tension with his students or other faculty members. [Filing

   No. 120-3 at 23-24.]

          F. Mr. Kluge's Discussions with Administration and Ultimate Resignation

          On December 13, 2017, Mr. Kluge met with Dr. Daghe. [Filing No. 113-2 at 4; Filing No.

   120-3 at 22.] Mr. Kluge's account of this meeting, in relevant part is as follows:

          [Dr.] Daghe scheduled a meeting with me to ask me how the year was going and to
          tell me that my last-name-only Accommodation was creating tension in the students
          and faculty. He said the transgender students reported feeling "dehumanized" by
          my calling all students last-name-only. He said that the transgender students'
          friends feel bad for the transgender students when I call the transgender students,
          along with everyone else, by their last-name-only. He said that I am a topic of
          much discussion in the Equality Alliance Club meetings. He said that a number of



                                                   15

                                                                                        SA-152
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 16 of 52 PageID #: 1807
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          faculty avoid me and don't hang out with me or include me as much because of my
          stance on the issue.
                                                  ***
          I explained to [Dr.] Daghe that this persecution and unfair treatment I was
          undergoing was a sign that my faith as witnessed by my using last-names-only to
          remain neutral was not coming back void, but was being effective. He didn't seem
          to understand why I was encouraged. He told me he didn't like things being tense
          and didn't think things were working out. He said he thought it might be good for
          me to resign at the end of the year. I told [Dr.] Daghe that I was now encouraged
          all the more to stay.

   [Filing No. 15-3 at 4-5.] Mr. Kluge later testified that although Dr. Daghe stated during the

   meeting that the use of last names only was "creating complaints among many students," he would

   not provide the names of the students who complained. [Filing No. 120-3 at 23.] Mr. Kluge

   further testified that he did not witness any tension or experience any animosity from students or

   other faculty, and that his students were performing better than ever in their competitions,

   receiving high scores on their AP exams, and participating voluntarily in extra programs. [Filing

   No. 120-3 at 23-24.]

          On January 17, 2018, Dr. Daghe scheduled another meeting with Mr. Kluge, because he

   "didn't think he was direct enough in [the] December 13 meeting." [Filing No. 15-3 at 5.] At the

   January 17 meeting, Dr. Daghe expressed that, because of complaints about the use of last names

   only, Mr. Kluge should resign at the end of the school year. [Filing No. 15-3 at 5; Filing No. 120-

   3 at 25.] Dr. Daghe offered to write Mr. Kluge letters of recommendation to help him find a new

   job. [Filing No. 15-3 at 5.]

          At the BHS faculty meeting on January 22, 2018, Dr. Jessup presented the faculty with a

   document titled "Transgender Questions." [Filing No. 15-3 at 5.] The document contained a series

   of questions and answers concerning BCSC policies regarding transgender students and how

   faculty and staff should handle matters related to transgender students. [See Filing No. 15-4.] In

   addition to reiterating that the staff and faculty should address students by the names and genders

                                                   16

                                                                                       SA-153
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 17 of 52 PageID #: 1808
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   listed in PowerSchool, [Filing No. 15-4 at 6; Filing No. 15-4 at 9], the document contained the

   following relevant questions and answers:

            Are we allowed to use the student's last name only? We have agreed to this for
            the 2017-2018 school year, but moving forward it is our expectation the student
            will be called by the first name listed in PowerSchool.
                                                      ***
            How do teachers break from their personal biases and beliefs so that we can
            best serve our students? We know this is a difficult topic for some staff members,
            however, when you work in a public school, you sign up to follow the law and the
            policies/practices of that organization and that might mean following practices that
            are different than your beliefs.

            What feedback and information has been received from transgender students?
            They appreciate teachers who are accepting and supporting of them. They feel
            dehumanized by teachers they perceive as not being accepting or who continue to
            use the wrong pronouns or names. Non-transgender students in classrooms with
            transgender students have stated they feel uncomfortable in classrooms where
            teachers are not accepting. For example, teachers that call students by their last
            name, don't use correct pronouns, don't speak to the student or acknowledge them,
            etc.

   [Filing No. 15-4 at 9-10 (numbering omitted).]

            Following the faculty meeting, Mr. Kluge sent an email to Dr. Snapp and Dr. Daghe,

   referring to the "Transgender Questions" document and asking whether he was correct in believing

   that he would continue to be permitted to follow the last names only accommodation after the

   2017-2018 school year. [Filing No. 120-16 at 2.] In response to the email, Ms. Gordon and Dr.

   Daghe scheduled a meeting with Mr. Kluge to take place on February 6, 2018. [Filing No. 15-3

   at 6.]

            Mr. Kluge recorded audio of the February 6 meeting. [Filing No. 113-4 at 20-55; Filing

   No. 120-3 at 25.] During the meeting, Mr. Kluge was informed that he would not be permitted to

   continue using last names only after the 2017-2018 school year. [Filing No. 113-4 at 24.] Ms.

   Gordon stated that employers are not obligated to accommodate all of their employees' religious

   beliefs, but instead need only provide reasonable accommodations, and the last names only

                                                    17

                                                                                         SA-154
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 18 of 52 PageID #: 1809
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   accommodation was not reasonable. [Filing No. 113-4 at 27.] Mr. Daghe agreed. [See Filing No.

   113-4 at 28 ("Not when it's detrimental to kids it's not reasonable.").] Ms. Gordon also discussed

   how Mr. Kluge's pay and other logistical matters would be handled, depending on whether he

   finished the current school year or resigned mid-year. [Filing No. 113-4 at 33-35.] Regarding

   "processing" of a resignation, Ms. Gordon explained the following to Mr. Kluge:

          [S]ometimes people are very sensitive about letting their students know[] or even
          their colleagues knowing . . . .
                                                   ***
          If someone – I've had one for a year now, um, that we – someone submitted a
          resignation or retirement letter and asked "I'd rather you just hold onto this. I'm not
          – I don't want it communicated. I'd rather, you know, it just wait until the school
          year is over and then you process it." We honor requests like that.
                                                   ***
          How long we hold that can hold us up a little bit on being able to search for a
          replacement. And obviously a replacement for your position . . . is not going to be
          an easy one. So, you know, if that were to happen, it kind of depends on the
          position.
                                                   ***
          So while we like to honor those, we also like to – to talk about, like, okay, a
          reasonable amount of time for us to be able to – in order to be able to find – put a –
          get a posting out and do a good search for someone.

   [Filing No. 113-4 at 36-37.] According to Mr. Kluge, this explanation from Ms. Gordon led him

   to believe that he was entitled to submit a "conditional resignation." [See Filing No. 120-3 at 26

   ("[Dr. Daghe and Ms. Gordon] said the option was I could give Jodi a conditional resignation that

   wouldn't be processed until a date I specified, that she had done that in the past, that she had held

   onto resignations and not processed them before and she would honor any such requests.").]

          In March 2018, Ms. Gordon scheduled another meeting with Mr. Kluge. [Filing No. 15-3

   at 6; Filing No. 113-2 at 6.] At that meeting, she informed Mr. Kluge that he could either follow

   the Name Policy and continue his employment, resign, or be terminated. [Filing No. 113-2 at 6.]

   She told him that, if he intended to resign, he would need to submit his resignation to her by May

   1, 2018, otherwise the termination process would begin on that date. [Filing No. 15-3 at 6.]

                                                    18

                                                                                          SA-155
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 19 of 52 PageID #: 1810
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          On April 30, 2018, Mr. Kluge sent an email to Ms. Gordon with the subject "Request."

   [Filing No. 15-2 at 1.] The email stated:

          I'm writing you to formally resign from my position as a teacher, effective at the
          end of the 2017-2018 school year when my contract is finished, i.e., early August
          2018.

          I'm resigning my position because [BCSC] has directed its employees to call
          transgender students by a name and sex not matching their legal name and sex.
          BCSC has directed employees to call these students by a name that encourages the
          destructive lifestyle and psychological disorder known as gender dysphoria. BCSC
          has allowed me the accommodation of referring to students by last name only
          starting in August 2017 so I could maintain a "neutral" position on the issue.

          Per our conversation on 3/15/18, [BCSC] is no longer allowing this
          accommodation. BCSC will require me to refer to transgender students by their
          "preferred" name as well as by their "preferred" pronoun that does not match their
          legal name and sex. BCSC will require this beginning in the 2018-2019 school
          year. Because my Christian conscience does not allow me to call transgender
          students by their "preferred" name and pronoun, you have said I am required to
          send you a resignation letter by May 1, 2018 or I will be terminated at that time.

          Please do not process this letter nor notify anyone, including any administration,
          about its contents before May 29, 2018. Please email me to acknowledge that you
          have received this message and that you will grant this request.

   [Filing No. 15-2 at 1.]

          On the same day, Ms. Gordon replied to Mr. Kluge's email with the following:

          I appreciate hearing from you.

          I will honor your request and not process this letter or share with the BHS
          administration until May 29.

          Let me know if you have any questions at all.

   [Filing No. 15-2 at 1.]

          Ms. Gordon believed that she was honoring Mr. Kluge's request not to "process" his

   resignation before May 29 by not presenting the resignation to the Board or sharing it with his

   colleagues and students until after that date. [Filing No. 113-4 at 12.] According to Ms. Gordon,

                                                  19

                                                                                      SA-156
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 20 of 52 PageID #: 1811
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   submitting a resignation to her is equivalent to submitting a resignation to the superintendent, and

   the only permissible condition for an employee to include in a resignation is the end date of

   employment. [Filing No. 113-4 at 11-12; Filing No. 113-6 at 6.] However, in his deposition, Mr.

   Kluge characterized his resignation as a "conditional resignation, the condition being I could take

   it off [Ms. Gordon's] desk before May 29." [Filing No. 120-3 at 27.]

          Relevant to the issue of resignation, BCSC's Bylaws provide that:

          Pursuant to State law, following submission of a resignation to the Superintendent,
          the employee may not withdraw or otherwise rescind that resignation. . . . The
          Superintendent shall inform the Board of the submission of that resignation at its
          next meeting. The Board may choose to accept that resignation, deny that
          resignation or take any other appropriate action relating to the termination,
          suspension or cancellation or employment of the person submitting the resignation.
          A resignation, once submitted, may not then be rescinded unless the Board agrees.

   [Filing No. 113-6 at 8.] The Bylaws cite Indiana Code § 5-8-4-1, which in turn provides that:

          Whenever any officer, servant or employee of . . . any . . . school corporation[] . . .
          shall submit in writing his or her resignation, whether to take effect at once, when
          accepted, or at some future fixed date, with the proper officer, person or persons or
          authority of government to receive such resignation, the person so submitting such
          written resignation shall have no right to withdraw, rescind, annul or amend such
          resignation without the consent of the officer, person or persons or authority of
          government having power by law to fill such vacancy.

          In May 2018, Mr. Kluge attended an orchestra awards ceremony. [Filing No. 120-3 at 32.]

   At the ceremony, he addressed all students by their first and last names, including transgender

   students, whom Mr. Kluge addressed by their preferred first names. [Filing No. 120-3 at 33.] Mr.

   Kluge explained that he used first and last names because "it would have been unreasonable and

   conspicuous" to refer to students by last names only at a formal event. [Filing No. 120-3 at 33.]

   Mr. Kluge also opined that referring to students by last name only at the awards ceremony would

   be inconsistent with the last names only accommodation, because the accommodation was based




                                                    20

                                                                                          SA-157
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 21 of 52 PageID #: 1812
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   on the understanding that he would address students like a sports coach would, and a sports coach

   would likely use first and last names at a formal event. [Filing No. 120-3 at 33.]

          On May 25, 2018, Mr. Kluge was scheduled to meet with Ms. Gordon and Dr. Daghe, but

   when he arrived for the meeting, Mr. Daghe told him that the meeting was cancelled because "We

   have everything we need." [Filing No. 15-3 at 1.] That same afternoon, Mr. Kluge submitted to

   Ms. Gordon a document titled "Withdrawal of Intention to Resign and Request for Continuation

   of Accommodation." [Filing No. 15-3 at 1-7.] In that document, Mr. Kluge explained that he was

   "confused" as to why Dr. Daghe cancelled the meeting, and asserted that at the meeting he planned

   to withdraw his "emailed intention to resign," which he had sent to Ms. Gordon on April 30 along

   with a request that the email not be processed. [Filing No. 15-3 at 1.] He outlined his version of

   events leading up to his forced resignation, accused BCSC of discriminating against him based on

   his religious beliefs, and ultimately asked that he be permitted to continue his employment using

   the last names only accommodation. [Filing No. 15-3 at 1-7.] Approximately two hours after Mr.

   Kluge submitted the purported rescission to Ms. Gordon, BCSC "locked [Mr. Kluge] out of the

   BCSC buildings and internet database, and posted [his] job as vacant." [Filing No. 113-2 at 7.]

          At a Board meeting on June 11, 2018, Mr. Kluge asked the Board not to accept his

   resignation and to reinstate his employment. [Filing No. 113-2 at 7; Filing No. 120-18 at 10.]

   Various members of the community also spoke at the meeting, some in support of Mr. Kluge's

   termination, and others against it. [See Filing No. 120-18 at 9-13.] The Board accepted Mr.

   Kluge's resignation, thereby ending his employment with BCSC. [Filing No. 113-2 at 7; Filing

   No. 120-18 at 1.]




                                                   21

                                                                                        SA-158
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 22 of 52 PageID #: 1813
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          G. This Lawsuit

          Mr. Kluge filed his Amended Complaint in this action, asserting thirteen claims against

   BCSC and several of its employees. [Filing No. 15.] Upon Defendants' Motion to Dismiss, [Filing

   No. 44], the Court dismissed several claims and Defendants, leaving only Mr. Kluge's claims

   against BCSC for failure to accommodate and retaliation under Title VII, [Filing No. 70]. As

   noted earlier, Mr. Kluge then filed his Motion for Partial Summary Judgment seeking judgment in

   his favor on his failure to accommodate claim. [Filing No. 112.] BCSC filed its Cross-Motion for

   Summary Judgment seeking judgment in its favor on the failure to accommodate claim and the

   retaliation claim. [Filing No. 120.] In addition, the National Association of Social Workers and

   its Indiana Chapter, the American Academy of Pediatrics and its Indiana Chapter, the American

   Medical Association, and Indiana Youth Group (collectively, "Movants") filed a Motion for Leave

   to File Brief of Amici Curiae, seeking "to offer additional insight regarding the harm of [Mr.

   Kluge's] proposed accommodation on the health and wellbeing of transgender students that is not

   discussed in the briefs submitted by the parties to this case." [Filing No. 131 at 1.] All three of

   these motions are fully briefed and ripe for the Court's decision.

                                                   III.
                                              DISCUSSION

          A. Title VII Background

          "Title VII forbids employment discrimination on account of religion." EEOC v. Walmart

   Stores E., L.P., 992 F.3d 656, 658 (7th Cir. 2021) (citing 42 U.S.C. § 2000e–2(a)(1)). As used in

   Title VII, "religion" "includes all aspects of religious observance and practice, as well as belief,

   unless an employer demonstrates that he is unable to reasonably accommodate to an employee's

   or prospective employee's religious observance or practice without undue hardship on the conduct

   of the employer's business." 42 U.S.C. § 2000e(j).

                                                    22

                                                                                        SA-159
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 23 of 52 PageID #: 1814
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          To state a prima facie case of religious discrimination based on failure to accommodate, a

   plaintiff must show that his religious belief or practice conflicted with a requirement of his

   employment and that his religious belief or practice was the basis for the discriminatory treatment

   or adverse employment action. Porter v. City of Chicago, 700 F.3d 944, 951 (7th Cir. 2012), as

   modified by EEOC v. Abercrombie & Fitch Stores, Inc., 135 S. Ct. 2028, 2031-33 (2015). 5 "Once

   the plaintiff has established a prima facie case of discrimination, the burden shifts to the employer

   to make a reasonable accommodation of the religious practice or to show that any reasonable

   accommodation would result in undue hardship." Porter, 700 F.3d at 951.

          "In addition to prohibiting discrimination, Title VII 'forbids retaliation against anyone who

   "has opposed any practice made an unlawful employment practice by [Title VII], or because he

   has made a charge, testified, assisted, or participated in any manner in an investigation, proceeding,

   or hearing under [Title VII]."'" Id. at 956 (quoting Loudermilk v. Best Pallet Co., 636 F.3d 312,

   314 (7th Cir. 2011) (quoting 42 U.S.C. § 2000e–3(a))). To survive summary judgment on a

   retaliation claim, the plaintiff must produce evidence showing a causal link between his protected

   activity and the adverse employment action. Khungar v. Access Cmty. Health Network, 985 F.3d

   565, 578 (7th Cir. 2021). "The question is: 'Does the record contain sufficient evidence to permit




   5
    In Porter, the Seventh Circuit articulated an additional element of the prima facie case for failure
   to accommodate: that the employee called the religious practice to his employer's attention. 700
   F.3d at 951. However, the Supreme Court later made clear that an employee need not prove that
   his employer had actual knowledge of the religious belief or practice, and instead must demonstrate
   only that the desire not to accommodate was a motivating factor in an adverse employment action.
   See Abercrombie, 135 S. Ct. at 2032-33. Other District Courts in this Circuit have therefore
   disregarded this additional element. See, e.g., Jackson v. NTN Driveshaft, Inc., 2017 WL 1927694,
   at *1 (S.D. Ind. May 10, 2017). This Court will do the same, although it makes no difference
   because it is undisputed that BCSC was aware of Mr. Kluge's religion-based objections to the
   Name Policy.
                                                    23

                                                                                          SA-160
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 24 of 52 PageID #: 1815
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   a reasonable fact finder to conclude that retaliatory motive caused the discharge?'" Id. (quoting

   Lord v. High Voltage Software, Inc., 839 F.3d 556, 563 (7th Cir. 2016)).

          B. Motion for Leave to File Brief of Amici Curiae

          Movants argue that as highly regarded medical and mental health organizations and a

   provider of support services to transgender youth in Indiana, they are well-positioned to provide

   the Court with insight regarding how inclusive policies that respect the names and pronouns that

   match a student's gender identity have been demonstrated to reduce harm to the student's physical

   and mental health, including by reducing levels of depression, thoughts of suicide, and attempted

   suicide among transgender youth. [Filing No. 131 at 2-3.] Movants point out that other courts

   have routinely permitted them to file amicus briefs to offer their expertise and insight on issues of

   mental health and welfare, including with respect to transgender youth. [Filing No. 131 at 3 (citing

   cases).] Movants attach their proposed brief to the motion. [Filing No. 131-1.]

          Mr. Kluge responds that "[t]he proposed amicus brief . . . does little more than add twenty-

   two additional pages to BCSC's fifty-page long brief by rehashing—at length and with additional

   citations—the proposition that some transgender students may experience negative emotions or

   psychological difficulty when they do not feel socially supported." [Filing No. 145 at 2.]

   According to Mr. Kluge, "[t]his is not a unique insight, it is not relevant to the salient legal issues

   in this case, and it will not provide any assistance to the Court not already available in the parties'

   briefs." [Filing No. 145 at 2.] Specifically, Mr. Kluge contends that the proposed amicus brief

   sheds no light on whether BCSC suffered an undue burden, what accommodation BCSC ought to

   have made for Mr. Kluge's religious beliefs, and whether Mr. Kluge has demonstrated retaliation.

   [Filing No. 145 at 7.] Mr. Kluge asserts that the cases cited by Movants, in which they were

   permitted to file amicus briefs, are distinguishable from the present case. [Filing No. 145 at 7-9.]



                                                     24

                                                                                           SA-161
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 25 of 52 PageID #: 1816
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Finally, Mr. Kluge contends that the proposed amicus brief stands for the proposition that calling

   transgender students by their chosen names respects and affirms their gender identity, but BCSC

   has argued that using chosen first names is a purely administrative task, and therefore the proposed

   brief has no relevance to the issues in this case. [Filing No. 145 at 9-10.]

            In reply, Movants argue that the evidence presented in their proposed amicus brief

   concerning the importance of calling transgender students by names and pronouns that affirm their

   gender identity "bears directly on a central issue in this case: whether [Mr.] Kluge's proposed

   accommodation caused an undue hardship on [BCSC]." [Filing No. 147 at 1.] According to

   Movants, "[i]f the scientific evidence shows that Mr. Kluge's proposed accommodation would be

   contrary to the health and well-being of transgender students, then the accommodation

   undoubtedly imposed 'more than a de minimis cost' to BCSC whose mission is to educate and

   protect those students." [Filing No. 147 at 1.] Movants maintain that their perspective is unique

   because although the parties address the harm caused to two particular transgender students,

   Movants explain from a scientific research perspective why the last names only arrangement

   threatens the mental and physical wellbeing of transgender youth more broadly. [Filing No. 147

   at 2.]

            The Seventh Circuit "has held that whether to allow the filing of an amicus curiae brief is

   a matter of 'judicial grace.'" Voices for Choices v. Illinois Bell Tel. Co., 339 F.3d 542, 544 (7th

   Cir. 2003) (quoting National Organization for Women, Inc. v. Scheidler, 223 F.3d 615, 616 (7th

   Cir. 2000)). In deciding whether to permit such a brief, courts should consider "whether the brief

   will assist the judges by presenting ideas, arguments, theories, insights, facts, or data that are not

   to be found in the parties' briefs." Voices for Choices, 339 F.3d at 545. "The criterion is more

   likely to be satisfied in a case in which a party is inadequately represented; or in which the would-



                                                    25

                                                                                          SA-162
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 26 of 52 PageID #: 1817
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   be amicus has a direct interest in another case that may be materially affected by a decision in this

   case; or in which the amicus has a unique perspective or specific information that can assist the

   court beyond what the parties can provide." Id. (citing Scheidler, 223 F.3d at 616-17).

          The Court acknowledges that Movants and other similar organizations have been permitted

   to submit amicus briefs in other cases, and that they have provided courts with information and

   perspectives that are important to addressing legal issues affecting transgender individuals. In the

   instant case, however, that information is not necessary. As Mr. Kluge acknowledges, the general

   notion that failing or refusing to affirm a transgender individual's identity using preferred names

   and pronouns causes psychological and emotional harm is "not a unique insight." [Filing No. 145

   at 2.] Indeed, it is undisputed that BCSC accepted that premise as true and sought to alleviate

   potential psychological and emotional harm to students through its policies and practices

   concerning the treatment of transgender students. [See Filing No. 15-4 at 9 (BCSC's January 2018

   "Transgender Questions" document stating "It is our job to make all students feel welcome and

   accepted in the public school environment").] Even Mr. Kluge acknowledges that failing to affirm

   the identities of transgender students causes "emotional harm" to those students, although he

   argues that such harm is insufficient to constitute an undue burden. [See, e.g., Filing No. 153 at

   19 ("The emotional discomfort and complaints of two students and a single teacher cannot justify

   forcing Kluge to face a choice between violating his religious beliefs and losing his job.").]

   Accordingly, the Court will resolve the pending motions by considering only the parties' briefs,

   and Movants' Motion for Leave to File Brief of Amici Curiae, [Filing No. 131], is DENIED.




                                                    26

                                                                                         SA-163
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 27 of 52 PageID #: 1818
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          C. Summary Judgment Motions

               1. Failure to Accommodate Claim

          Mr. Kluge argues that BCSC discriminated against him by refusing to accommodate his

   sincerely held religious beliefs. [Filing No. 114 at 19-35.] Specifically, he asserts that his belief

   against promoting transgenderism by using a transgender student's preferred name and pronouns

   is religious in nature, is sincerely held, and was clearly communicated to BCSC. [Filing No. 114

   at 19-23.] He further argues BCSC discriminated against him based on that belief in three ways:

   (1) "withdr[awing] the last-name only accommodation despite a lack of undue hardship";

   (2) "refus[ing] to offer or discuss any other accommodation"; and (3) "coerc[ing] his resignation

   letter through misrepresentation." [Filing No. 114 at 23-28.] Mr. Kluge contends that BCSC failed

   to offer any accommodation after it withdrew the last names only accommodation, and even if the

   last names only accommodation was the only possible accommodation, BCSC cannot show that

   use of that accommodation would cause undue hardship. [Filing No. 114 at 28-29.] He argues

   that students' "emotional discomfort" does not constitute undue hardship, and "[t]he fact that BCSC

   and [Mr.] Kluge agreed to an accommodation and used it successfully for a full semester

   establishes last-names only as a 'reasonable accommodation' for [Mr.] Kluge's religious beliefs,

   and also that there was no 'undue hardship' associated with that accommodation." [Filing No. 114

   at 29-30.] According to Mr. Kluge, when BCSC informed him that he could no longer use last

   names only, "BCSC did not detail any undue hardship and did not engage [Mr.] Kluge in any

   specific discussions concerning undue hardship," but instead Ms. Gordon characterized the last

   names only arrangement as a "policy violation." [Filing No. 114 at 30.] Mr. Kluge contends that

   BCSC has not identified any hardship that rises above the de minimis level because it has shown

   no economic costs or disruption to operations and no classroom disruptions, rearrangements of



                                                    27

                                                                                         SA-164
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 28 of 52 PageID #: 1819
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   personnel scheduling, or demonstrably impaired learning outcomes as a result of his use of last

   names only. [Filing No. 114 at 31.] In fact, he argues, it is undisputed that his orchestra students

   excelled. [Filing No. 114 at 31.] Mr. Kluge contends that the only hardships identified are the

   complaints of two students and one teacher, which were not relayed to Mr. Kluge "until well after

   the fact," as well as "references to unspecified attorneys' fees and 'opportunity costs' for the

   management of the accommodation," which are not sufficient to constitute undue hardship within

   the meaning of Title VII. [Filing No. 114 at 31-32.] Finally, Mr. Kluge argues that BCSC's

   policies regarding transgender students provide accommodations to those students to the detriment

   of employees' sincere religious beliefs, which are not equally accommodated, creating the

   suggestion "that transgender rights overrule religious rights and that is the antithesis of

   reasonableness." [Filing No. 114 at 32-35.]

          In its Cross-Motion for Summary Judgment and Response to Mr. Kluge's Motion for Partial

   Summary Judgment ("Cross-Motion/Response"), BCSC argues that Mr. Kluge cannot establish a

   prima facie case of discrimination based on failure to accommodate because addressing students

   by their preferred names and pronouns is a purely administrative task and therefore does not

   objectively conflict with his sincerely held religious beliefs. [Filing No. 121 at 28-32.] In support

   of this argument, BCSC cites Summers v. Whitis, 2016 WL 7242483 (S.D. Ind. Dec. 15, 2016).

   [Filing No. 121 at 29-32.] Even if he could establish a prima facie case, BCSC argues, Mr. Kluge's

   claim still fails because his use of last names only created undue hardship. [Filing No. 121 at 32-

   43.]   Specifically, BCSC contends that its "business" comprises a constitutional statutory

   obligation to educate students, and Mr. Kluge's use of last names only frustrates that purpose by

   causing emotional harm to students and impairing BCSC's efforts to educate them. [Filing No.

   121 at 34-36.] BCSC further argues that courts have routinely found undue hardship where a



                                                    28

                                                                                         SA-165
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 29 of 52 PageID #: 1820
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   religious accommodation threatens the classroom learning environment. [Filing No. 121 at 36-38

   (citing cases).] BCSC asserts that Mr. Kluge's suggestion that the complaints received by the

   school constitute "heckler's vetoes" and therefore cannot amount to an undue burden is without

   merit because "[t]hat is not the law" and because the case Mr. Kluge relied upon addresses alleged

   First Amendment free speech violations and has no application in the Title VII context. [Filing

   No. 121 at 39.] BCSC also contends that it was not required to offer Mr. Kluge another reasonable

   accommodation, and instead is only required to demonstrate that no accommodation would be

   reasonable, which it has done because it is obvious that a high school classroom can only function

   when teachers address students directly. [Filing No. 121 at 40.] Under these circumstances, BCSC

   argues, it has established as a matter of law that any accommodation would impose undue hardship.

   [Filing No. 121 at 41.] In addition, the last names only arrangement created an undue hardship by

   placing BCSC on "the razor's edge of liability" by exposing it to potential lawsuits by transgender

   students alleging discrimination. [Filing No. 121 at 41-43.] Finally, BCSC argues that if the Court

   declines to grant summary judgment in BCSC's favor on the failure to accommodate claim, it

   should also decline to grant summary judgment in Mr. Kluge's favor on the issue of the sincerity

   of his religious belief against using transgender students' preferred names and pronouns. [Filing

   No. 121 at 47-49.] Specifically, BCSC asserts that genuine issues of material fact exist regarding

   whether Mr. Kluge's belief is sincerely held, given that he used transgender students' preferred

   names at an orchestra awards ceremony in May of 2018 and that he testified in his deposition that

   there may be instances in which it is appropriate and consistent with his religious beliefs to address

   a transgender student by the student's preferred first name. [Filing No. 121 at 48-49.]

          In his combined Reply in Support of his Motion for Partial Judgment and Response in

   Opposition to BCSC's Cross-Motion for Summary Judgment ("Reply/Response"), Mr. Kluge



                                                    29

                                                                                          SA-166
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 30 of 52 PageID #: 1821
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   maintains that his religious belief against using transgender students' preferred names and

   pronouns is sincerely held. [Filing No. 153 at 32-35.] Mr. Kluge argues that the requirement that

   BCSC teachers address transgender students using their preferred names and pronouns objectively

   conflicts with his religious beliefs against affirming transgenderism, and BCSC's position to the

   contrary "ignores the tremendously important role that names play." [Filing No. 153 at 10-12.]

   He urges the Court to follow the Sixth Circuit's decision in Meriwether v. Hartop, 992 F.3d 492

   (6th Cir. 2021), and conclude that using names and pronouns is more than a ministerial act and

   carries a specific message affirming an individual's gender identity. [Filing No. 153 at 12-13.]

   Mr. Kluge further reiterates that the last names only accommodation was reasonable. [Filing No.

   153 at 14-30.] Specifically, he contends that "[t]he undisputed evidence shows that [Mr.] Kluge's

   accommodation worked quite well and actually enhanced his ability to educate his students in

   music and orchestra," because there were no student protests, written complaints, classroom

   disturbances, or cancelled classes, but rather the students excelled and received awards for their

   musical performances. [Filing No. 153 at 14-15.] Again relying on Meriwether, Mr. Kluge asserts

   that using students' last names only does not negatively impact the learning environment, and at

   the very least, an issue of fact remains as to whether the last names only accommodation created

   an undue hardship. [Filing No. 153 at 15-16; Filing No. 153 at 23-26.] Mr. Kluge points out that

   BCSC never told him specifically that the last names only accommodation was creating an undue

   hardship, and instead told him that it was a "policy violation." [Filing No. 152 at 16-17.] Mr.

   Kluge asserts that "[t]here is no admissible evidence that any students, except two transgender

   students—Aidyn Sucec and Sam Willis—complained about [Mr.] Kluge's use of last names only,"

   and these complaints "are 'heckler's vetoes,' not evidence of an undue burden or a negative impact

   on the learning environment." [Filing No. 153 at 17-19.] According to Mr. Kluge, "[t]he



                                                  30

                                                                                      SA-167
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 31 of 52 PageID #: 1822
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   emotional discomfort and complaints of two students and a single teacher[, Mr. Lee,] cannot justify

   forcing [Mr.] Kluge to face a choice between violating his religious beliefs and losing his job."

   [Filing No. 153 at 19.] Mr. Kluge contends that complaints by unnamed students at Equality

   Alliance Club meetings regarding Mr. Kluge's use of last names only "constitute inadmissible

   hearsay and hearsay within hearsay," and should not be considered by the Court. [Filing No. 153

   at 21-22.] Mr. Kluge further argues that any cases cited by BCSC for the proposition that the last

   names only accommodation exposed it to liability for discrimination against transgender students

   are inapposite, and "using someone's legal surname does not create any risk of liability." [Filing

   No. 153 at 26-28 (distinguishing cases cited by BCSC).] Mr. Kluge contends that any claim that

   BCSC feared potential lawsuits is undercut by its failure to conduct any investigation into student

   complaints. [Filing No. 153 at 29-30; Filing No. 153 at 29 ("If BCSC felt it might be sued, why

   did the administration fail to conduct any investigation upon learning of the alleged complaints by

   unidentified students?").]

          In its Reply in Support of Cross-Motion for Summary Judgment ("Reply"), BCSC

   maintains that this case is indistinguishable from Summers and Mr. Kluge has failed to demonstrate

   an objective conflict between his religious beliefs and the requirement that he refer to transgender

   students by the names and pronouns listed in PowerSchool. [Filing No. 150 at 2-6.] BCSC argues

   that Meriwether is distinguishable because, among other things, it involved claims under the First

   Amendment and therefore has no application to the objective conflict analysis required for Title

   VII claims. [Filing No. 150 at 6-8.] BCSC asserts that it has established two separate grounds for

   undue hardship: (1) the last names only accommodation led to complaints and impeded BCSC's

   mission to educate students; and (2) the continued use of last names only could have resulted in

   BCSC being exposed to liability for discrimination. [Filing No. 150 at 8-16.] According to BCSC,



                                                   31

                                                                                        SA-168
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 32 of 52 PageID #: 1823
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Mr. Kluge's argument that the last names only accommodation was successful ignores evidence of

   complaints from members of the BHS community, and his assertion that no undue hardship exists

   because his students excelled and he did not perceive any problems ignores the undue hardship

   standard. [Filing No. 150 at 9-10.] BCSC asserts that Mr. Kluge's accommodation did not

   constitute protected speech, the fact that BCSC never informed Mr. Kluge in writing or otherwise

   that the accommodation was causing undue hardship and instead called it a policy violation is

   irrelevant, and Mr. Kluge's description of Aidyn's and Sam's complaints as "heckler's vetoes" or

   indicative of mere "emotional discomfort" are inapt. [Filing No. 150 at 10-12.] BCSC contends

   that the complaints about Mr. Kluge's use of last names are not hearsay because they are offered

   to show their effect on BCSC's state of mind as it relates to whether the accommodation was

   causing undue hardship. [Filing No. 150 at 12-13.] In addition, BCSC argues that in order to

   show undue hardship based on potential exposure to liability, it need not prove that it would lose

   a lawsuit brought by a transgender student, and instead it is sufficient to show that transgender

   students felt targeted by Mr. Kluge's practices and that law in the Seventh Circuit during the

   relevant timeframe would have permitted a transgender student to assert a sex discrimination claim

   under federal law. [Filing No. 150 at 14-16.] Finally, BCSC reiterates that, if the Court declines

   to grant summary judgment in its favor as to the failure to accommodate claim, the question of the

   sincerity of Mr. Kluge's religious beliefs should be submitted to the factfinder. [Filing No. 150 at

   18-19.]

                   a. Hearsay Objections

             Mr. Kluge argues that the complaints received by Mr. Lee from unidentified students

   constitute inadmissible hearsay. [Filing No. 153 at 21-22.] "Hearsay is an out-of-court statement

   offered to prove the truth of the matter asserted." Khungar, 985 F.3d at 575 (citing Fed. R. Evid.


                                                   32

                                                                                        SA-169
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 33 of 52 PageID #: 1824
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   801(c)). The Seventh Circuit has held in another Title VII case that complaints received by an

   employer do not constitute hearsay when they are not offered to show that the employee in fact

   engaged in the conduct complained of, but to show the employer's state of mind when making an

   employment decision. Khungar, 985 F.3d at 575. A case that Mr. Kluge relies on, Emich Motors

   Corp. v. General Motors Corp., 181 F.2d 70, 82 (7th Cir. 1950), rev'd on other grounds, 340 U.S.

   558 (1951), is over 70 years older but stands for the same proposition: "We agree with the

   defendants that the complaint letters received by them should have been admitted, not for their

   testimonial use, to prove the facts contained therein, but to show the information on which they

   acted. This is a well-established exception to the hearsay rule." See also Walker v. Alcoa, Inc.,

   2008 WL 2356997, at *5 (N.D. Ind. June 9, 2008) ("The Court finds, however, that Musi's

   testimony regarding the employee complaints he overheard about Sunday absences is not hearsay

   under Federal Rules of Evidence 801 and 802 because it is not offered for the truth of the matter

   asserted; instead, Musi's testimony is offered to show the effect of those statements on the hearer,

   which in this case is the employer.").

          Mr. Lee's testimony that he received complaints about Mr. Kluge from students is not

   offered for the truth of the matter asserted in those complaints, i.e., that Mr. Kluge referred to

   students by last names only, or that he sometimes "slipped up" and used gendered names and

   honorifics. Instead, the testimony is offered to show BCSC's state of mind in considering his

   continued employment and the information upon which it acted in seeking his resignation. Mr.

   Lee's testimony is therefore admissible to that extent. See Khungar, 985 F.3d at 575; Emich

   Motors, 181 F.2d at 82; Walker, 2008 WL 2356997, at *5. See also Junior v. Anderson, 724 F.3d

   812, 814 (7th Cir. 2013) ("Testimony to what one heard, as distinct from testimony to the truth of

   what one heard, is not hearsay.").



                                                   33

                                                                                        SA-170
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 34 of 52 PageID #: 1825
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          In any event, Mr. Kluge does not (and could not) challenge the admissibility of the

   declarations provided by Aidyn and Sam, nor does he challenge the admissibility of the testimony

   by Dr. Daghe, Dr. Jessup, or Ms. Gordon stating that BCSC received complaints about Mr. Kluge's

   treatment of transgender students. Nor does he seek to exclude the minutes from the June 2018

   Board meeting, which show that Mr. Kluge and BCSC's policies concerning transgender students

   were subjects of concern for several community members. In other words, even if the Court were

   to exclude Mr. Lee's testimony that he received complaints from unnamed students, the Court's

   analysis would remain largely unchanged. 6 Finally, it is also worth noting that while Mr. Kluge

   may dispute the truth of the matter asserted in the students' complaints to the extent he maintains

   that he strictly complied with the last names only accommodation and did not refer to any students

   using their first names or gendered language, that dispute is not material. As addressed more fully

   below, the question that is ultimately dispositive of Mr. Kluge's failure to accommodate claim is

   whether, assuming perfect compliance with the last names only accommodation, that

   accommodation resulted in undue hardship to BCSC. 7


   6
     Mr. Kluge seems to imply that because he was not specifically informed of the complaints as
   they were being made and was not told who specifically was making the complaints, they did not
   exist. [See Filing No. 153 at 7 (stating that Mr. Kluge disputes that complaints were made by
   unnamed persons and teachers who did not submit sworn statements because "[n]one of these
   alleged complaints were made known to [Mr.] Kluge until after his termination" and "[n]one were
   investigated").] Mr. Kluge has identified no legal authority for his apparent belief that complaints
   must be relayed to an employee before they can be considered relevant to an employer's decision
   as to whether an undue hardship exists. Furthermore, the Seventh Circuit has previously rejected
   a similar argument, concluding that it was not a "justifiable" inference to conclude that complaints
   were illegitimate based solely on the employee's lack of knowledge of those complaints. Khungar,
   985 F.3d at 575 ("That [plaintiff] wasn't informed of each complaint tells us only that; it does not
   mean they were fictitious.").
   7
     To the extent that Mr. Kluge makes arguments concerning the credibility of certain witnesses or
   the weight their testimony should be afforded, [see Filing No. 153 at 18 ("Kluge identified
   credibility issues associated with [Aidyn]'s statement."); Filing No. 153 at 21 ("[Mr.] Lee's
   inability to identify any other students [who complained] reflects negatively on his credibility.")],
   the Court has disregarded these arguments because they are not proper at summary judgment, see,
                                                    34

                                                                                         SA-171
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 35 of 52 PageID #: 1826
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


                  b. Adverse Employment Actions

          Mr. Kluge identifies three separate purported adverse employment actions that could form

   the basis of his discrimination claim based on failure to accommodate: (1) withdrawal of the last

   names only accommodation; (2) refusal to offer or discuss other potential accommodations; and

   (3) "coerc[ion of] his resignation letter through misrepresentation." [Filing No. 114 at 23.]

   Because it can be resolved easily, the Court will deal with the last claim first.

                      i. Coercion of Resignation Through Fraud

          Any contention that Mr. Kluge's resignation was coerced through misrepresentation is

   wholly without merit. The misrepresentation, according to Mr. Kluge, is that he was led to believe

   that he could submit a conditional resignation. But this argument is not supported by the evidence.

   In dismissing Mr. Kluge's state law fraud claim, the Court has already determined that "Mr. Kluge's

   written resignation . . . was not expressly conditioned on anything, did not contain any language

   concerning his ability to withdraw it, and instead merely requested that the letter not be 'processed'

   and that no one be notified until a certain date." [Filing No. 70 at 39-40.] In other words, even if

   Mr. Kluge thought he was permitted to submit a conditional or rescindable resignation, he failed

   to actually do so. Furthermore, the evidence presented along with the summary judgment motions

   demonstrates that Ms. Gordon never told Mr. Kluge that his resignation could be conditional or

   that he could withdraw it for any reason. In fact, the transcript of the recorded conversation

   between Ms. Gordon, Mr. Kluge, and Dr. Daghe concerning "processing" of resignations shows

   that Ms. Gordon merely discussed the circumstances under which Ms. Gordon and the BCSC

   administration would respect an employee's wishes not to disclose the employee's resignation to



   e.g., Omnicare, Inc. v. UnitedHealth Grp., Inc., 629 F.3d 697, 704-05 (7th Cir. 2011) ("[D]istrict
   courts presiding over summary judgment proceedings may not 'weigh conflicting evidence,' or
   make credibility determinations, both of which are the province of the jury." (citations omitted)).
                                                    35

                                                                                          SA-172
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 36 of 52 PageID #: 1827
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   others. [See Filing No. 113-4 at 36-37.] Her email response to Mr. Kluge's resignation also does

   not state—or even imply—that Mr. Kluge could rescind his resignation. [Filing No. 15-2 at 1.]

   BCSC's Bylaws and relevant Indiana law concerning school corporation employees' resignations

   further demonstrates that a "conditional" resignation was not authorized. Accordingly, to the

   extent that Mr. Kluge suggests that Ms. Gordon lied to him as a means to coerce his resignation,

   and that such lying is somehow independently actionable as discrimination, he has presented no

   evidence to support that theory.

                      ii. Failure to Offer or Discuss Other Potential Accommodations

          To the extent that Mr. Kluge argues that BCSC discriminated against him in that it failed

   to propose an alternative accommodation, or to engage in further discussions regarding a potential

   accommodation, the law does not require it to do so. Title VII merely requires an employer to

   "show, as a matter of law, that any and all accommodations would have imposed an undue

   hardship." Adeyeye v. Heartland Sweeteners, LLC, 721 F.3d 444, 455 (7th Cir. 2013). Mr. Kluge

   points to no legal authority supporting his position that failure to offer an alternative

   accommodation or conduct discussions concerning whether an alternative accommodation may

   exist constitutes an adverse employment action that can serve as an independent basis for a

   discrimination claim. See Bell v. EPA, 232 F.3d 546, 555 (7th Cir. 2000) ("Although we define

   'adverse employment action' broadly, not everything that makes an employee unhappy is an

   actional adverse action. For an employment action to be actionable, it must be a 'significant change

   in employment status, such as hiring, firing, failing to promote, reassignment with significantly

   different responsibilities or a decision causing a significant change in benefits.'"       (quoting

   Burlington Indus. V. Ellerth, 524 U.S. 742, 761 (1998))); cf. Bolden v. Caravan Facilities Mgmt.,

   LLC, 112 F. Supp. 3d 785, 791 (N.D. Ind. 2015) (observing that although the federal regulations



                                                   36

                                                                                        SA-173
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 37 of 52 PageID #: 1828
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   implementing the American with Disabilities Act require an interactive process between the

   employer and the employee to determine the appropriate reasonable accommodation for the

   employee's disability, the plaintiff could not cite any comparable regulation imposing an

   interactive process requirement in Title VII cases).

          Similarly, Mr. Kluge has not pointed to any evidence showing that he devised or proposed

   an alternate accommodation—separate from the last names only accommodation—that BCSC

   refused to discuss with him. Accordingly, any purported discrimination claim based on a refusal

   to entertain discussions regarding the possibility of other accommodations is both legally

   unsupported and inconsistent with the evidence of record. 8

                      iii. Withdrawal of the Last Names Only Accommodation and Forced
                           Resignation

          The undisputed facts show that the last names only accommodation was withdrawn, and

   Mr. Kluge was given the choice to either resign or be terminated; it was not an option for Mr.

   Kluge to continue his employment without following the Name Policy or BCSC's other directives

   concerning transgender students. Although the Court has rejected as factually incorrect Mr.



   8
     It is also significant that Mr. Kluge has not proposed or identified any alternative accommodation
   that BCSC could have offered, and the Court cannot conceive of any such accommodation.
   Without conflating the issue of whether the failure to propose or discuss an alternative
   accommodation constitutes an independent act of discrimination with the issue of whether any
   potential reasonable accommodation exists that would not result in undue hardship to BCSC, it is
   sufficient to say that any potential alternative accommodation would succeed or fail for the same
   reasons the last names only accommodation would. The central issue in this case is whether BCSC
   could permit Mr. Kluge to refer to students by anything other than their preferred first names as
   listed in PowerSchool without incurring undue hardship. It is undisputed that Mr. Kluge refused
   to use those names, and therefore if any other potential accommodation did in fact exist, it would
   necessarily involve him not using those names. It is the very refusal to use those names that caused
   the alleged hardships addressed below. Accordingly, if BCSC can demonstrate that the last names
   only accommodation results in undue hardship, it can demonstrate that any other potential
   accommodation would result in the same undue hardship. Mr. Kluge has suggested no alternative,
   and the Court can conceive of none. For those reasons, the Court need not and will not specifically
   address the issue of other potential accommodations any further in this Order.
                                                   37

                                                                                        SA-174
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 38 of 52 PageID #: 1829
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Kluge's repeated assertion that his resignation was coerced through misrepresentation, his

   resignation was "coerced" in the sense that he had to choose between resigning and being

   terminated. BCSC does not dispute that the end of Mr. Kluge's employment, however it is

   characterized, constituted an adverse employment action for purposes of a Title VII discrimination

   claim based on failure to accommodate. See Leitgen v. Franciscan Skemp Healthcare, Inc., 630

   F.3d 668, 673 (7th Cir. 2011) ("There is no dispute that [plaintiff's] forced resignation constitutes

   an adverse employment action . . . ."). The Court will therefore treat Mr. Kluge's forced resignation

   as the relevant adverse employment action, encompassing the withdrawal of the last names only

   accommodation and the ultimate end of his employment.

                  c. Sincerity of Mr. Kluge's Beliefs

          "Title VII and courts . . . do not require perfect consistency in observance, practice, and

   interpretation when determining if a belief system qualifies as a religion or whether a person's

   belief is sincere. These are matters of interpretation where the law must tread lightly." Adeyeye

   v. Heartland Sweeteners, LLC, 721 F.3d 444, 453 (7th Cir. 2013); see also Grayson v. Schuler,

   666 F.3d 450, 454-55 (7th Cir. 2012) ("[A] sincere religious believer doesn't forfeit his religious

   rights merely because he is not scrupulous in his observance; for where would religion be without

   its backsliders, penitents, and prodigal sons?"). Nevertheless, the sincerity of an individual's

   religious belief is a question of fact that is generally not appropriate for a court to determine at

   summary judgment.        EEOC v. Union Independiente de la Autoridad de Acueductos y

   Alcantarillados de Puerto Rico, 279 F.3d 49, 56 (7th Cir. 2002). Because BCSC has shown that

   there are issues of fact as to whether Mr. Kluge's religious beliefs are sincerely held, the Court

   cannot decide that issue at this juncture. However, for purposes of this Order, the Court will




                                                    38

                                                                                         SA-175
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 39 of 52 PageID #: 1830
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   assume without deciding that Mr. Kluge's religious beliefs against referring to transgender students

   by their preferred names and pronouns are sincerely held.

                  d. Conflict Between BCSC's Policies and Mr. Kluge's Beliefs

          In Summers v. Whitis, 2016 WL 7242483, *1 (S.D. Ind. Dec. 15, 2016), plaintiff Linda

   Summers worked as a deputy clerk in the Harrison County, Indiana Clerk's Office until she was

   fired for refusing to process marriage licenses for same-sex couples based on her religious

   opposition to same-sex marriage. The Court granted summary judgment in favor of the defendants

   on Ms. Summers' failure to accommodate claim, concluding that there was no objective conflict

   between her religious belief and the requirement that she process marriage licenses for same-sex

   couples. Id. at *7. The Court emphasized that the conflict inquiry must be objective, and further

   determined that Ms. Summers was merely required to process licenses by viewing the application,

   verifying that certain information was correct, collecting a statutory fee, printing a form, and

   recording the license in a book for the public record. Id. at *5. "She was simply tasked with

   certifying—on behalf of the state of Indiana, not on her own behalf—that the couple was qualified

   to marry under Indiana law," a duty which the Court concluded was "purely administrative." Id.

   The Court emphasized that Ms. Summers was not required to perform marriage ceremonies,

   personally sign marriage certificates, attend marriage ceremonies, say congratulations, offer a

   blessing, pray with couples, or condone or express religious approval of any particular marriage.

   Id. Because there was no conflict between her religious belief and her job duties, the employer

   had no duty to accommodate Ms. Summers' beliefs. See id. ("If the employee fails to show a bona

   fide conflict, it makes no sense to speak of a duty to accommodate.") (quoting Ansonia Bd. of

   Educ. v. Philbrook, 479 U.S. 60, 76 (1986) (Stevens, J., concurring in part and dissenting in part))

   (internal quotations omitted).


                                                   39

                                                                                        SA-176
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 40 of 52 PageID #: 1831
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          In Meriwether v. Hartop, 992 F.3d 492, 492-503 (6th Cir. 2021), the Sixth Circuit

   considered whether the district court erred in dismissing a professor's claim that the small public

   university where he worked violated the First Amendment by disciplining him for refusing to refer

   to a transgender student using the student's preferred pronouns. In concluding that the professor

   had stated a claim for violation of his freedom of speech, the court rejected the university's

   argument that using a student's preferred titles and pronouns is the "type of non-ideological

   ministerial task would not be protected by the First Amendment." Id. at 507. Instead, the court

   reasoned:

          [T]itles and pronouns carry a message. The university recognizes that and wants its
          professors to use pronouns to communicate a message: People can have a gender
          identity inconsistent with their sex at birth. But Meriwether does not agree with that
          message, and he does not want to communicate it to his students. That's not a matter
          of classroom management; that's a matter of academic speech.

   Id.

          The Court agrees with BCSC that Summers provides the relevant rule that there must be an

   objective conflict between an employee's religious beliefs and his duties before the employer can

   be expected to provide a reasonable accommodation related to those beliefs. The Court disagrees,

   however, with BCSC's argument that Summers requires a finding that no such conflict exists in

   this case. It is inconsistent for BCSC to argue on one hand that referring to students by the names

   listed in PowerSchool is a purely administrative duty that does not conflict with Mr. Kluge's

   religious beliefs against affirming a person's transgender identity, while arguing on the other hand

   that Mr. Kluge's refusal to use the names listed in PowerSchool causes harm to students—and

   therefore, undue hardship to BCSC—because the students do not feel affirmed in their identities.

   Accordingly, the Court rejects BCSC's administrative task argument and concludes that Mr.




                                                   40

                                                                                         SA-177
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 41 of 52 PageID #: 1832
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Kluge's religious beliefs objectively conflict with the Name Policy and BCSC's other requirements

   concerning how faculty and staff address and refer to transgender students.

          To be clear, this conclusion is not the result of the Court's reliance on Meriwether. Without

   expressing an opinion as to the correctness of that case's holding or its application to the facts of

   this case, the Court observes that Meriwether is not binding precedent in this Circuit, that it

   involved a First Amendment claim rather than a Title VII claim, and that courts have continually

   emphasized the distinction between public K-12 schools and universities in addressing speech and

   other constitutional issues. See, e.g., Grutter v. Bollinger, 539 U.S. 306, 329 (2003) (recognizing

   that "universities occupy a special niche in our constitutional tradition").        Having already

   concluded that an objective conflict exists between BCSC's policies and Mr. Kluge's religious

   beliefs, it is unnecessary to examine any of these distinctions more closely.

                  e. Undue Hardship

          Because Mr. Kluge has established a prima facie case of discrimination based on failure to

   accommodate, the burden shifts to BCSC to demonstrate that it cannot provide a reasonable

   accommodation "without undue hardship on the conduct of [its] business." 42 U.S.C. § 2000e(j);

   Porter, 700 F.3d at 951. Requiring an employer "to bear more than a de minimis cost" or incur

   more than a "slight burden" constitutes an undue hardship. EEOC v. Walmart Stores E., L.P., 992

   F.3d 656, 658 (7th Cir. 2021) (quoting Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 84

   (1977)). "The relevant costs may include not only monetary costs but also the employer's burden

   in conducting its business." E.E.O.C. v. Oak-Rite Mfg. Corp., 2001 WL 1168156, at *10 (S.D.

   Ind. Aug. 27, 2001).




                                                    41

                                                                                         SA-178
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 42 of 52 PageID #: 1833
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


                      i. Interference with BCSC's Ability to Educate Students

          As an initial matter, the Court recognizes that BCSC is in the "business" of providing public

   education, as required by Indiana statutory and constitutional law. The Indiana Supreme Court

   has recognized that public schools play a "custodial and protective role," which has been codified

   by the legislature in passing compulsory education laws that mandate the availability of public

   education. Linke v. Nw. Sch. Corp., 763 N.E.2d 972, 979 (Ind. 2002). The Indiana Constitution

   also provides that "it shall be the duty of the General Assembly . . . to provide, by law, for a general

   and uniform system of Common Schools, wherein tuition shall be without charge, and equally

   open to all." IND. CONST. art. VIII, § 1.

          BCBS argues that Mr. Kluge's failure to address transgender students by the names and

   pronouns reflected in PowerSchool created undue hardship related to interference with its mission

   to educate students. To support its position, BCSC asks the Court to analogize the facts of this case

   to those at issue in Baz v. Walters, 782 F.2d 701 (7th Cir. 1986). In Baz, a hospital chaplain

   brought a claim under Title VII against his former employer, the Veterans Administration ("VA").

   Id. at 702. The chaplain was ultimately terminated for violating the VA's regulations against

   proselytizing; As a result of his religious beliefs, he "saw himself as an active, evangelistic,

   charismatic preacher while the chaplain service and the medical staff saw his purpose as a

   quiescent, passive listener and cautious counselor." Id. at 704. The chaplain argued that the VA

   should be required to accommodate his religious ministry, but the Seventh Circuit disagreed,

   concluding that the defendants had demonstrated that they could not accommodate the chaplain's

   religious beliefs without undue hardship and writing:

          [Defendants] have produced evidence tending to show that Reverend Baz's
          philosophy of the care of psychiatric patients is antithetical to that of the V.A. To
          accommodate Reverend Baz's religious practices, they would have to either adopt
          his philosophy of patient care, expend resources on continually checking up on

                                                     42

                                                                                            SA-179
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 43 of 52 PageID #: 1834
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


          what Reverend Baz was doing or stand by while he practices his (in their view,
          damaging) ministry in their facility. None of these is an accommodation required
          by Title VII.

   Id. at 706-07.

          The Court agrees that the analogy between BCSC as a public-school corporation and the

   VA hospital in Baz is an apt one as it relates to a court's determination of an organization's mission.

   Just as the chaplain's philosophy of patient care was directly at odds with the philosophy of his

   employer, Mr. Kluge's religious opposition to transgenderism is directly at odds with BCSC's

   policy of respect for transgender students, which is grounded in supporting and affirming those

   students. Under Baz, BCSC would not be required to adopt Mr. Kluge's views relative to the

   treatment of transgender students nor stand by while he expresses those views. Baz does not,

   however, squarely resolve this case, because the central issue here is whether the last names only

   accommodation—which presents a sort of middle ground between the opposing philosophies of

   Mr. Kluge on the one hand and BCSC on the other—results in undue hardship to BCSC. No such

   potential accommodation was addressed in Baz.

          Nevertheless, the undisputed evidence in this case demonstrates that the last names only

   accommodation indeed resulted in undue hardship to BCSC as that term is defined by relevant

   authority. Aidyn's and Sam's declarations show that Mr. Kluge's use of last names only—

   assuming, only for purposes of this Order, that Mr. Kluge strictly complied with the rules of the

   accommodation—made them feel targeted and uncomfortable. Aidyn dreaded going to orchestra

   class and did not feel comfortable speaking to Mr. Kluge directly. Other students and teachers

   complained that Mr. Kluge's behavior was insulting or offensive and made his classroom

   environment unwelcoming and uncomfortable. Aidyn quit orchestra entirely. Certainly, this

   evidence shows that Mr. Kluge's use of the last names only accommodation burdened BCSC's


                                                     43

                                                                                           SA-180
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 44 of 52 PageID #: 1835
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   ability to provide an education to all students and conflicted with its philosophy of creating a safe

   and supportive environment for all students. 9 BCSC was not required to allow an accommodation

   that unduly burdened its "business" in this manner. 10 See Erlach v. New York City Bd. of Educ.,

   1996 WL 705282, at *11 (E.D.N.Y. Nov. 26, 1996), aff'd, 129 F.3d 113 (2d Cir. 1997)

   ("interference with students' learning need not be undertaken because it constitutes 'undue

   hardship' for the employer").

          In an attempt to show that his interference with BCSC's business did not rise above the de

   minimis level, Mr. Kluge repeatedly emphasizes that many of his orchestra students were

   successful during the 2017-2018 school year in that they participated in extracurricular activities

   and won awards for their musical performances. He also submitted declarations from students and

   another teacher stating that they did not perceive any problems in Mr. Kluge's classes resulting

   from the use of last names only. These facts may well be true, and are accepted as such, but they

   are neither dispositive of nor relevant to the undue hardship question. BCSC is a public-school

   corporation and as such has an obligation to meet the needs of all of its students, not just a majority

   of students or the students that were unaware of or unbothered by Mr. Kluge's practice of using



   9
    Interestingly, Meriwether, the case upon which Mr. Kluge so vehemently relies as to the objective
   conflict issue, could fairly be read to support the existence of an undue hardship. In describing the
   relevant facts, the Sixth Circuit called the university's suggestion that the professor eliminate all
   gendered language "a practical impossibility that would also alter the pedagogical environment in
   his classroom" and noted that the professor was of the opinion that "eliminating pronouns
   altogether was next to impossible, especially when teaching." Meriwether, 992 F.3d at 499-500.
   10
     To the extent that Mr. Kluge argues that the fact that he was permitted to use the last names only
   accommodation for the full 2017-2018 school year demonstrates that the accommodation was not
   unreasonable and did not result in undue hardship, he is incorrect. BCSC attempted in good faith
   to provide an accommodation to Mr. Kluge. The fact that BCSC chose to endure the undue
   hardship resulting from that accommodation for the remainder of the school year, rather than
   ending Mr. Kluge's employment immediately when the hardship arose, does not support Mr.
   Kluge's position that the accommodation was reasonable and was not an undue hardship. BCSC
   simply honored its agreement.
                                                     44

                                                                                           SA-181
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 45 of 52 PageID #: 1836
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   last names only. BCSC has presented evidence that two specific students were affected by Mr.

   Kluge's conduct and that other students and teachers complained. And, given that Mr. Kluge does

   not dispute that refusing to affirm transgender students in their identity can cause emotional harm,

   this harm is likely to be repeated each time a new transgender student joins Mr. Kluge's class (or,

   as the case may be, chooses not to enroll in music or orchestra classes solely because of Mr. Kluge's

   behavior). As a matter of law, this is sufficient to demonstrate undue hardship, because if BCSC

   is not able to meet the needs of all of its students, it is incurring a more than de minimis cost to its

   mission to provide adequate public education that is equally open to all. 11

                       ii. Potential for Liability

           Title VII does not require employers to provide accommodations that would place them

   "on the 'razor's edge' of liability." Matthews v. Wal-Mart Stores, Inc., 417 F. App'x 552, 554 (7th

   Cir. 2011) (citing Flanagan v. Ashcroft, 316 F.3d 728, 729-30 (7th Cir. 2003)). See also E.E.O.C.




   11
      Mr. Kluge repeatedly characterizes Aidyn's, Sam's, and others' complaints about Mr. Kluge's
   conduct as impermissible "heckler's vetoes." [E.g., Filing No. 153 at 19 ("The complaints from
   Aidyn Sucec and Sam Willis are 'heckler's vetoes,' not evidence of an undue burden or a negative
   impact on the learning environment.").] The "heckler's veto" doctrine is a concept of First
   Amendment law providing that although the government may take action to preserve order when
   unpopular speech is disruptive, it cannot restrict speech merely to prevent another party from
   reacting adversely. See Ovadal v. City of Madison, 416 F.3d 531, 537 (7th Cir. 2005) ("The police
   must permit the speech and control the crowd; there is no heckler's veto.") (internal quotations and
   citation omitted). The Court has already dismissed Mr. Kluge's First Amendment freedom of
   speech claim, [Filing No. 70 at 13-15], and Mr. Kluge has not provided any legal authority in
   support of his belief that the heckler's veto doctrine applies in the Title VII context. In any event,
   it makes no sense to apply that concept here. Mr. Kluge asserts that if the Court were to allow a
   heckler's veto and conclude that "emotional discomfort constituted an undue burden, employers
   would be able to skirt their duty to accommodate at will, simply by finding an employee offended
   at the accommodation." [Filing No. 153 at 19.] But the Title VII standard requires the Court to
   consider the impact of any proposed accommodation—including by taking into account the
   reaction of any so-called "hecklers"—to determine whether undue hardship exists. And, as
   discussed above, people were not merely "offended" by Mr. Kluge's conduct, the undisputed
   evidence establishes that his conduct actively interfered with BCSC's mission to provide a safe
   and supportive educational environment. Mr. Kluge's slippery slope argument is not persuasive.
                                                     45

                                                                                            SA-182
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 46 of 52 PageID #: 1837
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   v. Oak-Rite Mfg. Corp., 2001 WL 1168156, at *10 (S.D. Ind. Aug. 27, 2001) (noting that undue

   hardship can be established by showing "that the proposed accommodation would either cause or

   increase . . . the risk of legal liability for the employer"); Sutton v. Providence St. Joseph Med.

   Ctr., 192 F.3d 826, 830 (9th Cir. 1999) ("[C]ourts agree that an employer is not liable under Title

   VII when accommodating an employee's religious beliefs would require the employer to violate

   federal or state law.").

           In Whitaker ex rel. Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d

   1034, 1038-39 (7th Cir. 2017), the Seventh Circuit considered whether the district court erred in

   granting preliminary injunctive relief to a transgender student who brought claims under Title IX

   of the Education Amendments Act of 1972 and the Fourteenth Amendment's Equal Protection

   Clause, alleging that his school district discriminated against him by not permitting him to use the

   boys' restroom. In affirming the district court's decision, the Seventh Circuit concluded that the

   student was likely to succeed on his discrimination claims, the court recognized that discrimination

   on the basis of transgender status is actionable under Title IX. Id. at 1047-50.

           In this case, continuing to allow Mr. Kluge an accommodation that resulted in complaints

   that transgender students felt targeted and dehumanized could potentially have subjected BCSC to

   a Title IX discrimination lawsuit brought by a transgender student. 12 Whether such lawsuit would


   12
      Mr. Kluge emphasizes that there is no evidence that Ms. Gordon or any other BCSC employee
   ever investigated claims of discrimination by transgender students. [E.g., Filing No. 153 at 29.]
   However, there was never any question that Mr. Kluge was refusing to call transgender students
   by their preferred pronouns or the names listed in PowerSchool, as Mr. Kluge himself initially and
   repeatedly informed BCSC and BHS officials of his religious objections to doing so. In other
   words, it is unclear why the BCSC administration would have needed to conduct any investigation
   into students' complaints. Mr. Kluge not only confirmed that the complained of conduct was
   occurring, he represented that he would not change his behavior, and expressed satisfaction when
   the complaints occurred. Accordingly, the failure to investigate does not undercut BCSC's claim
   that permitting the last names only accommodation increased its risk of being sued for
   discrimination.

                                                   46

                                                                                        SA-183
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 47 of 52 PageID #: 1838
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   ultimately have been successful is not for the Court to decide at this juncture, as it is sufficient that

   the state of the law during Mr. Kluge's employment created a risk of liability, and BCSC

   considered that risk in determining how to resolve Mr. Kluge's objections to the policies

   concerning transgender students. 13 The increased risk of liability also constitutes an undue

   hardship that Title VII does not require BCSC to bear.

           In sum, BCSC has demonstrated as a matter of law that it cannot accommodate Mr. Kluge's

   religious belief against referring to transgender students using their preferred names and pronouns

   without incurring undue hardship.        Accordingly, Mr. Kluge's Motion for Partial Summary

   Judgment is DENIED, and BCSC's Cross-Motion for Summary Judgment is GRANTED as to

   Mr. Kluge's failure to accommodate claim.

               2. Retaliation Claim

           In its Cross-Motion/Response, BCSC argues that Mr. Kluge cannot establish a prima face

   case of retaliation because no reasonable jury could conclude that protected activity—specifically,

   asking for religious accommodations in July 2017—was causally connected to Mr. Kluge's

   employment ending in June 2018. [Filing No. 121 at 44-45.] BCSC points out that it never

   rescinded its accommodation regarding uniforms, and there is no evidence of complaints

   concerning that accommodation, which demonstrates that the last names only arrangement was

   withdrawn because of complaints causing undue hardship, not because of hostility to Mr. Kluge's

   religious beliefs or because of his request for accommodations. [Filing No. 121 at 45.] Even if

   the Court determines that Mr. Kluge can establish a prima facie case of retaliation, BCSC argues,



   13
     Although the issue was not specifically raised by the parties, the Court notes that the United
   States Supreme Court has recognized "the fundamental right of parents to make decisions
   concerning the care, custody, and control of their children." Troxel v. Granville, 530 U.S. 57, 66
   (2000). BCSC's Name Policy clearly respected that right, allowing a name change in PowerSchool
   only with parental permission.
                                                      47

                                                                                            SA-184
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 48 of 52 PageID #: 1839
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   summary judgment should be granted in BCSC's favor because it has articulated a legitimate

   nondiscriminatory reason for its actions and Mr. Kluge has not submitted evidence from which a

   reasonable jury could find pretext. [Filing No. 121 at45.] According to BCSC, the fact that it did

   not disclose to Mr. Kluge the identity of the individuals who complained about the use of last

   names only is not evidence of pretext, and Mr. Kluge's subjective perceptions that there was no

   tension with students or faculty do not create a genuine issue of material fact as to pretext given

   the evidence of complaints. [Filing No. 121 at 45-46.]

          In his Response/Reply, Mr. Kluge asserts that he engaged in statutorily protected activity

   by: (1) identifying a sincerely held religious belief that conflicted with the Name Policy;

   (2) offering the last names only accommodation; and (3) asking the BCSC administration to

   confirm in February 2018 that the last names only accommodation was still valid. [Filing No. 153

   at 30.] He argues that, as a result of engaging in those activities, he "suffered an adverse

   employment action when BCSC removed his last-names only accommodation without even

   claiming any undue hardship, demanded his resignation unless he violated his beliefs, refused to

   investigate his allegations of discrimination, and coerced him into submitting a conditional

   resignation they promised not to process until a certain date." [Filing No. 153 at 30.]

          In its Reply, BCSC argues that Mr. Kluge's Response/Reply "does not challenge [BCSC]'s

   lack-of-pretext argument or otherwise attempt to demonstrate pretext," and therefore he has

   waived any opposition to those arguments and such waiver is fatal to his retaliation claim. [Filing

   No. 150 at 17.] BCSC also contends that Mr. Kluge's argument that retaliation is evidenced by

   alleged misrepresentations related to Mr. Kluge's ability to submit a "conditional" resignation is

   based on an inaccurate recitation of the facts, because it is undisputed that Ms. Gordon never told

   Mr. Kluge that he could withdraw his resignation whenever he pleased, and in dismissing Mr.



                                                   48

                                                                                        SA-185
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 49 of 52 PageID #: 1840
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   Kluge's state law fraud claim the Court has already concluded that Mr. Kluge did not condition his

   resignation on anything. [Filing No. 150 at 17-18.]

          "To succeed on a Title VII retaliation claim, a plaintiff must produce enough evidence for

   a reasonable jury to conclude that (1) [he] engaged in a statutorily protected activity; (2) the

   [employer] took a materially adverse action against [him]; and (3) there existed a but-for causal

   connection between the two." Robertson v. Dep't of Health Servs., 949 F.3d 371, 378 (7th Cir.

   2020) (internal quotations and citations omitted) (second alteration in original). Once the plaintiff

   establishes a prima facie case of retaliation, the employer may produce evidence that would permit

   a factfinder to conclude that it had a non-discriminatory reason for taking the adverse employment

   action. Id. (citation omitted). If the employer does so, the burden shifts to the plaintiff to produce

   evidence that would permit a factfinder to determine that the legitimate reason offered by the

   employer was pretextual. Id.

          At the outset, the Court notes that Mr. Kluge's briefing on his retaliation claim is meager,

   totaling less than three pages and merely reiterating his version of the facts he believes to be

   relevant without discussion of how those facts meet the requirements of a retaliation claim. 14 Mr.

   Kluge also does not address the argument raised by BCSC that there is no evidence from which a

   reasonable factfinder could infer pretext. These issues alone provide a sufficient basis to grant

   summary judgment in favor of BCSC on the retaliation claim. See, e.g., Lee v. Chicago Youth

   Centers, 69 F. Supp. 3d 885, 889 (N.D. Ill. 2014) (recognizing that Seventh Circuit precedent

   "consistently holds that undeveloped, unsupported, perfunctory, or skeletal arguments in briefs are




   14
     Curiously, although Mr. Kluge did not move for summary judgment in his favor on this claim,
   he also did not assert or attempt to show that summary judgment in BCSC's favor is inappropriate
   because, for example, disputed issues of fact remain. [See Filing No. 153 at 30-32.]

                                                    49

                                                                                          SA-186
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 50 of 52 PageID #: 1841
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   waived"). The Court finds Mr. Kluge has waived any argument in opposition to BCSC's motion

   for summary judgment as to his retaliation claim, and grants its motion.

          In addition, in concluding that Mr. Kluge's retaliation claim should not be dismissed for

   failure to state a claim, the Court reasoned that it was plausible based on the allegations contained

   in the Amended Complaint "that school officials, over time, became less inclined to tolerate Mr.

   Kluge's religious beliefs and used the idea of student complaints as a pretext to withdraw the last-

   names-only arrangement, refuse to provide another accommodation to which Mr. Kluge was

   entitled, and force him to resign." [Filing No. 70 at 29.] The Court made clear, however, that it

   was "assuming that Mr. Kluge's allegations concerning pretext [were] supported by a good-faith

   basis for asserting them and warn[ed] that the revelation that they were not could have

   consequences under Federal Rule of Civil Procedure 11 and 28 U.S.C § 1927." [Filing No. 70 at

   29 n.9.] That warning makes Mr. Kluge's failure to attempt to produce evidence of pretext—or

   even address BCSC's pretext argument at all in his Response/Reply brief—all the more perplexing.

          In any event, Mr. Kluge has not presented evidence from which a reasonable factfinder

   could conclude that a causal connection exists between Mr. Kluge's protected activity and his

   ultimate resignation, 15 that any of BCSC's reasons for the actions it took against Mr. Kluge were

   pretextual, or that any of BCSC's action were motivated by retaliatory animus. "It is not

   unreasonable for [a school] to expect that its instructors will teach classes in a professional manner

   that does not distress students," Smiley v. Columbia Coll. Chicago, 714 F.3d 998, 1002 (7th Cir.



   15
     Mr. Kluge also asserts in one of the headings in his brief that BCSC retaliated against him "by
   misrepresenting material facts in order to secure his resignation." [Filing No. 153 at 30
   (capitalization omitted).] For the reasons discussed above, the Court rejects this argument because
   the evidence establishes that Ms. Gordon did not make any misrepresentations and that despite his
   repeated assertions to the contrary, Mr. Kluge's resignation was not conditional, it merely had a
   delayed effective date. The adverse actions at issue are BCSC's withdrawal of the last names only
   accommodation and his forced resignation.
                                                    50

                                                                                          SA-187
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 51 of 52 PageID #: 1842
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   2013), and nothing in the record suggests that BCSC officials were acting with any motive other

   than to ensure such was the case. The undisputed evidence shows that Mr. Kluge initially sought

   two accommodations based on his religious objections to affirming transgenderism—the last

   names only accommodation and the exemption from handing out gender specific uniforms—and

   received what he asked for. Only after BCSC received complaints about the last names only

   accommodation did the administration seek to withdraw it, and even then, Mr. Kluge was not

   immediately terminated but was permitted to finish out the academic year. Dr. Daghe offered to

   write Mr. Kluge letters of recommendation to help him find a new position. BCSC never withdrew

   the uniform accommodation, and there is nothing in the record to suggest that any member of the

   school community complained about that accommodation.               Furthermore, the evidence is

   undisputed that BCSC and BHS administrators were acting because of complaints received from

   the school community, and there is nothing in the record to suggest that the complaints were

   fabricated or that another motive was possible. "Pretext does not exist if the decision-maker

   honestly believed the nondiscriminatory reason for its employment action." Id. at 1005.

            Based on the foregoing, BCSC is entitled to judgment as a matter of law on Mr. Kluge's

   retaliation claim, and BCSC's Cross-Motion for Summary Judgment is GRANTED as to that

   claim.

                                                 IV.
                                              CONCLUSION

            So, what's in a name? This Court is ill-equipped to answer that question definitively, but

   for the reasons articulated in this Order, it concludes that a name carries with it enough importance

   to overcome a public school corporation's duty to accommodate a teacher's sincerely held religious

   beliefs against a policy that requires staff to use transgender students' preferred names when

   supported by a parent and health care provider. Because BCSC did not coerce Mr. Kluge's

                                                    51

                                                                                         SA-188
Case 1:19-cv-02462-JMS-DLP Document 159 Filed 07/12/21 Page 52 of 52 PageID #: 1843
          Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


   resignation by misrepresentation and could not accommodate Mr. Kluge's religious beliefs without

   sustaining undue hardship, and because Mr. Kluge has failed to make a meaningful argument or

   adduce evidence in support of a claim for retaliation, BCSC's Cross-Motion for Summary

   Judgment, [120], is GRANTED and Mr. Kluge's Motion for Partial Summary Judgment, [112], is

   DENIED. And because empirical data from non-parties concerning the importance of honoring a

   transgender student's preferred name and pronouns was not necessary to resolve the issues

   currently before the Court, Movants' Motion for Leave to File Brief of Amici Curiae, [131], is also

   DENIED. Finally, BCSC's Motion to Vacate and Continue Final Pre-Trial Conference and Trial,

   [156], is DENIED AS MOOT. Final judgment shall issue accordingly.




          Date: 7/12/2021




   Distribution via ECF only to all counsel of record




                                                   52

                                                                                       SA-189
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 1 of 51 PageID #: 623
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

   JOHN M. KLUGE,                                )
                                                 )
                               Plaintiff,        )
                                                 )
                       vs.                       )
                                                 )
   BROWNSBURG COMMUNITY SCHOOL                   )     No. 1:19-cv-2462-JMS-DLP
   CORPORATION,                                  )
   JAMES SNAPP,                                  )
   PHIL UTTERBACK,                               )
   JODI GORDON, and                              )
   BRET DAGHE,                                   )
                                                 )
                               Defendants.       )

                                             ORDER

        John M. Kluge, a former music and orchestra teacher at Brownsburg High School

 (“BHS”), filed this action against Brownsburg Community School Corporation (“BCSC”) and

 several of its employees, alleging that he was discriminated against and ultimately forced to

 resign because his sincerely-held religious beliefs prevented him from following a school policy

 that required him to address transgender students by their preferred names and pronouns. [Filing

 No. 15.] Defendants have filed a Motion to Dismiss all of Mr. Kluge’s claims. [Filing No. 44.]

 In addition, Indiana Youth Group, Inc. (“IYG”), an organization that supports LGBTQ youth in

 Indiana, has moved to intervene as a defendant in this action, [Filing No. 22], and has sought

 leave to file its own motion to dismiss, [Filing No. 55]. These motions are now ripe for the

 Court’s decision.




                                                1

                                                                                   SA-190
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 2 of 51 PageID #: 624
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


                                            I.
                               DEFENDANTS’ MOTION TO DISMISS

        A. Standard of Review

        The Federal Rules of Civil Procedure require only a “short and plain statement of the

 claim showing that the pleader is entitled to relief.” Erickson v. Pardus, 551 U.S. 89, 93 (2007)

 (quoting Fed. R. Civ. P. 8(a)(2)). To that end, the complaint need only provide the defendant

 with “fair notice of what the . . . claim is and the grounds upon which it rests.” Erickson, 551

 U.S. at 93 (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007)) (internal quotation

 marks omitted). In order to survive a motion to dismiss under Federal Rule of Civil Procedure

 12(b)(6), the complaint must contain allegations that collectively “state a claim to relief that is

 plausible on its face.” Id. (internal quotations omitted) (quoting Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009)). “A claim has facial plausibility when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). “Threadbare recitals of the

 elements of a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal,

 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

        In reviewing the sufficiency of a complaint, the Court must accept all well-pled facts as

 true and draw all permissible inferences in favor of the plaintiff. Alarm Detection Sys., Inc. v.

 Vill. of Schaumburg, 930 F.3d 812, 821 (7th Cir. 2019). This review is “a context-specific task

 that requires the reviewing court to draw on its judicial experience and common sense.” Munson

 v. Gaetz, 673 F.3d 630, 633 (7th Cir. 2012).




                                                 2

                                                                                     SA-191
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 3 of 51 PageID #: 625
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


        B. Background

        Consistent with the standard of review described above, the following allegations from

 Mr. Kluge’s Amended Complaint are accepted as true for purposes of deciding Defendants’

 Motion to Dismiss. The allegations in this section are those common to all of Mr. Kluge’s

 claims, and his additional, claim-specific allegations will be recounted as necessary in relation to

 each of his claims below.

        Mr. Kluge became employed by BCSC as a music and orchestra teacher at BHS in

 August of 2014, and throughout his employment has received positive performance evaluations

 and met and exceeded BCSC’s legitimate expectations. [Filing No. 15 at 5.] His students have

 received multiple awards for their musical performances. [Filing No. 15 at 6.]

        Mr. Kluge “is a professing evangelical Christian who strives to live by his faith on a daily

 basis,” and has practiced that faith since before he was employed by BCSC. [Filing No. 15 at 5-

 6.] His “faith governs the way he thinks about human nature, marriage, gender, sexuality,

 morality, politics, and social issues, and it causes him to hold sincerely-held religious beliefs in

 these areas” that are “drawn from the Bible.” [Filing No. 15 at 6.] Specifically, “Mr. Kluge

 believes that God created mankind as either male or female, that this gender is fixed in each

 person from the moment of conception, and that it cannot be changed, regardless of an

 individual’s feelings or desires.” [Filing No. 15 at 6.] “Mr. Kluge also believes he cannot affirm

 as true ideas and concepts that he deems untrue and sinful, as this would violate Biblical

 injunctions against dishonesty, lying, and effeminacy.” [Filing No. 15 at 7.]




                                                  3

                                                                                      SA-192
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 4 of 51 PageID #: 626
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


        During the summer of 2017, BCSC began to allow transgender students and students

 experiencing gender dysphoria 1 to use the restroom of their choice and to change their names

 and genders in the BCSC database known as PowerSchool. [Filing No. 15 at 7.] Name changes

 in the PowerSchool database required a letter from the student’s parent(s) and a letter from a

 healthcare professional. [Filing No. 15-4.] 2 BCSC employees, including Mr. Kluge, were

 instructed to refer to students using the names and genders listed in the PowerSchool database,

 which Mr. Kluge believes constitute preferred names “based upon the students’ gender

 dysphoria.” [Filing No. 15 at 7; Filing No. 15-4 at 6.]

        In July 2017, Mr. Kluge informed BCSC Superintendent Dr. James Snapp that the

 requirement that he use the students’ names as listed in PowerSchool (“the Policy”) conflicted

 with his religious beliefs against affirming gender dysphoria, and Dr. Snapp responded that Mr.

 Kluge could either “use the transgender names, say he was forced to resign from BCSC, or be

 terminated without pay.” [Filing No. 15 at 7-8.] Because Mr. Kluge refused to use the names

 listed in PowerSchool, Dr. Snapp initiated an administrative leave of absence for Mr. Kluge and

 Dr. Bret Daghe, the principal of BHS, “issued Mr. Kluge an ultimatum . . . mandating the use of

 transgender preferred names, and giving Mr. Kluge [three days] to decide if he would comply.”

 [Filing No. 15 at 8.] Mr. Kluge then requested “an accommodation for his religious beliefs,” and

 proposed the solution of “addressing all students by their last names only, similar to a sports

 coach.” [Filing No. 15 at 8.] Dr. Snapp and Jodi Gordon, the BCSC Human Resources Director,


 1
   “Gender dysphoria” is “an acute form of mental distress stemming from strong feelings of
 incongruity between one’s anatomy and one’s gender identity.” Campbell v. Kallas, 936 F.3d
 536, 538 (7th Cir. 2019) (citing Am. Psychiatric Ass’n, Diagnostic & Statistical Manual of
 Mental Disorders 451 (5th ed. 2013)).
 2
  The documents attached to the Amended Complaint and referenced therein are considered part
 of the pleadings for purposes of deciding a Rule 12(b)(6) motion to dismiss. Bogie v. Rosenberg,
 705 F.3d 603, 609 (7th Cir. 2013).
                                                  4

                                                                                   SA-193
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 5 of 51 PageID #: 627
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


 agreed in writing to allow Mr. Kluge to address all students by their last names only (“the last-

 names-only arrangement”) and assigned someone to distribute gender-specific uniforms to

 students so Mr. Kluge would not have to. [Filing No. 15 at 8; Filing No. 15-1.] Despite this

 agreement, the school board retroactively administered a two-day suspension in response to Dr.

 Snapp’s previous action. [Filing No. 15 at 8.]

        On December 13, 2017, Mr. Kluge met with Dr. Daghe, at which time Dr. Daghe

 informed Mr. Kluge that the last-names-only arrangement had created “tension” and that Mr.

 Kluge should resign by the end of the school year. [Filing No. 15 at 9.] However, Mr. Kluge

 alleges that the last-names-only arrangement created no undue hardship for Defendants, and no

 Defendant identified in writing any undue hardship that was purportedly caused. [Filing No. 15

 at 9.] Instead, he asserts, “nothing dramatic occurred” between July and December 2017, and

 there were no student protests, written complaints, classroom disturbances, or cancelled classes.

 [Filing No. 15 at 9.] Instead, that last-names-only arrangement “worked as intended and Mr.

 Kluge’s students excelled,” with his extra-curricular program experiencing “record numbers of

 participation” and his students winning awards and gold ratings. [Filing No. 15 at 9.]

        According to Mr. Kluge, “Defendants simply decided not to accommodate or tolerate

 [his] sincerely-held religious beliefs any longer,” and Ms. Gordon informed him that the last-

 names-only arrangement was being withdrawn because “students were offended at the use of last

 names.” [Filing No. 15 at 9-10.] Mr. Kluge asserts that Ms. Gordon provided no evidence that

 students were offended and maintains that he “never told his students why he was referring to

 them by their last names.” [Filing No. 15 at 10.] Mr. Kluge again attempted to explain “that he

 believes encouraging students to present themselves as the opposite sex by calling them an

 opposite-sex first name is sinful and potentially harmful to the students,” but Ms. Gordon



                                                  5

                                                                                     SA-194
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 6 of 51 PageID #: 628
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


 advised him that he could either resign by May 1, 2018 and be paid over the summer or be fired

 without pay. [Filing No. 15 at 10.] He states that Defendants’ contentions that the last-names-

 only arrangement created tension or offended students were not based in fact but were simply

 pretexts for religious discrimination. [Filing No. 15 at 14.]

        Mr. Kluge alleges that Ms. Gordon “agreed that he could submit a conditional

 resignation” and agreed that his resignation, which he submitted on April 30, 2018, “would not

 be processed or shown to anyone, including any administrator, until May 28, 2018.” [Filing No.

 15 at 10-11.]    On May 25, 2018, Mr. Kluge delivered a time-stamped rescission of his

 resignation, and, despite receiving the rescission, Ms. Gordon “processed” Mr. Kluge’s

 resignation anyway. [Filing No. 15 at 11.] Mr. Kluge alleges that when Defendants told him

 that he could submit a conditional resignation, then accepted his conditional resignation, “they

 had no intention of honoring the conditions he attached to his resignation, but instead planned on

 treating [his] resignation as unconditional upon receipt and claiming that he voluntarily resigned

 his position.” [Filing No. 15 at 11.] BCSC and the School Board accepted Mr. Kluge’s

 resignation as if it was submitted unconditionally. [Filing No. 15 at 11.] On May 25, 2018,

 Defendants locked Mr. Kluge out of all BCSC buildings, revoked his access to the school’s

 internet, and posted his job as vacant. [Filing No. 15 at 12.]

        Mr. Kluge alleges that most of BCSC’s policies and practices relating to students with

 gender dysphoria are “informal and unwritten.” [Filing No. 15 at 12.] Furthermore, he asserts

 that the policies provide “few objective guidelines, standards, or criteria for school employees

 . . . to use when deciding what constitutes gender dysphoria or gender discrimination, thereby

 granting Defendants overbroad discretion to restrict expression.” [Filing No. 15 at 12.] He

 states that, at a faculty meeting in early 2018, BCSC distributed an 11-page document titled



                                                  6

                                                                                    SA-195
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 7 of 51 PageID #: 629
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


 “Transgender Questions,” which identifies BCSC’s policies regarding transgender students and

 provides answers to questions submitted by faculty members. [Filing No. 15 at 12.] That

 document is attached to the Amended Complaint. [Filing No. 15-4.] According to Mr. Kluge,

 no earlier written policy with the same title was issued. [Filing No. 15 at 12.]

        Mr. Kluge asserts that the “Transgender Questions” policy is “vague and overbroad in

 many respects,” and cites as an example the fact that the policy allows “fully transitioned”

 students to use the dressing room of their chosen gender but does not define “fully transitioned”

 or instruct faculty as to whether to require some proof from a student who claims to be “fully

 transitioned” or simply take the student’s word. [Filing No. 15 at 12-13.] Mr. Kluge also points

 out that the policy instructs faculty to use names that the “students choose as part of their gender

 dysphoria” and quotes the following information from the policy, in question and answer format:

        Are we allowed to use the student’s last name only?
        We have agreed to this for the 2017-2018 school year, but moving forward it is
        our expectation that the student will be called by the first name listed in
        PowerSchool;

        Can teachers refuse to call the student by his/her preferred name?
        Staff members need to call students by name in PowerSchool;

        How do teachers break from their personal biases and beliefs so that we can
        best serve our students?
        We know this is a difficult topic for some staff members, however, when you
        work in a public school, you sign up to follow the law and the policies/practices
        of that organization and that might mean following practices that are different
        than your beliefs.

 [Filing No. 15 at 13-14; Filing No. 15-4 at 9-10.] According to Mr. Kluge, the “Transgender

 Questions” document establishes that BCSC’s “formal policy was not to allow [Mr.] Kluge’s

 last-name only accommodation—not because it created any undue hardship but because it

 violated the policy.” [Filing No. 15 at 14.]

                                                  7

                                                                                      SA-196
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 8 of 51 PageID #: 630
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


        Mr. Kluge asserts that all of Defendants’ formal and informal policies concerning

 transgender students “attempt to regulate and compel the expression of individual faculty

 members . . . beyond any quantifiable need in educating students.” [Filing No. 15 at 15.] He

 alleges that “Defendants, by policy and practice, apply their speech code policies to regulate all

 interactions faculty members have with students in the classroom or within the school.” [Filing

 No. 15 at 15.] He asserts that “Defendants’ directive . . . that he either communicate [BCSC’s]

 ideological message regarding gender dysphoria, resign, or be fired” left him to make an

 “untenable choice” between following his sincerely-held religious beliefs or maintaining his

 employment, and that Defendants’ removal of his “successful” last-names-only arrangement

 based on the alleged complaints of students “does not amount to hardship, but is an

 impermissible ‘heckler’s veto.’” 3 [Filing No. 15 at 15.]

        Based on these allegations, Mr. Kluge asserts thirteen claims for relief: (1) religious

 discrimination based on failure to accommodate under Title VII of the Civil Rights Act of 1964,

 as amended, 42 U.S.C. § 2000e et seq.; (2) retaliation under Title VII; (3) hostile work

 environment under Title VII; (4) retaliation under the First Amendment; (5) content and

 viewpoint discrimination under the First Amendment; (6) compelled speech under the First

 Amendment; (7) violation of his right to the free exercise of religion under the First Amendment;

 (8) violation of the right to be free from unconstitutional conditions; (9) violation of the right to

 due process under the Fourteenth Amendment; (10) violation of the right to equal protection

 under the Fourteenth Amendment; (11) violations of the rights of conscience and free exercise of



 3
   The “heckler’s veto” doctrine is the idea that, while the government may preserve order when
 unpopular speech is disruptive, it cannot restrict speech merely to prevent another party from
 reacting adversely. See Ovadal v. City of Madison, Wis., 416 F.3d 531, 537 (7th Cir. 2005) (“The
 police must permit the speech and control the crowd; there is no heckler’s veto.”) (internal
 quotations and citation omitted).
                                                  8

                                                                                       SA-197
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 9 of 51 PageID #: 631
        Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


 religion under the Indiana Constitution; (12) intentional infliction of emotional distress under

 Indiana common law; and (13) fraud under Indiana common law. [Filing No. 15 at 17-31.]

 Defendants have moved to dismiss all thirteen claims. [Filing No. 44.]

        C. Discussion

        At the outset, the Court notes that Mr. Kluge has conceded that dismissal of his claims

 against the individual Defendants in their official capacities and his equal protection claim

 against all Defendants is warranted. [Filing No. 57 at 11-12; Filing No. 57 at 31.] Accordingly,

 all claims against the individual Defendants in their official capacities are DISMISSED. In

 addition, the equal protection claim against all Defendants is also DISMISSED. The remaining

 claims against BCSC will be addressed in turn, although, in the interest of clarity, they will be in

 different order than presented in the Amended Complaint.

            1. First Amendment Speech Claims (Counts 4, 5, and 6)

        Mr. Kluge asserts three separate claims for violations of his right to freedom of speech

 under the First Amendment.       First, in Count 4, Mr. Kluge alleges that, by punishing and

 threatening to punish him “for expressing his views regarding gender dysphoria,” BCSC

 retaliated against him for engaging in protected speech. [Filing No. 15 at 19.] Second, in Count

 5, Mr. Kluge asserts that BCSC discriminated against him by disciplining him due to the content

 and viewpoint of his speech. [Filing No. 15 at 20-22.] Finally, in Count 6, he alleges that, by

 punishing or threatening to punish him “for refusing to communicate a school corporation-

 mandated ideological message regarding gender dysphoria,” BCSC compelled him to

 communicate messages about gender dysphoria with which he disagreed. [Filing No. 15 at 22.]

        In relevant part, BCSC argues that all of Mr. Kluge’s First Amendment speech claims fail

 because his refusal to address students by the names and genders listed in PowerSchool is not


                                                  9

                                                                                      SA-198
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 10 of 51 PageID #: 632
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  protected speech under the First Amendment. [Filing No. 45 at 13-18.] Specifically, it argues

  that, as a matter of law, Mr. Kluge was speaking in his capacity as a public-school teacher—not

  as a private citizen—when addressing students.         [Filing No. 45 at 14-16.]     Furthermore,

  according to BCSC, addressing students in the classroom does not constitute a matter of public

  concern. [Filing No. 45 at 16-17.]

         Mr. Kluge responds that his speech is indeed protected under the First Amendment.

  [Filing No. 57 at 21; Filing No. 57 at 26.] Specifically, he argues that “[i]n speaking and

  refusing to speak on the mental disorder known as gender dysphoria, [he] spoke as a citizen on a

  matter of public concern.” [Filing No. 57 at 21.] He asserts that “gender identity” is a matter of

  great public importance, and his official teaching duties did not include the use of “transgender

  names” or “a school-mandated message approving ‘affirmance therapy’ by the use of

  transgender names which were not students’ legal names.” [Filing No. 57 at 21-22.] He further

  asserts that neither his ability to teach music and orchestra nor his method of teaching hinged on

  the use of students’ first or last names, pronouns, or honorifics. [Filing No. 57 at 22.] Mr. Kluge

  also argues that BCSC cannot now claim that using the first names listed in PowerSchool was

  part of his official duties, because it agreed to allow him to address students by last names only

  for a period of time. [Filing No. 57 at 22-23.]

         In reply, BCSC reiterates the arguments raised in its initial brief, and asserts in relevant

  part that requiring faculty to address students in a consistent manner is “plainly related to

  [BCSC’s] pedagogical interest in having classroom instruction proceed efficiently.” [Filing No.

  60 at 8-9.]

         “When a citizen enters government service, the citizen by necessity must accept certain

  limitations on his or her freedom.” Garcetti v. Ceballos, 547 U.S. 410, 418 (2006) (citation



                                                    10

                                                                                      SA-199
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 11 of 51 PageID #: 633
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  omitted). Nevertheless, “[t]he [Supreme] Court has made clear that public employees do not

  surrender all their First Amendment rights by reason of their employment.” Id. at 417 (collecting

  cases).     “Rather, the First Amendment protects a public employee’s right, in certain

  circumstances, to speak as a citizen addressing matters of public concern.”              Id.   The

  determination of whether a public employee’s speech is constitutionally protected is a question

  of law. E.g., Kubiak v. City of Chicago, 810 F.3d 476, 481 (7th Cir. 2016).

            In Pickering, the Supreme Court considered whether the termination of a public-school

  teacher based on a letter he wrote to a local newspaper violated the First Amendment. Pickering

  v. Bd. of Ed. of Twp. High Sch. Dist. 205, Will Cty., Illinois, 391 U.S. 563, 565-66 (1968). In

  doing so, the Court sought to balance “the interests of the teacher, as a citizen, in commenting

  upon matters of public concern and the interest of the State, as an employer, in promoting the

  efficiency of the public services it performs through its employees.” Id. at 568. The Court

  characterized the statements contained in the teacher’s letter as concerning issues “currently the

  subject of public attention,” which were critical of his employer but were “neither shown nor . . .

  presumed to have in any way either impeded the teacher’s proper performance . . . or to have

  interfered with the regular operation of the schools,” and, therefore, “the interest of the school

  administration in limiting teachers’ opportunities to contribute to public debate [was] not

  significantly greater than its interest in limiting a similar contribution by any member of the

  general public.” Id. at 572-73. Accordingly, firing the teacher based on the contents of his letter

  violated the First Amendment. Id. at 573-75.

            From Pickering and its progeny, the Supreme Court has distilled a two-part inquiry to

  analyze the constitutional protection accorded to public employee speech. Garcetti, 547 U.S. at

  418. The first step is to determine whether the employee spoke as a citizen on a matter of public



                                                  11

                                                                                      SA-200
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 12 of 51 PageID #: 634
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  concern. Id. (citation omitted). If the answer is “no,” the employee has no First Amendment

  cause of action based on the employer’s reaction to the speech. Id. (citation omitted). If the

  answer is “yes,” then the possibility of a First Amendment claim arises, and the second step is to

  determine whether the government entity had an adequate justification for treating the employee

  differently from any other member of the general public. Id. (citation omitted).

         When considering whether an employee spoke as a private citizen, the fact that the

  employee spoke inside his workplace, rather than publicly, is not dispositive. Id. at 420. Neither

  is the fact that the speech “concerned the subject matter of [his] employment.” Id. at 421.

  However, “when public employees make statements pursuant to their official duties, the

  employees are not speaking as citizens for First Amendment purposes, and the Constitution does

  not insulate their communications from employer discipline.” Id. Determining the official

  duties of an employee requires “a practical inquiry into what duties the employee is expected to

  perform.” Houskins v. Sheahan, 549 F.3d 480, 490 (7th Cir. 2008) (citation omitted).

         In Wozniak v. Adesida, 932 F.3d 1008, 1010 (7th Cir. 2019), the Seventh Circuit Court of

  Appeals concluded that a university professor acted “in his capacity as a teacher” when he

  “interrogated” students about their failure to recommend him for an award and posted

  information about the students online. Id. at 1010. Recognizing that such conduct did not

  involve the professor’s “core academic duties” such as running his classroom, grading exams, or

  assisting students in writing papers, the Court determined that “how faculty members relate to

  students is part of their jobs.” Id. (emphasis in original).

         In assessing whether speech addresses a matter of public concern, courts look to the

  “content, form, and context” of a given statement. Chaklos v. Stevens, 560 F.3d 705, 712 (7th

  Cir. 2009) (quoting Connick v. Myers, 461 U.S. 138, 147-48, 148 n.7 (1983)). Though none of



                                                    12

                                                                                     SA-201
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 13 of 51 PageID #: 635
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  these factors is singularly dispositive, content is the most important of the three. Milwaukee

  Deputy Sheriff’s Ass’n v. Clarke, 574 F.3d 370, 377 (7th Cir. 2009) (citation omitted).

  Furthermore, when examining the context of speech, the employee’s motive for speaking is a

  relevant consideration. Id. (citations omitted). To that end, motive “matters to the extent that

  even speech on a subject that would otherwise be of interest to the public will not be protected if

  the expression addresses only the personal effect upon the employee, or if the only point of the

  speech was to further some purely private interest.”          Id. (emphasis in original) (internal

  quotations and citation omitted).

         Here, Mr. Kluge has failed to state any claim under the First Amendment because, as a

  matter of law, the speech at issue is not constitutionally protected. Importantly, he is not

  asserting that he was disciplined for criticizing or opposing the Policy, but that he was

  disciplined for refusing to follow it in his classroom by refusing to call students by the first

  names listed in PowerSchool. Mr. Kluge’s own allegations establish that the way in which he

  addresses students is part of his official duties as a teacher. Mr. Kluge expressly alleges that

  BCSC sought to regulate his interactions with students inside school and in the context of the

  school day or school activities. [Filing No. 15 at 15 (alleging that BCSC applies its “speech code

  policies to regulate all interactions faculty members have with students in the classroom or

  within the school”).] While addressing students by name may not be part of the music or

  orchestra curriculum, it is difficult to imagine how a teacher could perform his teaching duties on

  any subject without a method by which to address individual students. Indeed, addressing

  students is necessary to communicate with them and teach them the material—as the Seventh

  Circuit has stated, how teachers relate to students is part of their jobs, and running a classroom is

  a “core academic dut[y].” Wozniak, 932 F.3d at 1010. Thus, the speech at issue was part of Mr.



                                                   13

                                                                                        SA-202
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 14 of 51 PageID #: 636
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  Kluge’s official duties, and this alone is sufficient to preclude any free speech claim under the

  First Amendment.

         However, the Court also concludes that Mr. Kluge’s choice as to how to address a given

  student did not involve a matter of public concern. To be sure, issues relating to the treatment of

  individuals based on their gender identity are of great public importance. See Janus v. Am.

  Fed’n of State, Cty., & Mun. Employees, Council 31, 138 S. Ct. 2448, 2476 (2018) (recognizing

  that “gender identity” is a “sensitive political topic[]” that is “undoubtedly [a] matter[] of

  profound value and concern to the public”). However, Mr. Kluge was not conveying a message

  concerning such matters when he refused to call students by their names as listed in

  PowerSchool or referred to students by last name only, because the act of referring to a particular

  student by a particular name does not contribute to the broader public debate on transgender

  issues. Instead, choosing the name to call a student constituted a private interaction with that

  individual student and a private statement about Mr. Kluge’s subjective perception of that

  student. In addition, according to Mr. Kluge’s own allegations, the only point of his speech was

  to address students. He did not tell students that he had opinions about using transgender

  students’ preferred names or explain why he was using last names only. [Filing No. 15 at 10.]

  Thus, Mr. Kluge’s speech—merely stating (or refusing to state) names and pronouns without

  explaining that his opposition to “affirming” transgender students was the reason for doing so—

  adds little to the public discourse on gender identity issues, and therefore is not the kind of

  speech that is valuable to the public debate. Cf. Garcetti, 547 U.S. at 420 (acknowledging that

  underlying the public concern inquiry is “the importance of promoting the public’s interest in

  receiving the well-informed views of government employees engaging in civic discussion”).




                                                  14

                                                                                      SA-203
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 15 of 51 PageID #: 637
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         Because the speech at issue was pursuant to Mr. Kluge’s official duties as a public

  employee and did not involve a matter of public concern, he cannot maintain a cause of action

  for his employer’s regulation of or reaction to his speech. See id. at 418. Accordingly, BCSC’s

  Motion to Dismiss is GRANTED as to Mr. Kluge’s claims for retaliation, content and viewpoint

  discrimination, and compelled speech under the First Amendment, and those claims (Counts 4, 5,

  and 6) are DISMISSED.

             2. First Amendment Free Exercise Claim (Count 7)

         Mr. Kluge asserts in his Amended Complaint that his “views and expression related to

  gender dysphoria are motivated by his sincerely-held religious beliefs, are avenues through

  which he exercises his religious faith, and constitute a central component of his sincerely-held

  religious beliefs.” [Filing No. 15 at 23.] Accordingly, he alleges, expressing BCSC’s “mandated

  message regarding gender dysphoria” by using the names listed in PowerSchool would require

  him to violate his sincerely-held religious beliefs. [Filing No. 15 at 23.] Moreover, he alleges

  that BCSC’s “transgender policies and related practices” are neither neutral nor generally

  applicable because they “represent a system of individualized assessments” and allow BCSC to

  specifically target religious expression and express hostility toward such expression. [Filing No.

  15 at 23.] Mr. Kluge also asserts that the policies and practices are under-inclusive because they

  prohibit some expression while allowing “other expression equally harmful to [BCSC’s] asserted

  interests.” [Filing No. 15 at 23.] He alleges that BCSC’s discipline of him “for communicating

  his views on issues related to gender dysphoria” violated his religious beliefs and his right to free

  exercise of religion. [Filing No. 15 at 24.]

         BCSC argues that the policy requiring faculty to address students by the names listed in

  PowerSchool—which is the only specific policy that Mr. Kluge challenges—is both neutral and


                                                   15

                                                                                        SA-204
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 16 of 51 PageID #: 638
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  generally applicable. [Filing No. 45 at 20.] Specifically, it applies to all faculty, not just to

  faculty members of a certain religion, and there is no indication that, in imposing the

  requirement, BCSC intended to discriminate based on any religion. [Filing No. 45 at 20.] BCSC

  further argues that the purpose of the policy was to provide the faculty with an easy-to-follow

  rule for addressing students, and Mr. Kluge does not claim that the rule lacks a legitimate

  purpose. [Filing No. 45 at 20-21.]

         In response, Mr. Kluge reiterates the allegations stated in his Amended Complaint, states

  that these allegations must be taken as true, and asserts that they state a claim for violation of his

  right to free exercise of religion. [Filing No. 57 at 28.]

         BCSC replies that Mr. Kluge’s reiterated allegations contain legal conclusions, which the

  Court is not required to accept as true, and maintains that the free exercise claim should be

  dismissed. [Filing No. 60 at 10.]

         “[N]o Free Exercise Clause violation results where a burden on religious exercise is the

  incidental effect of a neutral, generally applicable, and otherwise valid regulation, in which case

  such regulation need not be justified by a compelling governmental interest.” Vision Church v.

  Vill. of Long Grove, 468 F.3d 975, 998 (7th Cir. 2006) (quoting Civil Liberties for Urban

  Believers v. City of Chicago, 342 F.3d 752, 763 (7th Cir. 2003)) (internal quotations omitted);

  see also Employment Div., Dep’t of Human Res. of Oregon v. Smith, 494 U.S. 872, 879 (1990)

  (“[T]he right of free exercise does not relieve an individual of the obligation to comply with a

  ‘valid and neutral law of general applicability on the ground that the law proscribes (or

  prescribes) conduct that his religion prescribes (or proscribes).’”) (citation omitted).

         However, the Supreme Court has “been careful to distinguish such [neutral and generally

  applicable] laws from those that single out the religious for disfavored treatment.”



                                                    16

                                                                                         SA-205
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 17 of 51 PageID #: 639
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012, 2020 (2017). For example, the

  Court has struck down “facially neutral” city ordinances prohibiting certain forms of animal

  slaughter after concluding that the ordinances were not in fact neutral or generally applicable but

  instead had a discriminatory purpose of prohibiting residents from performing sacrificial rituals

  integral to their practice of the Santeria religion. Id. at 2021 (citing Church of Lukumi Babalu

  Aye, Inc. v. Hialeah, 508 U.S. 520, 533-33 (1993)). Summarizing its Free Exercise Clause

  jurisprudence, the Supreme Court reiterated that laws may not discriminate against religious

  beliefs, regulate or outlaw conduct because it is religiously motived, or impose special

  disabilities based on one’s religious status. Trinity, 137 S. Ct. at 2021 (citations omitted).

         Here, Mr. Kluge’s allegations and supporting documentation demonstrate that the Policy

  was neutral and generally applicable: every teacher, regardless of religious belief, was required

  to address every student by the name listed in PowerSchool, regardless of what that name was or

  why. Furthermore, Mr. Kluge does not allege that any of BCSC’s policies or practices were

  developed to target any particular religious belief, affiliation, or activity, and, to the contrary, he

  alleges that these policies and practices were part of an effort to “affirm childhood gender

  dysphoria.” [Filing No. 15 at 6.] Although he asserts that the Policy required individual

  assessments, is under-inclusive, and permits other “harmful” speech, these allegations are

  conclusory, unsupported, and inconsistent with his allegations demonstrating that the Policy was

  straightforward and clear in the sense that it requires teachers to refer to students by the names

  listed in PowerSchool—nothing more, nothing less, and without room for individualized

  judgments. Notably, no other BCSC policy is alleged to be the basis of his discipline. Because

  the Policy is neutral and generally applicable and Mr. Kluge has not alleged facts showing that it

  targeted or otherwise was motivated by an animus toward any particular religion or religious



                                                    17

                                                                                          SA-206
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 18 of 51 PageID #: 640
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  belief, he has not stated a claim for violation of the Free Exercise Clause. Accordingly, BCSC’s

  Motion to Dismiss is GRANTED as to this claim (Count 7), which is DISMISSED.

               3. Unconstitutional Conditions (Count 8)

         In the Amended Complaint, Mr. Kluge asserts that, by conditioning his employment on

  his willingness to surrender his constitutional rights, BCSC imposed an unconstitutional

  condition upon him in violation of the First Amendment. [Filing No. 15 at 24.] Specifically, he

  asserts that BCSC’s “transgender policies in practices and the[] enforcement of those policies

  and practices” require faculty members to surrender their constitutionally-protected rights to

  freedom of speech, free exercise of religion, due process, and equal protection as a condition to

  their receipt of a state benefit in the form of continuing employment as a public school teacher.

  [Filing No. 15 at 25.]

         BCSC asserts that the unconstitutional conditions claim fails because: (1) Mr. Kluge has

  not alleged facts showing that BCSC violated the Constitution; and (2) the unconstitutional

  conditions doctrine has not been extended beyond the context of political patronage as a

  condition of public employment. [Filing No. 45 at 19.]

         Mr. Kluge responds that the unconstitutional conditions doctrine logically extends to

  other First Amendment violations, including claims based upon speech and religious exercise.

  [Filing No. 57 at 29.] He maintains that he has stated a claim for unconstitutional conditions.

  [Filing No. 57 at 29.]

         In reply, BCSC asserts that the Court should decline to extend the unconstitutional

  conditions doctrine beyond the political patronage context, and maintains that, in any event, the

  claim fails because Mr. Kluge has not demonstrated that a First Amendment violation has

  occurred. [Filing No. 60 at 10-11.]


                                                 18

                                                                                     SA-207
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 19 of 51 PageID #: 641
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         As a preliminary matter, BCSC’s argument that the unconstitutional conditions doctrine

  does not apply outside the context of political patronage conditions is contrary to existing

  caselaw. E.g., Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013) (“We

  have said in a variety of contexts that ‘the government may not deny a benefit to a person

  because he exercises a constitutional right.’ . . . Those cases reflect an overarching principle,

  known as the unconstitutional conditions doctrine, that vindicates the Constitution’s enumerated

  rights by preventing the government from coercing people into giving them up.” (emphasis

  added) (citations omitted)).   Indeed, there is support for the specific proposition that the

  unconstitutional conditions doctrine prevents the government from imposing conditions that

  violate other provisions of the First Amendment beyond political association. See Garcetti, 547

  U.S. at 413 (“It is well settled that ‘a State cannot condition public employment on a basis that

  infringes the employee’s constitutionally protected interest in freedom of expression.’” (quoting

  Connick, 461 U.S. at 142)); Dolan v. City of Tigard, 512 U.S. 374, 407 n.12 (1994) (“[M]odern

  decisions invoking the [unconstitutional conditions] doctrine have most frequently involved First

  Amendment liberties.”).

         Nevertheless, Mr. Kluge’s claim, while cognizable, fails for the simple reason that, as

  discussed above, Mr. Kluge has not alleged facts demonstrating that BCSC violated the

  Constitution. In other words, he has not stated a claim that any of BCSC’s policies or conditions

  on his employment were unconstitutional.        Accordingly, BCSC’s Motion to Dismiss is

  GRANTED as to the unconstitutional conditions claim (Count 8), which is DISMISSED.

               4. Fourteenth Amendment Due Process Claim (Count 9)

         In the Amended Complaint, Mr. Kluge alleges that BCSC violated his right to due

  process of law by “threatening to punish and punishing [him] under vague and overbroad


                                                 19

                                                                                     SA-208
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 20 of 51 PageID #: 642
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  policies and practices.” [Filing No. 15 at 26.] Specifically, he asserts that the “transgender

  policies and related practices” are unconstitutionally vague because they grant BCSC officials

  “unbridled discretion in deciding what constitutes ‘gender dysphoria’ and ‘gender

  discrimination,’ because they utilize terms that are inherently subjective and elude any precise or

  objective definition that would be consistent from one official, teacher, or student to another, and

  because they are incapable of providing meaningful guidance to Defendants.” [Filing No. 15 at

  27.] He alleges that the policies lack objective criteria, factors, or standards, rendering them

  unconstitutionally vague. [Filing No. 15 at 27.]

         BCSC argues that the Policy is not vague or overbroad, and Mr. Kluge’s own allegations

  defeat his vagueness claim, because he admits that he was aware of the consequences of

  addressing students by their last names only or by a name other than that listed in PowerSchool.

  [Filing No. 45 at 21-22.]

         Mr. Kluge responds that he has stated a valid due process claim because “BCSC’s

  policies were informal, sometimes unwritten, and when written, suggested they were subject to

  change,” and, as a result, were unconstitutionally vague. [Filing No. 57 at 30.] He argues that

  such vagueness is illustrated by the fact that the requirement that teachers use students’ names

  listed in PowerSchool suggests that a teacher could use students’ last names, which appear in

  PowerSchool, but BCSC changed its policy without warning to prohibit that practice. [Filing

  No. 57 at 30-31.] He asserts that BCSC’s policies incorrectly stated that teachers who work at

  public schools sign up to follow the school’s rules, even if those rules conflict with their personal

  beliefs. [Filing No. 57 at 31.] Finally, he asserts that similarly-situated teachers must guess

  which “gender dysphoria policies” are in effect at any given time, and supervisors will differ as

  to their enforcement of these policies. [Filing No. 57 at 31.]



                                                   20

                                                                                        SA-209
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 21 of 51 PageID #: 643
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         In reply, BCSC asserts that Mr. Kluge fails to address his awareness of the consequences

  of not addressing students by the first names listed in PowerSchool. [Filing No. 60 at 11.]

         A public employee may challenge the rules pursuant to which he was disciplined on the

  basis that they are void for vagueness. See Greer v. Amesqua, 212 F.3d 358, 369 (7th Cir. 2000).

  A government regulation, like a criminal statute, generally is impermissibly vague if people of

  common intelligence must guess at its meaning and could differ as to its application. Id.

  However, “the government acting in the role of employer enjoys much more latitude in crafting

  reasonable work regulations for its employees” than it does in crafting regulations applicable to

  the general public. Id.; see also Brown v. Chicago Bd. of Educ., 824 F.3d 713, 717 (7th Cir.

  2016) (noting that “an employee code of conduct need not be as clear as a criminal law”).

         Here, as a preliminary matter, although Mr. Kluge takes issue with the alleged vagueness

  of many of BCSC’s different policies related to transgender students—as well as with the alleged

  overall lack of clarity concerning when and how the school enforced those different policies—

  the only rule pursuant to which Mr. Kluge was disciplined was the Policy requiring him to

  address students by the first names and pronouns listed in PowerSchool. Thus, that is the only

  rule that the Court needs to consider in determining whether Mr. Kluge has stated a plausible due

  process claim based on vagueness. His allegations concerning other issues—such as restrooms

  or changing rooms—are not relevant to this analysis.

         With that limitation in mind, Mr. Kluge’s allegations defeat his due process claim. The

  materials attached to the Amended Complaint acknowledge that BCSC’s policies related to the

  treatment of transgender students were in flux as the school district sought to determine workable

  solutions to newly-arising issues. [See Filing No. 15-4 at 7 (“BCSC is working to develop policy

  that reflects the answers [to faculty policy questions presented in] this document.”).] However,



                                                 21

                                                                                      SA-210
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 22 of 51 PageID #: 644
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  based on Mr. Kluge’s own allegations, there can be no dispute that, after BCSC terminated the

  last-names-only arrangement, the Policy required him to refer to students by the first names

  listed in PowerSchool. [Filing No. 15 at 7 (alleging that faculty “were instructed to use the

  transgender students’ preferred names” listed in PowerSchool); Filing No. 15-4 at 9 (stating, in

  response to a question about how to address students after the last-name-only arrangement ended

  after the 2017-2018 school year, that “moving forward it is our expectation the student will be

  called by the first name listed in PowerSchool”).] Mr. Kluge’s argument that the Policy was so

  vague that it appeared to permit the last-names-only arrangement—because students’ last names

  are necessarily listed in PowerSchool—is illogical and disingenuous at best. Mr. Kluge’s claims

  are all based on his having to use “transgender names” from the PowerSchool database. [Filing

  No. 15 at 7-8; Filing No. 15 at 10; Filing No. 15 at 15.] If he was—and still is—willing to use

  students’ last names only, then the first names alone must be the “transgender names” that he

  wanted to avoid. Thus, he must have understood the Policy to require the use of first names, and

  he did not have to guess at its meaning. See Greer, 212 F.3d at 369. There can also be no

  serious dispute that Mr. Kluge’s allegations demonstrate his own understanding and awareness

  of the Policy and its requirements long before his resignation, as he had several conversations

  with school administrators concerning his assertions that the Policy conflicted with his religious

  beliefs and addressing his desire not to follow the Policy. [Filing No. 15 at 7-14; Filing No. 15-3

  at 2-6.] Accordingly, Mr. Kluge has failed to state a claim that the Policy was unconstitutionally

  vague, and BCSC’s Motion to Dismiss is GRANTED as to this claim (Count 9), which is

  DISMISSED.




                                                  22

                                                                                      SA-211
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 23 of 51 PageID #: 645
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


               5. Title VII Claims (Counts 1, 2, and 3)

                 a. Count 1: Religious Discrimination for Failure to Accommodate

         As to Count 1, Mr. Kluge asserts that BCSC, in violation of Title VII, discriminated

  against him in the terms and conditions of his employment on the basis of his sincerely-held

  religious beliefs by: (1) refusing to discuss an accommodation for those beliefs; (2) agreeing in

  writing to the last-names-only arrangement that did not result in undue hardship, then removing

  that arrangement without identifying any undue hardship it caused; and (3) “coercing [his]

  conditional resignation under threat of termination.” [Filing No. 15 at 17.]

         BCSC argues that Mr. Kluge has failed to state a failure-to-accommodate claim because

  the facts alleged do not demonstrate an objective conflict between his teaching duties and his

  sincerely-held religious beliefs.   [Filing No. 45 at 7-10.]     Specifically, BCSC asserts that

  referring to students by the name and gender listed in the PowerSchool database constituted a

  purely administrative duty and did not require Mr. Kluge to express approval for the reasons

  underlying any particular name change, congratulate a transgender student for transitioning, or

  endorse or otherwise show support for transgender issues. [Filing No. 45 at 8-10.]

         Mr. Kluge responds that the allegations in his Amended Complaint establish a prima

  facie case of religious discrimination based on failure to accommodate. [Filing No. 57 at 12-15.]

  He asserts that addressing students by the names listed in PowerSchool is not an administrative

  function, as it is “grossly incorrect to suggest that requiring teachers to use a new name selected

  by an adolescent suffering from gender dysphoria is not an expression of approval, acceptance,

  and even celebration.” [Filing No. 57 at 13.] 4 He also appears to assert that, because BCSC


  4
    Mr. Kluge further argues that the last-names-only arrangement did not create an undue hardship
  for BCSC. [Filing No. 57 at 15.] BCSC did not address this issue in its Motion to Dismiss,
  stating that its “undue hardship defense is outside the scope of this Motion” and reserving the
                                                  23

                                                                                       SA-212
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 24 of 51 PageID #: 646
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  agreed to the last-names-only arrangement for a period of time, it is estopped from arguing that

  the Policy does not conflict with his sincerely-held religious beliefs. [Filing No. 57 at 12-13.] 5

         In reply, BCSC reiterates the argument made in its initial brief that calling students by the

  names listed in PowerSchool constitutes a purely administrative duty and there is no objective

  conflict between that duty and Mr. Kluge’s religious beliefs. [Filing No. 60 at 2-4.] BCSC also

  asserts that Mr. Kluge has not identified any authority supporting his argument that BCSC is

  estopped from denying that an objective conflict exists between the Policy and Mr. Kluge’s

  religious beliefs, and, in any event, nothing in the Amended Complaint reflects that, in

  permitting the last-names-only arrangement, BCSC affirmatively agreed that such conflict

  existed. [Filing No. 60 at 2-3.]

         Title VII prohibits employers from discriminating against employees on the basis of their

  religion, and also requires employers to accommodate employees’ sincerely-held religious

  beliefs where they conflict with rules of employment and where providing an accommodation

  would not result in undue hardship.          42 U.S.C. §§ 2000e(j), 2000e-2(a)(1); EEOC v.

  Abercrombie & Fitch Stores, Inc., 135 S. Ct. 2028, 2031-32 (2015). To state a prima facie case


  right to raise it later if warranted. [Filing No. 45 at 8 n.4.] The Court agrees with BCSC that the
  undue hardship question, which is a factual determination that only becomes relevant after a
  plaintiff has made a prima facie case of failure to accommodate and is a matter to be proved by a
  defendant, is not properly before the Court at this time. See Porter v. City of Chicago, 700 F.3d
  944, 951 (7th Cir. 2012) (explaining that, after the plaintiff establishes a prima facie case, the
  burden shifts to the defendant to show that providing an accommodation would result in undue
  hardship).
  5
   Also omitted from the Court’s recitation of Mr. Kluge’s argument is his inflammatory,
  hyperbolic, and irrelevant hypothetical discussion of how teachers might feel if students came to
  school pretending to have a disability or claiming to be of a different race than they really are.
  [Filing No. 57 at 14-15.] The Court notes that such rhetoric is an unnecessary distraction as it
  does not—nor does it appear intended to—further the resolution of the legal issues in dispute.
  While the Court understands that the parties on both sides of this litigation may have strong
  convictions as to their positions, such unhelpful language and tone are inconsistent with the level
  of professionalism expected by this Court and shall be left out of future filings in this matter.
                                                   24

                                                                                         SA-213
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 25 of 51 PageID #: 647
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  of religious discrimination based on failure to accommodate, a plaintiff must show that his

  religious belief or practice conflicted with a requirement of his employment and that his religious

  observance or practice was the basis for the discriminatory treatment or adverse employment

  action.    Porter v. City of Chicago, 700 F.3d 944, 951 (7th Cir. 2012), as modified by

  Abercrombie, 135 S. Ct. at 2032-33. 6

            “A Title VII plaintiff need not set forth allegations of a prima facie case in the

  complaint.”     Moranski v. Gen. Motors Corp., 433 F.3d 537, 539 (7th Cir. 2005) (citing

  Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 (2002)).          Instead, the plaintiff alleging a

  violation of Title VII need only provide a “short and plain statement of the claim showing that

  the pleader is entitled to relief.” Id.; Fed. R. Civ. P. 8(a).

            Both parties discuss Summers v. Whitis, 2016 WL 7242483 (S.D. Ind. Dec. 15, 2016),

  which BCSC asserts dictates dismissal of this claim. In Summers, plaintiff Linda Summers

  worked as a deputy clerk in the Harrison County, Indiana Clerk’s Office until she was fired for

  refusing to process marriage licenses for same-sex couples based on her religious opposition to

  same-sex marriage. Id. at *1. The Court granted summary judgment in favor of the defendants

  on Ms. Summers’ failure-to-accommodate claim, concluding that there was no objective conflict

  between her religious belief and the requirement that she process marriage licenses for same-sex

  couples. Id. at *7. The Court emphasized that the conflict inquiry must be objective, because if


  6
    In Porter, the Court articulated an additional element of the prima facie case for failure-to-
  accommodate: that the employee called the religious practice to his employer’s attention. 700
  F.3d at 951. However, the Supreme Court later made clear that an employee need not prove that
  his employer had actual knowledge of the religious belief or practice, and instead must
  demonstrate only that the desire not to accommodate was a motivating factor in an adverse
  employment action. See Abercrombie, 135 S. Ct. at 2032-33. Other District Courts in this
  Circuit have therefore disregarded this additional element. See, e.g., Jackson v. NTN Driveshaft,
  Inc., 2017 WL 1927694, at *1 (S.D. Ind. May 10, 2017). This Court will do the same, although
  it makes no difference because Mr. Kluge’s factual allegations demonstrate that BCSC was
  aware of his religion-based objections to the Policy.
                                                     25

                                                                                      SA-214
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 26 of 51 PageID #: 648
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  it were purely subjective, there would be no reason to include it as a part of the prima facie case.

  Id. at *5.

          The Summers Court determined that Ms. Summers was merely required to process

  licenses by viewing the application, verifying that certain information was correct, collecting a

  statutory fee, printing a form, and recording the license in a book for the public record. Id. at *5.

  “She was simply tasked with certifying—on behalf of the state of Indiana, not on her own

  behalf—that the couple was qualified to marry under Indiana law,” a duty which the Court

  concluded was “purely administrative.” Id. The Court emphasized that Ms. Summers was not

  required to perform marriage ceremonies, personally sign marriage certificates, attend marriage

  ceremonies, say congratulations, offer a blessing, pray with couples, or condone or express

  religious approval of any particular marriage. Id. Because there was no conflict between her

  religious belief and her job duties, the employer had no duty to accommodate Ms. Summers’

  beliefs. See id. (“If the employee fails to show a bona fide conflict, it makes no sense to speak of

  a duty to accommodate.”) (quoting Ansonia Bd. of Educ. v. Philbrook, 479 U.S. 60, 76 (1986)

  (Stevens, J., concurring in part and dissenting in part)) (internal quotations omitted).

          Summers is distinguishable from the instant case in one important respect: it was decided

  at the summary judgment stage with the benefit of factual development and where the plaintiff

  had the burden of establishing a prima facie case. Here, however, the Court is bound by the

  standard of review to accept all of Mr. Kluge’s factual allegations as true and merely determine

  whether he has stated a plausible claim. Mr. Kluge alleges that, insofar as transgender students

  are concerned, using the names as listed in the PowerSchool database violates his religious belief

  that “encouraging students to present themselves as the opposite sex by calling them an opposite-

  sex first name is sinful.” [Filing No. 15 at 10.] Because the Court must accept this allegation as



                                                   26

                                                                                         SA-215
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 27 of 51 PageID #: 649
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  true, it follows that the Court must also conclude that Mr. Kluge has alleged a conflict between

  the Policy and his sincerely-held religious beliefs. To conclude otherwise would require a

  qualitative analysis of the Policy and Mr. Kluge’s religious beliefs, which is better suited for a

  later stage in the litigation. The Court must also accept as true the allegations that BCSC refused

  to accommodate Mr. Kluge’s belief where doing so would not result in undue hardship and that

  this conflict was the basis of BCSC’s demand for his resignation, and together these allegations

  state a claim for failure to accommodate. 7 Accordingly, BCSC’s Motion to Dismiss Mr. Kluge’s

  Title VII failure-to-accommodate claim is DENIED, and that claim (Count 1) shall proceed. 8

                 b. Count 2: Retaliation

         Mr. Kluge asserts that BCSC retaliated against him for engaging in protected conduct by:

  (1) agreeing to the last-names-only accommodation and then withdrawing the accommodation

  without demonstrating that it caused undue hardship; and (2) telling him that he could either “use

  transgender names and pronouns, resign, or be terminated.” [Filing No. 15 at 17-18.]




  7
    The Court is not, as Mr. Kluge requests, giving any sort of estoppel effect to BCSC’s attempt at
  a compromise through the last-names-only arrangement, as its efforts (or lack thereof) to
  cooperate with Mr. Kluge’s preferences do not determine the extent of its legal obligation (or
  lack thereof) to accommodate his religious beliefs. Nevertheless, the allegation that there was an
  “accommodation” in place that was later withdrawn is indicative that there might be a question
  of undue hardship which, again, is a factual matter not properly resolved at this stage in the
  litigation.
  8
    Notably, it is not inconsistent to permit Mr. Kluge’s Title VII claim to proceed where he does
  not have a First Amendment claim concerning his exercise of religion in the workplace. Existing
  caselaw dictates that the Title VII inquiry is distinct from the constitutional free exercise
  question. See Ryan v. U.S. Dep’t of Justice, 950 F.2d 458, 461 (7th Cir. 1991) (“Title VII
  requires of the [government employer] more than the Constitution in its own right. An employer
  may not discriminate on account of religion—that is to say, may not use an employee’s religion
  as a ground of decision.”); Filinovich v. Claar, 2006 WL 1994580, at *4 (N.D. Ill. July 14, 2006)
  (“[T]he Free Exercise Clause does not require Defendants to provide Plaintiff an accommodation
  from their neutral and generally applicable employment requirement.”).
                                                  27

                                                                                      SA-216
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 28 of 51 PageID #: 650
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


            BCSC argues that the retaliation claim fails for the same reasons that the failure-to-

  accommodate claim fails: using the names listed in PowerSchool is an administrative activity

  that does not conflict with his religious beliefs. [Filing No. 45 at 10.] In addition, BCSC argues

  that Mr. Kluge has not adequately stated a claim for retaliation because there is no causal

  connection between his request for an accommodation and ultimate resignation. [Filing No. 45

  at 11.] Specifically, BSCS asserts that “[i]t defies logic that [BCSC] would accommodate [Mr.]

  Kluge in several ways from the outset, then somehow concoct student complaints as an excuse to

  rescind the last-name accommodation, all because [BCSC] harbored discriminatory animus

  toward [Mr.] Kluge from the beginning.” [Filing No. 45 at 11.]

            Mr. Kluge responds that the Court must accept as true his allegation that BCSC’s reason

  for withdrawing the last-names-only accommodation—i.e., student complaints—was pretextual.

  [Filing No. 57 at 16.] He maintains that he has stated a claim for retaliation, and asserts that

  BCSC cannot articulate a legitimate, non-discriminatory reason for its actions. [Filing No. 57 at

  16-17.]

            In reply, BCSC argues that it is apparent from Mr. Kluge’s attempt to rescind his

  resignation that he was aware of the student complaints underlying BCSC’s decision to withdraw

  the last-name-only accommodation, but, in any event, the Court need not accept his pretext

  argument because it merely establishes a possibility that he is entitled to relief, which falls short

  of the standard of review. [Filing No. 60 at 5.]

            To state a claim for retaliation under Title VII, the plaintiff must allege facts showing that

  he engaged in statutorily protected expression and was subjected to an adverse employment

  action as a result. Carlson v. CSX Transp., Inc., 758 F.3d 819, 828 (7th Cir. 2014) (citations

  omitted). Here, for the reasons discussed above and given the standard of review on a motion to



                                                     28

                                                                                           SA-217
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 29 of 51 PageID #: 651
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  dismiss, the Court cannot conclude that BCSC had no duty to accommodate Mr. Kluge’s

  religious beliefs, and therefore the Court also cannot conclude that his retaliation claim fails on

  that basis. BCSC’s alternative argument is that it “defies logic” that BCSC would first permit

  the last-names-only arrangement and then subsequently withdraw that arrangement based on

  religious animus. However, accepting Mr. Kluge’s allegations as true—which the Court must

  do—it is plausible that school officials, over time, became less inclined to tolerate Mr. Kluge’s

  religious beliefs and used the idea of student complaints as a pretext to withdraw the last-names-

  only arrangement, refuse to provide another accommodation to which Mr. Kluge was entitled,

  and force him to resign. Whether Mr. Kluge can produce evidence to support such a contention

  is another question entirely, which is not before the Court at this time. 9 Nevertheless, at this

  stage, the Court concludes that Mr. Kluge’s allegations were sufficient to state a claim for

  retaliation under Title VII. Accordingly, BCSC’s Motion to Dismiss is DENIED as to the Title

  VII retaliation claim, and that claim (Count 2) shall proceed.

                 c. Count 3: Hostile Work Environment

         Mr. Kluge alleges that BCSC created a hostile work environment by “demanding that

  [he] address students with gender dysphoria by their preferred names, resign, or be terminated.”

  [Filing No. 15 at 18.] He alleges that BSCS gave him an “untenable choice” between violating

  his conscience and sincerely-held religious beliefs or losing his job, and “effectively told [him]

  to leave his religion outside of the classroom or get out.” [Filing No. 15 at 18.] He asserts that

  this hostile environment was so severe and pervasive that it adversely affected his working

  conditions. [Filing No. 15 at 18.]


  9
    The Court is assuming that Mr. Kluge’s allegations concerning pretext are supported by a good-
  faith basis for asserting them and warns that the revelation that they were not could have
  consequences under Federal Rule of Civil Procedure 11 and 28 U.S.C § 1927.
                                                  29

                                                                                      SA-218
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 30 of 51 PageID #: 652
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         BCSC argues that Mr. Kluge’s allegations are insufficient to state a claim for hostile

  work environment because BCSC merely required him, and all faculty, to address students by the

  names listed in PowerSchool, which does not rise to the level of the “hellish” environment

  necessary to state a claim under Title VII. [Filing No. 45 at 12-13.]

         Mr. Kluge responds that he need not allege facts demonstrating that his work

  environment was “hellish.” [Filing No. 57 at 17.] Instead, he argues, his allegations need only

  show that he was subjected to unwelcome harassment based on a protected characteristic, that

  such harassment was so severe or pervasive that it altered the conditions of employment and

  created an abusive work environment, and that there is a basis for employer liability. [Filing No.

  57 at 18.] Mr. Kluge asserts that his allegations satisfy this standard because the combined

  actions and statements of Superintendent Snapp, Principal Daghe, and Ms. Gordon directing him

  to either violate his sincerely-held religious beliefs or leave his job amounted to harassment.

  [Filing No. 57 at 18-19.]

         In reply, BCSC asserts that Mr. Kluge has not alleged facts showing that BCSC’s conduct

  was objectively offensive or severe and pervasive and has not cited any case supporting his

  proposition that requiring him to address students by the names listed in the school’s database

  can support a hostile work environment claim. [Filing No. 60 at 6.]

         To state a claim for hostile work environment under Title VII, a plaintiff must allege facts

  demonstrating that: (1) he was subject to unwelcome harassment; (2) the harassment was based

  on a characteristic or category protected by Title VII; (3) the harassment was so severe or

  pervasive as to alter the conditions of employment and create a hostile or abusive working

  environment; and (4) there is a basis for employer liability. Huri v. Office of the Chief Judge of

  the Circuit Court of Cook Cty., 804 F.3d 826, 833-34 (7th Cir. 2015) (citation omitted). In



                                                  30

                                                                                      SA-219
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 31 of 51 PageID #: 653
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  determining whether the plaintiff has stated a claim that the work environment was “objectively

  hostile,” the Court must consider the totality of the circumstances, including the frequency of

  discriminatory conduct, its severity, whether it is physically threatening or humiliating, whether

  it unreasonably interfered with the employee’s work performance, and the relationship between

  the harassing party and the party being harassed. Alamo v. Bliss, 864 F.3d 541, 550 (7th Cir.

  2017) (citations omitted). Although the workplace need not be “hellish” to state a claim for

  hostile work environment, it must be so pervaded by discrimination that the terms and conditions

  of employment are altered. Id. (citations omitted).

         Mr. Kluge’s allegations do not state a plausible claim for hostile work environment under

  Title VII. While he alleges that BCSC took disciplinary actions against him for his failure to

  follow the Policy, none of his allegations demonstrate that he was frequently harassed,

  threatened, or humiliated, or that his work environment became abusive as a result of this

  discipline. Furthermore, while he alleges that BCSC’s actions were so severe and pervasive that

  they adversely affected his working conditions, this is a conclusory statement that the Court is

  not required to credit, and it is unsupported by any specific factual allegations demonstrating that

  he was harassed. Indeed, he does not allege that his work performance was impeded, and instead

  alleges that his students excelled. [Filing No. 15 at 9.] Accordingly, BCSC’s Motion to Dismiss

  is GRANTED as to this claim (Count 3), which is DISMISSED.

               6. Indiana Constitutional Claims (Count 11)

         Mr. Kluge asserts in the Amended Complaint that BCSC’s transgender policies and the

  enforcement of those policies violate his rights to free exercise of religion guaranteed by Article

  1, Sections 2 and 3 of the Indiana Constitution. [Filing No. 15 at 29-30.] He alleges that, by

  punishing him and threatening to punish him for exercising his sincerely-held religious beliefs,


                                                  31

                                                                                       SA-220
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 32 of 51 PageID #: 654
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  BCSC infringed on his right to engage freely in his religious convictions and practices and

  forced him to violate his conscience. [Filing No. 15 at 29.] He asserts that BCSC’s policies do

  not serve any government interest of sufficient magnitude to override his right to live according

  to the dictates of his faith and according to his own conscience. [Filing No. 15 at 29-30.]

         BCSC argues that this claim should be dismissed because there is no caselaw establishing

  that the protections created by Article 1, Sections 2 and 3 of the Indiana Constitution apply in the

  context of public employment. [Filing No. 45 at 24.]

         Mr. Kluge responds that, although no case has applied these provisions in the public

  employment context, “[i]t seems logical the protection should apply to public employment,” and

  this Court should either conclude that it does, or, alternatively, certify the question to the Indiana

  Supreme Court for determination. [Filing No. 57 at 32-33.]

         In reply, BCSC maintains that the absence of controlling precedent applying the

  provisions in question in the employment context warrants dismissal and Mr. Kluge is “simply

  wrong” in asserting that logic dictates that the provisions should apply in that context. [Filing

  No. 60 at 12.] BCSC argues that certification to the Indiana Supreme Court is inappropriate

  because Mr. Kluge has not addressed any of the factors for determining when certification is

  proper. [Filing No. 60 at 12.]

         Analysis of religious freedom under the Indiana Constitution is separate from the analysis

  of religious freedom under the First Amendment to the United States Constitution. City Chapel

  Evangelical Free Inc. v. City of S. Bend ex rel. Dep’t of Redevelopment, 744 N.E.2d 443, 446

  (Ind. 2001) (“Clearly, the religious liberty provisions of the Indiana Constitution were not

  intended merely to mirror the federal First Amendment. We reject the contention that the Indiana

  Constitution’s guarantees of religious protection should be equated with those of its federal



                                                   32

                                                                                         SA-221
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 33 of 51 PageID #: 655
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  counterpart and that federal jurisprudence therefore governs the interpretation of our state

  guarantees.”) (footnote omitted).

         Instead, the Indiana Supreme Court analyzes constitutional claims using the material

  burden standard, which considers whether a given state action places a “material burden, in

  contrast to a permissible qualification” upon the core values embodied in a particular

  constitutional provision.   See id. at 447; Price v. State, 622 N.E.2d 954, 960 (Ind. 1993)

  (“[T]here is within each provision of [Indiana’s] Bill of Rights a cluster of essential values which

  the legislature may qualify but not alienate. A right is impermissibly alienated when the State

  materially burdens one of the core values which it embodies.” (citations omitted)). In this sense,

  the freedoms guaranteed by the Indiana Constitution, much like those guaranteed by the federal

  constitution, are not absolute. See City Chapel, 744 N.E.2d at 446-47 (discussing that the

  Indiana constitutional right to freedom of religion is subject to some qualifications justified by

  the state’s police power). A material burden exists if, “[c]onsidering only the magnitude of the

  impairment and excluding any consideration for the social utility of the proposed [action], . . . the

  right, as impaired, would no longer serve the purpose for which it was designed.” Id. at 451

  (internal quotations and citation omitted); see also Clinic for Women, Inc. v. Brizzi, 837 N.E.2d

  973, 984 (Ind. 2005) (“[A] state regulation creates a material burden if it imposes a substantial

  obstacle on a core constitutional value serving the purpose for which it was designed; and we

  hold that in most circumstances, less than a substantial obstacle does not.”).

         The relevant constitutional provisions provide as follows:

         Section 2. All people shall be secured in the natural right to worship ALMIGHTY
         GOD, according to the dictates of their own consciences.

         Section 3. No law shall, in any case whatever, control the free exercise and
         enjoyment of religious opinions, or interfere with the rights of conscience.


                                                   33

                                                                                        SA-222
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 34 of 51 PageID #: 656
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  Ind. Const. art. I, §§ 2, 3.

          As to the core constitutional values protected by these provisions, the Indiana Supreme

  Court has stated that, “[b]y protecting the right to worship according to the dictates of conscience

  and the rights freely to exercise religious opinion and to act in accord with personal conscience,

  Sections 2 and 3 advance core values that restrain government interference with the practice of

  religious worship, both in private and in community with other persons.” City Chapel, 744

  N.E.2d at 450. “At most, the rights of conscience referred to in Article 1, Section 3 extend only

  to the right to hold whatever beliefs one desires.” Gul v. City of Bloomington, 22 N.E.3d 853,

  858 (Ind. Ct. App. 2014). Thus, Section 3 “protects only the right to hold one’s own opinions,

  and does not protect the right to act on one’s own opinions in contravention of the law.” Id. To

  establish a violation of Sections 2 or 3, the plaintiff must show that a government action

  “materially burdens [his] right to worship according to the dictates of conscience, [or] the right

  freely to exercise religious opinions and rights of conscience.” City Chapel, 744 N.E.2d at 451.

          As a preliminary matter, BCSC asserts that this claim should be dismissed because the

  Indiana Supreme Court has never applied these constitutional provisions in the context of public

  employment. It is true that the Indiana Supreme Court has declined to decide whether the

  Indiana Constitution extends to public employees in the context of workplace discipline. See

  Cantrell v. Morris, 849 N.E.2d 488, 498 (Ind. 2006) (“We therefore explicitly leave open the

  extent to [which] public employees enjoy Indiana constitutional protection against employment

  action.”). However, the Indiana Supreme Court has never held that the Indiana Constitution does

  not apply in the public employee context, and the mere lack of express approval of this type of

  claim is not a valid reason to dismiss the claim at this stage in the proceeding.




                                                   34

                                                                                       SA-223
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 35 of 51 PageID #: 657
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         Furthermore, the Court declines to certify the question to the Indiana Supreme Court.

  Mr. Kluge has not developed his argument in favor of certification. In any event, the issue is not

  outcome-determinative because, as explained below, Mr. Kluge’s claim fails either way. See

  e.g., Cedar Farm, Harrison Cty., Inc. v. Louisville Gas & Elec. Co., 658 F.3d 807, 813 (7th Cir.

  2011) (“[C]ertification is appropriate when the case concerns a matter of vital public concern,

  where the issue will likely recur in other cases, where resolution of the question to be certified is

  outcome determinative of the case, and where the state supreme court has yet to have an

  opportunity to illuminate a clear path on the issue.”) (internal quotations and citations omitted).

         Assuming, without deciding, that public employees in Indiana are protected by the

  religious freedom provisions of the Indiana Constitution, Mr. Kluge nevertheless has failed to

  state a claim upon which relief can be granted. Specifically, Mr. Kluge has not alleged facts

  demonstrating that the Policy materially burdens his right of conscience or to exercise his

  religion such that enforcement of the Policy would render his religious freedom entirely

  meaningless. To the extent that Mr. Kluge argues that the Policy violates his right to conscience,

  the claim fails because Section 3 protects the right to hold opinions but does not create a right to

  disobey the law. See Gul, 22 N.E.3d at 858. In that sense, the Policy does not prevent Mr.

  Kluge from believing that affirming people who experience gender dysphoria is a sin, it merely

  regulates his conduct in the workplace, and therefore does not violate Section 3.

         To the extent that Mr. Kluge argues that the Policy interferes with his religious exercise,

  he has not alleged facts showing that the Policy creates a material burden on his right, especially

  in light of the state’s countervailing interests.       Indiana courts have stated that Indiana

  constitutional rights are not absolute, and the idea that they may be limited in the exercise of

  legitimate state police power is especially salient in the context of public employment.



                                                   35

                                                                                        SA-224
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 36 of 51 PageID #: 658
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  Specifically, the state has recognized interests in promoting the efficiency of its public schools,

  protecting the rights of public-school students, and controlling the content of public employee’s

  expression in the context of performing their official duties. See Pickering, 391 U.S. at 568;

  Garcetti, 547 U.S. at 418; Mayer v. Monroe Cty. Cmty. Sch. Corp., 474 F.3d 477, 479 (7th Cir.

  2007) (discussing a school district’s ability to dictate teachers’ speech and curriculum). The

  Policy controlled the way in which Mr. Kluge addressed individual students during the course of

  his employment, but did not otherwise affect his ability to exercise his religion in the remainder

  of his life. Accordingly, to the extent that the Policy limited his religious exercise, the limitation

  was not so significant as to render the entire idea of free exercise of religion meaningless,

  because Mr. Kluge remained free to exercise his religious beliefs at other times and in other

  places. See State v. Econ. Freedom Fund, 959 N.E.2d 794, 807 (Ind. 2011) (concluding that a

  statute preventing the use of automated dialing devices without the recipient’s consent did not

  materially burden the right to engage in political speech, because plaintiffs remained free to

  engage in such speech without the use of an automatic dialer). Accordingly, BCSC’s Motion to

  Dismiss is GRANTED as to this claim (Count 11), which is DISMISSED.

               7. Intentional Infliction of Emotional Distress (Count 12)

         In the Amended Complaint, Mr. Kluge alleges that BCSC intentionally caused him to

  suffer severe emotional distress by: (1) removing the last-names-only arrangement;

  (2) threatening him with termination if he did not either “use transgender names and pronouns”

  or resign; (3) refusing to accommodate his sincerely-held religious beliefs; and (4) violating his

  rights under Title VII, the United States Constitution, and the Indiana Constitution. [Filing No.

  15 at 30.]




                                                   36

                                                                                         SA-225
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 37 of 51 PageID #: 659
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         BCSC argues that this claim should be dismissed because Mr. Kluge has failed to allege

  all of the elements of an intentional infliction of emotional distress (“IIED”) claim, “even in

  boilerplate fashion.” [Filing No. 45 at 24-25.] Furthermore, it argues, none of Mr. Kluge’s

  allegations demonstrate extreme or outrageous conduct. [Filing No. 45 at 25.]

         Mr. Kluge responds that his allegations contain a short and plain statement of all the

  required elements, except for a specific recitation that BCSC’s conduct was extreme or

  outrageous. [Filing No. 57 at 33.] Nevertheless, he argues, the allegations were sufficient to

  give BCSC notice of the nature of the claim. [Filing No. 57 at 33.]

         In reply, BCSC asserts that Mr. Kluge’s factual allegations “fail to meet the high bar

  required” to sustain a claim for IIED. [Filing No. 60 at 12-13.] BCSC also argues that Mr.

  Kluge’s allegations—including that BCSC accommodated until faced with student complaints

  and that Mr. Kluge was “encouraged” in response to the alleged “persecution and unfair

  treatment”—demonstrate that Mr. Kluge did not suffer emotional distress as a result of any

  extreme or outrageous conduct. [Filing No. 60 at 12-13.]

         Under Indiana law, the elements of IIED are that the defendant (1) engaged in extreme

  and outrageous conduct (2) which intentionally or recklessly (3) caused (4) severe emotional

  distress to another.   E.g., Lachenman v. Stice, 838 N.E.2d 451, 456 (Ind. Ct. App. 2005)

  (citations omitted). It is the intent to harm the plaintiff emotionally that constitutes the basis for

  this tort, and the requirements are “rigorous.” Id. (citations omitted).

         In order for a defendant’s conduct to be extreme or outrageous, it is not enough that

  “defendant has acted with an intent which is tortious or even criminal, or that he has intended to

  inflict emotional distress, or even that his conduct has been characterized by ‘malice,’ or a

  degree of aggravation which would entitle the plaintiff to punitive damages for another tort.” Id.



                                                   37

                                                                                         SA-226
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 38 of 51 PageID #: 660
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  (citation omitted).   Instead, liability can be found “only where the conduct has been so

  outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

  decency, and to be regarded as atrocious, and utterly intolerable in a civilized community.” Id. at

  456-57. “In the appropriate case, the question [of whether a defendant’s conduct was sufficiently

  extreme and outrageous] can be decided as a matter of law.” Id. at 457 (citation omitted).

         Here, Mr. Kluge has failed to state an IIED claim because, as a matter of law, his

  allegations do not demonstrate that BCSC’s conduct was extreme or outrageous. In fact, his

  claim is premised on allegations that BCSC attempted to enforce a policy that he did not agree

  with, but there are no factual allegations to suggest that any school official acted in an

  outrageous, harassing, or threatening way in doing so. Mr. Kluge also did not allege facts from

  which any intent to cause emotional harm can be inferred. Accordingly, BCSC’s Motion is

  GRANTED as to the IIED claim (Count 12), which is DISMISSED.

               8. Fraud (Count 13)

         Mr. Kluge alleges in the Amended Complaint that BCSC committed fraud under Indiana

  law when it intentionally misrepresented to him that he could submit a conditional resignation,

  with the intent that he rely upon such misrepresentation. [Filing No. 15 at 31.] He asserts that

  BCSC acted with “malice, oppression, and fraud,” and he reasonably relied on its false

  representation, causing actual damage. [Filing No. 15 at 31.]

         BCSC argues that Mr. Kluge has failed to state a claim for fraud because, by allegedly

  agreeing that Mr. Kluge could withdraw his resignation before its effective date, Ms. Gordon

  was at best making a promise that she later broke, which cannot be the basis for a fraud claim.

  [Filing No. 45 at 25-26.] BCSC submits that Mr. Kluge’s written resignation does not contain a

  condition that he could rescind it at any time prior to its effective date, and, pursuant to Indiana


                                                  38

                                                                                       SA-227
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 39 of 51 PageID #: 661
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  law, an employee of a school corporation who submits his written resignation for some fixed

  future date has no right to withdraw it. [Filing No. 45 at 25-26.]

         Mr. Kluge responds that his fraud claim was based on a misrepresentation of existing

  fact—not a promise of future conduct—because Ms. Gordon represented that he could submit a

  conditional resignation while knowing that he could not do so, in order to induce his resignation

  and avoid having to terminate him. [Filing No. 57 at 34.] He also argues that his resignation

  was invalid because it was processed before its effective date. [Filing No. 57 at 34-35.]

         In reply, BCSC asserts that Mr. Kluge does not acknowledge its argument that his

  resignation was not actually conditional because it did not include any language permitting him

  to withdraw it.       [Filing No. 60 at 13.]   Moreover, it argues, even if the resignation was

  conditional, Mr. Kluge still cannot assert a claim of fraud based on a misrepresentation

  concerning future conduct. [Filing No. 60 at 13.]

         Under Indiana law, the elements of actual fraud are: (1) a material representation of a past

  or existing fact by the party to be charged that; (2) was false; (3) was made with knowledge or

  reckless ignorance of its falsity; (4) was relied upon by the complaining party; and

  (5) proximately caused the complaining party’s injury. Ruse v. Bleeke, 914 N.E.2d 1, 10 (Ind.

  Ct. App. 2009) (citation omitted). “Actual fraud may not be based upon representations of future

  conduct, broken promises, or representations of existing intent that are not executed.” Id.

  (citation omitted).

         Here, Mr. Kluge argues that Ms. Gordon misrepresented that he could file a conditional

  resignation. It is unclear what he means by “conditional resignation,” other than his reference to

  being permitted to withdraw the resignation before it was “processed” or shared with the

  administration. Notably, however, Mr. Kluge’s written resignation, which he attached to his



                                                   39

                                                                                      SA-228
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 40 of 51 PageID #: 662
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  Amended Complaint, was not expressly conditioned on anything, did not contain any language

  concerning his ability to withdraw it, and instead merely requested that the letter not be

  “processed” and that no one be notified until a certain date. [Filing No. 15-2.] Ms. Gordon

  stated in response, “I will honor your request and not process this letter or share with the BHS

  administration until May 29.” [Filing No. 15-2.] Such statement by Ms. Gordon is nothing more

  than a representation of her existing intent, which was not later executed, and therefore cannot

  form the basis of an actionable claim for fraud under Indiana law.

         To the extent that Mr. Kluge relies upon Ms. Gordon’s alleged more general

  representation that he was allowed to submit a conditional resignation, the claim nonetheless

  fails. Mr. Kluge alleges that, at a meeting on February 6, 2018, Ms. Gordon “agreed that he

  could submit a conditional resignation.” [Filing No. 15 at 9-10]. However, the resignation he

  attached to the Amended Complaint contradicts this allegation, as Mr. Kluge did not in fact

  submit a conditional resignation. In any event, Ms. Gordon’s purported representation that Mr.

  Kluge could submit a conditional resignation is another way of stating her agreement that she

  would allow him to withdraw his resignation at a later date, which is nothing but a representation

  concerning future conduct that is not actionable under a theory of fraud. Accordingly, BCSC’s

  Motion to Dismiss is GRANTED as to the fraud claim, and that claim (Count 13) is

  DISMISSED.

                                                  II.
                                     IYG’S PENDING MOTIONS

         A. Intervention as of Right

         It its Motion to Intervene as a Defendant, IYG seeks to intervene as of right, pursuant to

  Fed. R. Civ. P. 24(a)(2), or, alternatively, to intervene permissively under Rule 24(b)(1). [Filing

  No. 22.] IYG asserts that it is a nonprofit organization with a primary purpose of promoting the

                                                  40

                                                                                      SA-229
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 41 of 51 PageID #: 663
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  safety and healthy development of LGBTQ youth in Indiana schools and communities. [Filing

  No. 23 at 5.] In furtherance of this mission, IYG manages a network of student-run groups

  across Indiana that seek to provide safe spaces for LGBTQ students, including one group at BHS

  called the Equality Alliance. [Filing No. 23 at 15.]

         As to intervention as of right, IYG argues that it has a direct interest in this lawsuit that

  might be harmed if it is not permitted to intervene. [Filing No. 23 at 13-19.] Specifically, IYG

  asserts that, if Mr. Kluge prevails and is reinstated with the last-names-only arrangement,

  transgender students at BHS will be harmed because they will feel ostracized, stigmatized,

  humiliated, and unsafe as a result of having a teacher who refuses to address them by their proper

  names and pronouns. [Filing No. 23 at 13-14.] Because IYG represents the interests of these

  students, who are or will be members of the Equality Alliance, and because those students will

  be directly affected by the outcome of this lawsuit, IYG argues that it should be permitted to

  intervene as a matter of right. [Filing No. 23 at 14-15.] In addition, IYG contends that the

  outcome of this action could constrain how it allocates its resources, because it would be forced

  to assist transgender and gender nonconforming students at BHS who are negatively affected,

  instead of expending resources on other issues. [Filing No. 23 at 15-16.]

         IYG argues that BCSC may not adequately protect these interests for two reasons.

  [Filing No. 23 at 17.] First, IYG asserts that it may advance different legal arguments in the

  litigation, including the argument that transgender students have a right to be addressed with

  correct names and pronouns under federal law, and BCSC may not be inclined to make such

  arguments because they acknowledge legal obligations beyond the scope of this lawsuit. [Filing

  No. 23 at 17.] Second, IYG argues that BCSC has different priorities that will affect its litigation

  strategy. [Filing No. 23 at 17.] Specifically, while IYG would focus on protecting transgender



                                                  41

                                                                                       SA-230
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 42 of 51 PageID #: 664
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  students from harm, BCSC may have to balance the interests of teachers, parents, and other

  stakeholders and therefore may be more inclined to resolve the case by striking a balance among

  these interests, instead of arriving at the resolution that would be best for the students. [Filing

  No. 23 at 17-19.]

         IYG attaches three sworn declarations to its Motion to Intervene. [Filing No. 22-1; Filing

  No. 22-2; Filing No. 22-3.] The first is from Christine Paulsen, the Chief Executive Officer of

  IYG, who provides background information concerning IYG and its mission and services and the

  support it has provided to BCSC students. [Filing No. 22-1 at 1-8.] The second declaration is by

  a parent of a student whose transgender son, Aidyn, quit orchestra and transferred to another

  school after Mr. Kluge refused to use his chosen name. [Filing No. 22-2 at 1-6.] The third

  declaration is from Aidyn himself, who avers that Mr. Kluge’s failure to address him by his

  name listed in PowerSchool was an issue that was discussed at Equality Alliance meetings, that

  he left BHS because the controversy surrounding Mr. Kluge subjected the student to bullying,

  and that IYG has provided him with valuable programming. [Filing No. 22-3 at 1-8.]

         In response, Mr. Kluge argues that this Court should disregard the declarations attached

  to IYG’s Motion to Intervene because: (1) Aidyn is not credible, is not transgender, and, in any

  event, no longer attends BHS; (2) Aidyn’s mother’s declaration is based on inadmissible hearsay;

  and (3) Christine Paulsen’s declaration is conclusory and lacks foundation. [Filing No. 53 at 17-

  28.]   In support of his arguments, Mr. Kluge presents declarations from the following

  individuals: (1) himself, disagreeing with the contents of the declarations of Aidyn and his

  mother, [Filing No. 52-6]; (2) his teaching assistant, stating that she supported the last-names-

  only arrangement and never heard Mr. Kluge use incorrect names or gendered language, [Filing

  No. 52-2]; (3) a BHS student, asserting that she never witnessed Mr. Kluge treating transgender



                                                  42

                                                                                      SA-231
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 43 of 51 PageID #: 665
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  students differently and that Aidyn had falsely accused her of bullying because she is a Christian

  who opposes affirming people who identify as transgender, [Filing No. 52-3]; (4) a second

  student, who confirmed that Mr. Kluge followed the last-names-only arrangement and treated

  everyone equally, [Filing No. 52-4]; (5) a third student, who stated that she witnessed Mr. Kluge

  following the last-names-only accommodation and did not hear him use first names or gendered

  language, [Filing No. 52-5]; and (6) a parent of a BCSC student who witnessed Aidyn speaking

  at a school board meeting and perceived that Aidyn had a “personal vendetta” against Mr. Kluge,

  and, based on secondhand accounts of others’ interactions with Aidyn and Aidyn’s social media

  posts, does not believe that Aidyn is a transgender boy, [Filing No. 52-6].

         As to the elements for intervention as of right, Mr. Kluge argues that IYG cannot show

  that it has an interest in the litigation because it cannot demonstrate Article III standing. [Filing

  No. 53 at 29-32.] Specifically, Mr. Kluge asserts that, if he were successful in this lawsuit and

  reinstated with the last-names-only arrangement, “he would not have license to discriminate

  against transgender students” but would simply refer to all students by their last names. [Filing

  No. 53 at 31-32.] Furthermore, he argues, IYG has not shown that Mr. Kluge’s previous use of

  the last-names-only arrangement impaired its ability to provide its programs and services and has

  not presented a statement from any current student, which demonstrates that it does not have any

  interest in the outcome of this suit. [Filing No. 53 at 30-31.] Finally, Mr. Kluge argues that

  IYG’s interests are adequately protected by BCSC, because both entities are seeking dismissal of

  this lawsuit and because BCSC, through enacting policies concerning transgender students, has

  already demonstrated its dedication to ensuring that transgender students are addressed by the

  names and pronouns of their choice. [Filing No. 53 at 32-33.]




                                                   43

                                                                                        SA-232
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 44 of 51 PageID #: 666
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         IYG replies that it has a direct interest in this matter because it provides services to

  LGBTQ students in the BCSC school system and a ruling in favor of Mr. Kluge would

  undermine its mission of helping those students, as reinstating Mr. Kluge with the last-names-

  only accommodation would harm transgender students and force IYG to expend its resources

  supporting those students.     [Filing No. 59 at 6.]       IYG asserts that Mr. Kluge failed to

  acknowledge other cases supporting its position, presented a wholly circular argument that

  intervention was unnecessary because he would prevail on the merits, and ignored the relevant

  standard of review. [Filing No. 59 at 7-9.] IYG argues that, while not required, it has both direct

  and associational Article III standing. [Filing No. 59 at 9-10.] IYG reiterates that BCSC will not

  adequately protect its interest and distinguishes cases cited by Mr. Kluge in his response. [Filing

  No. 59 at 10-13.] IYG attaches to its response declarations from a current transgender student at

  BHS and a teacher at BHS who serves as the faculty advisor for the Equality Alliance, as well as

  an article concerning the positive effects of calling transgender individuals by their chosen

  names. [Filing No. 58-1; Filing No. 58-2; Filing No. 58-3.]

         Mr. Kluge asks the Court for leave to file a sur-reply responding to the evidence attached

  to IYG’s reply. [Filing No. 61.] In his proposed sur-reply, Mr. Kluge disputes the veracity of

  IYG’s evidence and argues that the Court should disregard it. [Filing No. 61-1.] Mr. Kluge’s

  Motion for Leave to File a Sur-Reply, [61], is GRANTED to the extent that the Court has

  reviewed the attached proposed sur-reply, although, as discussed below, the Court concludes that

  the material contained therein is irrelevant and unnecessary to the resolution of the Motion to

  Intervene.

         To intervene as a matter of right in a federal lawsuit under Rule 24, a proposed intervenor

  must satisfy four criteria: “(1) timely application; (2) an interest relating to the subject matter of



                                                   44

                                                                                         SA-233
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 45 of 51 PageID #: 667
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  the action; (3) potential impairment, as a practical matter, of that interest by the disposition of the

  action; and (4) lack of adequate representation of the interest by the existing parties to the

  action.” Planned Parenthood of Wisconsin, Inc. v. Kaul, 942 F.3d 793, 797 (7th Cir. 2019)

  (internal quotations and citation omitted).        “The proposed intervenor has the burden of

  establishing all four elements; the lack of even one requires that the court deny the motion.” Id.

  (citation omitted). The Court must accept as true all non-conclusory allegations in the motion to

  intervene and should not deny the motion “unless it appears to a certainty that the intervenor is

  not entitled to relief under any set of facts which could be proved under the complaint.” Reich v.

  ABC/York-Estes Corp., 64 F.3d 316, 321 (7th Cir. 1995) (internal quotations and citations

  omitted).

         As to the second element, the proposed intervenor must demonstrate a direct, significant,

  and legally protectable interest in the question at issue in the lawsuit, and such interest must be

  unique to the proposed intervenor. Wisconsin Educ. Ass’n Council v. Walker, 705 F.3d 640, 658

  (7th Cir. 2013). Because this inquiry is fact-specific, “making comparison to other cases [is] of

  limited value.” Id. (internal quotations and citation omitted).

         In analyzing whether the named parties inadequately represent the proposed intervenor’s

  interest, the Seventh Circuit applies a “three-tiered” standard. Kaul, 942 F.3d at 799. The

  baseline rule is liberal: the inadequacy requirement is satisfied if the proposed intervenor shows

  that the parties’ representation of its interest “may be inadequate.” Id. (internal quotations and

  citation omitted). “Where the prospective intervenor and the named party have ‘the same goal,’

  however, there is a rebuttable presumption of adequate representation that requires a showing of

  ‘some conflict’ to warrant intervention.” Id. (citation omitted). This presumption of adequacy is

  strengthened to the point of requiring a showing of gross negligence or bad faith where the



                                                    45

                                                                                          SA-234
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 46 of 51 PageID #: 668
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  representative party is a governmental body that is charged by law with protecting the interests

  of the proposed intervenors. Id. (citations omitted). “[Q]uibbles with the [representative party’s]

  litigation strategy” do not create a sufficient conflict of interest to warrant intervention.

  Wisconsin Educ. Ass’n Council, 705 F.3d at 659.

         As a preliminary matter, this Court would like to point out that, though these issues seem

  to be a matter of significant focus in the parties’ briefs, a motion to intervene is not the

  appropriate juncture or vehicle to ask the Court to decide factual disputes concerning Mr.

  Kluge’s conduct during the last-names-only arrangement, students’ reactions to that conduct, or

  the potential impacts of such conduct.       This Court certainly will not adjudicate a dispute

  concerning the gender identity of a non-party minor student, and reminds the parties of their

  obligation to maintain a certain level of decorum that does not include assembling a group of

  different non-parties to criticize a child or weigh in on that child’s gender identity or credibility

  where the child is not even involved in this action. To that end, the Court finds that the

  majority of the material contained in the declarations submitted by both parties is either

  unnecessary or irrelevant to the issue of intervention and borders on inappropriate.

         Consistent with the standard of review, the Court will accept as true the non-conclusory

  allegations in IYG’s Motion, to the extent that such allegations are relevant to the issues actually

  underlying the question of whether intervention is proper. Based on these allegations, the Court

  concludes that IYG has not demonstrated entitlement to intervene in this action as a matter of

  right. Although the Court recognizes IYG’s interest in supporting LGBTQ youth within the

  BCSC community and recognizes that Mr. Kluge’s actions could affect those students, that

  interest is only indirectly impacted by this litigation, which is now focused on Mr. Kluge’s rights

  as an employee under Title VII.



                                                   46

                                                                                        SA-235
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 47 of 51 PageID #: 669
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         Regardless, even if IYG has a direct interest in this litigation, it has not shown that such

  interest would not be adequately protected by BCSC. IYG has conceded that it has “the same

  goal” as BCSC—dismissal of this action—and therefore a rebuttable presumption of adequacy

  arises. See Kaul, 942 F.3d at 799. To rebut this presumption, IYG offers only the fact that

  BCSC may advance “different legal arguments” and that BCSC has different priorities that might

  affect its litigation strategy. Notably, however, BCSC enacted the policies in question, refused to

  back down from those policies, and is defending this action, presumably because of its desire to

  protect its transgender and gender nonconforming students. The assertion that BCSC may decide

  that advancing the argument that transgender students have the right to be addressed by their

  chosen names and pronouns because such argument might not be necessary to resolution of this

  lawsuit is unavailing. Specifically, an argument not necessary to the resolution of the lawsuit

  likely is not properly before the Court in the first place, and even if it is, IYG merely speculates

  that BCSC would not properly advance it. Although BCSC has not yet raised the argument that

  transgender students have the right to be called by their preferred names and pronouns, in the

  context of this particular lawsuit, that argument is relevant only to the undue hardship portion of

  the Title VII claim, which, as previously noted, is not properly before the Court at this time.

  Furthermore, the contention that BCSC might balance the interests of other stakeholders is

  conclusory, because there is no indication as to what those other interests might be or how

  considering those interests would harm students. Accordingly, to the extent that IYG seeks

  intervention as a matter of right, the Motion is DENIED.

         B. Permissive Intervention

         In the alternative, IYG argues that it satisfies the requirements for permissive intervention

  because: (1) its defenses share common questions of law and fact with the main action; (2) its


                                                  47

                                                                                       SA-236
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 48 of 51 PageID #: 670
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  motion is timely; and (3) it does not intend to assert any counterclaims, so there is no need for an

  independent showing of jurisdiction. [Filing No. 23 at 19-20.] IYG also argues that intervention

  would be in the interest of judicial economy because if Mr. Kluge were reinstated and permitted

  to refuse to call students by the correct names and pronouns, IYG or other affected parties might

  then sue BCSC for discrimination, resulting in serial and potentially conflicting litigation of the

  same issues. [Filing No. 23 at 20.] For these reasons, IYG asserts, courts have regularly

  permitted LGBTQ-focused public interest groups to intervene in challenges to school policies

  protecting transgender students. [Filing No. 23 at 20-21 (citing cases).]

         Mr. Kluge responds that IYG does not satisfy the requirements for permissive

  intervention because it does not present any claim or defense for which there is independent

  jurisdiction. [Filing No. 53 at 33-35.] Mr. Kluge further asserts that, even if IYG did satisfy the

  requirements for permissive intervention, the Court should exercise its discretion to deny the

  motion because granting the motion would delay the adjudication of this matter and prejudice his

  rights because litigating a second motion to dismiss would waste judicial resources. [Filing No.

  53 at 34-35.]

         In reply, IYG argues that Rule 24(b) does not require an independent basis for

  jurisdiction, but instead requires only that its claims or defenses share a common question of law

  or fact, which is the case here. [Filing No. 59 at 13-14.] IYG further argues that Mr. Kluge’s

  assertion that intervention has delayed this action and will result in prejudice to him is

  conclusory and baseless. [Filing No. 59 at 14.] In addition, IYG asserts that intervention would

  promote judicial economy because it would prevent IYG from having to file a separate lawsuit if

  Mr. Kluge prevails in this action. [Filing No. 59 at 14-15.]




                                                  48

                                                                                       SA-237
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 49 of 51 PageID #: 671
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


         As to permissive intervention, upon a timely motion, a district court “may permit anyone

  to intervene who . . . has a claim or defense that shares with the main action a common question

  of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). The decision whether to permit intervention is

  “wholly discretionary.” Kaul, 942 F.3d at 803 (citation omitted). While the Federal Rules

  require a district court to consider whether intervention would unduly delay or otherwise

  prejudice the adjudication of the original parties’ rights, they otherwise leave the court with

  ample authority to consider a wide variety of factors and manage the litigation before it. Id.

  (citing Fed. R. Civ. P. 24(b)(3)).

         Here, as IYG acknowledges, it is not asserting a claim or defense independent of the

  defenses already asserted by BCSC and indeed is seeking only to dismiss this lawsuit. To that

  end, the issues it raises do indeed share common issues of law and fact with the main action

  because it has raised exactly the same issues. Notably, the arguments raised in IYG’s proposed

  Motion to Dismiss, [Filing No. 55-2], are essentially the same as the arguments advanced by

  BCSC in its Motion, with the exception of the undue hardship argument which BCSC has

  correctly not raised at this juncture. In other words, judicial economy will not be served by

  permitting IYG to intervene because, as discussed above, its intervention would add nothing to

  the litigation. Thus, the Court declines to exercise its discretion to permit IYG to intervene, and

  its Motion is DENIED to the extent that it seeks permissive intervention.

         As a final note, the Court emphasizes that nothing in this Order should be construed as

  prohibiting IYG from seeking permission to file an amicus curiae brief, should a situation arise

  in which doing so would be appropriate. See e.g., Monarch Beverage Co. v. Johnson, 2014 WL

  7063019, at *1 (S.D. Ind. Dec. 11, 2014) (explaining that, while the Federal Rules of Civil

  Procedure do not expressly contemplate the submission of amicus briefs in the district court, the



                                                  49

                                                                                      SA-238
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 50 of 51 PageID #: 672
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


  court may permit such briefs in accordance with the principles underlying Federal Rule of

  Appellate Procedure 29, which concerns amicus briefs at the appellate level). However, the

  Court reminds IYG that such filings, if permitted upon proper motion, should provide the Court

  with additional helpful theories or insights, not merely reiterate arguments already raised by the

  parties. See Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997)

  (explaining that amicus briefs that merely “duplicate the arguments made in the litigants’ briefs”

  are “an abuse” and should not be allowed).

         C. Motion for Leave to File a Motion to Dismiss

         Given the Court’s denial of IYG’s Motion to Intervene, described above, the Motion for

  Leave to File a Motion to Dismiss, [55], is DENIED AS MOOT.

                                                 III.
                                            CONCLUSION

         Based on the foregoing, the Court makes the following rulings:

  1. Defendants’ Motion to Dismiss, [44], is GRANTED IN PART and DENIED IN PART as

     follows:

         a. The Motion is GRANTED to the extent that all claims against Defendants Dr. James
            Snapp, Phil Utterback, Jodi Gordon, and Dr. Bret Daghe individually in their official
            capacities are DISMISSED WITH PREJUDICE.

         b. The Motion is GRANTED to the extent that the following claims against BCSC are
            DISMISSED WITH PREJUDICE:

                 i. Count 3: Hostile Work Environment under Title VII,

                ii. Count 4: First Amendment Retaliation,

                iii. Count 5: Content and Viewpoint Discrimination under the First Amendment,

                iv. Count 6: Compelled Speech under the First Amendment,

                 v. Count 7: Free Exercise of Religion under the First Amendment,

                                                 50

                                                                                     SA-239
Case 1:19-cv-02462-JMS-DLP Document 70 Filed 01/08/20 Page 51 of 51 PageID #: 673
         Case: 24-1942   Document: 16     Filed: 07/10/2024 Pages: 306


               vi. Count 8: Unconstitutional Conditions,

              vii. Count 9: Due Process,

              viii. Count 10: Equal Protection,

               ix. Count 11: Claims under the Indiana Constitution,

                x. Count 12: Intentional Infliction of Emotional Distress, and

               xi. Count 13: Fraud;

         c. The Motion is DENIED to the extent that the following claims SHALL PROCEED
            against Defendant BCSC only:

                i. Count 1: Failure to Accommodate under Title VII, and

                ii. Count 2: Retaliation under Title VII.

  2. Mr. Kluge’s Motion for Leave to File Sur-Reply Responding to IYG’s New Evidence Cited
     in its Reply in Support of Motion to Intervene, [61], is GRANTED to the extent that the
     Court considered the attached proposed sur-reply.

  3. IYG’s Motion to Intervene as Defendant, [22], is DENIED.

  4. IYG’s Motion for Leave to File a Motion to Dismiss Plaintiff’s Amended Complaint, [55], is
     DENIED AS MOOT.




      Date: 1/8/2020




  Distribution via ECF only to all counsel of record


                                                  51

                                                                                 SA-240
              Case 1:19-cv-02462-JMS-DLP Document 15-1 Filed 07/15/19 Page 1 of 1 PageID #: 105
                             Case: 24-1942 Document: 16 Filed: 07/10/2024 Pages: 306
               . ~t<'unitys½
                                     1 BROWNSBUR G COMMUNITY SCHOOL CORPORATI ON

          f
          0
                               \<!, F.L. O'NEAL ADMINISTRAT ION CENTER
         "'
          ~                     0
                                :,
                                     310 Stadium Drive
                                     Brownsburg, IN 46112
                                     (317) 852-5726
                                     www.brownsburg.k 12.in.us




        TO:                 John Kluge
        FROM:               Bret Daghe
        DATE:               July 28, 2017



        You are directed to recognize and treat students in a manner using the identity indicated in
        PowerSchool. This direc1t ive is based on the status of a current court decision applicable to Indiana.
         ·v aCArct --+hJ)- \Ph V\ rnav f)U:_ ~ )~, hO y)tQ on Iy to add f[S__( sfuaoA-k ,~
              Q_
        You aCO<.llso directed to not attem~t to counsel or advise students on his/her lifestyle choices.



        Please indicate below if you will comp ly with this directive. This document must be returned to me
        b 7 . on Monday, July 31, 2017.

        _ _ Yes, I will comply with this directive.

        __ No, I will not comply with this directive.




       Cc: Personnel file




      KLUGE V. BCSC
         EXHIBIT
           A
7-31-17 ACCOMMODATI ON AGREEMEN T
                                                                                                   SA-241
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 1 of 7 PageID #: 107
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


 TO: Brownsburg School Corporation HR Director Jodi Gordon
 FROM: John Kluge
 Date: Friday, May 25, 2018

      WITHDRAW AL OF INTENTION TO RESIGN AND REQUEST FO
                                ACCOMODATION

    I requested a meeting with you, HR Director Jodi Gordon, and BHS building prin-cipal Dr. Bret

 Daghe that was scheduled for Friday, May 25, 2018 at 1:30pm at BCSC Central Office. I arrived on time

 and Dr. Daghe told me that, contrary to what had been planned, he said "We have everything we need.

 We don't need to meet. Go back to the high school." When I insisted that I had set up this meeting to talk

 to HR and Dr. Daghe and that I needed to talk to you about -something new, Dr. Daghe ordered me not to

 go upstairs to your office and to instead return to the high school. I'm confused how "We nave

 everything we need," as Dr. Daghe claimed, since you had agreed to not take any action on my forced

 intent to resign. I'm also confused as to why Dr. Daghe thinks he is entitled to prohibit me from

 accessing you, the school corporation's HR director, even at our appointed meeting time. What I was

 going to present to you was the following:

    Today I am WITHDRAWING my emailed intention to resign sent to you April 30, 2018 for which

 you had agreed to withhold processing at my specific request. The time that you have given me to

 consider this intended action has been helpful for me to realize that there was no choice for me and my

 family. Effectively, a gun was placed to my head forcing my signature. I now see that this effort by the

 administration was a means to compel me to deny my religious beliefs, and to punish me for these

 beliefs. It is infringing on my protections of free speech by compelling me to demonstrate and embrace

 core personal-development values for youth that are totally in opposition to my actual heartfelt beliefs. In

 previously agreeing to an Accommodation for my use of last names only for all of my students, I relied

 upon a good faith effort by the administration to be sensitive to my faith and my adherence to a respectful

 means of working with my employer as well as equally honoring my students. This approach was

                                                                                               KLUGE V. BCSC
                                                                                                  EXHIBIT
                                                                                                    C
                                                                                      SA-242
                                                                                        5.25.18 JK RESCISSION OF RESIGNATION
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 2 of 7 PageID #: 108
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  successful, in that -it demonstrated a teacher's commitment to personal values, even while individual

  students, both within the transgender population and outside of it, as well as the classes as a whole,

  advanced in measureable ways. Plus there is no burden on Brownsburg School Corporation in

 maintaining my Accommodation. Accordingly, if the Brownsburg Sehool Corporation retracts the

 Accommodation afforded me this year, it does so without just cause. In threatening me with rescission of

 my rights to be compensated throu_gh the summer, the administration has acted in a high-handed,

 arbitrary, illegitimate, and most likely, illegal manner. I request that the School Corporation maintain my

 employment for the upcoming school year, and renew the present Accommodation that will allow me to

 continue to perform my job.

     What follows is a timeline that I believe reflects the facts leading up to the administration' s effort to

 squeeze me out of the school, along with some of the reasons for my NOT agreeing to this effort to force

 my resignation.

     ■   January 23 , 2017 -Administration invited Craig Lee, the teacher sponsor of the LGBT
         "Equality Alliance" club at school, also a union representative of the teacher' s union (the
         union which I have opted to not join) to speak at a faculty meeting. In "starting a
         dialogue" about transgenderism, Lee solicited questions/concerns that the faculty had
         about transgenderism, asking faculty to write them down on an index card for the
         administration to look over. Lee said they were doing this because he claimed to have
         been receiving at least 1 or 2 emails a month asking him for advice regarding transgender
         students in their classes. At this meeting, I asked the question out loud about how the
         school will handle diverse worldviews such as those who believe transgenderism is
         sin/sexual immorality. The moderator thanked me for the question, asserting that those
         were good questions to ask, but my question went unanswered.

     ■   February 27, 2017 -Administration again invited Craig Lee as well as Lori Mehrtens,
         one of our guidance counselors, to give a presentation on what transgenderism is, why we
         need to encourage students in it who have these feelings, why it is sometimes good to
         keep the information from their parents and cultivate it secretly at school (because of the
         possibility of their parents abusing them), and they stated that the #1 goal as teachers was
         to make our students "comfortable."

     ■   May 15, 2017 - I met with BHS building principal Dr. Bret Daghe to read out loud a
         letter that had been previously written, and I, accompanied by other faculty, discussed the




                                                                                         SA-243
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 3 of 7 PageID #: 109
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


         contents. I pleaded with Daghe to not pursue the transgenderism path that was being
         presented. In this meeting, Daghe indicated that he had resisted changing the names in the
         online PowerSchooI database up to this point. The three other teachers and I left that
         meeting in disagreement, and I was dejected by the tension of the school leadership in
         pushing us to call students by names other than the sexually correct birth names. I soon
         returned to Daghe' s office and told him that ifhe had been able to resist changing the
         students' names in the online database, good for him and he should keep on resisting.

     ■   Summer 201 7 - High School Guidance Counselor Lori Mehrtens announced that the
         students were now permitted to change their first name in the official school database,
         "PowerSchool", and stated that their parents were on board with it. They also informed
         only these students-not the student body at large-that they could use the general
         bathroom of the opposite sex if they wa...11ted to. Otherwise they needed to use the nurse's
         single-stall bathroom. They would not be incorporated into the opposite sex's changing
         room, but would be provided with a separate changing area for gym and for performing
         arts concerts. Up to this point, the students who were uncomfortable using the bathroom
         that matched their biological sex had been given the option of using the single-stall
         bathroom in the nurse's office.

     ■   July 18, 2017 - I receive a couple of emails from Mehrtens supposedly informing me and
         other teachers having 2 transgender students in our classrooms, in light of this summer's
         changed policy. We were also instructed on a reporting process as to other students who
         were not in compliance with these developing policies, policies which had not been made
         known to either the general student body or the general body of parents.

     ■   July 27, 2017 - On the first day of school I planned to take roll call using the students'
         legal first names, because the email of July 18 used language that was permissive, not
         mandatory, stating, "feel free to call them their transgender names." I planned to do this
         because my conscience would not allow me to encourage students in transgenderism. To
         protect myself from encouraging what my faith states is sinful behavior, I opted to adhere
         to the stated words in the email and to call the 2 students by their legal names. I met with
         Daghe briefly and told him that I could not in good conscience call these students by their
         transgender names. Daghe told me to hold tight in my office till he could discuss it with
         Superintendent Dr. Jim Snapp. Later that morning, Snapp and Daghe met with me for
         about 2-3 hours. During this meeting, I explained my Christian convictions and urged
         them not to pursue this path. During the meeting, Snapp gave me three options: (1)
         comply with calling students transgender names, (2) say that I was "forced to resign," or
         (3) get fired. I told them that I would rather get fued than resign because I wanted to
         teach at the school and didn't want to quit on the kids. If they were going to end my job, I
         wouldn't do it for them. With that, we ended the meeting. Because I had chosen option
         3, Snapp initiated an administrative leave of absence beginning immediately, pending
         termination procedures.




                                                                                       SA-244
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 4 of 7 PageID #: 110
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


     ■   July 31 , 201 7 - After giving prayerful consideration to my plight, I met with Snapp and
         asked to be given an Accommodation. I suggested that I use last-names-only like
         coaches generally use when addressing the students. I also requested that I not be
         required to handle the uniform responsibility, and Snapp agreed to this, and agreed that
         another school employee would distribute the uniforms to the students, which actually
         had been the practice previously. This Accommodation was agreed upon by both ofus,
         and we both signed an agreement to that effect.               ,

     ■   August 7, 2017 - Despite our agreement, I was given an Administrative leave of absence
         from July 27-28, 2017, a suspension, at the BCSC School Board meeting. It has never
         been made clear to me as to why this occurred.

     ■   August 14, 2017 -Assistant Superintendent Kat Jessup presented what she submitted to
         be new transgender policies to the high school faculty at a faculty meeting.

     ■   November 6, 2017 - Teachers from our school were asked at a faculty meeting to write
         down any questions/concerns/scenarios-they-had-questions-about on an index card. The
         administration collected them and told the faculty that Jessup would work on answering
         these questions with counsel from the school' s lawyer and report back at our December
         2018 meeting. I later learned that Brownsburg East Middle School and Brownsburg West
         Middle School were presented with the same scenario as was our faculty.

     ■   December 2017 - Jessup postponed this presentation on transgenderism by another
         month because answers had not been formulated to all the questions that had been
         submitted by faculty in November.

     ■   December 13, 2017 -Daghe scheduled a meeting with me to ask me how the year was
         going and to tell me that my last-name-only Accommodation was creating tension in the
         students and faculty. He said the transgender students reported feeling "dehumanized" by
         my calling all students last-name-only. He said that the transgender students' friends feel
         bad for the transgender students when I call the transgender students, along with
         everyone else, by their last-name-only. He said that I am a topic of much discussion in
         the Equality Alliance Club meetings. He said that a number of faculty avoid me-and don't
         hang out with me or include me as much because of my stance on the issue.

         Daghe said that parents complain about me. He stated that a transgender student' s mother
         complained to the principals about my orchestra policy, that it was an unfair and
         unwarranted policy that should be removed. The building principal asked if the other
         teachers had this same policy. I told him "yes" and sent him their policies and mine. He
         responded to the parent and the parent backed down. This was a policy by my entire
         performing arts department that students must have natural-colored hair for performances
         so they don't distract from the music being played.




                                                                                     SA-245
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 5 of 7 PageID #: 111
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


         Daghe referred to this parent complaint in this meeting as being evidence of me being
         singled out while other teachers with the same policies did not receive any complaints.

         I explained to Daghe that this persecution and unfair treatment I was undergoing was a
         sign that my faith as witnessed by my using last-names-only to remain neutral was not
         coming back void, but was being effective. He didn't seem to understand why I was
         encouragecl.. He told me he didn't like things being tense and didn't think things were
         working out. He said he thought it might be good for me to resign at the end of the year. I
         told Daghe that I was now encouraged all the more to stay.

     ■   January 17, 2018 -Daghe scheduled a meeting with me because he said he didn't think
         he was direct enough in our December 13 meeting. He told me in this meeting plainly
         that he really wanted to see me resign at the end of this school year. I told him that it was
         simply because he didn't like the tension and conflict. But I used examples in scripture to
         point to why this is a sign that I should stay. I referenced Acts 19:11-41 with Paul's
         conflict in Ephesus and 1 Corinthians 16:8-9 when Paul was encouraged by the
         opportunity, saying "a wide door for effective service has opened to me, and there are
         many adversaries."
         Daghe asked me if I was going to resign. He offered to write me letters of
         recommendation, etc. I told him I'd have a clearer picture if I would stay or leave after
         the January 22, 2018 faculty meeting where the new trans gender policies would be
         announced. I told him I'd meet with him after those policies were announced and we
         could follow up with this meeting.

     ■   January 22, 2018 -Jessup presented the faculty with a Q and A document she and the
         lawyer had come up with. These policies were not being announced to the general student
         population, to the parents or community. They went into effect immediately except for
         the last-name-only Accommodation which had been permitted under my
         Accommodation, was to be withdrawn next school year. The document provided in part
         that (1) transgender students could now use the restroom of their choice, i.e. men's,
         women's, single-stall nurse's office; (2) "fully transitioned" transgender students could
         now change in the opposite sex's locker-room (gym) and changing room (performing arts
         concerts) instead of changing in a separate changing area-"fully transitioned" was not
         defined.

     ■   January 31, 2018 - I scheduled a meeting with Daghe because I had told him I'd get back
         with him after the faculty meeting that occurred January 22, 2018, regarding his question
         as to whether I would resign at our January 17, 2018 meeting. I asked Daghe to elaborate
         on details of what resignation would look like, which he did.

     ■   February 4, 2018 -I sent an email to Snapp and Daghe reminding them that it was my
         understanding that, per our signed agreement, I would be allowed to use last-names-only
         indefinitely, and inquired as to whether this was correct understanding.




                                                                                       SA-246
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 6 of 7 PageID #: 112
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


      ■   February 6, 2018 - HR director Jodi Gordon and Daghe scheduled a m~eting with me.
          During this meeting, Daghe told me that, in response to my February 4, 2018 emair, the
          answer was "no," I would not be allowed to continue using last-names-only. It was said
          in the meeting that I would be fired starting in the summer if I intended to use last names
          only. They said my Accommodation was unreasonable because students were "offended"
          at me using last-names-only. I told Gordon and Daghe they were acting illegally and
          discriminating against their Christian employees in violation of Title VII. In this meeting,
          I told Gordon that Daghe wants meto resign at the end of the school year. Gordon
          informed me that I would be paid over the summer if I resign.

      ■   March 15, 2018 - Gordon scheduled a meeting with me. She told me that I would have to
          hand in a resignation letter by May 1, 2018 ifl wanted to resign. Ifl failed to do-that, the
          termination process would start May 1, 2018 so that I could be out the door by June,
          2018. Gordon called it a "contract cancellation" for the following school year.

      ■   April 30, 2018 -I sent an email to Gordon. In the email I indicate that I intend to resign
          at the end of the school year with reference to the ultimatums with which I had been
          presented. I asked that my email not be processed or anyone told about its contents before
          May 29, 2018. Gordon responded that she would honor this request. By today's letter, I
          am now RESCINDING that April 30, 2018 email stating an intention to resign.
  I am quite concerned that the compelled speech in which BHS has engaged itself is a threat to
  my own right of expression. As a teaching professional, I have never experienced such effort at
  blackmailing me and students with threats of repercussions should we voice dissent with the
  latest and evolving policy towards the faculty and students insofar as references to transgender
  students.

  I greatly object to the stifling of my religious beliefs as well as those of others who are-in my
  charge. What fol-lows are a few of my concerns.

  I adhere to a biblically-based belief regarding the inherent dignity of every individual, that we
  are all created in the image of God and that, as a result, each person is entitled to be treated with
  dignity and respect.

 The Bible teaches that there were created two distinct, complementary sexes, not subject to
 human change, and that I, as a teacher, cannot tell someone that their gender is something
 different than what God biologically created them to be.

 There is no conflict between my heart for finding and exercising dignity towards another and my
 differing beliefs. Christians may not agree with the religious beliefs of a Hindu or Muslim, but
 that does not mean that a Christian cannot peacefully work cooperatively with someone of a
 different faith. In fact, we do it every day. But a Christian could not be required to affirm the
 truth of a Hindu or Muslim's beliefs, as that would conflict with the Christian's own beliefs.




                                                                                         SA-247
Case 1:19-cv-02462-JMS-DLP Document 15-3 Filed 07/15/19 Page 7 of 7 PageID #: 113
         Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


  I see no difference in the gender identity conflict. Christians can and should be able to peacefully
  work and interact with those who assert a gender identity different from their biological sex. But
  the Christian must not be required to affirm as truth a person' s mistaken gender identity.

  Without an Accommodation, the Brownsburg School Corporation' s continually changing
  policies, which appear to be based upon the shifting sands, make imyossible a congruence
  between the two world views of my own and others' faiths and the compelled speech of gender
  alteration.

  For the numerous reasons that I have stated here and over the past year, I request that the School
  Corporation continue my employment and maintain the present Accommodation that will allow
  me to continue to perform my work, which I hope that you will agree has brought positive
  recognition and favorable results to the school.


  Respectfully,




  John Kluge


  Submitted to Jodi Gordon on Friday, May 25, 2018




                                                                                      SA-248
             Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 1 of 11 PageID #: 114
                      Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


                                                  TRANSGENDER QUESTIONS

                  Important Information for you to Know:
                     • By federal law, the School is prohibited from disclosing any student's personal
                        information with members of the public. This includes answering questions about
                        whether a transgender students is enrolled in the School or at a specific building.
                     • School policy prohibits discrimination on the basis of sex or gender conformity.
                     • It is expected that school employees treat all students fairly and provide all students
                        with equal access to educational programs and activities.
                     • Any requests for information about transgender students, policies, etc. should be sent
                        to administration.




                  East Middle School

                  Legal Questions:

                         1. What is the legal requirement of administration to identify the transgender students
                            and to relay that information to the teachers? BCSC allows name changes with a letter
                            from the student's parent(s} and a letter from a health care professional. These letters
                            must both be submitted before a change is made in PowerSchool. In the year the
                            change takes place we will notify the teachers. Once the change in PowerSchool, etc.
                            has taken place, there would be no further notification of future teachers unless
                            requested by the parent and/or student.

                         2. What is the legal protocol for a student deciding to change his/her name? BCSC allows
                              name changes with a letter from the student's parent(s} and a letter from a health care
                          - . professional. These letters must both be submitted before a change is made in
                              PowerSchool.

                  BCSC Policy Questions: BCSC is working to develop policy that reflects the answers of this
                  document.

                         1. What is the BCSC policy regarding restroom and locker room usage for transgender
                            students? It is BCSC practice that Transgender students can use the restroom of their
                            choice.

                  Logistical Questions:

                         1. How do teachers determine which restroom the student should use? (4) Teacher will
                            not make the determination; the student can use the restroom of their choice.


       KLUGE V. BCSC
                                                                                                     Revised 1/3/18 kj
           EXHIBIT
                  D
1-3-18 BCSC TRANSGENDER QUESTIONS POLICY
                                                                                                        SA-249
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 2 of 11 PageID #: 115
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


     2. What is the best way to approach a name change during the course of the school year
        to the rest of the class? This is a conversation that should happen with the student and
        the counselor. The name change will, in most cases, happen with no announcement to
        the class. If students ask about the name change, the teacher would respond along the
        lines of, "Jessica is her name . Please be sure that is the name you are calling her."

     3. How does the transgender situation affect sporting events {i.e., locker room changing,
        teams, etc.)? For sporting events, IHSAA has guidelines for schools to follow. We will
        follow those same rules at the middle school. As far as locker rooms and changing, fully
        transitioned students will be allowed to use the dressing room of their gender. Students
        who are not fully transitioned will be allowed an alternate dressing location.

     4. What do groups do about uniforms (i.e., orchestra, band, choir, sports, etc.) when
        they fit differently and are gender specific? The uniform that matches the student's
        chosen gender should be offered .

     5. What does the choir do about singing parts that are gender specific (i.e., student
        identifies as gender A but can only sing the parts for gender B)? ISSMA has developed
        rules regarding transgender students and singing parts. Students should be placed in
        singing groups according to their vocal ranges, not their gender.



  West Middle School

  Legal Questions:

     1. Can we legally call a student by his/her preferred name with no other background
        information or legal paperwork? BCSC allows name changes with a letter from the
        student's parent(s) and a letter from a health care professional. Both must be
        submitted before a change is made in PowerSchool. Once that is completed, the
        name/gender in PowerSchool should be used.

     2. What is the legal liability for employees using the wrong pronouns or names with
        transgender students? {2) It is the employee' s professional responsibility to follow the
        expectations and guidelines set forth. (Please see the question and answer above for
        additional guidance.) The consequences in this case could depend on if this is the first
        time and/or the intent in calling the student the wrong name/pronoun.

     3. What is the legal requirement for following the student's wishes and the parent's
        wishes regarding the name change as well as the gender change? Which do we
        follow: student or parent? This is a parental choice; they are involved in this process.

  BCSC Policy Questions: BCSC is working to develop policy that reflects the answers of this
  document.

                                                                                   Revised 1/3/18 kj


                                                                                     SA-250
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 3 of 11 PageID #: 116
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306



     1. What is the BCSC policy on informing employees that a student is transgender? In the
        year the change takes place we will notify the teachers. Once the change in
        PowerSchool, etc. has taken place, further notification would be done on a case by case
        basis at the discretion of the school counselor.

     2. What is the BCSC policy on transitioning transgender students to BHS (i.e., counselors,
        teams, etc.)? The middle school counselors will work with the student and their family
        on the initial transition to the high school. Once the high school counselor has been
        brought on board, the high school counselor will begin to work with the student to
        make the transition to BHS.

     3. What is the BCSC policy on consistency between EMS, WMS, and BHS in terminology
        and policy? It is our belief that terminology and policy should be the same between the
        middle schools and high school. This document assists in communicating a coherent
         plan.

     4. How is the district handling the situation? BCSC is working to create an environment
        which is accepting of all students.

     5. How early is the situation being dealt with and addressed within our schools? We are
        dealing with situations as we become aware ·of them.

  Logistical Questions:

     1. How do we handle students who want to be called by a different name? We expect
        staff to call students by the name in PowerSchool. It is fine for teachers to call students
        by a commonly accepted nickname - Kim or Kimmy for Kimberly, Alex or Xander for
         Alexander, etc.

     2. How do we handle restroom issues? (4) Transgender students can use the restroom of
        their choice.

     3. How do we explain transgender student situations to the other students? Teachers do
        not need to explain transgender situations to other students. If students want to talk
        about transgender topics, they can speak with their counselor.

     4. What do we do with the parent complaints regarding restroom usage by transgender
        students? Send the concerns/complaints to administration.

     5. How do we avoid students "claiming" they are x gender to use a different restroom? If
        there are students you feel are abusing this, please contact administration.




                                                                                   Revised 1/3/18 kj


                                                                                      SA-251
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 4 of 11 PageID #: 117
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


     6. How do we avoid the restroom use becoming a distraction? If the use of bathrooms is
        a distraction, please contact administration to discuss your concerns.

     7. How do we address the "pronoun" issue? (2) It is our expectation that teachers use the
        pronoun associated with the gender as it appears in PowerSchool. If they/them is
        requested, we expect that pronoun to be used as well.

     8. Can we still split the class into boys and girls (i.e., Pacer Test)? Yes. However, a
        transgender student would be placed with their identified gender. Staff are encouraged
        to consider other ways of dividing students rather than always using gender - alpha
        order, birth month, etc.



  Awareness/Informational Questions:

     1. What does transfluid mean? This gender identity is described as a mix between male
        and female. People who are transfluid report feeling more male at times and at other
        times more female.

     2. Can you review terminology and how to properly use it? Specific terminology is needed
        to answer this question.

     3. How do we help educate and support while still respecting that this issue can be
        controversial? Our expectation is that staff is supportive of all of our students. As we
        understand it is a controversial issue, we feel it is best to not attempt to educate
        students about transgender issues.

     4. What are some suggestions for the struggles with culture and with handling situations
        with transgender students? We should strive to create a culture that is tolerant of all
        students and their differences.

     5. What are some suggestions for handling the students who do not understand and/or
        the parents who wish for their child/children not to learn or to be exposed to these
        topics? We understand there are parents and students who do not want to learn about
        or be exposed to these topics. As stated above, we do not expect staff to educate about
        these topics. Rather, we expect for our staff to demonstrate and encourage respectful
        behavior.

     6. Will there be an LBGTQ club? There is currently an Equality Alliance Club at the high
        school, however, it does not provide counselor directed support. An Equality Alliance
        Club could be started at the middle school level based on student interest and sponsor
        interest.




                                                                                   Revised 1/3/18 kj


                                                                                     SA-252
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 5 of 11 PageID #: 118
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


     7. How much of the transgender behavior is attention seeking behavior? This question is
        difficult to answer as attention seeking behavior is based on individual actions not the
        actions of a group .




                                                                                Revised 1/3/18 kj


                                                                                   SA-253
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 6 of 11 PageID #: 119
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


  High School

  Legal Questions:

     1. How do we legally deal with a student telling us not to reveal their transgender
        identification to their parents? Staff members who are told by a student they are
        transgender and have not told their parents should encourage the student to discuss
        this with either their guidance counselor or an administrator. If the staff member is
        concerned about the welfare and/or does not believe the student will seek out the
        counselor or administrator, the staff member should contact the counselor or
        administrator immediately.

     2. What is our legal responsibility in keeping gender choices and names from parents
        (per student's request} especially if the student is a minor? (2) Changing a student
        name and/or gender in PowerSchool is a parental choice; they are involved in this
        process. Staff members are required to call students by the name listed in PowerSchool.

     3. When contacting parents, which name do we use: legal or requested? The name listed
        in PowerSchool is the name you should use.

     4.   Legally, do we go with the parental choice on name/gender or the student's choice?
          The name in PowerSchool should be used.

     5. What are the legal expectations required by teachers when working with a
        transgender student/parent(s}? Are they merely suggestions, or are they
        requirements by law? (6) If this question is referring to the name of a student - the
        name in PowerSchool should be used; this BCSC practice based on current case law.

     6. Are teachers required to call the student by his/her preferred gender? (2) The
        name/gender in PowerSchool should be used.

     7. What legal consequence would a teacher receive if accidentally calling a student by
        the wrong name/pronoun especially if the student is explosive and reports the
        incident or if the situation leads to their self-harm or their reporting of my action? It is
        your professional responsibility to follow the expectations and guidelines set forth by
        the school district. The consequences in this case could depend on if this is the first
        time and/or the intent in calling the student the wrong name/pronoun.

     8. What legal documentation is required by the student who is transgender (i.e., name
        change, etc.}? BCSC allows name changes with a letter from the student's parent(s) and
        a letter from a health care professional. These letters must both be submitted before a
        change is made in PowerSchool.




                                                                                   Revised 1/3/18 kj


                                                                                     SA-254
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 7 of 11 PageID #: 120
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


     9. Because of the medication aspect for some transitioning transgender students, is a
        504 plan warranted in these cases? What is the legal responsibility? 504 plans are
        investigated on a case by case basis. Just because a student is on medication does not
        require them to be on a 504 plan.

     10. What are the legal implications if the student has not made us aware of the change or
         we do not know of the change? We can only deal with what we are aware of.

  BCSC Policy Questions: BCSC is working to develop policy that reflects the answers of this
  document.



     1. How will the corporation respond to those who believe transgender issues reveal a
        level of mental illness? If a staff member feels a student has any mental health issue
        they should be contacting the student's counselor. Staff members should not confront
        students regarding what they believe could be a mental illness. They should refer all
        concerns of this nature to the counselor or administration.

     2. What is the policy on teachers taking the student's cue to call him/her by a different
        name if there is no office/administrati1Je directive? Do we honor that as a
        corporation? (12) We expect staff to call students by the name in PowerSchool. It is
        fine for teachers to call students by a commonly accepted nickname - Kim or Kimmy for
         Kimberly, Alex or Xander for Alexander, etc.

     3. What is the BCSC policy on overnight trips and the transgender students? For
        example, what is the policy on parents (or students) who demand that their children
        room with students of the opposite sex? (6) BCSC will not allow students of opposite
        birth gender to room together during overnight trips. Alternatives will be discussed well
        in advance of any trip and can include, but not limited to: rooming alone, rooming with
        a parent, etc.

     4. Does BCSC provide support groups for transgender students? We don't have any
        specific support group, but the Quality Alliance Club is available for students. This
        group, however, does not provide counselor directed support.

     5. What is the process or requirements for changing names of transgender students in
        Power School? Can Power School be marked to identify parent knowledge or lack of
        knowledge in the change to the student's name? The name is only changed in Power
        School if we have a parent letter and letter from a medical professional.

     6. If there is no change of name/gender in Power School or no support from home in
        making this change, how does BCSC proceed? Is there a policy in place? (8) Same
        question as above


                                                                                   Revised 1/3/18 kj


                                                                                     SA-255
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 8 of 11 PageID #: 121
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306


     7. What is the policy on informing parents of the change? Who informs the parent?
        There would be no change without parent involvement.

     8. What are the bus seating policies? (4) Currently, we have worked through each bus
        situation on a case by case basis. Typically, the school counselor or administrator works
        with the Transportation Department to develop a solution.

     9. What if a student identifying as the opposite gender wants to be in a sport of the
        opposite gender? Does BCSC policy allow for this? The IHSAA has guidelines for
        schools to follow regarding this. BCSC will follow these guidelines. ISSMA also has
        guidelines regarding transgender students. BCSC will follow these guidelines.

     10. How are transgender students identified in our school data sub groups: by birth
         gender or assumed gender? Birth gender

     11. What is the policy on dressing room assignments for transgender students? (2) Fully
         transitioned students will be allowed to use the dressing room of their gender. Students
         who are not fully transitioned will be allowed an alternate dressing location.

     12. What is the policy on informing teachers about the students who are identified as
         transgender? In the year the change takes place, once we have parent permission, we
         then notify the teachers. Once the change in PowerSchool, etc. has taken place, there
         would no further notification of future teachers unless requested by the student and/or
         parents.

     13. What is the policy on giving teachers as much information on the student as possible
         so as to avoid potential problems? We provide teachers with the information that is
         necessary. If there are additional concerns/issues, those should be addressed with the
         building administrators.

  Logistical Questions:

     1. Are transgender students allowed to inform classes about personal experiences
        through classroom writing or speaking? Like all students, transgender students can
        write about whatever topic they choose given the teacher instructions. However, as a
        teacher you have a choice on how you allow students to share their work. If the
        assignment is a speech, within parameters, the student can address what is considered
        appropriate. For example, a student might give a speech on racism, woman's equal
        rights, etc. and that is fine. So a transgender student talking about transgender topics is
        appropriate. There are some topics we wouldn't permit any student to talk about in an
        assignment or a speech such as intercourse, etc.

     2. What are the restroom policies? (4) Transgender students can use the restroom of
        their choice.

                                                                                   Revised 1/3/18 kj


                                                                                     SA-256
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 9 of 11 PageID #: 122
         Case: 24-1942   Document: 16     Filed: 07/10/2024  Pages: 306



     3. Can the Senior Academy have a restroom for transgender students as many go to the
        clinic and miss class? We do not plan to change any restrooms in the Senior Academy.
        As the renovations continue at BHS, there will be additional single person and/or family
        restrooms. These restrooms will be available for anyone to use during the school day.

     4. What do we do with students who are transgender who use one restroom one day
        and the other restroom the next day? Teachers should make the counselor aware of
        this and the counselor will have conversation as to why this is happening.

     5. Are we allowed to use the student's last name only? We have agreed to this for the
        2017-2018 school year, but moving forward it is our expectation the student will be
        called by the first name listed in PowerSchool.

     6. Can teachers refuse to call the student by his/her preferred name? Staff members
        need to call students by name in PowerSchool.

     7. In classes where guest speakers come in to speak on gender specific topics, where do
        we send the transgender student (i.e., health topics)? This situation should be
        discussed between the teacher/counse1or and the student to determine what session is
        the most appropriate.

     8. There are labels for restrooms in the building. Will there be labels for a specific
        transgender restrooms ... or a family restroom be designated for them? There are no
        planned changes for the restrooms. As the renovations continue at BHS, there will be
        additional single person and/or family restrooms. These restrooms will be available for
        anyone to use during the school day.

  Awareness/Informational Questions:

     1. Where is the line drawn on "pleasing" students and their beliefs? It is our job to make
        all students feel welcome and accepted in the public school environment.

     2. What questions are acceptable to ask of transgender students? The same questions
        that are acceptable to ask any other students are acceptable to ask a transgender
        student. Asking why they are transgender - not appropriate.

     3. What is the correct way to approach a transgender student when asking questions?
        Ask a question the same way you would address any other student. Imagine asking this
        same question and trading transgender for African American or female, or special
        education.

     4. How many students at BHS are transgender? This number has the potential to change .



                                                                                 Revised 1/3/18 kj


                                                                                   SA-257
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 10 of 11 PageID #: 123
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


      5. Where do we send students for help or questions on this topic? School Counselor

      6. How much goes into finding the validity of transgender claims? If a parent tells us
         their student is transgender, we require a letter from the parent and one from a medical
         professional.

      7. Are we ignoring what many high level health institutions are saying regarding the
         allowance of transgenderism in students under the age of 18? That's not our decision/
         place to make that decision.

      8. How do teachers break from their personal biases and beliefs so that we can best
         serve our students? We know this is a difficult topic for some staff members, however,
         when you work in a public school, you sign up to follow the law and the
         policies/practices of that organization and that might mean following practices that are
         different than your beliefs.

     9. What feedback and information has been received from the transgender students?
        They appreciate teachers who are accepting and supporting of them . They feel
        dehumanized by teachers they perceive as not being accepting or who continue to use
        the wrong pronouns or names. Non-transgender students in classrooms with
        transgender students have stated they feel uncomfortable in classrooms where teachers
        are not accepting. For example, teachers that call students by their last name, don't use
        correct pronouns, don't speak to the student or acknowledge them, etc.

      10. How do we address other students who are uncomfortable, who laugh, who call
          names, etc.? (5) This is bullying and should be dealt with in the manner we deal with
          other bullying situations.

     11. Are teachers the only ones being told to be patient with transgender students, or are
         students being told as well? We have an expectation that all students will treat each
         other with respect.

     12. How do we deal with a student exploding in anger with being called the wrong name
         or gender? If it's the fifth time this week the staff member has messed up the pronoun,
         then the staff member needs to get on board . However, if the student explodes on one
         small mistake, we would address the student behavior as we normally would.

     13. Can we receive some resources to help us deal with the topic of transgenderism? We
         will look for information to be able to share. These answers are a step in bringing clarity
         to this topic.

     14. Can we receive information regarding the change that takes place during hormone
         therapy for transgender students? We can provide information.



                                                                                   Revised 1/3/18 kj


                                                                                      SA-258
Case 1:19-cv-02462-JMS-DLP Document 15-4 Filed 07/15/19 Page 11 of 11 PageID #: 124
          Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306


     15. What is the number of transgender students in 2007 compared to 2017? How has the
         population grown? We do not have that data.

     16. Is there information on dealing with students glorifying the transgender lifestyle for
         attention? What do we do with that? We would treat this in the same manner we
         would treat other children with attention seeking behaviors.




                                                                                  Revised 1/3/18 kj


                                                                                    SA-259
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 1 of 36 PageID #: 1240
           Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306



                                 EXHIBIT 3


                    Deposition Excerpts of John Kluge
          (Note: these are excerpts that were not included in
                           Filing No. 113-1.)




                                                                     SA-260
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 2 of 36 PageID #: 1241
           Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306
                                                                                1


                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
                        CASE NO. 1:19-cv-2462-JMS-DLP

        JOHN M. KLUGE                                )
                                                     )
                       Plaintiff(s),                 )
                                                     )
               -vs-                                  )
                                                     )
        BROWNSBURG COMMUNITY SCHOOL                  )
        CORPORATION, et al.,                         )
                                                     )
                       Defendant(s).                 )



                      The videoconference deposition upon oral
        examination of JOHN M. KLUGE, a witness produced and
        sworn before me, Brandy L. Bradley, RPR, a Notary
        Public in and for the County of Hamilton, State of
        Indiana, taken on behalf of the Defendants at the
        remote location of the witness, Indianapolis, Marion
        County, Indiana, on the 17th day of November, 2020,
        pursuant to the Indiana Rules of Trial Procedure.




                             CIRCLE CITY REPORTING
                           135 N. Pennsylvania Street
                                   Suite 1720
                            Indianapolis, IN 46204
                                 (317) 635-7857




                                                                     SA-261
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 3 of 36 PageID #: 1242
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                     Page 6                                                     Page 8

     1    brief synopsis, please.                              1     Interrogatory No. 10.
     2 A Work was being a -- at Indiana University I was       2 A    I'm there.
     3   teaching undergraduate classes as an AI -- it's       3 Q    That asks certain questions about your work
     4    like a teacher's assistant -- teaching music         4     since you left Brownsburg. And my question is
     5   theory classes to freshman and sophomores at          5     simply is that an accurate description of your
     6   Indiana University while I was taking graduate        6     employment since you left Brownsburg?
     7    level classes. I have also worked as a               7 A    It is an accurate description, yes.
     8   substitute teacher both in New York State and in      8 Q    Okay. And you submitted these interrogatories
     9   Indiana. I had worked a summer as a painter           9     on or about the date that you signed them which
    10   with the Indiana Painting Company the summer         10     was June 11th, 2020; correct?
    11   before I started my employment with Brownsburg       11 A    Correct.
    12    High School.                                        12 Q    And is there anything that has changed with
    13       MR. BORG: Rita, let's pull up Exhibit A.         13     respect to Interrogatory No. 10 since you
    14 Q Mr. Kluge, I'm going to represent that these are     14     submitted these responses?
    15   interrogatory responses that you provided based      15 A    No.
    16   on certain requests from Brownsburg. If you can      16 Q   It continues on the next page, too, if you want
    17   scroll through the document and I'm going to ask     17     to take a quick look.
    18    you to eventually get to the last page.             18 A    All of that is still accurate.
    19 A I need control of it, so --                          19 Q    Thank you. You're married; correct?
    20       MR. BORG: Rita, can we get Mr. Kluge             20 A    Correct.
    21    access to the document?                             21 Q    For how long?
    22 A Okay. I don't know if I have control of the          22 A    For three and a half -- no, four years. I
    23   screen yet. Can someone confirm that I've been       23     should know.
    24    given control?                                      24 Q    Do you have children?
    25       THE MODERATOR: Mr. Kluge, you do have            25 A    Yes, we have three.

                                                     Page 7                                                     Page 9

     1     control.                                            1 Q    What are their ages?
     2 Q    So you're on Exhibit A. I just need you to         2 A   Their ages are three, one and a half, and about
     3     scroll down to the last page on that PDF            3     six months.
     4     document.                                           4 Q    Do any attend school? I suppose the
     5 A   Page 15 of 15. It says Certificate of Service?      5     three-year-old might attend preschool?
     6 Q    Yes. Let's go up one more page?                    6 A    None of them attend school.
     7 A    One more page, okay. I'm now on Page 14 of 15.     7 Q   Other than this case have you ever been party to
     8     "Answer: I have been counseled by Pastor Dave       8     a lawsuit?
     9     Abu-Sara..." Is that correct?                       9 A   Other than this case I have not been party to a
    10 Q   Yes, sir. And my question is is that your          10     lawsuit.
    11     signature on Page 13 and your handwritten date     11 Q    You are a Christian?
    12     of June 11th, 2020?                                12 A    I am a Christian.
    13 A   That's my signature and the date, yes.             13 Q   You are a member of Clearnote Church on 10th
    14 Q    Okay. And take a moment to scroll through the     14     Street in Indianapolis; is that correct?
    15     document, if need be, but I'm just asking you to   15 A   That is correct.
    16     confirm that these are your responses to           16 Q   How long have you been a member of Clearnote?
    17     interrogatories that Brownsburg had proposed.      17 A   I believe for seven years, maybe six at
    18 A    Okay. These are my responses. Brent just got      18     Clearnote Church in Indianapolis.
    19     offline.                                           19 Q   For the entirety of the seven years was
    20        (Mr. Borg lost connection and a recess was      20     Clearnote located at the 10th Street address in
    21     taken.)                                            21     Indianapolis?
    22         MR. BORG: For the record, I don't know         22 A    No, they had been renting from a couple of
    23     what happened. I got kicked off but I didn't       23     buildings before the 9101 West 10th Street.
    24     lose Internet connection.                          24 Q    Were those rental locations in Indianapolis?
    25 Q    If you could, please, go to your response to      25 A    One was in Indianapolis and one was in



                                                                                              SA-262
   Min-U-Script®                                  Circle City Reporting                                 (2) Pages 6 - 9
                                                      317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 4 of 36 PageID #: 1243
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                    Page 10                                                  Page 12

     1     Brownsburg.                                         1   respect to your process of becoming an elder, do
     2 Q   For approximately how long would you say            2    I have it correct that you believe you were
     3     Clearnote has been located at the 10th Street       3   nominated, your nomination was submitted to the
     4     address?                                            4    session, and the session approved you as an
     5 A   For about three years.                              5    elder?
     6 Q   How often do you attend services at Clearnote?      6 A The session approved the nomination and,
     7 A    Every week normally.                               7    therefore, I was put forward before the
     8 Q    Do you attend services anywhere else?              8   congregation and they voted me to become an
     9 A    Not normally.                                      9    elder.
    10 Q    Where might you attend in a not normal            10 Q Okay. Thank you. And the vote before the
    11     situation?                                         11   congregation, how did that work specifically?
    12 A   If I was visiting my family out of town, I might   12   Was it majority voting approved you? Was it if
    13     attend their church.                               13   there were more yes than noes, you would be
    14 Q   And what church might that be and where is it      14    approved? Help me understand that.
    15     located?                                           15 A Yes, it was a secret ballot vote at our normal
    16 A    I think it's called Christ the King Church in     16   yearly meeting and it was a majority, yes. Then
    17     Ferry, Michigan.                                   17    I would get elected as an elder.
    18 Q    Do you hold any positions with Clearnote?         18 Q Is the board always comprised of three elders or
    19 A    Yes, I'm an elder there.                          19    can that number change?
    20 Q    How long have you been an elder?                  20 A That number can change.
    21 A    For about one and a half years.                   21 Q What is the, I guess, the range, minimum and
    22 Q    What is an elder?                                 22   maximum, in terms of how large the board of
    23 A    An elder is an overseer, someone who is part of   23    elders can be?
    24     the session of our board of elders who exercise    24 A To the best of my knowledge, at least one and
    25     spiritual oversight over the church, part of the   25    there's no maximum limit.

                                                    Page 11                                                  Page 13

     1     government of our church.                         1 Q Is there any sort of document or written
     2 Q   You mentioned a board of elders; correct?         2   guidance that governs the composition of the
     3 A   That's correct.                                   3    board of elders and Clearnote Church more
     4 Q   How many people sit on that board?                4    generally?
     5 A    There are three active elders right now and one 5 A Regarding -- can you say the first part of your
     6      who is on sabbatical and our pastor is also      6    question?
     7      considered a teaching elder, so there's three 7 Q Certainly. I think the first part is if there
     8      active elders right now plus our pastor.         8   is any sort of document or written guidance that
     9 Q     Are the three active laypersons?                9   governs the board the elders or its composition.
    10 A     They are elders. They're not ordained pastors. 10 A Sir, the first document that governs the
    11     They have day jobs but they're ordained elders 11      composition of our board of elders is Holy
    12      like I am.                                      12    Scripture which stipulates what are the
    13 Q     Thank you for that. Is it fair to say they're 13     qualifications for an overseer, for an elder.
    14      selected from the laity of the church?          14   Other than that, we have guidelines and rules in
    15 A     From among the congregation, yep.              15   our Book of Church Order which is the Book of
    16 Q     How does that selection occur?                 16   Church Order of Evangel Presbytery. That is the
    17 A    To the best of my knowledge, we are nominated 17     presbytery that my church belongs to. And, so,
    18     and then the session approves that nomination 18      you have the Book of Church Order for Evangel
    19     and the congregation votes whether they want to 19    Presbytery and then you also have our particular
    20      have that person as an elder.                   20   Clearnote Church Indianapolis's church bylaws
    21 Q    You mention the session a couple times. What is 21   which also, I believe, talk about how the board
    22      that?                                           22   of elders is comprised and what the process is
    23 A     The session is another name for the board of 23      to vote and elect elders.
    24      elders.                                         24 Q Other than your current position as an elder,
    25 Q     So, correct me if I'm wrong, but maybe with 25      have you held any other positions with Clearnote



                                                                                             SA-263
   Min-U-Script®                                 Circle City Reporting                               (3) Pages 10 - 13
                                                     317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 5 of 36 PageID #: 1244
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                   Page 14                                                  Page 16

     1     Church?                                            1   Presbytery BCO, their Book of Church Order, and
     2 A   Yes. I have also been the -- I am currently and    2   I'm not quite sure more than that. I would have
     3     have been for a period of time the worship         3    to look at the BCO to find more details.
     4     leader of the church.                              4 Q Fair enough.
     5 Q    Anything else?                                    5         MR. BORG: Rita, let's pull up Exhibit B.
     6 A    I'm also the head of the youth ministries and     6 Q Mr. Kluge, Exhibit B is the Amended Complaint
     7     Owana Program.                                     7    that was filed in this lawsuit. It looks like
     8 Q   I'm sorry, what did you say after head of youth    8    it's 33 pages. I'd just ask that you look over
     9     ministries?                                        9    it and my question is does it appear to be the
    10 A   Owana Program.                                    10    Amended Complaint filed in this lawsuit?
    11 Q   Are you currently head of the youth ministry?     11 A It does.
    12 A    Yes.                                             12 Q Please go to Paragraph 23. I believe that's
    13 Q    Are you also currently head of the Owana         13   right around Page 8 of the document. Do you see
    14     Program?                                          14    Paragraph 23 there toward the bottom?
    15 A    Yes.                                             15 A Does it say "Mr. Kluge's sincerely-held
    16 Q    What is the Owana Program?                       16    religious beliefs include a belief that it is
    17 A    It's a discipleship program that we offer on a   17    sinful to promote gender dysphoria"?
    18     twice monthly basis to children ages              18 Q Correct.
    19     kindergarten through fifth grade and then we      19 A Then I do.
    20     also have a youth group which is sixth grade      20 Q I think you've already answered it, but you
    21     through eighth grade that meets at the same       21    allege in that paragraph that your
    22     time.                                             22    sincerely-held religious beliefs include a
    23 Q   Are you also currently a worship group leader?    23    belief that it is sinful to promote gender
    24 A   I am also currently the worship leader of         24    dysphoria. Is that your allegation?
    25     Clearnote Church Indianapolis, yes.               25 A That is correct.


                                                   Page 15                                                  Page 17

     1 Q Any other positions that you hold currently or       1 Q The American Psychiatric Association's
     2   have previously held that you haven't mentioned?     2    Diagnostic and Statistical Manual of Mental
     3 A No official positions that I can think of.           3   Disorders defines gender dysphoria as "an acute
     4 Q Do you know how long Clearnote Church has been       4   form of mental distress stemming from strong
     5    part of the Evangel Presbytery?                     5   feelings of incongruity between one's anatomy
     6 A Clearnote Church has been part of Evangel            6   and one's gender identity." Do you agree with
     7   Presbytery since Evangel Presbytery formed.          7    that definition?
     8 Q When was that?                                       8 A I do not.
     9 A I believe it was about one, two years ago.           9       MR. CORK: I object to the extent it calls
    10 Q Am I using a fair label when I refer to the         10    for a medical opinion.
    11    Evangel Presbytery as a denomination?              11 Q What do you mean by the term "gender dysphoria"
    12 A You could describe it that way.                     12   in Paragraph 23 of your Amended Complaint?
    13 Q What denomination was Clearnote affiliated with,    13 A Let's go back to your previous question. You
    14    if any, prior to the Evangel Presbytery?           14   read me a definition of gender dysphoria and you
    15 A It was not affiliated with any denomination         15   gave a medical definition is what you said. Are
    16    before. It was a church plant of Clearnote         16    you asking me to say what my religious
    17   Church Bloomington and so it was associated with    17   convictions are regarding what gender dysphoria
    18    that sister congregation in Bloomington.           18    really is?
    19 Q Can you give me a brief synopsis of what process    19 Q Well, I think you answered my question. I asked
    20   was involved for Clearnote Church to become a       20   you if you agreed with the definition of gender
    21    member church of the Evangel Presbytery?           21    dysphoria as it appears in the American
    22 A Yes. To the best of my knowledge, you have to       22    Psychiatric Association's Diagnostic and
    23    have a congregational vote that you want to        23    Statistical Manual of Mental Disorders. I
    24   become a member of Evangel Presbytery and I         24    believe you said you do not agree with that
    25    believe you have to agree to the Evangel           25    definition; correct?



                                                                                            SA-264
   Min-U-Script®                                 Circle City Reporting                              (4) Pages 14 - 17
                                                     317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 6 of 36 PageID #: 1245
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 18                                                   Page 20

     1 A That's correct.                                     1 A That's correct.
     2 Q Okay. So, if you do not agree with that             2 Q Okay. And I think you also said that your
     3   definition, then my question is what do you mean    3    definition includes information that you
     4   by the term "gender dysphoria" as it appears in     4    provided in interrogatory responses; correct?
     5    Paragraph 23 of your Amended Complaint?            5 A Correct.
     6 A Okay. What I mean by gender dysphoria is what       6 Q And then we took a break so you could have some
     7   scripture refers to as effeminacy which is for a    7    time to find which of those interrogatory
     8   man to play the part of a woman or a woman to       8    responses further your definition of gender
     9   play the part of a man and so that would include    9    dysphoria as it's stated in Paragraph 23 of the
    10    acting like/dressing like the opposite sex.       10    Amended Complaint; correct?
    11 Q Is there anything else that goes into your         11 A Correct.
    12    definition of gender dysphoria as it's used in    12 Q Please tell me what those interrogatory
    13    Paragraph 23 of your Amended Complaint?           13    responses are that further your definition of
    14 A There is and I have explained it further in my     14   gender dysphoria as it's used in Paragraph 23 of
    15    interrogatories. If you want to look at that,     15    the Amended Complaint.
    16    I've explained it more in-depth there.            16 A So, if you look at Interrogatory No. 7, part way
    17 Q That's certainly fair. If you had a couple         17    down I reference the scripture verse 1
    18   minutes to look at your interrogatory responses,   18   Corinthians Chapter 6, Verses 9 and 10. "Or do
    19    would you be able to direct me in those           19    you not know that the unrighteous will not
    20   responses that add to your definition of gender    20   inherit the kingdom of God? Do not be deceived;
    21   dysphoria as it's used in Paragraph 23 of your     21    neither fornicators, not idolaters, no
    22    Amended Complaint?                                22   adulterers, nor effeminate, nor homosexuals, nor
    23 A Yes. If you showed me the interrogatory, I         23    thieves, nor the covetous, nor drunkards, nor
    24   could show you where I lay out where effeminacy    24    revilers, nor swindlers, will inherit the
    25   is talked about and where I explain what this      25    kingdom of God. 1 Corinthians 6:9.

                                                  Page 19                                                   Page 21

     1   means.                                              1          And I have a description there that talks
     2       MR. BORG: Okay. Let's take a five-minute        2     about what effeminacy is and the Greek word
     3   break.                                              3     malakoi that's specifically used in the original
     4       Rita, can we go back to Exhibit A? I            4     text of 1 Corinthians 6:9-10.
     5   suppose Mr. Kluge can pull it on the tab there.     5 Q   Thank you. Anything else from Interrogatory
     6       If you need more time, sir, and I don't         6     No. 7 that you wish to highlight that defines
     7   need you to quote it for me. Really my question     7     your definition of gender dysphoria?
     8   is just which responses further that definition.    8 A    Not at this time.
     9       Let's take five, okay?                          9 Q    Okay. Anything else in any of your other
    10       THE PLAINTIFF: Okay. Thank you.                10     interrogatory responses?
    11       (A recess was taken.)                          11 A    Not at this time.
    12 DIRECT EXAMINATION CONTINUING,                       12 Q   Go to the Amended Complaint which is Exhibit B,
    13   QUESTIONS BY BRENT R. BORG:                        13     specifically Paragraph 92.
    14 Q We just took a quick break and we were talking     14 A   This is statements of law and the First Cause of
    15   about your definition of gender dysphoria as it    15     Action, Title VII of the Civil Rights Act,
    16   appeared in Paragraph 23 of your Amended           16     Religious Discrimination - Failure to
    17   Complaint; correct?                                17     Accommodate.
    18 A Correct.                                           18 Q   Correct. And you see Paragraph 92?
    19 Q And I think you testified that part of your        19 A   I do.
    20   definition of gender dysphoria is what you         20 Q   You allege in that paragraph that Brownsburg
    21   called effeminacy; correct?                        21     discriminated against you in the terms and
    22 A Correct.                                           22     condition of your employment on the basis of
    23 Q And that refers generally to a man acting like a   23     your sincerely-held beliefs; is that correct?
    24   woman or a woman acting like a man. Is that a      24 A   Yes, that's what I've written. That is what I
    25   fair statement?                                    25     allege.



                                                                                            SA-265
   Min-U-Script®                                Circle City Reporting                               (5) Pages 18 - 21
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 7 of 36 PageID #: 1246
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                     Page 22                                                   Page 24

     1 Q   In that Paragraph 92 are you referring to your       1 Q    Please.
     2     sincerely-held religious belief that it is           2 A    Different question, but Holy Scripture and the
     3     sinful to promote gender dysphoria?                  3     preaching of God's word. And as I was putting
     4 A   (Audio malfunction.) Brent, did you hear my          4     that interrogatory responses together, to get
     5     answer?                                              5     the Greek word and the definition of what I
     6 Q    No, I did not.                                      6     understand to be malakoi, just to get a book to
     7 A    Oh, okay. I said yes, I'm referring to my           7     help me lay out those explanations of scripture
     8     sincerely-held belief that it's sinful to            8     in answering the Interrogatory No. 7, I used, as
     9     promote gender dysphoria.                            9     I say in Interrogatory Answer No. 9, a book
    10 Q    Thank you. Are you referring to any other          10     called The Grace of Shame: 7 Ways the Church
    11     sincerely-held religious belief in that             11     Has Failed to Love Homosexuals. And in that
    12     Paragraph 92?                                       12     they use the word malakoi, arsenokoitai, Greek
    13 A   The ones outlined in all of that scripture of my    13     words. I'm not a Greek expert, so I looked it
    14     interrogatory.                                      14     up.
    15 Q   Look at Paragraph 95, which is at the bottom of     15 Q   Thank you. Anything else you haven't mentioned
    16     that page and continues on to the next.             16     that informs your sincerely-held belief that it
    17 A    Okay.                                              17     is sinful to promote gender dysphoria?
    18 Q   You allege in Paragraph 95 that you requested a     18 A    Not that I can think of.
    19     reasonable accommodation for your religious         19 Q    You mentioned earlier the Evangel Presbytery
    20     beliefs; is that correct?                           20     Book of Church Order.
    21 A    Yes.                                               21 A    Is that a question?
    22 Q    Is the religious belief that you're referring to   22 Q    Yeah. You mentioned that earlier in your
    23     in that Paragraph 95 your belief that it's          23     testimony?
    24     sinful to promote gender dysphoria?                 24 A    Yes.
    25 A    Yes.                                               25 Q    What is that?

                                                     Page 23                                                   Page 25

     1 Q    Are you referring to any other sincerely-held       1 A It is a governing document that governs how our
     2     religious belief in that Paragraph 95?               2    presbytery operates.
     3 A    The ones I outline in my Interrogatory 7.           3 Q What are some of the type of things that it
     4 Q    Any others?                                         4    governs?
     5 A    No.                                                 5 A It governs how to handle issues of discipline,
     6 Q   Go back to Exhibit A. Look at your response to       6   it governs how churches can enter and leave the
     7     Interrogatory No. 6.                                 7    presbytery are just a couple of the several
     8 A    Originally formed this belief by reading Holy       8    things it talks about.
     9     Scripture as contained in the Bible and also see     9 Q There is a chapter in that book called the
    10     No. 7. Got it. I see it.                            10   Declaration of Doctrine and Policies Concerning
    11 Q   That interrogatory asks you how you originally      11   Sexuality. Are you familiar with that chapter?
    12     formed your sincerely-held belief that it is        12 A I'm familiar with it. I haven't committed it to
    13     sinful to promote gender dysphoria; is that         13    memory but I'm familiar with it.
    14     correct?                                            14 Q Do you think you've read it before?
    15 A    That's correct.                                    15 A I think I have read it before.
    16 Q    And I think you already stated it, but, to be      16 Q Let's pull up Exhibit C on your tab. Go to the
    17     clear, you say you originally formed this           17   next page, please. That says The Book of Church
    18     sincerely-held belief, quote, "By reading Holy      18    Order of Evangel Presbytery, Second Draft,
    19     Scripture, as contained in the Bible," correct?     19    Revised on February 20th of 2019. I will
    20 A   Correct.                                            20   represent to you that that includes the Table of
    21 Q   Other than Holy Scripture, what else informs        21   Contents and then the chapter titled Declaration
    22     your sincerely-held belief that it is sinful to     22   of Doctrine and Policies Concerning Sexuality
    23     promote gender dysphoria?                           23    and I just ask that you look through that and
    24 A    I think I answered that in one of the              24    confirm that that appears to be correct.
    25     interrogatories, too, and I can show you.           25 A Yes, it appears to be the document.




                                                                                               SA-266
   Min-U-Script®                                  Circle City Reporting                                (6) Pages 22 - 25
                                                      317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 8 of 36 PageID #: 1247
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                    Page 26                                                   Page 28

     1 Q Now, is Clearnote, I guess, subject to this Book      1    rules set forth in this Declaration, especially
     2   of Church Order during your employment with           2    concerning access to facilities. In certain
     3    Brownsburg in 2017 and 2018?                         3   instances the higher law of love will preclude
     4 A Well, when was the presbytery even -- I'd have        4    swift and rigid enforcement of rules."
     5   to check when we even formed the presbytery.          5 A So repeat your question, please.
     6 Q Well, I think you testified --                        6 Q My question was what do you think was meant by
     7 A I think it was one or two years ago, so I think,      7    those two sentences I just quoted.
     8   to the best of my knowledge, we joined Evangel        8 A What was meant is if you, like I said in my
     9   Presbytery after my employment terminated with        9   previous example, have someone who is headlong,
    10   Brownsburg. That's the best of my knowledge.         10   fast bound presenting themselves as the opposite
    11 Q Fair enough. Let me ask you this. Do you think       11    sex, you're not going to force them to start
    12    this chapter on Declaration of Doctrine and         12   using multi-stall restrooms of their biological
    13   Policies Concerning Sexuality is consistent with     13   sex. You would in some circumstances and, as
    14   the teaching of Clearnote Church in 2017 and         14   they say, with discretion, in some instances you
    15    2018?                                               15    would instead of saying you must use a
    16 A Absolutely.                                          16   multi-stall men's restroom, you would say no, a
    17 Q Okay. Is it fair to say that this Chapter 28         17    single stall family restroom.
    18   provides members of your faith with a framework      18 Q Do you think this principle also obtains when
    19    for approaching issues related to sexuality?        19   addressing a transgender person whose name
    20 A That's fair to say.                                  20    differs from the person's biological sex?
    21 Q Under Chapter 28 it's divided into numbered          21 A Can you repeat that question? You used a word
    22   paragraphs. If you could look at Paragraph 15.       22    that -- attains? Say it again.
    23 A Okay.                                                23 Q Do you think this principle also obtains when
    24 Q That paragraph addresses facilities usage by men     24   addressing a transgender person whose name
    25    including restrooms; is that correct?               25    differs from the person's biological sex?

                                                    Page 27                                                   Page 29

     1 A    Yes.                                               1 A    In certain circumstances, which is why my
     2 Q   And the next paragraph, Paragraph 16, addresses     2     last-name accommodation worked so well. It
     3     facilities use by women including restrooms;        3     didn't force anything on the student. I was
     4     correct?                                            4     able to address the student with their name in
     5 A    Yes.                                               5     PowerSchool, namely their last name, and teach
     6 Q   Flip to the next page and look at Paragraph 17.     6     content. I was able to make this whole issue a
     7     My question is if you're familiar with that         7     nonissue by not forcing them to recognize their
     8     paragraph but I realize it's lengthy, so, if you    8     biological sex and I wasn't forced to encourage
     9     need to, take a minute and read it.                 9     their transgender identity. It was a great
    10 A    I am familiar with the contents of that           10     accommodation that was working.
    11     Paragraph 17.                                      11 Q    Let's unpack that a little bit. I think I
    12 Q    Tell me what you think it means.                  12     understand your testimony that says that there's
    13 A    It means that if someone who is fast bound in     13     certain circumstances when it might be
    14     presenting themselves as the opposite sex, they    14     appropriate to address a transgender person
    15     come into the church, the church would not         15     whose name differs from the person's biological
    16     immediately require them to use a multi-stall      16     sex and I think you just said that one of those
    17     restroom of their biological sex. Instead, they    17     circumstances might be with respect to using
    18     would sometimes say to that individual that they   18     their last name only; correct?
    19     can use a single stall, one stall individual       19 A    Right.
    20     family restroom.                                   20 Q    Might there be circumstances where it is
    21 Q    What do you think is meant by these two           21     appropriate to, in your view, address a
    22     sentences -- and I'm in the same paragraph, 17.    22     transgender person by their first name when that
    23 A   Yes.                                               23     first name differs from their biological sex?
    24 Q   "For this reason, wise and compassionate           24 A   There might be. None come to mind right now.
    25     pastoral discretion is necessary to apply the      25     Certainly my beliefs as regards classrooms that



                                                                                               SA-267
   Min-U-Script®                                  Circle City Reporting                               (7) Pages 26 - 29
                                                      317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 9 of 36 PageID #: 1248
   JOHN M. KLUGE VS                                                       JOHN M. KLUGE
           Case: 24-1942
   BROWNSBURG    COMMUNITYDocument: 16      Filed:
                           SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 30                                                    Page 32

     1   during the course of the teaching a class of        1          I don't think it's appropriate for you to
     2   students it's not appropriate and it encourages     2     use a document that has never been identified
     3   gender dysphoria.                                   3     previously in the deposition of a plaintiff.
     4 Q To be clear, I understand that your testimony is    4         MR. BORG: I understand your objection.
     5   that there might be circumstances where it is       5     For the record, I believe the witness has
     6   appropriate and consistent with your religious      6     testified that he's familiar with the document.
     7   belief to address a transgender student by their    7     It is a document that he has confirmed via
     8   first name where that first name differs from       8     testimony that is part of a governing document
     9   their biological sex but you can't think of any     9     of his church and it was consistent with his
    10   specific circumstances. Is that fair?              10    beliefs in 2017 and 2018. I'm simply making my
    11 A That's fair.                                       11     record.
    12 Q In your view, are there any circumstances where    12        Michael, if you'd like to, I understand you
    13   a person's biological sex is ambiguous?            13     want to ask some questions concerning the
    14       MR. CORK: Objection. Foundation.               14     document.
    15 Q You can answer the question if you understand      15        MR. CORK: My objection is that we've been
    16   it.                                                16    sandbagged and you waited until this deposition
    17 A Why are you asking this question?                  17    to produce and ask questions about this document
    18 Q Because you filed a lawsuit against Brownsburg     18     when you've known about it long enough to
    19   Community School Corporation and this is           19     disclose it and produce it. You may proceed.
    20   relevant to the issues raised in the lawsuit.      20         MR. BORG: Thank you.
    21 A I believe that it's always clear. Even with        21         THE PLAINTIFF: Brent, if you look at the
    22   hermaphrodites, there's always one dominant sex    22     bottom of Page 48, it is Footnote 11. I go back
    23   present.                                           23     one page, there are no footnotes. I go back
    24 Q Look at Footnote 9 of Exhibit C.                   24     another page, there are no footnotes. What are
    25 A What page is that on?                              25     you talking about?

                                                  Page 31                                                    Page 33

     1 Q Go back two pages. Maybe around Page 8 or 9 of      1        MR. BORG: Fair enough. Let's take a
     2    the document.                                      2   five-minute break. I think I need to get you a
     3 A This is not a footnote. Is this what you're         3   better cite before I ask my question, Mr. Kluge.
     4    talking about?                                     4        (A recess was taken.)
     5 Q I'm sorry. Do you see toward the bottom how         5 DIRECT EXAMINATION CONTINUING,
     6    they're smaller font?                              6    QUESTIONS BY BRENT R. BORG:
     7 A Yeah. It starts with 18.                            7 Q Mr. Kluge, before the break we were talking
     8 Q Yeah. See if you can go back to Footnote 9.         8   about Exhibit C and I gave you a bad cite. If
     9        MR. CORK: Brent, I note the absence of any     9   you could instead look at Footnote 19 of that
    10    Bates numbers on this document. I don't           10    document.
    11   remember this document ever being disclosed, nor   11 A Do I have control of this document? Footnote
    12    do I ever remember it being produced to us.       12    19. Let me see what this footnote is talking
    13    Would you confirm that, please?                   13    about first which it looks like it's on the
    14        MR. BORG: That's accurate.                    14   previous page. So Paragraph 4 says "God forms
    15        MR. CORK: Okay. I'm going to move to          15   each person in his mother's womb and creates the
    16    strike this. I will need a copy of it.            16    unborn child male or female."
    17       And, Rita, if you or somebody could send to    17 Q Do you see the part of Footnote 19 where it
    18   me via e-mail before we finish this deposition.    18   says, quote, "'Intersex' is a medical diagnosis
    19   Obviously, there's nobody here present to rule     19   of atypical male or female anatomies not to be
    20    on that motion and I will, under objection,       20   confused with those born with typical male or
    21    allow my client to continue to answer the         21   female anatomies who claim a 'transgender' or
    22    questions about this document but with that       22    'transsexual' identity." Do you see that?
    23   objection noted and then I will want to look at    23 A I see that footnote.
    24    it when we take a break and ask my own            24 Q Appreciating that intersex diagnoses are
    25    questions.                                        25   probably quite rare, would you agree that is one



                                                                                             SA-268
   Min-U-Script®                                Circle City Reporting                                (8) Pages 30 - 33
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 10 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1249 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                   Page 34                                                   Page 36

   1     circumstance where one's name might not align        1     names in order to have an opposite sex first
   2     with one's biological sex and yet --                 2     name and, so, they were, in fact, presenting
   3         MR. CORK: Objection. Calls for medical           3     themselves, in the act of changing their name to
   4     opinion. You may answer if you can.                  4     an opposite sex first name, that was what my
   5 A    I'm not a doctor. My sincerely-held belief is       5     sincerely-held beliefs would say is presenting
   6     that there's always a dominant biological sex        6     themselves as the opposite sex.
   7     present. With things that are ambiguous or           7 Q    From your view, that would be an instance of
   8     could be, there's always a dominant sex present.     8     effeminacy and therefor sinful?
   9 Q    In which case if a person's first name did not      9 A    That is correct.
  10     align with that dominant sex, in your view, in      10 Q    And is it fair to say that by addressing a
  11     your religious belief, that would be sinful?        11     student by an effeminate first name, in your
  12 A    To encourage someone to (audio malfunction)        12     view, you are also engaging in that person's
  13     female and presents as a male is sinful.            13     sin? Is that fair?
  14         (At this time the reporter interrupts and a     14 A    That's fair. I'm encouraging them in sin. I'm
  15     discussion was held off the record while            15     encouraging them to sin.
  16     Plaintiff adjusts his audio settings.)              16 Q    So, in that instance, it's not only --
  17 A    Can we bring the document back in question?        17 A    Encouraging them to sin is sinful.
  18 Q    Mr. Kluge, let me try to backtrack a little. I     18 Q    So it's fair to say the sin in that instance is
  19     think you had testified several moments ago that    19     twofold. First, it's the student adopting an
  20     it's your belief that even in cases where           20     effeminate first name and you addressing the
  21     somebody is a hermaphrodite there's what you        21     student by that name is encouraging the student
  22     call a dominant sex for that person. Is that a      22     to engage in that sin?
  23     fair characterization?                              23 A    I think you're conflating things. What are you
  24 A    That's correct.                                    24     saying the sin is twofold? My sincerely-held
  25 Q    Okay. And my question was is it your belief        25     religious beliefs and the whole point of why I

                                                   Page 35                                                   Page 37

   1     that if somebody's first name deviates from what     1     didn't want to call them by a name that would
   2     that dominant sex is, that is sinful; correct?       2     encourage transgenderism is because I would be
   3         MR. CORK: Objection. Mischaracterizes his        3     sinning by doing that. I would be sinning by
   4     testimony. You may answer.                           4     encouraging them in sin. Maybe that answers
   5 A    That's not what I was saying. I was saying for      5     your question, but the whole point of why I
   6     a man to present as a woman or for a woman to        6     can't in good conscience encourage someone in
   7     present as a man, that is sinful, and to             7     effeminacy is because it would be sinful for me
   8     encourage them in that (audio malfunction)           8     to do that and that's why we arrived at the
   9     opposite sex, that's sinful for someone to           9     last-name accommodation.
  10     encourage that behavior.                            10 Q    Thank you. I think we're on the same page
  11 Q     Okay. Is it sinful in a case where a person has   11     there.
  12     a dominant sex for their first name to deviate      12 A    Okay.
  13      from whatever that dominant sex is?                13 Q    Let's go ahead and look at Exhibit D.
  14 A     It's sinful for them to present themselves as a   14 A    I'm trying to and I'm not able to. Is there a
  15     man if they're a woman and it's sinful for them     15     problem?
  16     to present themselves as a woman if they're a       16         MR. BORG: Rita?
  17      man.                                               17 Q    Go to Page 2 of Exhibit D.
  18          In the case of Brownsburg, I have students     18 A    Okay.
  19     that are changing their name to an opposite sex     19 Q   Exhibit D are documents that you produced in
  20     first name in order to present themselves as the    20     response to certain discovery requests from
  21      opposite sex and that's against my                 21     Brownsburg as indicated in the Page 2 that we're
  22      sincerely-held religious beliefs.                  22     looking at. If you wouldn't mind, just look
  23 Q     But presenting can also refer to the first name   23     through it and familiarize yourself with it.
  24      that's being used; correct?                        24 A    Okay.
  25 A   My students had specifically changed their first    25 Q    Now, as I look at that --



                                                                                              SA-269
 Min-U-Script®                                  Circle City Reporting                                (9) Pages 34 - 37
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 11 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1250 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 38                                                   Page 40

   1 A Wait. I'm actually not done.                        1   encouraging transgenderism and forcing it on
   2 Q Let me know when you're ready.                      2    teachers in our schools based on alarming
   3 A Thank you. Alright. I've familiarized myself        3   teaching we had been receiving at our faculty
   4    with the document, but, before I go on, I did      4   meetings in January and then in February. And,
   5   remember one thing, Brent, if you wouldn't mind     5    so, I drafted a letter to give to Principal
   6    me going back to a previous document.              6   Daghe and then in May of 2017 I and three other
   7 Q Certainly.                                          7    teachers met with Daghe to urge him not to
   8 A This is Exhibit C where it's labeled Page 49 and    8    promote transgenderism in our schools.
   9   I think Paragraph 7 also helps to describe what     9       The reason there is no date in the second
  10   my sincerely-held religious beliefs are. And it    10   version of it is because I wasn't -- between the
  11   says "The proper conception of 'sexual identity'   11   time of us signing the document and us actually
  12   is a matter of being and obeying the genetic sex   12   being able to arrange a meeting with Daghe, I
  13   God made us, either male or female. Genetic sex    13   didn't know exactly what date that would be.
  14    and sexual identity cannot be separated, and      14    So, it was signed between April 7th, 2017,
  15    they remain bound together throughout one's       15   somewhere between that time and the time we
  16    life. Sexuality does not admit of gradations.     16   actually met in May of 2017, me, the three other
  17   You are either male or female, not part male and   17    teachers, and Daghe in his office.
  18   part female. Nor are there a great multitude of    18 Q Okay. Thank you for that context. Let me ask
  19   sexual identities. There are only two, male and    19    you a couple more questions to clean up.
  20   female. Any attempt of a man to play the woman     20 A Yes.
  21    or a woman to play the man violates God's         21 Q The first version of this Exhibit D that has the
  22    decree, attacks His created order, and            22    April 7, 2017 at the top right, you drafted
  23    constitutes sin so serious that God himself       23    that; is that correct?
  24   pronounces it an 'abomination'" in Deuteronomy     24 A That is correct.
  25   22:5 and 1 Corinthians 6:9-10 which I've already   25 Q Okay. And did you present that to Mr. Daghe on


                                                Page 39                                                   Page 41

   1   talked about.                                       1     or about April 7th of 2017?
   2       So just wanted to also mention that.            2 A   No.
   3   That's also a good representation of me             3 Q    Okay. The second version, that's your signature
   4   believing that we're either male or female.         4     first if you go to Kluge 109. Do you see in the
   5 Q Thank you for that.                                 5     bottom right-hand corner how it's got a -- it's
   6 A Yep. So Exhibit D.                                  6     called a Bates stamp. That's kind of like a
   7 Q I just want to understand what we're looking at     7     unique page number.
   8   with Exhibit D. That looks to me like two           8 A   That is my signature.
   9   versions of the same document and specifically      9 Q   Okay. Who are the other signatures?
  10   what I see in the first version is that -- stay    10 A   The other signatures are Kirk Young, Shara
  11   on that page -- if you look at the upper           11     Davis, and Rachel Jones.
  12   right-hand corner, that is dated April 7th,        12 Q   Who are they?
  13   2017.                                              13 A   They were teachers at Brownsburg High School at
  14 A Yep.                                               14     this time. I don't know what they're currently
  15 Q And that first version is not signed at the end    15     doing.
  16   whereas the second version removes that April 7,   16 Q   At that time what did each person teach?
  17   2017 date and it appears to be signed at the end   17 A   I'm not entirely sure. I think a couple of them
  18   by you and three others and I just ask that you    18     were math teachers, one was a science teacher.
  19   confirm you're looking at that the same way I      19 Q   Okay. And is this signed version what was
  20   am.                                                20     presented to Dr. Daghe?
  21 A Do you want me to tell you how this document       21 A   Yes, this signed version is what was presented
  22   came about?                                        22     to Dr. Daghe when we met in May of 2017.
  23 Q Why don't we try it that way. Thank you.           23 Q    Okay. And during that meeting was there a
  24 A Okay. So this document was important for me to     24     discussion among the five of you?
  25   plead with Principal Daghe not to pursue           25 A    I read the letter out loud to Daghe and then



                                                                                          SA-270
 Min-U-Script®                                Circle City Reporting                              (10) Pages 38 - 41
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 12 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1251 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 42                                                  Page 44

   1   pleaded with him, as I say in the document, to      1    anticipating. Thank you. I think you said
   2   not pursue promoting transgenderism in our          2   following the meeting with the teachers you came
   3   schools. We urge them, yada, yada, yada. All        3    back in and had a one-on-one meeting with
   4    of these, we urge, we urge, we urge not to         4    Dr. Daghe; correct?
   5    require, pressure, suggest that teachers           5 A That is correct.
   6   encourage transgender students in their folly,      6 Q Okay. And you just testified about the concerns
   7   that we actually encourage them to discourage       7    you expressed with respect to keeping legal
   8    it. It goes against -- well, you know the          8   names and not using transgender names; correct?
   9   contents of the document. So, yeah, we were         9 A Correct.
  10   urging him not to promote transgenderism in the    10 Q Okay. And what, if anything, did Mr. Daghe say
  11    schools.                                          11    in response to that?
  12 Q Do you think this meeting where you presented      12 A He acted and he said things like "Thank you,
  13   the signed version of this document occurred in    13    John. I appreciate it."
  14    approximately May of 2017?                        14 Q And, based on his response, what was your
  15 A Yes, it did.                                       15   thinking with respect to how Brownsburg High
  16 Q And you indicated that you read the document out   16   School would proceed as far as student names
  17    loud to Principal Daghe?                          17    were concerned?
  18 A That's correct.                                    18 A Based on his response, my understanding is that
  19 Q What response did he provide, if anything?         19   they would continue to use legal names and that
  20 A He had -- I don't know exactly what he said        20   we would not be promoting transgenderism in our
  21   before this but near the end of the meeting he     21    schools, we would stop teaching it in our
  22   asked -- well, he told us that "I," Bret Daghe,    22    faculty meetings, and that he had heeded our
  23    "have been resisting pressure that I feel to      23    urging.
  24   change names in our PowerSchool database. I've     24 Q Do you see down at the bottom right-hand corner
  25    been resisting that pressure thus far and         25    where it says Kluge 109?

                                                Page 43                                                  Page 45

   1   keeping legal names in PowerSchool. Would you       1 A    That's correct.
   2    like me to change the names to transgender         2 Q   Okay. That's a Bates stamp. It's just a unique
   3    names? Would that solve your concerns?"            3     identifier. I may refer to documents --
   4       At that point the three other teachers          4 A   Do you care if I grab a sweater or something?
   5   said, yes, that would resolve our concerns. I       5     Just the room I'm in is a little chilly.
   6   was shocked that they did an about-face and I       6 Q    Certainly.
   7    said nothing. And then the meeting ended.          7 A    Okay. I will be right back. You can't see it
   8       Minutes later I walked back into Bret           8     but I have a blanket now, so go ahead. Proceed.
   9   Daghe's office and I tell him, "Look, I know        9 Q    On the pages marked Kluge 108 and 109 there is
  10    that those other teachers said they would be      10     some numbered requests 1 to 12. Do you see
  11    happy to have the transgender names in            11     that?
  12   PowerSchool and that would resolve their issues,   12 A    I see that.
  13    but if you've been able to resist the pressure    13 Q    Okay. And Requests 4 to 6 have to do with not
  14   you feel to change names in PowerSchool and        14     requiring teachers to use transgender students'
  15   you've been successfully keeping legal names in    15     preferred pronoun; is that correct?
  16   PowerSchool, keep up the good work. Do that,       16 A    You said 4 through what?
  17    keep using legal names."                          17 Q    Requests 4 to 6.
  18       I left that meeting May of 2017 thinking       18 A    4 to 6. Let me read them. Those Requests 4
  19   that Bret and I were on the same page, that he     19     through 6 do talk about preferred pronouns.
  20   would keep using legal names, we would not be      20 Q   Okay. And by preferred pronouns, we're talking
  21   promoting transgenderism in our school. That's     21     about if a biological female student wanted to
  22    how I left that day.                              22     be referred by a masculine pronoun such as he,
  23 Q Well, why do you say that? Did Dr. Daghe --        23     him, or his, you were asking in those requests
  24 A Because --                                         24     that Brownsburg not require the teachers to do
  25 Q Let me finish my question. I think you're          25     that; is that correct?



                                                                                          SA-271
 Min-U-Script®                                Circle City Reporting                             (11) Pages 42 - 45
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 13 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1252 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 46                                                 Page 48

   1 A    That's part of what we were asking for, yes.       1    July 18th of 2017 regarding two transgender
   2 Q    Okay. Isn't it true that Brownsburg granted        2    students; correct?
   3     that request for the 2017/2018 school year by       3 A Let me look at them. What was your question
   4     allowing teachers to use the name listed in         4    now?
   5     PowerSchool?                                        5 Q These appear to be e-mails from Lori Mehrtens
   6 A    That's not correct.                                6    dated July 18th of 2017 regarding two
   7 Q    Okay. Tell me your understanding of what the       7    transgender students; correct?
   8     PowerSchool database is.                            8 A Yes.
   9 A   The PowerSchool database is a database that         9 Q Do you recall receiving these e-mails on or
  10     tells you information about students including     10    around July 18th of 2017?
  11     their name and grades, their parents' names,       11 A I do.
  12     their address, phone numbers. I think you can      12 Q That would have been nine days before the first
  13     see maybe their discipline logs, maybe not. I      13    day of classes for the 2017/2018 school year;
  14     don't remember.                                    14    does that sound correct?
  15 Q   Okay. Do you recall during the 2017/2018 school    15 A The first day of classes in the 2017/2018 school
  16     year if PowerSchool would display a student's      16    year was July 27, nine days later.
  17     biological sex?                                    17 Q Thank you. Is it fair to say that these e-mails
  18 A    I believe, yes, it had male or female listed by   18   made you start thinking about the last-name-only
  19     the student.                                       19    accommodation?
  20 Q    Okay. And, to your knowledge, could you as a      20 A Actually, no. I hadn't thought of that
  21     teacher during the 2017/2018 school year enter     21   accommodation until I was told I was going to be
  22     or change any information in PowerSchool?          22   terminated. And when I saw these e-mails, you
  23 A    No, you could not.                                23    see in the first bullet point it says "Parents
  24 Q    Okay. Is it more accurate to simply say that      24   are supportive and aware - Feel free to use 'he'
  25     you as a teacher during the 2017/2018 school       25   and 'Aidyn' when communicating." I saw that and

                                                  Page 47                                                 Page 49

   1    year simply had access to the information?           1    when I first received these e-mails I say I
   2 A As regards to student's name and sex, yes.            2  thought Daghe and I had an understanding that we
   3 Q Is it your understanding that at some point           3    were not gonna be doing this. Where is this
   4   during the 2017/2018 school year Brownsburg           4   coming from? I was actually pretty shocked and
   5   allowed students to change the first name listed      5    surprised that the school was starting to do
   6   in PowerSchool provided they had approval from        6   this. I thought Bret and I had an understanding
   7    their health care provider and a parent?             7   we weren't going to be doing this, but when I
   8 A That is my understanding.                             8    saw the words "Feel free to use 'he' and
   9 Q Going back to Exhibit D, did Bret Daghe or            9    'Aidyn'" and in the other page it says "Feel
  10   anyone at Brownsburg discipline you for writing      10    free to use 'he' and 'Sylar' when
  11    this letter and providing it to him?                11   communicating," I did not take that as a command
  12 A Are you referring -- you said the 2017/'18           12    as them directing me to do this. It was a
  13    school year?                                        13    suggestion in my eyes.
  14 Q At any time.                                         14       And, so, I said I don't know why the school
  15 A I did not get disciplined for writing this           15    is moving in this direction but they say "feel
  16   letter. They did suspend me pending termination      16    free." It sounds like it's more of a do this if
  17    later in July based on the beliefs given in this    17   you'd like to; don't do it if you don't want to.
  18    letter.                                             18        And, so, when I saw these e-mails, I
  19 Q Right. But, as far as this letter is concerned,      19   planned to use students' legal names the first
  20   Bret Daghe or anybody else at Brownsburg didn't      20    day of classes. I could go on in the timeline
  21    discipline you for providing it to Bret, for        21    but I think you'll probably ask some more
  22    voicing your views, anything like that?             22    questions about that.
  23 A That's correct.                                      23 Q We will. So I just want to be clear. So it's
  24 Q Take a look at the next exhibit, Exhibit E.          24   fair to say from these e-mails they didn't first
  25   These are two e-mails from Lori Mehrtens dated       25   make you start thinking about what eventually



                                                                                           SA-272
 Min-U-Script®                                 Circle City Reporting                             (12) Pages 46 - 49
                                                   317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 14 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1253 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 50                                                   Page 52

   1   became the last-name-only accommodation. Is         1    the 2017/2018 school year; is that correct?
   2    that fair?                                         2 A It was the first student day of school, correct.
   3 A That's correct.                                     3 Q And I understand that on that day you had a
   4 Q Okay. Now go back when you were talking. I          4   meeting or meetings with Principal Daghe and
   5    want to be clear. I think you touched on it        5    Dr. Snapp; is that correct?
   6   before, but why did you have the understanding      6 A That's correct. I originally went to Daghe in
   7    from talking with Bret, I believe, in May of       7   the morning to tell him what my plan was. I
   8   2017 that Brownsburg High School is not gonna       8    received this e-mail that says "feel free" to
   9    require you to use transgender names?              9    use transgender first names. It says "feel
  10 A Because when Bret and I met alone after the May    10    free." I don't think that's an obligation. I
  11    meeting with the three teachers, myself, and      11    don't think they're telling me to do it, so I
  12    Bret, in that meeting minutes afterward with      12   intend to use legal names when I start teaching
  13   just Bret and myself when he had said previously   13    later in the day.
  14    I've resisted this pressure to change names in    14        He says to me, "Hold on, John. Wait in
  15   the PowerSchool database, he said that he had      15    your office. I'm going to get in touch with
  16   resisted that pressure when we were meeting with   16    Snapp and see what we should do."
  17    all of the teachers. Then minutes later in this   17        So then he calls me into his office later
  18    individual meeting between Bret and I, I tell     18    that day, July 27, 2017, and in that meeting
  19    him if you've been able to successfully resist,   19   between me, Daghe, and Snapp in Daghe's office
  20    good job, keep it up, keep doing legal names,     20    Snapp tells me, "You can't use legal names,
  21    and he said, "Thank you, John. I appreciate       21    John."
  22    it." To me, that was thanks for the               22       And I tell him my sincerely-held religious
  23    encouragement, I will continue to resist.         23   beliefs, that to use a transgender first name --
  24 Q Thank you. Going back to Exhibit E. At the         24   he tells me you have to use the transgender name
  25   time you received these e-mails, did you know      25   in PowerSchool. And I say, "I can't do that.

                                                Page 51                                                   Page 53

   1    either of the students?                            1     That's against my sincerely-held religious
   2 A At the time of receiving these e-mails I had        2     beliefs."
   3    been an assisting teacher to their orchestra       3        And he says, "Well, then you have three
   4    teacher when they were in eighth grade.            4     options. You can either, one, comply and use
   5 Q Okay. And help me with what does it mean to be      5     the transgender name in PowerSchool; two, you
   6    an assisting teacher to the eighth grade           6     can resign, say you were forced to resign; or
   7   orchestra teacher? Would you attend classes?        7     three, you'll be suspended pending termination."
   8    Would you attend other events, that sort of        8     That's the phrase he used.
   9    thing?                                             9         And I told him, "I can't use the
  10 A I would attend classes, I would help the           10     transgender first name. It's against my
  11    students learn their music, and I would attend    11     conscience. It's against my sincerely-held
  12    the concerts and help them tune their             12     religious beliefs."
  13   instruments, so I had met both Sucec and Haskett   13        So he said, "Fine, then say that you were
  14    before.                                           14     forced to resign."
  15        THE PLAINTIFF: Can we pause for lunch at      15         And I said, "Well, I don't want to resign.
  16    some point soon?                                  16     I want to continue teaching here and I want to
  17        MR. BORG: Yeah. What sounds good, guys,       17     continue using legal names."
  18    30 to 45 minutes?                                 18         And he said, "You can't do that."
  19        MR. CORK: Yeah, that's fine with me.          19         And I said, "I can't quit on the students,
  20        (A recess was taken.)                         20     so if I'm not gonna resign, if I'm going to be
  21 DIRECT EXAMINATION CONTINUING,                       21     terminated, you're gonna have to terminate me.
  22    QUESTIONS BY BRENT R. BORG:                       22     I'm not gonna quit on my students."
  23 Q We broke for about 30 minutes for lunch.           23          And he said, "So you want me to terminate
  24   Mr. Kluge, I think you testified previously that   24     you?"
  25    July 27, 2017 was the first day of school for     25        And I said, "No, I want you to continue



                                                                                           SA-273
 Min-U-Script®                                Circle City Reporting                              (13) Pages 50 - 53
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 15 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1254 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 54                                                  Page 56

   1     letting me teach here and use legal names."         1 A I didn't have classes until later in the day.
   2         And he says, "Again, I can't do that." So       2    My first scheduled classes, I believe, were
   3     we left that meeting with him saying, "Well, if     3   supposed to be helping with the middle school
   4     you're not gonna use transgender first names and    4   teacher. They weren't my own students. It was
   5     you're not gonna resign, then, John, I'm sorry      5    just helping the other teacher and so I didn't
   6     to say this, but you are suspended pending          6   actually teach any students before meeting with
   7     termination." And that's how we left that           7    Snapp and Daghe later in the day or later that
   8     meeting.                                            8    morning. I was just sitting in my office.
   9 Q    Let me backtrack on that just to make sure I       9 Q Okay. So you did not go help the middle school
  10     have the sequence.                                 10    teacher as planned?
  11 A    Yeah.                                             11 A I did not. I just sat in my office. I actually
  12 Q   You first met with just you and Principal Daghe    12   did not even interface with any students. I saw
  13     on July 27, 2017; correct?                         13   Daghe and he told me to go to my office. I went
  14 A   Just me and Daghe, yes.                            14   in my office and then he calls me to the meeting
  15 Q   Thank you. And I think you said you                15    with him and Snapp and then I go to that
  16     communicated to Principal Daghe that since the     16    meeting.
  17     e-mail you had received with respect to the        17 Q Okay. And you described that meeting where I
  18     transgender student was permissive regarding       18   think you said Principal Daghe communicated
  19     transgender first names, it was your intention     19    these three options to you; correct?
  20     to use their legal name? Is that fair?             20 A No, Snapp presented those three options.
  21 A    Because the e-mail didn't mandate us using        21 Q Snapp presented those, okay. And then what
  22     transgender names, I intended to use legal         22   happened after the meeting with you, Principal
  23     names.                                             23    Daghe, and Dr. Snapp?
  24 Q   Okay. Just so we're clear, what do you mean by     24 A Snapp had said, "John, you are suspended pending
  25     legal names?                                       25   termination. Please go home and we can arrange

                                                  Page 55                                                  Page 57

   1 A The name that's on their birth certificate, the       1    to have you collect your things." And, so, I
   2    one that was stored on their birth records.          2    went home.
   3 Q Okay. And what do you mean by transgender             3       After that, my pastor got in touch with Jim
   4    names?                                               4   Snapp. I don't know who called who. In that
   5 A The opposite sex first name that they had             5   meeting I had told Jim Snapp who my pastor is.
   6    switched to that was not their legal name.           6   He asked me who is my pastor and I told him. So
   7 Q And I think we established previously that there      7   those two talked on the phone after that July 27
   8    was a process where a student, to use your           8   meeting and my pastor asked Jim Snapp, "Jim,
   9   terms, could have their legal name changed to         9   could you at least give John over the weekend to
  10   their transgender name in PowerSchool; correct?      10   think about what to do and not terminate him?"
  11 A That's correct.                                      11        And Jim Snapp agreed to my pastor's
  12 Q And was it your understanding that as of July        12    suggestion. And, so, Jim agreed to give me
  13   27, 2017 the directive to high school teachers       13   until Monday to decide what I was gonna do.
  14    was to use the name that was listed in              14 Q Okay. The conversation that occurred between
  15    PowerSchool?                                        15   Dr. Snapp and your pastor, was that also July
  16 A No, it was not a directive; it was a suggestion.     16    27?
  17 Q Okay. And then back to how events transpired in      17 A I believe it was. It could have been the next
  18   July 27 of 2017. The first initial meeting with      18    day.
  19   Principal Daghe ended by having him say hold on,     19 Q And you were not privy to that conversation;
  20    let me get Dr. Snapp and we'll be in touch          20    correct?
  21    further?                                            21 A I was not in that conversation if that's what
  22 A That's correct.                                      22   you mean. What do you mean by privy? He told
  23 Q Okay. What did you do in the interim? Did you        23    me he talked to Snapp.
  24   teach classes or did you go home? Did you take       24 Q Privy is a bad word. You didn't participate in
  25    a break?                                            25    that conversation; correct?



                                                                                           SA-274
 Min-U-Script®                                 Circle City Reporting                              (14) Pages 54 - 57
                                                   317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 16 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1255 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 58                                                    Page 60

   1 A    I did not participate in that conversation.      1       memory at all?
   2 Q   You know about that conversation because the      2 A     You know, what date did he say this occurred?
   3      information about it was relayed from your 3 Q            He testified it occurred on July 27 of 2017.
   4      pastor; correct?                                 4 A      That same exact day. I have -- yeah, I have a
   5 A     That's correct.                                 5       vague memory of talking to him privately about
   6 Q     And then eventually at some point did your 6            religious topics. I could not testify about
   7     pastor relay to you that Dr. Snapp had agreed 7           what day it was or what it was concerning.
   8      to, I guess, give you the weekend to think       8 Q     Well, let me ask you this. Do you think it was
   9      things over?                                     9       around this time at the start of classes for the
  10 A     That's correct. After my pastor and Snapp got 10        2017/2018 school year?
  11     off the phone, at some point between then and 11 A         It's possible.
  12     the Monday meeting with Snapp and Gordon my 12 Q          One of the other things that Dr. Snapp testified
  13     pastor relayed that I asked -- I, Dave Abu-Sara, 13       during this conversation -- and, again, I'm
  14      the pastor, asked Jim Snapp to give me the 14            sharing this with you to see if it refreshes
  15     weekend to think about things and Snapp has 15            your recollection.
  16      agreed.                                         16 A      Uh-huh.
  17 Q     Dr. Snapp testified in his deposition that he 17 Q      He asked at one point during the conversation,
  18     had a one-on-one conversation with you on July 18         "What do you want me to do?" posing that
  19     27, 2017. Do you recall having a meeting with 19          question to you. And your response was to the
  20      him like that?                                  20       effect that you wanted him to fire you and then
  21 A     I do not. It was Daghe, Snapp, and me. Never 21         go to the media and tell them that this was an
  22      Snapp and me alone.                             22       unjust law and he disagreed with it but that he
  23 Q    Do you recall ever having a one-on-one with him 23       had to fire you anyway. Do you recall having a
  24     not necessarily July 27th but at some other time 24       discussion with Dr. Snapp along those lines?
  25      around then?                                    25 A     No. What I recall is that when he asked me what

                                                  Page 59                                                    Page 61

   1 A   No, it was Daghe, Snapp, and me. And then on        1     I want him to do, I told him "I want you to keep
   2     July 31 it (audio malfunction) --                   2     me employed and allow me to use legal names."
   3 Q   Mr. Kluge, I'm sorry, my screen froze up when       3 Q    Do you ever recall telling Dr. Snapp "I want you
   4     you started to say it was July 31.                  4     to fire me" or anything like that?
   5 A   So July 27 it was Snapp, Daghe, and myself. And     5 A   Given the Hobson's choice of resign or be fired,
   6     then July 31 it was Snapp, Gordon, and myself.      6     I told him "I won't quit on the students." If
   7 Q    Okay. But, as far as you recall around this        7     he's construing that I told him I want to be
   8     time, you never had a one-on-one conversation       8     terminated, that's a misrepresentation of what I
   9     with Dr. Snapp?                                     9     told him. I always told him I want to work here
  10 A    A one-on-one conversation? Now, it could be       10     and I want you to allow me to use legal names.
  11     possible that someone left the room to go to the   11     That's what I was telling him before I presented
  12     bathroom during that three-hour meeting we had     12     the option, the accommodation, and they agreed
  13     on the 27th.                                       13     to it.
  14 Q   Okay.                                              14 Q   What else do you recall your pastor sharing with
  15 A   But the meeting was between three people.          15     you about the conversation he had with
  16 Q   Well, let me tell you what he shared about this    16     Dr. Snapp?
  17     conversation and maybe that will jog your          17 A   That's all I recall.
  18     memory. He described the conversation as           18 Q   Who was your pastor at that time?
  19     lasting more than an hour.                         19 A   Pastor Dave Abu-Sara.
  20 A    Nope.                                             20 Q   And he's also the current pastor at Clearnote;
  21 Q    He described it as cordial. Let me finish my      21     correct?
  22     question and see if it refreshes your              22 A   That's correct.
  23     recollection. He described the conversation as     23        MR. BORG: Let's look at Exhibit F, Rita.
  24     cordial and he said the conversation was focused   24 Q   If you could go to Page 2, Mr. Kluge.
  25     on religious beliefs. Is that jogging your         25 A   There it is.



                                                                                             SA-275
 Min-U-Script®                                  Circle City Reporting                              (15) Pages 58 - 61
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 17 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1256 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 62                                                   Page 64

   1 Q You recognize this document; correct?               1     me this piece of paper. It's the first time I
   2 A I do recognize this document.                       2     had seen this piece of paper and they say, "Do
   3 Q Okay. Is it fair to say that the outcome of the     3     you comply or will you not comply? If you will
   4   discussions with Bret Daghe and Dr. Snapp on        4    comply with this and use transgender first names
   5   July 27, 2017 resulted in Brownsburg agreeing to    5     that are listed in PowerSchool, you can keep
   6    two reasonable accommodations?                     6     your job. If you will not comply, you are going
   7 A No, that's not a correct representation of the      7     to be terminated. What do you choose, John?"
   8    July 2017 meeting.                                 8          And I said to them -- I offered at that
   9 Q Okay. What was the result of those meetings?        9    meeting on July 31 between Snapp and Gordon, I
  10 A I was suspended pending termination as a result    10    said, "Well, can I use last name only like a gym
  11    of the July 27th, 2017 meeting.                   11     coach? That way we cannot get into this issue
  12 Q Okay. Are you familiar with the statutes that a    12     at all. I can just teach my content and it will
  13   school corporation has to follow to terminate a    13     be as if we're the orchestra team."
  14    teacher's employment?                             14        And Snapp looked at Gordon at that point in
  15        MR. CORK: Objection. Calls for a legal        15     the meeting and said, "Is this allowable?" And
  16    conclusion. You may answer if you can.            16     Gordon said, "Yeah, that's fine."
  17 A I don't have those committed to memory and I'm     17       And Snapp then asked me, "Well, what would
  18    not very familiar, no.                            18     you do if a student asked you outright 'Are you
  19 Q Do you know that there are statutes that a         19     using last names only because you think that
  20    school corporation has to follow before it        20     transgenderism is evil?'"
  21    terminates a teacher's employment?                21        And I told Snapp at that point, "If a
  22 A I don't know what the word "statute" means in      22     student asks me that outright, I would say I'm
  23    terms of what you're talking about, so --         23     using last names only because we're a team,
  24 Q A statute, Mr. Kluge, is a written law, in this    24     we're an orchestra team, just like a sports
  25    case a law passed by the Indiana General          25     coach says, hey, Smith, hey, Jones. We are one

                                                Page 63                                                   Page 65

   1   Assembly. Do you think you ever reviewed a law      1   orchestra team working towards a common goal."
   2   passed by the Indiana General Assembly that has     2        And, so, our understanding at that meeting
   3   to do with the steps a school corporation has to    3    is that I would use last names only for all
   4    follow to terminate a teacher's employment?        4    students just like a sports coach, just like a
   5 A No, I have not seen those. I was just told I        5   gym coach, and that's when they wrote in the
   6    was suspended pending termination.                 6    handwriting that I was allowed to address
   7 Q Okay. But eventually there came a time where we     7    students by last name only.
   8    got to Exhibit F and what's discussed there;       8 Q Did you come up with that idea right on the spot
   9    correct?                                           9    or had you been thinking about it?
  10 A This exhibit does exist. What's your question?     10 A I had thought about it over the weekend.
  11 Q I guess my question is what is your                11 Q What about the part at the bottom? I believe
  12   understanding from your perspective of how we      12   that's Jodi Gordon's handwriting. It says, "In
  13   went to administrative leave pending termination   13   addition, Angie Boyer will be responsible for
  14   to this document that's depicted in Exhibit F?     14   distributing uniforms to students." What's that
  15 A So Snapp, Daghe, and I left our meeting, the       15    about?
  16   three of us, July 27th with the understanding      16 A That was an accommodation for I'm not officially
  17   that they would not allow me to use legal names    17   in charge of the uniforms, Angie Boyer will be,
  18   and that I was suspended pending termination.      18    and, so, I'm not the one directly responsible
  19       Over the weekend after carefully consider      19    for giving a man's clothing item to a female
  20    what to do, I, on Monday, July 31, go to the      20    student. And what that accommodation
  21   meeting where this document was presented to me.   21   accomplishes is (audio malfunction) officially
  22    I hadn't seen it before July 31. And in that      22   in charge. The people who actually distribute
  23   meeting on July 31, it's Snapp and Gordon and      23   the uniforms is the orchestra uniform parent
  24   myself in the meeting. Bret Daghe is not in the    24    helper.
  25   meeting. At that meeting on July 31 they give      25        And, so, after this meeting I'm given that



                                                                                           SA-276
 Min-U-Script®                                Circle City Reporting                              (16) Pages 62 - 65
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 18 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1257 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 66                                                  Page 68

   1     accommodation that Angie Boyer will be              1   wrong lifestyle. And that's why this last names
   2     responsible for distributing uniforms to            2    only, we're all on the same orchestra team,
   3     students and I go to Angie Boyer and tell her,      3   that's why that accommodation worked so well.
   4     "You are officially the one responsible for         4    It wasn't about sexuality as far as the students
   5     distributing uniforms to students." And then I      5    were concerned. It was about creating team
   6     tell the orchestra parent volunteers who            6    identity as an orchestra class and that's what I
   7     actually do the distributing that "Angie Boyer      7   did tell my student if they ever asked me, "Hey,
   8     is now in charge of you guys and responsible for    8   why do we do last names only in your class?" I
   9     distributing uniforms. I'm no longer the one        9   told them, "Well, you know how on a sports team
  10     officially in charge. You keep on doing your       10   you're all last names? Well, we're an orchestra
  11     work but Angie Boyer will be the one in charge     11   team. We're all working towards the same goal.
  12     of you."                                           12   I want to foster that sense of community." And
  13 Q    Was all of that with respect to the uniform       13    they were satisfied with that answer.
  14     accommodation proposed by you?                     14 Q Let's focus on the I'm going to refer to it as
  15 A    Yes.                                              15   the last-name-only accommodation. Was it your
  16 Q    And it's fair to say that Brownsburg              16   understanding that you would address students in
  17     administration agreed to allow you to address      17   all of your classes by last name only as opposed
  18     students using last name only based on your        18    to just classes with a transgender student?
  19     proposal; correct?                                 19 A That was my understanding, all my classes last
  20 A    Yes, they agreed to that.                         20    name only.
  21 Q    And they also agreed to the uniform proposal      21 Q Was it your understanding that you would not use
  22     that you've just described?                        22   honorifics at all when addressing students? And
  23 A    Yes.                                              23   by that I mean "Mr." followed by the last name
  24 Q   And you signed this document and you dated it      24    or "Ms." and followed by the last name?
  25     July 31st, 2017?                                   25 A Yes, that was my understanding.


                                                  Page 67                                                  Page 69

   1 A That's correct.                                       1 Q Did you understand this last-name-only
   2 Q You also checked the box there that says "Yes, I      2   accommodation to only concern working hours?
   3    will comply with this directive."                    3 A If any time I saw a student at school -- and I
   4 A I checked the box that, yes, I will comply with       4   never saw students outside of school -- I think
   5    this directive to use -- yeah, and treat             5   my understanding would have been that any time
   6   students in the manner indicated on PowerSchool       6   I'm at school I'm doing this, whether it's after
   7   with the understanding that I can use last names      7    school, during school, before school, and I
   8    only so that way I can still use the name in         8    never saw any students outside of school.
   9   PowerSchool but I'm only using the legal part of      9 Q Okay. And, Mr. Kluge, for what it's worth, I
  10    their name, their last name.                        10   think when you lean back we're losing you in
  11 Q There's also a line there under Jodi Gordon's        11   audio, so if you could just keep that in mind.
  12   first set of handwritten remarks. It says "You       12 A Okay. That's fine.
  13    are also directed to not attempt to counsel or      13 Q To drive that home, you didn't understand that
  14    advise students on his/her lifestyle choices."      14   Brownsburg with respect to this last-name-only
  15   Was there any discussion about that part of this     15   accommodation was trying to dictate how you
  16    document?                                           16    addressed people outside the classroom or
  17 A In that meeting?                                     17    outside working hours; correct?
  18 Q Yes.                                                 18 A Correct.
  19 A Yes, they told me that and I agreed.                 19 Q Did you begin teaching classes following this
  20 Q Okay. Do you have any idea what that was about?      20   meeting with Dr. Snapp and Jodi Gordon on July
  21   Were they saying there were student complaints       21    31st?
  22    or concerns to that effect?                         22 A I believe that I started teaching classes that
  23 A There were no student complaints to that effect.     23    very day, July 31, for the first time that
  24    Snapp said he did not want me telling               24   school year. I had not seen any students prior
  25   transgender students that they're choosing the       25   to that during the school year. The first time



                                                                                            SA-277
 Min-U-Script®                                  Circle City Reporting                             (17) Pages 66 - 69
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 19 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1258 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 70                                                  Page 72

   1     I saw students in the 2017/'18 school year was     1       When Dr. Snapp got the okay when he asked
   2     after this meeting.                                2   Gordon, "I don't know. What do you think about
   3 Q    Okay. And at that point in time after you had     3   this?" and Gordon said, "Yes, this is fine," his
   4     concluded this meeting with Dr. Snapp and Jodi     4   hesitation would have been showing me that he's
   5     Gordon, is it fair to say that Brownsburg's        5    hesitant to give me this accommodation, that
   6     administrators were working with you in good       6    he's hostile towards my beliefs, yes.
   7     faith to find accommodation for your               7 Q Anything else you can think of that made you
   8     sincerely-held religious beliefs?                  8   think Brownsburg or Brownsburg administrator
   9 A    To say they were working with me to find an       9   might be hostile toward your religious beliefs
  10     accommodation, I think, is not representing it    10    at this time?
  11     correctly. I presented this accommodation and     11 A In the July 27 meeting just Snapp arguing with
  12     they agreed to it. Does that answer your          12    me that my beliefs aren't what's in the Bible
  13     question?                                         13    and me explaining what my beliefs are and
  14 Q    It does.                                         14    bringing in scripture and him saying that I'm
  15 A   They never gave the accommodation. That was the   15   wrong. So, like, yeah, he was angry and he was
  16     one I gave to them and they agreed to it.         16    telling me that my beliefs weren't correct, so
  17 Q   Okay. And I'm just asking for your point of       17    that would have been hostile, I guess, too.
  18     view, but, again, at this point in time after     18 Q So you did have a conversation --
  19     you concluded this meeting with Dr. Snapp and     19 A That was the Snapp and Daghe meeting on July 27
  20     Jodi Gordon, is it fair to say that Brownsburg    20   that I'm talking about when he was angry and he
  21     administrators did not harbor animosity toward    21    was saying that my beliefs are wrong.
  22     you based on your religious beliefs?              22 Q Okay. Can you elaborate on that? It sounds
  23 A    I think we had reached an agreement. I don't     23   like you're having a discussion along religious
  24     know what they were thinking in terms of how      24   lines. Is he providing you with his reasoning
  25     they felt towards me. That would be to know       25    of why he thinks your beliefs are wrong?

                                                 Page 71                                                  Page 73

   1    what their thoughts were.                           1 A He said why he thinks they're wrong and then I
   2 Q Well, that's fair. But, by the same token, up        2   would give a scripture of why I believe what I
   3    to this point in time was there anything that       3    believe.
   4    they said or did or made an outward                 4 Q Do you recall what he said about why he thinks
   5   manifestation that you thought they were hostile     5    that the belief was wrong?
   6    toward you based on your religious belief?          6 A I don't remember the particulars of it but just
   7 A Yes, Snapp was very angry in the meeting on July     7   that he was arguing that my beliefs were wrong.
   8    27.                                                 8    If I remember anything, I'll let you know.
   9 Q Anything else?                                       9 Q Thank you. Let's talk about you started to say,
  10 A Not to my knowledge at this point. I can't          10    as far as you recall, you resumed teaching
  11   remember anything particularly besides just the     11    classes on July 31st of 2017; correct?
  12    -- hostile towards? Can you say the question       12 A I believe so.
  13    again?                                             13 Q Okay. Forgive me. There's a saying that, you
  14 Q Sure. I think we're talking about whether you       14   know, people who have graduated from high school
  15    believed at this point in time, again, the         15   think they know everything about high school and
  16   conclusion of the meeting with Dr. Snapp and        16    high school was half my life ago, so I'm
  17   Jodi Gordon on July 31st, whether there were any    17    pleading ignorance, but I want to better
  18   outward manifestations, words, body language        18    understand your teaching schedule during the
  19   from a Brownsburg administrator that made you       19   2017/2018 school year. So maybe we could start
  20    think they were hostile toward your religious      20   by just telling me what classes that you had in
  21    beliefs.                                           21    a school day.
  22 A Oh, yeah. I think the fact that they didn't         22 A Sure. I had three orchestra classes, a
  23   provide me -- that they were hesitant to provide    23    beginning, an intermediate, and an advanced
  24   me with even this accommodation made me suspect     24   orchestra. I helped teach classes at the middle
  25    that they were hostile towards it.                 25   school. I helped the middle school teacher out.



                                                                                          SA-278
 Min-U-Script®                                 Circle City Reporting                             (18) Pages 70 - 73
                                                   317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 20 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1259 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 74                                                 Page 76

   1   I also had a beginning music theory class and an      1 A The freshman class was the beginning. There's
   2   advanced placement music theory class, and some       2    all freshman and if you're not a freshman,
   3   semesters I would teach piano as well, piano          3    generally, you're not in that class.
   4    class.                                               4   Intermediate was comprised of 10th through 12th
   5 Q Did you teach piano during the 2017/2018 school       5    graders and advanced was comprised of 10th
   6    year?                                                6    through 12th graders.
   7 A I think so. I'd have to double check on that,         7 Q With respect to the intermediate and advanced,
   8    though.                                              8   how was it determined which student would go
   9 Q Okay. And then let's go through these one by          9   where? Would they just sign up based on what
  10   one. The orchestra, beginning, intermediate,         10    level they perceive they're at or was there a
  11    advanced, did you teach those during the            11   process where you helped determine which level
  12    2017/2018 school year?                              12    they were at?
  13 A I did.                                               13 A Like the band, my program you auditioned in the
  14 Q The help at the middle school, I think you           14    spring semester to get into the advanced
  15    testified already that you did that during the      15    orchestra if you would like to be in the
  16    2017/2018 school year; correct?                     16    advanced orchestra. If you make it past the
  17 A Correct.                                             17    audition, then you're in. If you don't audition
  18 Q And the music theory and AP music theory, did        18   or you don't have a good audition, then you're
  19   you teach those during the 2017/2018 school          19    in the intermediate orchestra.
  20    year?                                               20 Q The two transgender students that we talked
  21 A Correct.                                             21   about previously, Sucec and Willis, tell me all
  22 Q Was Brownsburg High School on semesters,             22    the classes that you recall you taught them in
  23    trimesters during the 2017/'18 school year?         23    during the 2017/2018 school year.
  24    Help me understand that.                            24 A Sucec was in my freshman orchestra. Willis was
  25 A They were on -- we had some classes that were        25    not a transgender student according to the

                                                  Page 75                                                 Page 77

   1     one semester long and other classes that were an    1   PowerSchool database until the end of September
   2     entire school year long. Does that answer your      2   2017 and then she was a transgender student at
   3     question?                                           3   that point and she was in my intermediate
   4 Q    I think so. To the best of your recollection,      4   orchestra.
   5     take me through your teaching schedule from         5 Q Approximately how large was each of your
   6     Monday to Friday.                                   6   orchestra classes?
   7 A   I believe that I had the same classes each day      7 A About 30, maybe up to 40 students in each of
   8     of the week to the best of my knowledge.            8   those orchestra classes.
   9 Q   And what's the progression from morning to          9 Q With respect to your orchestra classes, was
  10     afternoon? I think you started to say that your    10   there a daily attendance or a roll call or
  11     first classes might have been helping out at the   11   anything like that during the 2017/2018 school
  12     middle class?                                      12   year?
  13 A   I think so, yep.                                   13 A There was a daily attendance taken.
  14 Q   And then what would come next?                     14 Q How would that work?
  15 A   I don't recall. I think it even changed from       15 A On the first day I was in my classes, this would
  16     one semester to the next possibly, so half of      16   have been July 31 of 2017, I called the students
  17     the year. I think they might have even switched    17   one by one through the name of the alphabet
  18     up the schedule, so I couldn't give you an         18   using last name only. I did not give an
  19     accurate account without looking back at my        19   explanation why I was doing it. I didn't draw
  20     schedule.                                          20   attention to myself as I was doing it. I just
  21 Q    That's fair. Let's talk a little more about the   21   started saying their names last name only. In
  22     orchestra classes, beginning, intermediate,        22   order to take attendance they would say "here"
  23     advanced. Did that level roughly correspond to     23   or they wouldn't say anything if they were
  24     a student's age, freshman, sophomore, junior,      24   absent.
  25     senior?                                            25       And then later on in the school year, as I



                                                                                           SA-279
 Min-U-Script®                                  Circle City Reporting                            (19) Pages 74 - 77
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 21 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1260 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 78                                                  Page 80

   1   had a seating chart, I would just look to see       1    students?
   2   who was here and who wasn't. I didn't need to       2       MR. CORK: Object to the form of the
   3   call their names anymore.                           3   question. It's misleading. You may answer if
   4 Q                                                     4    you understand it.
   5 Q Okay. So it's fair to say you did, I guess, a       5 A Can you repeat the question?
   6   roll call, for lack of a better term, the first     6       MR. BORG: Repeat the question, Brandy.
   7   day; is that correct?                               7       (The reporter read back the previous
   8 A That's correct.                                     8    question.)
   9 Q And then do you think you did roll call for the     9       MR. CORK: Object to the form. Assumes
  10   orchestra classes further or you just based        10    facts not in evidence.
  11   attendance on a seating chart?                     11 A What I'll tell you is that in December of 2017
  12 A I know that once I had a proper seating chart I    12   Daghe told me that students were complaining
  13   would just look and see who was there. I don't     13   that I was using last name only and I asked him
  14   know if it was one day or two days that I did      14   who, "Who is complaining?" And he didn't tell
  15   roll call.                                         15    me who. He just said, "Students."
  16 Q Did you use a similar process in your other        16       MR. BORG: Okay. We might come back to
  17   classes, essentially starting with roll call and   17    that. Let's pull up Exhibit G, Rita.
  18   then working toward a seating chart?               18 Q Exhibit G is an eight-page document. At the top
  19 A Exact same process. Last name only in all my       19    on Page 2 it says "To: Brownsburg School
  20   classes.                                           20   Corporation HR Director Jodi Gordon; From: John
  21 Q And other than the last name only, did this roll   21    Kluge; Date: Friday, May 25, 2018."
  22   call/seating chart, was that consistent in prior   22       Mr. Kluge, are you familiar with this
  23   years that you taught as well?                     23    document?
  24 A Say that question again.                           24 A Let me look at it.
  25 Q Yeah, it's poorly worded. In prior years did       25 Q Certainly.


                                                Page 79                                                  Page 81

   1    you have a similar process for your classes,       1 A I am familiar with it.
   2   namely you would start with roll call and then      2 Q And you signed that at the last page; correct?
   3    eventually use a seating chart?                    3 A That is my signature. I did sign it.
   4 A That's correct.                                     4 Q Okay. And then below your signature -- stay on
   5 Q The only difference being in prior years you        5    that page, please. So you think you, in fact,
   6   didn't have the last-name-only accommodation;       6   submitted that to Jodi Gordon on Friday, May
   7    correct?                                           7    25th of 2018?
   8 A That's correct.                                     8 A Yes, I did and the time stamp gives the exact
   9 Q During the 2017/2018 school year did anyone         9    time that I submitted it.
  10   other than a Brownsburg administrator ever make    10 Q You prepared this document?
  11    you aware that parents or students had            11 A What did you say?
  12   complained about your use of last name only when   12 Q You prepared this document?
  13    addressing students?                              13 A That's right.
  14 A The Brownsburg administrators didn't tell me       14 Q And is it fair to say that in this document you
  15   that parents had complained about my use of last   15   request two things, first, that Brownsburg allow
  16   name only. The only time I was told that anyone    16   you to withdraw your resignation; and, second,
  17    was complaining was they said students were       17    that they allow you to continue the
  18   complaining and teachers were complaining that I   18    last-name-only accommodation?
  19    was using last name only.                         19 A I requested "that the school corporation
  20 Q Okay. Let me break that down further then.         20   continue my employment and maintain the present
  21 A Yep.                                               21   Accommodation that will allow me to continue to
  22 Q During the 2017/2018 school year did anyone        22    perform my work, which I hope that you will
  23   other than a Brownsburg administrator ever make    23    agree has brought positive recognition and
  24   you aware that students had complained about       24    favorable results to the school."
  25    your use of last name only when addressing        25       Where are you seeing my requests? It's my



                                                                                         SA-280
 Min-U-Script®                                Circle City Reporting                             (20) Pages 78 - 81
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 22 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1261 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 82                                                    Page 84

   1     understanding -- Gordon led me to believe that I    1 Q That's an accurate report of what he told you
   2     was able to rescind that conditional resignation    2  when the two of you met on December 13th, 2017?
   3     on the condition that once May 29 hit it would      3 A Yes, that is what he told me.
   4     be submitted and processed but before that date     4 Q Okay. In the first paragraph you state that
   5     it was my right and it was the condition that I     5    Daghe told "me that my last-name-only
   6     could take that letter off of her desk. So I        6    Accommodation was creating tension in the
   7     wasn't --                                           7    students and faculty." Do you see that?
   8 Q    You were requesting; right?                        8 A Yes.
   9 A    Yeah. I was stating that I have decided thank      9 Q Is it fair to say that this meeting was the
  10     you for this time to let me think about this, I    10   first time you heard that there were concerns
  11     have decided not to resign, you can take that      11    amongst students and faculty about the
  12     letter and put it in the trash effectively.        12    last-name-only accommodation?
  13 Q    And that's why, I guess, the title, for lack of   13 A This is the first time that I had heard any
  14     a better term, at the top of Page 1 says           14    complaints about my last-name-only
  15     Withdrawal of Intention to Resign and Request      15    accommodation.
  16     for Continuation of Accommodation; correct?        16 Q Okay. Up to this point you hadn't heard
  17 A    That's correct.                                   17    complaints from anyone; correct?
  18 Q    The accommodation you're referring to in that     18 A Correct.
  19     title, for lack of a better term, is the           19 Q What is the second paragraph referencing or
  20     last-name-only accommodation; correct?             20    about?
  21 A    That is correct.                                  21 A So this is not about my last-name-only
  22 Q   Okay. And in this document you also provide a      22   accommodation. This second paragraph is Daghe
  23     timeline of some of the events that transpired     23   trying to blame my religion as the reason why a
  24     dating back as far as the 2016/2017 school year;   24   student's parent complained about a policy for a
  25     is that correct?                                   25    hair color that everybody else in my music

                                                  Page 83                                                    Page 85

   1 A    That is correct.                                   1     department had. They had the same exact hair
   2 Q    Look at the entry, the bullet point entry, for     2     color policy. I wasn't doing anything
   3     December 13th of 2017.                              3     differently for this particular student than I
   4 A    December, okay. So it continues to the next        4     was for my other students and I wasn't doing
   5     page. I'm there.                                    5     anything as regard to this policy different than
   6 Q    Do you see the first paragraph of that -- well,    6     any of the other teachers in my department and
   7     let's be clear. That December 13, 2017 bullet       7     Daghe was telling me that it's because of my
   8     point is, I believe, three paragraphs. Will you     8     religion. He's blaming my religion on why
   9     flip to the next page?                              9     parents complained about a hair color policy for
  10 A    It looks like it's four.                          10     the entire music department.
  11 Q    Four. I do think it's four paragraphs. The        11 Q    Okay. Is it fair to say in that second
  12     first paragraph, I think you started to testify,   12     paragraph he's referencing a parent complaint
  13     are you describing the first time Daghe            13     that is not related to the last-name-only
  14     referenced student complaints with respect to      14     accommodation; correct?
  15     the last-name-only accommodation?                  15 A    That's correct.
  16 A    Let me look at that entry.                        16 Q    Okay. Go to the next page. What's that, I
  17 Q    Take your time to read it.                        17     guess, third paragraph that's a single sentence
  18 A   Thank you. Okay. I read that entry, December       18     at the top referring to?
  19     13, 2017. Go ahead, Brent.                         19 A    The same hair color policy.
  20 Q    Okay. Is that first paragraph on the December     20 Q    Which, again, is, as far as you're concerned,
  21     13, 2017 an accurate report of what Bret Daghe     21     unrelated to the last-name-only accommodation;
  22     conveyed to you regarding student and faculty      22     correct?
  23     concerns?                                          23 A   Unrelated, correct.
  24 A   Faculty concerns, yes, it's what he told me,       24 Q    Thank you. And then the last paragraph, we'll
  25     yep.                                               25     get into it, but you provide some detail on how



                                                                                            SA-281
 Min-U-Script®                                  Circle City Reporting                              (21) Pages 82 - 85
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 23 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1262 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 86                                                   Page 88

   1    you responded to Principal Daghe making you         1    leave it at that.
   2    aware of these situations?                          2 Q That first paragraph on the December 13th bullet
   3 A Yes.                                                 3    point.
   4 Q Okay. Is there anything else you recall about        4 A Yep, go ahead.
   5   this meeting with Bret Daghe from December 13th,     5 Q When Bret Daghe shared that information with you
   6    2017 that's not included in this document?          6    about student and faculty concerns, did you
   7 A Just that when I asked him who is complaining        7    think he was lying and making it up?
   8    against me, what's their complaint, he just said    8 A I suspected. That's why I asked who and he
   9    you using last names only for all your students     9    didn't tell me who. I did not witness any
  10   is creating complaints among many students. And     10    faculty animosity toward me. I was still eating
  11   I asked him who and he didn't tell me any names     11   lunch with my music faculty and we seemed to get
  12    and I didn't hear any names for that meeting or    12    along great. I rarely interacted with any other
  13    subsequent meetings with the administration.       13    faculty besides the performing arts faculty, so
  14    They didn't tell me who, they didn't give me any   14    nothing seemed out of the ordinary. And, so,
  15    name. Go ahead.                                    15    regarding the faculty, I didn't witness anybody
  16 Q Did Principal Daghe explain to you why he wasn't    16    avoiding me. And, regarding the students, he
  17    providing specific names?                          17   didn't tell me any names even when I asked him,
  18 A He didn't. He just said a lot of people.            18    so I suspected that this seems fishy.
  19 Q Up to this point how would you describe your        19 Q As you sit here today, do you think he was lying
  20    professional relationship with Bret Daghe?         20    or making up the information --
  21 A Up to this point we had an okay working             21 A I do.
  22    relationship until he decided to be forcing me     22 Q What specifically do you think he lied about or
  23    out of my job and then our relationship declined   23    made up?
  24    at that point.                                     24 A I think the student complaints. He continually
  25 Q As you sit here today, do you think Bret Daghe      25    told me in that meeting that he had received

                                                 Page 87                                                   Page 89

   1    is an honest person?                                1     student complaints. He said there were lots of
   2 A Based on things that I have seen come out of the     2     students and yet I haven't seen things produced
   3   lawsuit, I think there are things that are being     3     that show that there were lots of students
   4   misconstrued or fabricated from multiple parties     4     complaining. I think there's been evidence of
   5    in the administration.                              5     one student complaining maybe. So, as far as
   6 Q And does that have any bearing on whether or not     6     I'm concerned, if he's not giving names, then he
   7    you think he's an honest person?                    7     could have been fabricating, could have been
   8 A If someone is dishonest, then they're not an         8     misinformed himself, or it could have been
   9    honest person.                                      9     exaggerating. I don't know.
  10 Q I would agree with that. I think I'll ask it        10 Q   Other than him not providing you the names at
  11   again because you haven't responded. As you sit     11     the time you met, is there anything else that
  12   here today, do you think Bret Daghe is an honest    12     leads you to believe that he was lying or making
  13    person?                                            13     things up with respect to student complaints?
  14 A The reason I'm -- I'd like to say no, he's not      14 A    Well, he says that it's creating tension in the
  15   an honest person if he was saying things that       15      students and faculty. I did not witness this
  16    are untrue and I'll be talking later about         16     tension. My classes were performing very well
  17    things that are untrue, so I can't bring up        17      during that school year. The students were
  18    every little detail of things that were            18     responding well to my teaching. I didn't see
  19   misconstrued. If I say he's an honest person,       19     animosity from students towards me, and, so, to
  20    that's a blanket statement that I think that       20     say that there was tension, I didn't experience
  21   what he's saying is true and you're gonna use       21     that myself.
  22   that against me, so I'm not gonna say he's an       22         We performed better than ever in our
  23    honest person. I will say that there are           23     orchestra competitions. Students' grades on
  24   certain things coming from multiple people in       24     their AP exam were great. There was a lot of
  25    the administration that are not true and I'll      25     participation in the extracurricular programs, a



                                                                                            SA-282
 Min-U-Script®                                Circle City Reporting                               (22) Pages 86 - 89
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 24 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1263 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 90                                                  Page 92

   1    lot of students performing in the voluntary         1    year." That's what I'm talking about. He
   2    extra stuff that you can do in orchestra. So,       2    thought, "Oh, John, you're being singled out
   3    yeah, that was suspect, too, the fact that it       3   even though your policies are the same as other
   4    wasn't my experience of this tension.               4    teachers. You should quit."
   5 Q Flip to the next page to the fourth paragraph on     5        I said, "No, if I'm being singled out, it's
   6   this December 13th meeting. I think we started       6    a sign that I shouldn't give up pursuing
   7    and as far as we got is that this paragraph         7    neutrality with last names only."
   8   reports, I guess, your response to Daghe during      8 Q Are you using the phrase "pursuing neutrality,"
   9    this meeting; is that fair?                         9    that's in reference to the last-name-only
  10 A It's my response to the hair color paragraph,       10    policy?
  11   that if it's true, Daghe, that I'm being singled    11 A Right. I'm not pushing my religion on people
  12    out for my religion, then I guess that's a         12   and I'm not encouraging the sinful behavior of
  13    positive that -- the fact that I'm pushing for     13   my students. I'm neutral. Last name only, I'm
  14   equal treatment of all students and not pushing     14   able to teach my content without conceding my
  15   an agenda. And he says I'm being singled out        15   own beliefs and without (audio malfunction) my
  16   for my Christian witness. Well, that's a sign       16    beliefs on others.
  17    that I should continue to endeavor to keep         17 Q During the December 17th, 2017 meeting with
  18   calling all my students by the same treatment,      18    Daghe, did you propose any further
  19   the same last name only, and it's working. It       19    accommodation?
  20   was a sign to me that I should not give up, that    20 A Why would I? The accommodation was working and
  21    I should continue treating all my students         21    he didn't tell me -- he didn't tell me that I
  22    equally.                                           22   would be needing any other one. Why would I
  23 Q The first sentence says, "I explained to Daghe      23   need another accommodation if I already had an
  24   that this persecution and unfair treatment I was    24   accommodation for my beliefs that was working?
  25   undergoing was a sign that my faith as witnessed    25 Q Well, correct me if I'm wrong, but I think he's


                                                 Page 91                                                  Page 93

   1     by my using last-names-only to remain neutral      1    relaying to you that there's some
   2     was not coming back void, but was being            2    student/faculty concerns with respect to the
   3     effective." What do you mean by that?              3    last-name-only accommodation; correct?
   4 A   If I'm endeavoring to be fair and I'm having       4 A He's telling me that there are student and
   5     false accusations railed against me, well, then 5       faculty complaints, a heckler's veto, but the
   6     I should keep on endeavoring to be fair. That's 6       law says that unless there's undue hardship
   7      what that means. If I'm trying to remain          7  shown, which none was shown, that an employee is
   8      neutral on an issue and I'm being attacked,       8   entitled to a reasonable accommodation and it
   9      well, that's a sign that I should keep on         9    was reasonable, so there is no reason to need
  10      endeavoring to be neutral.                       10  another accommodation. This one was reasonable
  11 Q    Then you say, "He didn't seem to understand why 11     and he didn't show me -- I got no written
  12     I was encouraged." What do you mean by that? 12       document showing any undue hardship, so it was a
  13 A    He didn't understand why I would continue -- why 13    valid accommodation that worked. It was
  14     I was encouraged to continue pursuing neutrality 14    reasonable and so why would I pursue something
  15      with last name only. If there was people         15    else?
  16     complaining about hair color policy while they 16 Q Okay. In light of the student and faculty
  17      didn't complain about other teachers for the 17      concerns that Daghe had shared on December 13th,
  18      hair color policy, he saw that as unfair         18   2017, you thought it was appropriate to continue
  19     treatment of me. And if it was unfair treatment 19      the last-name-only accommodation?
  20     of me, then that's a sign that I should continue 20 A You say concerns; he said creating tension.
  21     pursuing neutrality and I shouldn't give up this 21 Q Tension, concern, complaint, issues among
  22      work.                                            22    student and faculty.
  23         As I say in the last sentence there or the 23 A Yes, it was appropriate to continue using
  24     second to last sentence, "He said he thought it 24      last-name-only accommodation, yes.
  25     might be good for me to resign at the end of the 25 Q And I guess my question is how do you reconcile



                                                                                          SA-283
 Min-U-Script®                                Circle City Reporting                              (23) Pages 90 - 93
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 25 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1264 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 94                                                 Page 96

   1    that with the fact that he is sharing that there    1   witnessed this. I'm just hearing it from him
   2   are student/faculty tension, complaint, concern,     2   and I'm telling him if there is tension and
   3    et cetera?                                          3   conflict, well, that's encouragement that I
   4 A That's not undue hardship. It's a reasonable         4   shouldn't quit but I should continue to pursue
   5   accommodation. He showed me no undue hardship.       5   neutrality.
   6    It's a heckler's veto. And he didn't even           6       MR. BORG: Let's take a break.
   7   identify any names of who was complaining. For       7       (A recess was taken.)
   8    all I knew, he could be making it up.               8 DIRECT EXAMINATION CONTINUING,
   9        Let's say that a teacher had some other         9   QUESTIONS BY BRENT R. BORG:
  10   accommodation, they take off for a Hindu holiday    10 Q Mr. Kluge, let's stay on Exhibit F, I believe.
  11   and a student complains. Is that accommodation      11 A Wait a second. That's Exhibit G.
  12   for them taking off work for that Hindu holiday     12 Q It's G. I'm mistaken.
  13   now unreasonable? No, that's a heckler's veto.      13 A Okay. Go ahead.
  14    So, if it's a reasonable accommodation and he      14 Q Let's go to the next page. There should be a
  15   hasn't shown undue hardship, why would I change?    15   bullet point for a meeting on February 6th of
  16 Q Do you think he was required to tell you the        16   2018.
  17    names of the student and faculty for it to         17 A Okay. I see it.
  18    potentially be undue hardship in your view?        18 Q That references a meeting you had on the date
  19 A I think so, yes.                                    19   indicated with Bret Daghe and Jodi Gordon;
  20 Q That would have been a start for continuing the     20   correct?
  21    discussion, I guess?                               21 A That's correct. Can I read that first?
  22 A I don't think it would have been undue hardship     22 Q Certainly. Let me know when you're ready for
  23    in itself. It would have been a complaint. He      23   the question.
  24   would've had to show undue hardship that this is    24 A Alright. Go ahead, Brent.
  25    not reasonable.                                    25 Q You audio recorded this meeting with Bret Daghe


                                                 Page 95                                                 Page 97

   1 Q The next meeting you reference in this document      1   and Jodi Gordon on February 6th of 2018; is that
   2   is between you and Daghe on January 17th, 2018.      2    correct?
   3   Do you see where you state that Daghe wanted to      3 A That's correct.
   4    see you resign at the end of the school year?       4 Q Did you tell Bret and Jodi that you were
   5 A Let me read it.                                      5    recording the meeting?
   6 Q Fair enough.                                         6 A I did not.
   7 A Okay. I've read it. Go ahead.                        7 Q Why not?
   8 Q Again, the reference where you state Daghe           8 A Because I was afraid of them. In the January
   9    wanted to see you resign at the end of the          9   '17 meeting Daghe is telling me that he didn't
  10    school year, do you see that?                      10   say it plainly enough but he really wants me to
  11 A "He really wanted to see me resign at the end of    11    resign at the end of this school year. I took
  12    this school year," yes, I see that.                12   that as hostile. It was distressing to hear my
  13 Q Okay. To your knowledge, is that because of the     13   administrator say he wants me out of here, and I
  14    student and faculty concerns about the             14    did not trust him. I did not trust my HR
  15    last-name-only policy?                             15   director and I was afraid. It was mentally and
  16 A Yes, because of the complaints he alleged he had    16   emotionally distressing and I didn't trust them.
  17    received.                                          17   That's why I didn't tell them I was recording
  18 Q You go on in the January 17 bullet point. You       18   it. I wanted some protection from them in case
  19   state that you responded and referenced "tension    19    they lied about what they were telling me.
  20    and conflict." Do you see that?                    20 Q And you also audio recorded another meeting with
  21 A "He didn't like the tension and conflict," I see    21   Daghe and Gordon in March of 2018; is that
  22    that.                                              22    correct?
  23 Q What tension and conflict are you referring to?     23 A That's correct.
  24 A The purported tension and conflict that he          24 Q Why didn't you record --
  25    claimed there was. It was not that I really        25 A Can you say that last question? The March 15




                                                                                          SA-284
 Min-U-Script®                                Circle City Reporting                             (24) Pages 94 - 97
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 26 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1265 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                  Page 98                                                  Page 100

   1   was that Gordon and myself. Is that what you          1     on December 17th of 2017?
   2    said?                                                2 A   That's correct.
   3 Q No. I'll rephrase. So the March 15, 2018 is           3 Q   And they also gave you three options at the
   4    the meeting that you audio recorded?                 4     February 6, 2018 meeting. Namely those three
   5 A I did and it was just Gordon and myself.              5     were, first, resign; second, continue to use the
   6 Q Thank you. And I think I previously stated that       6     last-name-only accommodation in which case
   7   I thought Daghe was in that meeting but you're        7     Brownsburg would initiate termination
   8    saying he was not?                                   8     procedures; or, third, stop using the last-name
   9 A He was not. On February 6th it's Jodi Gordon,         9     only-accommodation. Is that a fair
  10   Daghe, and myself, and then on March 15th it's       10     characterization of the options?
  11    just Gordon and myself.                             11 A    Yeah, they told me either in 2018/'19 school
  12 Q Why didn't you audio record the prior meetings       12     year start using transgender first names or
  13   with Daghe, specifically December 13th of 2017       13     resign, except they didn't say resign. They
  14    and January 17 of 2018?                             14     said -- they misconstrued material information.
  15 A Because there was no reason to. I thought            15     They didn't tell me resign. They said the
  16   things were -- I thought that they weren't going     16     option was I could give to Jodi a conditional
  17   to -- I wasn't afraid of them to be lying about      17     resignation that wouldn't be processed until a
  18   me and to be discriminating against me, but when     18     date I specified, that she had done that in the
  19   I heard that Daghe really wanted me to resign at     19     past, that she had held onto resignations and
  20   the end of the school year and then when I hear      20     not processed them before and she would honor
  21    on January 22 that the school district is not       21     any such requests.
  22   going to allow a last-name-only approach from        22          And, so, the ultimatum was either comply in
  23    teachers starting the 2018/'19 school year,         23     the 2018/'19 school year and agree to do it
  24   which I say is discrimination, when I see these      24     right now, agree that you will comply in the
  25   things, my administrator hostilely telling me        25     2018/'19 school year or be fired or give me a

                                                  Page 99                                                  Page 101

   1     that he wants me gone and a faculty meeting         1     piece of paper that won't be processed until a
   2     where they're telling me teachers are not going     2     date you specify. You have until that time to
   3     to be allowed to use last name only starting        3     think about it but I want the piece of paper on
   4     next school year 2018/'19, I'm feeling              4     my desk, effectively. And she clarifies in
   5     threatened. I didn't feel threatened before         5     March meeting what that looks like and she
   6     these meetings and so that's why I didn't record    6     specifies in the February meeting and the March
   7     them. I didn't think they were out to get me        7     meeting that I will be paid over the summer if
   8     like they were.                                     8     you give me this conditional resignation.
   9 Q    I think you already said it, but, to be clear,     9         She leads me to believe that I am allowed
  10     during the, for example, February 6, 2018          10     to do this but then later doesn't honor it. And
  11     meeting, did Gordon and Daghe inform you that      11     she says if you don't give me this conditional
  12     you could continue using the last-name-only        12     resignation, then you will be fired May 1st of
  13     accommodation until the end of the current         13     2018. And that's in my e-mail to her where I
  14     school year but after that it would no longer be   14     tell her the conditional resignation letter, I
  15     available?                                         15     say do not process this or show it to any
  16 A   That was all of -- that was what they told me.     16     administrator until May 29. And, so, it's my
  17 Q    At the February 6, 2018 meeting?                  17     understanding she's not going to submit it to
  18 A    Yes.                                              18     Dr. Snapp as a resignation letter until May 29
  19 Q   Was it also reiterated at the February 6, 2018     19     and I have until then to be able to take it off
  20     meeting that students had complained about the     20     her desk and say, actually, no, I've decided to
  21     last-name-only accommodation?                      21     continue teaching.
  22 A    They, again, purported that students were         22          Instead of that, on May 25 when I give her
  23     complaining and they still didn't identify         23     this rescission of intent to resign letter to
  24     anybody.                                           24     take that resignation letter off her desk saying
  25 Q   Similar nature to what Daghe had shared with you   25     thank you for the time you've given me to think



                                                                                             SA-285
 Min-U-Script®                                  Circle City Reporting                             (25) Pages 98 - 101
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 27 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1266 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 102                                                  Page 104

   1   about this, instead of honoring that request        1     not. It wasn't significant in my mind. I
   2   which she said I will honor, I won't process it,    2     thought that termination was termination and
   3   I won't show it to any administrator, instead of    3     they were going to process it. It was just an
   4   honoring that request where she led me to           4     administrative type deal that was going to
   5   believe that she would honor it, she instead        5     happen, if that makes sense, that I wasn't
   6   processes this conditional resignation as if it     6     (audio malfunction) to present evidence. Does
   7   was given unconditionally. She submits it to        7     that make sense?
   8   Snapp and, therefore, she's mischaracterizing or    8 Q    It does. Let's go to H.
   9   misrepresenting material information, that she      9 A    H, okay.
  10   did not intend to actually allow me to have a      10 Q   And I think you're kind of anticipating my next
  11   conditional resignation, the condition being I     11     question, but, just so we're clear, this is a --
  12   could take it off her desk before May 29.          12     I don't want to put words in your pain. I know
  13 Q We'll get to that in a moment, but thank you for   13     you're taking pains -- a conditional resignation
  14   that.                                              14     you submitted via e-mail to Jodi Gordon dated
  15 A Yep.                                               15     April 30 of 2018; correct?
  16 Q Was it your understanding around the time of       16 A    Yes.
  17   February or March that there was a process to go   17 Q    Why did you opt to send this e-mail to Jodi
  18   through to terminate your employment as a          18     Gordon as opposed to the other option of
  19   teacher as opposed to just saying you're fired     19     termination?
  20   and that's it?                                     20 A    I have a family to feed and to be terminated
  21 A Yes. She said in the February and March            21     before the school year is out and to lose my job
  22   meetings that my termination process would begin   22     and to not get paid was effectively putting a
  23   May 1 and would be finished when the school year   23     gun to my head and saying if you want to get
  24   ended and it would be a contract cancellation      24     paid, you have to put this piece of paper on my
  25   and if I gave them a resignation letter, then I    25     desk. You have to give me this conditional

                                               Page 103                                                  Page 105

   1    would be paid over the summer.                     1     resignation. You have until a date that you
   2 Q Did you understand that that termination process    2     specify to make your final decision but I need
   3    included a hearing before the board?               3     this paper sitting on my desk if you want to get
   4 A I did not understand that.                          4     paid and not be terminated before the school
   5 Q Did you understand that that termination process    5     year is up.
   6    had a right to present evidence?                   6 Q   On Exhibit H, look at the first sentence of the
   7 A I did not.                                          7     last paragraph.
   8 Q Did you understand that that termination process    8 A    Yep.
   9   gave ultimate discretion to the board to decide     9 Q    You write, "Please do not process this letter
  10    whether or not to cancel your employment?         10     nor notify anyone, including any administration,
  11 A I did not.                                         11     about its contents before May 29, 2018." What
  12 Q And I think previously you testified that you      12     did you mean by "Please do not process"?
  13    haven't consulted with laws passed by the         13 A    Don't submit it as a letter of resignation,
  14   Indiana General Assembly that pertain to teacher   14     don't give it to Snapp. This is not me
  15    termination; correct?                             15     resigning. This is a piece of paper on your
  16 A Right. I was trusting what she said was what       16     desk and if I decide before that time that I've
  17    would happen.                                     17     made my final decision to continue employment
  18        MR. BORG: Let's go to Exhibit H, Rita.        18     here, you can take that piece of paper off your
  19 A First, Brent, when you say I would have a right    19     desk.
  20    to present material information or whatnot to     20 Q   Submit it to whom?
  21    state my case, no, I was not aware of that. I     21 A   To Snapp.
  22    might have been aware that the board would        22 Q   Okay.
  23   approve the termination. I don't know or not.      23 A   That's why I say "including any administration."
  24 Q You don't know one way or the other?               24     Snapp is the head administrator. If it gets to
  25 A Yeah, I don't know if I was aware of that or       25     him and it's submitted to him, that's submitted,



                                                                                           SA-286
 Min-U-Script®                                Circle City Reporting                            (26) Pages 102 - 105
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 28 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1267 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                Page 106                                                Page 108

   1     but if it's a piece of paper laying on her desk    1 Q It is not.
   2     that can be thrown away, that's not submitted.     2 A Do you have it handy?
   3 Q   In your prior communication with Jodi Gordon,      3        MR. BORG: Yeah, we can take five and pull
   4     did she explain to you that she would have to      4   it up. I knew you were gonna ask that. Let's
   5     share a resignation with Bret and Dr. Snapp?       5    go off the record. I'll track it down.
   6 A    She did not share that she would have to. She     6        (A recess was taken.)
   7     said that she would honor any requests and, on     7 DIRECT EXAMINATION CONTINUING,
   8     the contrary, when I asked her not to show this    8    QUESTIONS BY BRENT R. BORG:
   9     to anybody including any administrator, she        9 Q Thank you for referencing Plaintiff's 17. This
  10     agreed to that. So, if she was never intending    10   is the e-mail we've been discussing. I guess
  11     to acquiesce that request, then she should have   11   I'll restate my question, Mr. Kluge, now that
  12      said so, but she agreed to not show it to any    12   you have the benefit of this e-mail, but it was
  13      administration. So, if she intended fully on     13    really to the effect of if Jodi Gordon
  14     showing it to the administration, then she was    14   referenced BHS administration in this e-mail,
  15     lying and misrepresenting what she was going to   15    whether you reached out to her further to
  16     do with this conditional letter.                  16   express concern about her reference to BHS
  17 Q   Do you recall that Jodi Gordon replied to this    17   administration as opposed to any Brownsburg
  18     e-mail?                                           18    administrator.
  19 A   I do recall that.                                 19 A I took this, her saying "I will honor your
  20 Q   And do you recall that her reply included a       20    request," to mean I will honor your request.
  21     reference that she would not show the e-mail to   21   And it's a compound sentence, not process this
  22     any BHS administrator?                            22   letter, share it with BHS administration. That
  23 A    Yes, and as part of not showing it to any        23   did not change her honoring my request or her
  24     administration, she agreed to my request and      24   obligation to honor my request to not process
  25     also said I won't process this and show it to     25   it, not send it to Snapp for (audio malfunction)

                                                Page 107                                                Page 109

   1    any BHS administration, but she agreed to my        1    process of resignation. It was just to be a
   2    request which says "any administration."            2    piece of paper on her desk for her to hold it
   3 Q Well, did you understand her reference to a BHS      3    until the date I specified as she led me to
   4   administrator to mean any Brownsburg High School     4    believe that I could do.
   5    administrator but not a Central Office              5 Q Thank you. Was your last day of classes May
   6    administrator such as Dr. Snapp?                    6    25th of 2018?
   7 A I did not understand. If that was her intention      7 A I believe it was.
   8    in that e-mail, then I did not understand it        8 Q And I understand there may have been a couple
   9    that way. I understood her reply to mean she        9   more days after that where faculty entered the
  10    would do my request and not show it to any         10   building but they weren't teaching classes; is
  11    administration and she would not process it        11    that correct?
  12    including the BHS but not limited to the BHS       12 A That's correct.
  13    administration. It wasn't a qualifier of her       13 Q Do you know if that was one day or two days or
  14    agreement to accept my request. It was just a      14    three days?
  15    for example.                                       15 A Maybe one or two.
  16 Q So, just to be clear, when you saw in Jodi          16 Q Okay. What are the purpose of those days?
  17   Gordon's reply that she wouldn't show to any BHS    17 A The purpose of those days is to finish your
  18    administrator, you never reached out to her        18   grading and organize any paperwork you need to.
  19    further to express concern about her reference     19 Q After May 25th of 2018, is it fair to say that
  20    to BHS administrator as opposed to any             20   you had no further teaching responsibilities for
  21    administrator?                                     21    the 2017/2018 school year?
  22 A No, I understood that -- she didn't say "namely     22 A I wouldn't tie it to a date. Once I finished my
  23    BHS administration." She said -- do you have       23   grading which I did -- I'm not exactly sure when
  24    the exact reply that we're talking about? Is it    24   I finished the grading, if it was on the 25th or
  25    one of these exhibits?                             25    if it was on the 26th, but once I finished my



                                                                                          SA-287
 Min-U-Script®                                 Circle City Reporting                          (27) Pages 106 - 109
                                                   317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 29 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1268 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 110                                                Page 112

   1     grading and closed up my classroom, I didn't       1 Q It's fair to say that there's essentially an
   2     have any more responsibilities. I actually got     2   opportunity for public comment, anybody can
   3     locked out before I was able to finish that.       3   submit their name and they're allotted an amount
   4 Q    What is that, your grading or your classroom or 4      of time; is that fair?
   5     both?                                              5 A That's right. And they didn't respond. They
   6 A    At least closing up the classroom, maybe grading 6    just heard me and then the next person. They
   7     as well.                                           7    said, "Alright. Next person."
   8 Q    Is there any reason you would have needed a 8 Q Okay. And you just testified to some things
   9     Brownsburg e-mail account after May 25th of 9           that you shared during your allotted time;
  10     2018?                                             10    correct?
  11 A    To communicate with the administration, to 11 A Yes, namely a brief account of what had
  12     communicate with other teachers, communicate 12         transpired the previous year and a plea that
  13     with parents as regards students. I mean, the 13        they would let me teach there.
  14     same purpose that I would need it before that 14 Q Did you also request that they, I guess, not
  15     date, too.                                        15   accept or rescind your resignation or allow you
  16 Q    I think you might have said, but as of May 25th 16     to withdraw it, something along those lines?
  17     of 2018, had you finished all your grading 17 A To the effect of let me teach here next year.
  18     responsibilities?                                 18   This was not -- this was coerced. This was not
  19 A    I don't know that to be a fact. I don't know if 19     legitimate. This was retaliatory.
  20     I finished my grading responsibilities on the 20            I'd have to look at a tape to see what I
  21     25th, 26th, 27th. I could not definitively say. 21     exactly said but something to the effect of let
  22 Q    Is there any reason you needed access to the 22       me teach here and don't process the resignation.
  23     building after May 25th of 2018?                  23    Please, yeah, rescind it. Please let me teach
  24 A    Yes, to close up my classroom and potentially to 24   here. That was not a valid resignation. It was
  25     finish grading. I actually had not closed up my 25      coerced.

                                                 Page 111                                                Page 113

   1     classroom and there was still papers lying          1 Q Do you also recall during the meeting that many
   2     around that needed to be filed and instruments      2   people were allowed to address the board and
   3     that needed prepped for the summer and -- yeah.     3   show their support for you?
   4 Q    You participated in a hearing before the board     4 A I recall that many people were allowed to speak.
   5     in June of 2018; is that correct?                   5 Q Approximately how many people do you think
   6 A    I wouldn't call it a hearing. I tried to make      6   showed support for you at the board meeting?
   7     it a hearing but it wasn't.                         7 A That would be a guess. I'm not gonna guess.
   8 Q    I'm sorry. A board meeting in June of 2018;        8   There were I would say many people who showed
   9     correct?                                            9   support, but I'm not gonna guess. It would be a
  10 A    What was your question?                           10   wild guess.
  11 Q    I interrupted you. I'm sorry. I need to           11 Q You don't need to.
  12     rephrase my question. You participated in a        12 A I was pretty distressed at the time. I wasn't
  13     board meeting in June of 2018; is that correct?    13   paying attention to numbers.
  14 A    Participate is a strong word. I expressed as a    14 Q Do you recall also that some people addressed
  15     member in the community comment section, I         15   the board who did not support you?
  16     pleaded with them to -- I had asked to             16 A Yes, I was aware.
  17     participate in the meeting and they ignored that   17 Q Same question if you know. You don't need to
  18     request. And then in the                           18   guess. Approximately how many people do you
  19     let's-hear-from-the-community section, I then      19   think that was?
  20     expressed my claims of discrimination and          20 A Fewer than showed support.
  21     pleaded with them to reconsider reinstating me     21 Q Are you aware that the June 2018 board meeting
  22     and to let me continue working in the school.      22   was recorded?
  23 Q    And you say that was during the community         23 A I was aware that there were news cameras. What
  24     section of the board meeting?                      24   do you mean recorded?
  25 A    Right.                                            25 Q Media recordings.




                                                                                           SA-288
 Min-U-Script®                                 Circle City Reporting                           (28) Pages 110 - 113
                                                   317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 30 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1269 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 114                                                 Page 116

   1 A Yep.                                                1   continue using the accommodation without going
   2 Q Are you also aware that after the board had         2    against their directive or their suggestion.
   3   received this information from you and others it    3 Q Is it fair to say the last-name-only
   4    voted 5/nothing to accept your resignation?        4   accommodation began on July 31st of 2017?
   5 A Restate that question. Am I aware what?             5 A That's correct.
   6 Q Are you also aware that after the board had         6 Q Okay. And these "feel free to use" references
   7    received this information you just testified       7    that you received from guidance, did any of
   8   from you and others it voted 5/nothing to accept    8    those occur after July 31st of 2017?
   9    your resignation?                                  9 A Yeah. To my knowledge, I got an e-mail late
  10 A That's not what happened in my understanding.      10   September of 2017 that Willis had switched in
  11 Q Okay. What is your understanding?                  11    PowerSchool from female to male.
  12 A My understanding is that they already received     12 Q Okay. Any others that you can think of after
  13   my resignation and then the community section      13    July 31st of 2017?
  14    happened. I was not allowed to speak and          14 A No, no more of my students switched in
  15   address the board in the meeting. They ignored     15    PowerSchool. Was that the intent of your
  16    my requests and near the beginning of the         16   question? Any more guidance counselor e-mails
  17    meeting they processed the, quote/unquote,        17   saying use these pronouns? Is that what you're
  18    "resignation," and then after that people from    18    asking?
  19   the community were allowed to speak. That's my     19 Q Yes, I think you've answered my question.
  20    recollection. If I saw a videotape or saw the     20 A Okay.
  21    minutes from the meeting, I believe it would      21 Q During the 2017/2018 school year did Brownsburg
  22    show that.                                        22   ever require you to make positive statements
  23 Q During the 2017/2018 school year did any           23    regarding transgender students' lifestyles?
  24    Brownsburg administrator direct you to use a      24 A Require me to make positive statements? When
  25    transgender student's preferred pronoun when      25   they required me to use their transgender first

                                               Page 115                                                 Page 117

   1    addressing that student?                           1    names, yes, they were requiring me to make
   2 A No, not during the school year. They said you       2    positive statements about their lifestyle.
   3    would have to do it -- now, okay, that's a         3 Q Okay. And they would have required that before
   4   general -- yeah, of course, in July 27 of 2017      4   the last-name-only accommodation on July 31st of
   5   Snapp did say that or else I would be fired, so,    5    2017; correct?
   6    yes, they did direct me to use transgender         6 A They did require that before the July 31
   7    pronouns or else I would be fired. That's a        7    meeting, yes.
   8   very broad questions. A lot of things happened      8 Q But they did not require that after?
   9    and, yes, Snapp did tell me I had to use           9 A They did require it after when they said that
  10   transgender pronoun or else I would be fired.      10    you have to agree to do this. Let's go back to
  11 Q Okay. Other than Snapp stating that on July        11    -- do I have control of the documents here?
  12    27th, any other time that you can think of?       12        Okay. Exhibit G in the February 6, 2018
  13 A Any time before?                                   13    meeting and the March 5th, 2018 meeting they
  14 Q Any time during the 2017/2018 school year.         14    tell me either I need to agree to use
  15 A Can you narrow it down? Can we narrow it to        15    transgender first names or submit this
  16   starting with when the last-name accommodation     16    conditional resignation or be terminated before
  17   went into effect and, from that time forward, I    17    the school year is up, so I would say that is
  18   was allowed to use the last-name accommodation     18    them telling me, yes, you need to approve the
  19    and was not directed to use pronouns except       19    lifestyle of transgender students -- that's what
  20   coming from the guidance counselors. When they     20    I would take that as -- against my religious
  21   would announce students in your classes, they      21    convictions. Does that answer your question?
  22    would say feel free to use he, him, his and I     22 Q It does. During the 2017/2018 school year
  23   was using last names anyway. And, so, when I       23    Brownsburg never required you to attend an
  24    saw things like that, I was able to continue      24   Equality Alliance Club or similar LGBT student
  25    using my accommodation and I was able to          25    group; is that correct?



                                                                                          SA-289
 Min-U-Script®                                Circle City Reporting                           (29) Pages 114 - 117
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 31 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1270 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 118                                                  Page 120

   1 A No, they never required me to attend the              1 A You're starting to break up in your question.
   2   Equality Alliance Club or a student LGBT club,        2    Can you say that again?
   3    correct. They did require me to hear and be          3 Q I can. Had you not been afforded the
   4   taught the propaganda promoting transgenderism        4    last-name-only accommodation, is it your
   5    in faculty meetings, so they did require that.       5    understanding that all you would've had to do
   6 Q Did the fact that you were subjected to that          6    when addressing students was use the name in
   7   information in faculty meetings conflict with a       7    PowerSchool?
   8    sincerely-held religious belief?                     8 A Are you saying that if in July 31 of 2017 they
   9 A You gotta rephrase that question. I didn't            9    did not allow me to have the last-name
  10    think attending the meeting was sinful.             10   accommodation that would have meant I would have
  11   Attending a meeting that I'm required to go to       11    been forced to use the first and last name in
  12   is not me promoting transgenderism in the way        12   PowerSchool including transgender names? Is
  13    that saying a first name transgender name is        13    that what you're asking me?
  14   promoting transgenderism. I'm required to go to      14 Q Yes.
  15   a meeting where they're talking about a number       15 A Yes, they told me either use the first and last
  16    of things and one of those things is this is        16   name, the transgender name in PowerSchool, or
  17   what we think about transgenderism. Me hearing       17    quit or we're going to fire you.
  18   that information is not me giving my stamp of        18 Q Let's look at Exhibit I.
  19    approval to their agenda.                           19 A Here's I. This is April 30th, Dear, Ms. Gordon?
  20 Q You may not have agreed with some of the             20    Is that Exhibit I?
  21   information that was presented with respect to       21 Q Nope, go one over.
  22   transgenderism at these faculty meetings but you     22 A Okay. Yep. This is Plaintiff's Response to
  23    didn't understand your attendance of those as       23    Defendant's First Request for Production. Go
  24    necessarily indicating approval of it or            24    ahead.
  25    anything like that?                                 25 Q And I'll give you time to look over this, but I


                                                 Page 119                                                  Page 121

   1 A    It did not indicate an approval of it, of          1     guess let me ask an initial question. You filed
   2     transgenderism.                                     2     a Charge of Discrimination with the U.S. Equal
   3 Q   So, by the same token, you wouldn't have thought    3     Employment Opportunity Commission; is that
   4     to request an accommodation such as please          4     correct?
   5     relieve me from the obligation of attending         5 A   Yes.
   6     these faculty meetings or anything like that?       6 Q   And is it your understanding that Brownsburg
   7 A    Correct, and that's why I did not request an       7     responded to that charge?
   8     accommodation. In fact, at these meetings they      8 A    Yes, it is my understanding.
   9     were rolling out what they were claiming were       9 Q    And is it also your understanding that you, in
  10     policies of the school, things that were not       10     turn, were afforded an opportunity to submit a
  11     actually policies, things that were not policies   11     rebuttal?
  12     approved by the school board. These were just      12 A   I believe we did submit a rebuttal. Did we not?
  13     practices of the school and if I didn't attend     13 Q   Well, let me help you there. My question is to
  14     these meetings, I wouldn't be told what the        14     look at the rest of Exhibit I and ask if that's
  15     school, quote/unquote, "policies" are. And, so,    15     the rebuttal statement.
  16     in fact, not attending these meetings would be a   16 A    Yes, I think this is rebuttal.
  17     great detriment to me because they're rolling      17 Q    And, more specifically, it's a letter your
  18     out these so-called policies in these meetings     18     attorney submitted to the EEOC on your behalf;
  19     and they seem to be evolving as the school year    19     is that correct?
  20     is progressing.                                    20 A    Let me get to the last page here. .
  21 Q    Had you not been afforded the last-name-only      21 Q   Without getting into communication you may have
  22     accommodation, is it your understanding that all   22     had with your attorneys concerning this exhibit,
  23     you would have had to do when addressing           23     my question is whether you reviewed it before
  24     students was use the first and last name in        24     your attorney submitted it to the EEOC.
  25     PowerSchool?                                       25 A   I believe I did.



                                                                                            SA-290
 Min-U-Script®                                  Circle City Reporting                            (30) Pages 118 - 121
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 32 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1271 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 122                                                Page 124

   1 Q And, again, without getting into communications     1   When I said on or around, looking at this it was
   2    with your attorneys, do you recall that you        2    on July 27.
   3   approved your attorney sending it to the EEOC?      3 Q Okay. And, to be clear, I'm just trying to make
   4 A I believe I did.                                    4   sure we're talking about the same things that we
   5 Q Is it fair to say then that this is an accurate     5    talked about previously.
   6    account of the factual incidents that are          6 A Go ahead.
   7    described in this document?                        7 Q Go to Kluge 300, which is the next page.
   8 A I believe it is.                                    8 A Okay.
   9 Q Look at Kluge 298. It's got those Bates stamps      9 Q And there's a heading there under Roman Numeral
  10    in the bottom right.                              10   V that references an orchestra award ceremony.
  11 A Here we go.                                        11    Do you recall that ceremony?
  12 Q At the very top, one of the factual incidents      12 A Let me read this.
  13   that's described is a May 15th, 2017 meeting       13        MR. BORG: Why don't we go off the record
  14   that you had with Daghe and three other faculty    14   and just say five minutes and you can take your
  15   members. My question is simply are the three       15   time to read that and acclimate yourself because
  16   other faculty members the ones who signed the      16    I have some questions about that.
  17    document that we looked at earlier?               17        THE PLAINTIFF: Okay.
  18 A That is the three other faculty members who        18        MR. BORG: Thank you.
  19    signed the document, yes.                         19        (A recess was taken.)
  20 Q And, to be clear, that was Exhibit D as in David   20 DIRECT EXAMINATION CONTINUING,
  21    that we talked about earlier?                     21    QUESTIONS BY BRENT R. BORG:
  22 A Yes, Exhibit D. Hey, Brent, I just skipped to      22 Q We're on I, specifically the page Kluge 300.
  23   D. What exhibit are we talking about right now?    23 A It was the Subsection Roman Numeral V; correct?
  24 Q You can go back to I when you're ready.            24 Q Correct. Have you had a chance to look over
  25 A I. Got it. Go ahead.                               25    that?

                                               Page 123                                                Page 125

   1 Q In that first full paragraph about halfway down     1 A I have, yep.
   2   it says, "Daghe asked the teachers" -- and this     2 Q And I think we started to talk about that it
   3   is in reference to the May 15th, 2017 meeting --    3   references an orchestra award ceremony; correct?
   4   "if they would use transgendered first-names if     4 A That is correct.
   5   he changed students' first names in PowerSchool.    5 Q And, just generally speaking, what is that
   6    The three other teachers in the meeting            6    ceremony?
   7   acquiesced to these terms, while Kluge did not."    7 A That ceremony is when the orchestra students at
   8        You testified to that earlier. Is this         8   the end of the year get awards for merit as well
   9   consistent with what your testimony was earlier?    9    as for their participation in the program. We
  10 A Yes.                                               10    recognize our seniors and kind of like a
  11 Q Okay. Help me understand. How did you not          11    graduation ceremony for them.
  12    acquiesce?                                        12 Q You alluded to it, but do you recall -- you said
  13 A I already told you.                                13   it was toward the end of the 2017/2018 school
  14 Q Fair enough.                                       14    year. Do you recall what month maybe?
  15 A Do you have another question about that?           15 A I think around May of 2018 is when my orchestra
  16 Q I do. Sit tight. Go to the next page. The          16    award ceremony at the 2017/'18 school year
  17   third full paragraph references a July 27, 2017    17    happened.
  18    meeting that you had with Bret Daghe and          18 Q Okay. And is what's in this paragraph under
  19   Dr. Snapp. We've already talked about that at      19   Roman Numeral V on Kluge 300 an accurate report
  20   length, but my question is the next paragraph.     20   of what transpired at the orchestra ceremony?
  21   It says, "Later that day Dr. Snapp and Kluge's     21 A Yes.
  22   pastor talked..." That's the same discussion we    22 Q Was the orchestra award ceremony a
  23   already talked about that occurred on or around    23    school-sponsored event?
  24    July 27th; correct?                               24 A Yes. Sponsored? It was part of my curriculum.
  25 A Yeah, and so it must have been later that day.     25   I wasn't doing this as part of my out-of-school



                                                                                         SA-291
 Min-U-Script®                                Circle City Reporting                          (31) Pages 122 - 125
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 33 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1272 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                                 Page 126                                                  Page 128

   1    -- yeah.                                             1     conspicuous, as I say, in such a formal event to
   2 Q And, by the same token, it was your                   2     use last name only and use such an informal
   3   understanding that you were participating in the      3     address. I don't agree. It didn't indicate
   4  ceremony as an employee of Brownsburg Community        4     that I agreed with their policy but I was making
   5    School Corporation?                                  5     a good faith effort to do what was reasonable.
   6 A Absolutely.                                           6 Q    In your view, is it inconsistent with your
   7 Q Am I correct that what you're describing here is      7     sincerely-held belief to address students by
   8    that during this ceremony you addressed all          8     their transgender name during this type of
   9    students by their first and last names?              9     ceremony?
  10 A That is correct.                                     10 A    It was a good faith effort. I don't believe
  11 Q Okay. Am I also correct that transgender             11     that -- what's it called? I don't believe that
  12    students were participants in the ceremony?         12     promoting and encouraging transgenderism is
  13 A That is correct.                                     13     allowed in the Bible and I believe it's sinful,
  14 Q Am I also correct that you addressed transgender     14     and, in this context, I was making a good faith
  15    students by their first and last names, more        15     effort to work with the school to do what was a
  16    specifically their transgender first name?          16     reasonable accommodation and to abide by our
  17 A That is correct.                                     17     agreement.
  18 Q Okay. Tell me why you did that.                      18 Q    If you were to call a student by their
  19 A I say it even in this paragraph that it would        19     transgender name during the classroom
  20    have been unreasonable and conspicuous to           20     environment, do you think that's promoting a
  21   address students in such an informal manner at       21     transgender lifestyle?
  22   such a formal event as opposed to the classroom      22 A    Yes.
  23   setting where teachers refer to students by last     23 Q    When you called transgender students by a
  24   names as a normal form of address. And, so, me       24     transgender name at the orchestra awards
  25   saying last names only in the classroom is what      25     ceremony, do you think that was promoting a

                                                 Page 127                                                  Page 129

   1     a gym teacher would do, but at such a formal        1     transgender lifestyle?
   2     event it would have been conspicuous and            2 A    It was part of our agreement to treat this as a
   3     unreasonable to give such an informal address to    3     sports coach. It was not me agreeing that
   4     students at a graduation ceremony. And, like I      4     transgenderism is okay. It was assuring a good
   5     say at the end, it brought into doubt my stated     5     faith effort to work with the administration,
   6     rationale for the usage of last names only.         6     like I've said, to do what was reasonable. Our
   7        Remember that Snapp and I had agreed that        7     agreement was, John, treat it like you're a
   8     we're gonna use last names only and if someone      8     sports coach. You can use last names only, but
   9     asks you why, you'll start talking about gym        9     if someone asks, you're treating the orchestra
  10     teachers, sports coaches. Well, they wouldn't      10     like a team. So this was the good faith effort
  11     use a last name only at a formal event, so         11     to work with the administration to do what was
  12     neither did I.                                     12     reasonable.
  13 Q    Did we establish earlier that you calling         13 Q    Mr. Kluge, I'm not certain you answered my
  14     students by transgender name is sinful? Is that    14     question. It was whether you think you're
  15     accurate?                                          15     promoting a transgender lifestyle when you
  16 A    Yes.                                              16     address students by a transgender first name at
  17 Q    Okay. Help me understand how you reconcile        17     the orchestra awards ceremony.
  18     calling transgender students by their              18 A    I don't believe I was as this wasn't my habit,
  19     transgender first name in this context versus a    19     if that makes sense, that I'm not going to say
  20     classroom context.                                 20     that -- this was not my habit to be regularly
  21 A    Uh-huh. I'm making a good faith effort to work    21     calling students by transgender names, and, so,
  22     within the bounds of my accommodation in this      22     for a teacher to refer to a student in a formal
  23     context, that it's a reasonable accommodation to   23     title at a formal event is not them promoting
  24     allow me in the classroom to address by last       24     the lifestyle. It's a special event. It's a
  25     name only and it would be unreasonable,            25     formal event. It's not normal. It's not



                                                                                            SA-292
 Min-U-Script®                                  Circle City Reporting                            (32) Pages 126 - 129
                                                    317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 34 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1273 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 130                                                  Page 132

   1    ordinary behavior. But for me to every day be      1    private lessons during my classes and would
   2    given the accommodation to use the last name       2    teach sectionals. All of the violins section
   3    only and to be regularly -- if I was to            3   would get coaching from her during my classes.
   4    regularly be using transgender names, that         4 Q So she participated in all of the beginning,
   5    would, by all means, yes, be promoting             5   intermediate, and advanced orchestra sections
   6    transgenderism. So the formal nature of this       6    during the 2017/2018 school year?
   7    makes it exceptional and that's why I behaved      7 A Yeah, she would teach during all of those
   8    exceptionally in trying to work with the           8    classes, I believe.
   9    administration.                                    9 Q Would she have been present during all the
  10 Q Did you have any discussions with any Brownsburg   10    orchestra classes Monday to Friday during
  11    administrator prior to the orchestra awards       11    2017/2018?
  12   ceremony about how you would address students at   12 A It's the same classes Monday, Tuesday,
  13    this event?                                       13   Wednesday, Thursday, Friday. It depends on what
  14 A I did not. It was just a good faith effort         14    her private lesson teaching schedule for my
  15    based on my understanding of the nature of the    15   students was. It could have been any number of
  16   event and the nature of the accommodation, that    16    those days any number of weeks.
  17    it was reasonable to use last names only as a     17 Q Is it fair to say it depended on her schedule
  18   gym coach would, and a gym coach would not have    18    and kind of an as-needed basis?
  19    done this.                                        19 A Yeah, it depends on her schedule. She would
  20        And that's what I was telling the students,   20    regularly be in several of my classes. I don't
  21    that we're a team. In fact, I, throughout the     21   know exactly which ones and it would have been a
  22    year, didn't tell the students why I was doing    22    smattering of all of them.
  23   it except one time when one student asked me why   23 Q But, to be clear, we're talking the orchestra
  24    I was doing it, that's when I said that, "Well,   24    classes as opposed to the music theory or
  25    you know, we're all a team and a sports coach     25    anything like that?

                                               Page 131                                                  Page 133

   1   calls their team members by last name only. I       1 A   It was the orchestra classes, high school
   2    want to foster that community and we're all        2     orchestra, yes.
   3    working towards one goal."                         3 Q   Okay. And when she was in an orchestra class, I
   4        And, so, I wasn't regularly referencing or     4     think you started to say it, but might she take
   5   bringing attention to my use of last name. It's     5     one or two violinists and pull them off to the
   6   just something I did. And, so, to -- I lost my      6     side and work on specific instruction?
   7    train of thought.                                  7 A    That's correct.
   8 Q Do you agree with me that you were not following    8 Q    And you, in turn, in that scenario would be
   9    the last-name-only accommodation at the            9     instructing the remainder of the class?
  10    orchestra awards ceremony?                        10 A    That's correct.
  11 A No, I don't agree with that. I believe that it     11 Q   And then there might also be times where she was
  12   was actually perfectly in accordance with what     12     providing instruction to the entire violin
  13   we understood, namely that I would address the     13     section?
  14    students as a sports coach would. And the         14 A    That's correct.
  15   formal nature of the event, like I said, led me    15 Q   Okay. When she was providing instruction to a
  16    to address students with a formal first name,     16     small group of violinists, would she go in
  17   last name. It would have been unreasonable,        17     another room or something like that?
  18    conspicuous, and not in accordance with the       18 A    That is correct, unless there were times if she
  19   accommodation. And the understanding of the        19     was helping while I was teaching. So, yes, that
  20   accommodation coming from the angle of sports      20     happened sometimes. Other times there were
  21   coach, it would have been not consistent to do     21     times where she was helping during instruction.
  22   something so conspicuous and informal at such a    22 Q    When she was helping out with the orchestra
  23   formal event, like I've said in that paragraph.    23     classes during the 2017/2018 school year, what
  24 Q Who is Natalie Gain?                               24     percentage of time would you estimate she was
  25 A Natalie Gain is a violin teacher that taught       25     with you in the class versus the percentage of



                                                                                          SA-293
 Min-U-Script®                                Circle City Reporting                           (33) Pages 130 - 133
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 35 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1274 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 134                                                 Page 136

   1     time in a separate room working with a small 1          definitively say.
   2     group of violinists?                              2 Q   Okay. But if you heard it --
   3 A    I don't know. I think it would depend. I'd       3 A   Specifically the last name only I'm talking
   4     have to look back at the schedule. Some           4     about.
   5     instructors would actually be helping in class 5 Q      Okay. But you didn't personally observe another
   6     and playing along with the sections. It would 6         high school teacher using last name only or
   7     just be a guess at this point.                    7     anything like that when addressing students?
   8 Q    Do you think a school has an interest in being 8 A      I actually did.
   9     concerned with the mental health of its           9 Q    You personally observed it?
  10     students?                                        10 A    Yeah.
  11 A    Does a school have an interest -- say that      11 Q   Okay. Tell me about that incident or incidents.
  12     again.                                           12 A   When I was working in the musical, it would be
  13 Q    Do you think a school has an interest in being 13      normal for students to be referred to by other
  14     concerned with the mental health of its          14     teachers by last name only.
  15     students?                                        15 Q   And that was during the 2017/2018 school year?
  16 A    Yes.                                            16 A
                                                             Yes.
  17 Q    Other than your situation, do you have personal 17 Q
                                                             Any other instances that you personally
  18     knowledge of any instance during the 2017/2018 18  observed?
  19     school year where a Brownsburg High School 19 A No, because that's the only class that I was
  20     teacher did not address students by the name 20    co-teaching and that there was a number of
  21     listed in PowerSchool?                          21 different -- that's the only instance where I
  22 A    I did address students by the last name listed 22 would have been working alongside other teachers
  23     in PowerSchool, so can you clarify your         23 at all. Other times I'm in my own classroom. I
  24     question?                                       24 don't see what other teachers do. Does that
  25 Q    Yeah. I think you may have missed the first 25    make sense?

                                               Page 135                                                 Page 137

   1    part, so I'll just repeat it. Other than your      1 Q It does. In the musical example that you cite,
   2   situation, do you have personal knowledge of any    2   do you have any personal knowledge of whether
   3   instance during the 2017/2018 school year where     3   those students complained about being referred
   4   a Brownsburg High School teacher did not address    4    to by their last name only?
   5    students by using the name listed in               5 A I do not have knowledge that there were
   6    PowerSchool?                                       6    complaints about that.
   7 A You're gonna have to specify. That's a bad          7 Q Okay. And you've also alluded on several
   8    question because -- are you talking about do I     8   occasions to a coach's use of last name when
   9   know of any other teachers that used last name      9   addressing students. Do you recall mentioning
  10    only? Because you're saying that I didn't use     10    that a few times?
  11   the name listed in PowerSchool but I did use the   11 A Yes.
  12   last name in PowerSchool, so you're gonna have     12 Q Do you have any personal knowledge of that
  13    to clarify what you mean by that.                 13   occurring during the 2017/2018 school year?
  14 Q Mr. Kluge, I'm not talking about your situation.   14 A I wasn't on the football field. I was in the
  15    I'm talking about your personal knowledge of      15    music classroom, so --
  16   what other high school teachers might have done.   16 Q So no?
  17 A You're saying "any other" which presumes that I    17 A No, I didn't observe any gym classes, period, to
  18   didn't use what was in PowerSchool but I did use   18   hear what they were saying or not saying, but it
  19    the last name in PowerSchool, so --               19   was certainly an understanding of Gordon and
  20 Q Okay. Well, I'm referring to the first and the     20   Snapp and myself that it is a regular occurrence
  21   last name listed in PowerSchool, if that helps.    21   on sports teams. Otherwise, why would they have
  22   I understand you used the last name only listed    22    agreed to it and specifically mention that
  23    in PowerSchool.                                   23    scenario in that July 31, 2017 meeting if it
  24 A Okay. I vaguely remember hearing that other        24    wasn't a normal occurrence in schools, in
  25   teachers might have been using it but I couldn't   25    general? Do you get what I'm saying?



                                                                                          SA-294
 Min-U-Script®                                Circle City Reporting                           (34) Pages 134 - 137
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP Document 120-3 Filed 03/15/21 Page 36 of 36 PageID #:
 JOHN M. KLUGE VS                                                       JOHN M. KLUGE
        Case: 24-1942
 BROWNSBURG    COMMUNITYDocument: 16 1275 Filed:
                         SCHOOL CORPORATION, et al.07/10/2024 Pages: 306November 17, 2020
                                               Page 138                                                Page 140

   1 Q I do. So I'll ask this question. It's similar       1   to me by my last name only, he would sometimes
   2   to the musical question. You're not personally      2    refer to other students in the same class using
   3   aware of an instance of a student complaining       3   Mr. or Ms. (Last Name), and less frequently, by
   4   that a coach called him or her by last name only    4    their first names."
   5    during the 2017/2018 school year; is that          5       Do you agree with what Aidyn is asserting
   6    correct?                                           6    there in Paragraph 12?
   7 A No, I'm not. The only complaints that were          7 A No.
   8   purported is when Daghe purported to say there      8 Q What parts do you dispute?
   9   were complaints about me by students but that's     9 A Starting with the problems. So you're referring
  10   the only time I had heard anything and he didn't   10    to Paragraph 12, was it?
  11   even say who was doing it. He just said lots of    11 Q Correct.
  12    people.                                           12 A So "The problems continued from there," I would
  13 Q I understand and we've talked about that already   13   dispute that there was no problem. From Day 1 I
  14   and that was the December 2017 meeting with you    14    was consistent in using last names only and
  15    and Dr. Daghe; correct?                           15    using it for all students. I didn't target
  16 A That's correct.                                    16    students.
  17 Q Do you recall that you withdrew from the           17        "During the fall semester, Mr. Kluge
  18   Brownsburg Teachers Association in early Summer    18    refused to call me Aidyn." That's a
  19    of 2017?                                          19    mischaracterization of my
  20 A Yes. I don't know the exact date but I remember    20    last-name-only-for-all-students policy. I
  21  during my employment at BCSC withdrawing from --    21    wasn't refusing to call her Aidyn. I was
  22    you said the Teachers Association?                22   calling all my students by last name only, and,
  23 Q Correct, the teachers union, for lack of a         23   so, that's a misrepresentation of what happened.
  24    better term.                                      24       Next sentence, "Instead, Mr. Kluge either
  25 A That's right. They support the national union      25    referred to me as 'Sucec' (my last name) or he

                                               Page 139                                                Page 141

   1    which supports Planned Parenthood and so I         1   avoided calling me by any name and simply nodded
   2   didn't want to be supporting Planned Parenthood.    2    or waved in my direction." I don't recall ever
   3 Q Okay. Thank you. You answered my next               3    avoiding her or doing as she says. I called her
   4    question. But is that the entirety of the          4    Sucec just like I referred to my other students
   5   reason that you withdrew from the association?      5    by last name only, so that's misrepresented,
   6 A That's the entirety of the reason. I didn't         6    fabricated.
   7    want to be giving money even indirectly to         7        Next sentence, "Moreover, while Mr. Kluge
   8    Planned Parenthood.                                8   referred to me by my last name only, he would
   9 Q Thank you. Let's look at Exhibit J.                 9    sometimes refer to other students in the same
  10 A This is Declaration of Aidyn Sucec in Support of   10    class using Mr. or Ms. (Last Name), and less
  11    -- okay, yep.                                     11    frequently, by their first names." I called all
  12 Q Do you recognize this document? Have you seen      12   my students by last name only, so I think that's
  13    it before?                                        13    a misrepresentation of what happened in the
  14 A I do recognize it.                                 14    classroom.
  15 Q Do you think you've read it before?                15 Q I understand you dispute what's alleged in
  16 A I think I have.                                    16   Paragraph 12, but assuming that what is alleged
  17 Q Go to Paragraph 12. Do you see that?               17    in Paragraph 12 is accurate, do you agree that
  18 A I see Paragraph 12.                                18    it could interfere with a well-run classroom?
  19 Q Okay. I'm just gonna read it. "The problems        19 A If a teacher was avoiding a student and treating
  20   continued from there. During the fall semester,    20   them differently than other students, that would
  21    Mr. Kluge refused to call me Aidyn. Instead,      21    not be a good teacher. That's not what (audio
  22   Mr. Kluge either referred to me as 'Sucec' (my     22    malfunction).
  23   last name) or he avoided calling me by any name    23 Q And, again, I'm not asking you to agree. I
  24    and instead simply nodded or waved in my          24   understand you dispute what's in Paragraph 11,
  25   direction. Moreover, while Mr. Kluge referred      25    but if you were to say for argument sake that



                                                                                         SA-295
 Min-U-Script®                                Circle City Reporting                          (35) Pages 138 - 141
                                                  317-635-7857
Case 1:19-cv-02462-JMS-DLP
         Case: 24-1942     Document
                         Document: 16120-16 Filed:
                                            Filed 03/15/21  Page Pages:
                                                   07/10/2024    1 of 2 PagelD
                                                                         306 #: 1354




                                EXHIBIT 16


     Email from Plaintiff to Dr. Jim Snapp and Dr. Bret Daghe
                     dated February 4, 2018




                                                                      SA-296
                                    Case 119 cv-02462•J"4S·OLP Document 120-16 Filed 03/15121 Page 2 ct 2 PagelD ~ 1355
                 Case: 24-1942             Document: 16                             Filed: 07/10/2024                     Pages: 306




       Kathy Javella

       From:                              John Kluge <johnmkluge@yahoo.com>
       Sent:                              Sunday, February 4, 2018 4:01 PM
       To:                               jsnapp@brownsburg.k12.in.us; bdaghe@brownsburg.k12.in.us
       Subject:                           Question about next year
       Attachments:                       201707311440.pdf


       Dear Dr. Snapp and Mr. Daghe,

       On the 1/3/18 "Transgender Questions" document we received at our January faculty meeting, it is written:

       "5. Are we allowed to use the student's last name only?
       We have agreed to this for the 2017-20 I8 school year, but moving fotward it is our expectation the student will
       be called by the first name listed in PowerSchool."

       The contract that we signed in July 2017 does not limit itself to the 2017-2018 school year (see attached), so it
       is my understanding that I would be allowed to continue to use last-names-only when addressing students next
       school year and beyond. Is this correct that I would be allowed to continue to use last-names-only when
       addressing students next school year and beyond?

       Sincerely,
       John Kluge




                                                                                                    Defendant Brownsburg CSC 139


IBCSC-0000001391                                                                                                               SA-297
Case 1:19-cv-02462-JMS-DLP Document 120-17 Filed 03/15/21 Page 1 of 2 PageID #: 1356
           Case: 24-1942  Document: 16     Filed: 07/10/2024 Pages: 306



                                EXHIBIT 17


               Emails between Plaintiff and Jodi Gordon
                         dated April 30, 2018




                                                                     SA-298
ase 1:19-cv-02462-JMS-DLP Document 120-17 Filed 03/15/21 Page 2 of 2 PageID #: 135
          Case: 24-1942  Document: 16     Filed: 07/10/2024 Pages: 306


            From: Jodi Gordon <jgordon@brownsburg.k12.in.us>
            Date: April 30, 2018 at 4:34:54 PM EDT
            To: John Kluge <jkluge@brownsburg.k12.in.us>                             EXHIBIT                        17
            Subject: RE: Request                                                     Kluge vs. BCSC
            Hi John,                                                                 Date:
                                                                                     Stenographer: Brandy Bradley


            I appreciate hearing from you.

            I will honor your request and not process this letter or share with the BHS administration until May 29.

            Let me know if you have any questions at all.
            Jodi
             _______________________________________
            From: John Kluge
            Sent: Monday, April 30, 2018 6:56 AM
            To: Jodi Gordon <jgordon@brownsburg.k12.in.us>
            Subject: Request

            Dear Ms. Gordon,

            I’m writing you to formally resign from my position as a teacher, effective at the end of the
            2017-2018 school year when my contract is finished, i.e., early August 2018.

            I’m resigning my position because Brownsburg Community School Corporation (BCSC) has
            directed its employees to call transgender students by a name and sex not matching their legal
            name and sex. BCSC has directed employees to call these students by a name that encourages the
            destructive lifestyle and psychological disorder known as gender dysphoria. BCSC has allowed
            me the accommodation of referring to students by last name only starting in August 2017 so I
            could maintain a "neutral" position on the issue.

            Per our conversation on 3/15/18, Brownsburg Community School Corporation is no longer
            allowing this accommodation. BCSC will require me to refer to transgender students by their
            "preferred" name as well as by their "preferred" pronoun that does not match their legal name
            and sex. BCSC will require this beginning in the 2018-2019 school year. Because my Christian
            conscience does not allow me to call transgender students by their "preferred" name and
            pronoun, you have said I am required to send you a resignation letter by May 1, 2018 or I will be
            terminated at that time.

            Please do not process this letter nor notify anyone, including any administration, about its
            contents before May 29, 2018. Please email me to acknowledge that you have received this
            message and that you will grant this request.

            Thank you,

            John Kluge
            Orchestra Director
            Brownsburg High School




                                                                                                          SA-299
                                                                                                                         KLUGE -000000173
                       Case 1:19-cv-02462-JMS-KMB Document 182-1 Filed 11/03/23 Page 1 of 5 PageID #: 2192
                                 Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


JOHN M. KLUGE,                                            )
                                                          )
    Plaintiff,                                            )
                                                          )
       V.                                                 )         CASE NO. 1:19-cv-2462-JMS-DLP
                                                          )
BROWNSBURG COMMUNITY                                      )
SCHOOL CORPORATION, et al,                                )
                                                          )
   Defendants.                                            )


     Defendant's Responses to Plaintiff's Second Set of Interrogatories

   Defendant hereby responds to Plaintiffs Second Set of Interrogatories:

             Objections to Plaintiff's ''Instructions for Answering''

       1. Defendant objects to Plaintiffs Instruction No. 2 to the extent it attempts

to impose an obligation on Defendant inconsistent with Federal Rule of Civil

Procedure 26(b)(3). That Rule exempts from discovery documents and tangible

things that are prepared in anticipation of litigation or for trial by or for another

party or its representative (including the other party's attorney, consultant, surety,

indemnitor, insurer or agent). Defendants therefore object to the production of

documents within he possession, custody, or control of the Defendant, its agents,

representatives and attorneys, that are privileged and/or exempt from discovery

under Rule 26(b)(3).

      2. Defendant objects to Plaintiffs Instruction No. 12 because it attempts to

impose an obligation on Defendant that exceeds that stated in Federal Rule of Civil

                                                              1



                                                                                                             SA-300
                         Case 1:19-cv-02462-JMS-KMB Document 182-1 Filed 11/03/23 Page 2 of 5 PageID #: 2193
•                                  Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306




-
     Procedure 26(b)(5)(A).



                                      Responses to Interrogatory

        INTERROGATORY NO. 19: Please identify the accountant(s) or other

     individuals who are either retained, engaged as service professionals, or employed

     by BCSC for the purpose of preparing budgets, balance sheets, profit and loss

     statements, or statements of revenue and expenses, and who track administrative

     costs, including, but not limited to, "opportunity costs" and legal expenses.

        RESPONSE: Defendant is not contending in this case that it incurred any

     specific administrative costs as evidence that it suffered undue hardship in

     addressing Plaintiffs request for accommodation. Therefore, Defendant objects to

     this request as not relevant.

        Without waiving this objection, Defendant states that no individual or

    . individuals is (or are) retained, engaged, or employed for the pu1·pose of completing

     all tasks identified in Interrogatory No. 19. For example, The Defendant does not

     prepare a "profit and loss statement" nor does it track opportunity costs. Defendant

     states that its chief financial officer, Shane Hacker, is the individual who prepares

     budgets and similar financial documents and who would have general knowledge of

     the Defendant's administrative costs.




                                                                  2



                                                                                                               SA-301
                     Case 1:19-cv-02462-JMS-KMB Document 182-1 Filed 11/03/23 Page 3 of 5 PageID #: 2194
                               Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306




                                                  Affirmation

I affirm, t1nder penalties of perjury, that:

a. I am the Superintendent for Brownsburg Comn1unity School Corporation, the

Defendant in the above-captioned case.

b. I have read the foregoing interrogatories and responses;                                                             !I
                                                                                                                         ,

c. I do not have personal knowledge of all information that is requested in the                                          i•,

                                                                                                                         '
                                                                                                                         '
interrogatories and believe that no individual has persona1 lmowledge of all such                                       •,




matters; and

d. I have made a reasonably inquiry in response·to the foregoing interrogatories and

believe that the information reflected in the responses is true based on information

known to me, , on information supplied by others, and on information reflected in

documents.


                                                                 ~fa-u;u;
                                                        Dated: _ _ __ _ _ _ _ _ _ __
  . imS



                                                                                                                    i•
                                                                                                                    !

                                                                                                                    ,-'
                                                                                                                    -
                                                                                                                    'j
                                                                                                                     ;
                                                                                                                     ;
                                                                                                                    "
                                                                                                                    '
                                                                                                                    "
                                                                                                                    -;
                                                                                                                    '
                                                                                                                    '
                                                                                                                    'i




                                                                                                                    .
                                                                                                                    •

                                                                                                                    -


                                                                                                           SA-302
    Case 1:19-cv-02462-JMS-KMB Document 182-1 Filed 11/03/23 Page 4 of 5 PageID #: 2195
•
              Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306




                                  As to Obiections:
                                          •


                                  Respectfully submitted,

                                  CHURCH CHURCH HITTLE + ANTRIM



                     By:
                                 Alexander P. Pinegar, ~~vrney #26543-49
                                 Attorney for Defendant

                                 Chu1·ch Church Hittle+ Antrim
                                 Two North Ninth Street
                                 Noblesville, IN 46060
                                 317-773-2190
                                 317-773-5320 fax
                                 apinegar@cchalaw. com




                                           4



                                                                                          SA-303
                        Case 1:19-cv-02462-JMS-KMB Document 182-1 Filed 11/03/23 Page 5 of 5 PageID #: 2196
                                  Case: 24-1942  Document: 16     Filed: 07/10/2024  Pages: 306




•


                                            Certificate of Service

       I, the undersigned, hereby certify that a copy of the foregoing has been served on
    the following by depositing the same in the United States mail, postage prepaid,
    properly addressed, this 6 fie day of July, 2020:

    Kevin E. Green                                                   Michael J. Cork
    Kevin Green Associates                                           Michael J. Cork, Esq.
    456 N. Meridian Street, #1517                                    5754 N. Delaware St .
    Indianapolis, IN 46204                                           Indianapolis, IN 46220-2528

    Roscoe Stovall, Jr.
    101 So. Gulfstream Ave., Unit 4F
    Sarasota, FL 34236




                                                                 Alexander P. Pinegar, #26543-49




                                                                5


                                                                                                              SA-304
